USCA Case #23-5044      Document #2017106        Filed: 09/15/2023   Page 1 of 403
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          ORAL ARGUMENT SCHEDULED FOR MAY 19, 2023
                         No. 23-5044


        UNITED STATES COURT OF APPEALS
      FOR THE DISTRICT OF COLUMBIA CIRCUIT

                               IN RE SEALED CASE


                  On Appeal from the United States District Court
                 for the District of Columbia, No. 1:23-SC-31-BAH
                        Before the Honorable Beryl A. Howell

                            JOINT APPENDIX
                        VOLUME 1 OF 1 (JA1 – JA398)



JAMES I. PEARCE (N.C. BAR NO. 44691) ARI HOLTZBLATT (D.C. BAR NO. 1009913)
CECIL VANDEVENDER (TENN. BAR         BENJAMIN POWELL (D.C. BAR NO. 464823)
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                                      GEORGE P. VARGHESE (MASS. BAR
                                        NO. 706861)
                                      WILMER CUTLER PICKERING
                                        HALE AND DORR LLP
                                      60 State Street
                                      Boston, MA 02109
                                      (617) 526-6000

March 31, 2023
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF:
                                                    SC No. 23-SC-31
 INFORMATION THAT IS STORED AT
 PREMISES CONTROLLED BY TWITTER                     Under Seal
 INC. IDENTIFIED IN ATTACHMENT A


                                             ORDER

       This matter having come before the Court pursuant to the application of the United States

to seal the above-captioned warrant and related documents, including the application and affidavit

in support thereof and all attachments thereto and other related materials (collectively the

“Warrant”), and to Twitter Inc. (“PROVIDER”), an electronic communication service provider

and/or a remote computing service provider located in San Francisco, California, not to disclose

the existence or contents of the Warrant pursuant to 18 U.S.C. § 2705(b), and to authorize the

government to delay disclosure of the Warrant to the owners of the emails identified in Attachment

A, (“TARGET ACCOUNT(S)”) pursuant to 18 U.S.C. § 3101(a).

       The Court finds reasonable grounds to believe that such disclosure will result in destruction

of or tampering with evidence, intimidation of potential witnesses, and serious jeopardy to the

investigation, as defined in 18 U.S.C. § 2705(b).

       The Court further finds that the government has also provided facts giving good cause to

believe that providing immediate notification of the warrant may have an adverse result, as defined

in 18 U.S.C. § 2705(a)(2). Specifically, the Court finds that immediate notification to the customer

or subscriber of the TARGET ACCOUNT(S) would seriously jeopardize the ongoing

investigation, as such a disclosure would give that person an opportunity to destroy evidence,

change patterns of behavior, notify confederates, and flee from prosecution. See 18 U.S.C. §

3103a(b)(1).
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        The Court further finds that, because of such reasonable grounds to believe the disclosure

will so impact the investigation, the United States has established that a compelling governmental

interest exists to justify the requested sealing.

        1.      IT IS THEREFORE ORDERED that, pursuant to 18 U.S.C. § 2705(b),

PROVIDER and its employees shall not disclose the existence or content of the Warrant to any

other person (except attorneys for PROVIDER for the purpose of receiving legal advice) for a

period of 180 days (commencing on the date of this Order), unless the period of nondisclosure is

later modified by the Court.

        2.      IT IS FURTHER ORDERED that the application is hereby GRANTED, and that

the warrant, the application and affidavit in support thereof, all attachments thereto and other

related materials, the instant application to seal, and this Order are sealed until otherwise ordered

by the Court.

        3.      IT IS FURTHER ORDERED that the Clerk’s office shall not make any entry on

the public docket of the Warrant until further order of the Court.




Date: January 17, 2023                                 _________________________
                                                __________________________________________
                                                HON. BERYL A. HOWELL
                                                CHIE) JUDGE


cc:     GREGORY BERNSTEIN
        Assistant Special Counsel




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From:                Howell Chambers <Howell_Chambers@dcd.uscourts.gov>
Sent:                Thursday, February 2, 2023 4:53 PM
To:                  MLD (JSPT); Holtzblatt, Ari
Cc:                  JPC (JSPT); RNH (JSPT); GDB (JSPT); JIP (JSPT); JMP (JSPT); Teresa Gumiel
Subject:             23-SC-31: Minute Order (February 2, 2023)



EXTERNAL SENDER


Counsel,

Good evening. Please see the below Minute Order entered today in the above referenced matter. Additionally, please
submit all future filings in this matter electronically to dcd_cmecf_crspecial@dcd.uscourts.gov, with a courtesy copy to
Howell_Chambers@dcd.uscourts.gov. Thank you.

Best,
The Chambers of Chief Judge Howell.

Notice of Electronic Filing

The following transaction was entered on 2/2/2023 at 4:42 PM EDT and filed on 2/2/2023
                  IN THE MATTER OF THE SEARCH OF INFORMATION THAT IS STORED AT PREMISES CONTROLLED BY
Case Name:
                  TWITTER INC. IDENTIFIED IN ATTACHMENT A
Case Number: 1:23‐sc‐00031‐BAH *SEALED*
Filer:
Document
                  No document attached
Number:

Docket Text:
MINUTE ORDER (paperless) GRANTING Twitter, Inc.'s unopposed [6] Motion to Seal; and
DIRECTING the government and Twitter, Inc. to confer and propose, by February 3, 2023 at 1
PM, a briefing schedule for the pending [5] government's Motion for an Order to Show Cause
and [7] Twitter, Inc.'s Motion to Vacate or Modify Non-Disclosure Order, as well as a date for
hearing on these pending motions. Signed by Chief Judge Beryl A. Howell on February 2,
2023. Counsel has been notified electronically.(lcbah4)




                                                           JA21
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                                                                           FILED UNDER SEAL

                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF:

 INFORMATION THAT IS STORED AT                     Case No. 23-SC-31
 PREMISES CONTROLLED BY
 TWITTER INC. IDENTIFIED IN                        Filed Under Seal
 ATTACHMENT A


            GOVERNMENT’S MOTION FOR AN ORDER TO SHOW CAUSE
            WHY TWITTER INC. SHOULD NOT BE HELD IN CONTEMPT
             FOR FAILURE TO COMPLY WITH A SEARCH WARRANT

       Twitter Inc. (“Twitter”) refuses to comply with the search warrant issued by this Court

pursuant to 18 U.S.C. § 2703 for information associated with the Twitter account

“@realDonaldTrump.” ECF No. 4 (the “Warrant”). Twitter asserts two grounds for its non-

compliance. First, Twitter asserts that the non-disclosure order accompanying the warrant, ECF

No. 3 (the “NDO”), issued by this Court pursuant to 18 U.S.C. § 2705(b), is unconstitutional. But

the constitutionality of the non-disclosure order is unrelated to the validity of the Warrant, and

Twitter’s apparent desire to contest it does not excuse its non-compliance. Second, Twitter refuses

to produce records in response to the Warrant until the account holder has an opportunity to litigate

its validity. But neither the Warrant nor Section 2703 provide for such a procedure or excuse

Twitter’s non-compliance. Accordingly, the Government moves this Court to issue an order

scheduling a hearing forthwith for Twitter to show cause why it should not be held in contempt

for failing to comply with the Warrant’s commands. Consistent with the Order sealing the Warrant

and related materials, ECF No. 3, the Government also requests that the Court place this Motion,

the accompanying Order, and any related materials under seal.

       On January 17, 2023, the Government applied for the Warrant, as well as the accompanying

NDO, which requires that Twitter not disclose the contents or existence of the Warrant for a period



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of 180 days. ECF Nos. 1, 2. The Court issued the Warrant and the NDO the same day. ECF Nos.

3, 4. The Warrant required that Twitter disclose to the Government information responsive to the

Warrant within 10 days of the Warrant’s issuance. ECF No. 4, Attachment B, ¶ 5.

       Twice on January 17, 2023, the Government attempted to serve the Warrant and NDO on

Twitter through its Legal Requests Submissions site but received an automated message indicating

that the “page [was] down.” On January 19, 2023, the Government successfully served the

Warrant and NDO through the site.

       On January 25, 2023, the Government contacted counsel for Twitter to inquire as to the

status of the Warrant. Counsel for Twitter indicated she was not aware of the Warrant but would

consider it a priority. The same day, the Government separately provided Twitter’s counsel with

the signed warrant and NDO (previously served through Twitter’s Legal Requests Submissions

site). On January 27, 2023, Twitter’s counsel informed the Government that Twitter would not be

able to comply with the Warrant by its deadline, but would provide an update on January 31, 2023.

On January 31, 2023, counsel for Twitter informed the Government that Twitter believes the NDO

violates the First Amendment. Going further, Twitter indicated that it would not comply with the

Warrant promptly, even in the absence of an NDO, because it wishes to give the account holder

an opportunity to challenge or otherwise object to the Warrant before the Government has the

opportunity to review any responsive materials. The Government requested that Twitter provide,

by close of business on February 1, 2023, authority for its assertion that it can refuse to comply

with the Warrant pending a challenge to the NDO. Twitter provided no such authority, instead

citing inapposite First Amendment case law while reiterating that Twitter “remain[s] unclear as to

what remedy DOJ would propose in this unique situation in the event that the NDO is deemed

invalid yet the materials have already been reviewed” by the Government.




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       The Government now moves for an Order to Show Cause why Twitter should not be held

in contempt for its failure to timely comply with the Warrant’s commands. The Warrant ordered

Twitter to produce responsive information by January 27, 2023. More than five days have passed

since the deadline, and Twitter has disclosed nothing to the Government, nor apparently taken the

necessary steps to do so. Instead, Twitter proffers the possibility of litigation as to the NDO and

the collateral aim of preventing the Government from reviewing responsive materials until such

time as the account holder can challenge the Warrant. The Warrant does not countenance the

indefiniteness and interference Twitter seeks.

       First, the Warrant and NDO are different court orders, imposing different obligations.

Twitter may not delay, to an unknown future date, compliance with the Warrant by challenging

the NDO. The Government has an interest in prompt enforcement of the Warrant, regardless of

any challenge to the NDO. See, e.g., Google LLC v. United States, 443 F. Supp. 3d 447, 455

(S.D.N.Y. 2020) (denying request to stay warrant deadline pending resolution of challenge to

accompanying non-disclosure order, noting “any further delay . . . increases the risk that evidence

will be lost or destroyed, heightens the chance that targets will learn of the investigation, and

jeopardizes the Government’s ability to bring any prosecution in a timely fashion”). Second,

neither the Warrant itself nor Section 2703 provide for intervention by a third party before

compliance with the Warrant is required. Twitter can point to no authority suggesting otherwise.

       Under 18 U.S.C. § 401(3), this Court has the “power to punish by fine or imprisonment, or

both, . . . [d]isobedience or resistance to its lawful writ, process, order, rule, decree, or command.”

Given Twitter’s failure to comply with the Warrant’s commands, the Court should order Twitter

to show cause, at a hearing forthwith, why it should not be held in contempt under Section 401(3).

The Government further requests that the hearing be held forthwith, with personal appearance by



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a company representative.

       For the foregoing reasons, the Government asks this Court to issue an order to show cause

why Twitter should not be held in contempt for its failure to comply with the Warrant. A proposed

Order is attached.


                                            Respectfully submitted,

                                            JACK SMITH
                                            Special Counsel

                                     By:    /s/ Mary L. Dohrmann
                                            Mary L. Dohrmann (N.Y. Bar No. 5443874)
                                            Assistant Special Counsel
                                            950 Pennsylvania Avenue, N.W.
                                            Washington, D.C. 20530
                                            (202) 714-9376




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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF:

 INFORMATION THAT IS STORED AT                    Case No. 23-SC-31
 PREMISES CONTROLLED BY
 TWITTER INC. IDENTIFIED IN                       Under Seal
 ATTACHMENT A


                                    [PROPOSED] ORDER

        Upon consideration of the Government’s Motion for an Order to Show Cause Why Twitter

Inc. Should Not Be Held in Contempt for Failure to Comply with a Search Warrant, and the entire

record herein, it is hereby

        ORDERED, this ____ day of February, 2023, that the Government’s Motion is

GRANTED and a hearing shall be held forthwith; and it is further

        ORDERED that, on February ____, 2023, a company representative (in addition to any

outside counsel) of Twitter Inc. shall personally appear before the Court, and show cause why

Twitter Inc. should not be held in contempt for its failure to comply with the Warrant, ECF No. 4;

and it is further

        ORDERED that a copy of this Order shall be served on Twitter Inc. and the Government;

and it is further

        ORDERED that the Government’s Motion, this Order, and any related materials are sealed

until otherwise ordered by the Court.

        SO ORDERED.


Date:                                               ___________________________________
                                                    CHIEF JUDGE BERYL A. HOWELL
                                                    UNITED STATES DISTRICT COURT
                                                    FOR THE DISTRICT OF COLUMBIA


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                cc:    Mary L. Dohrmann
                       Assistant Special Counsel
                       950 Pennsylvania Avenue, N.W.
                       Washington, DC 20530
                       (202) 714-9376




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                                      JA27
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From:               GDB (JSPT) <GDB@usdoj.gov>
Sent:               Friday, February 3, 2023 11:58 AM
To:                 Howell Chambers; MLD (JSPT); Holtzblatt, Ari; Varghese, George; Powell, Benjamin; Russell, Whitney
                    D.
Cc:                 JPC (JSPT); RNH (JSPT); JIP (JSPT); JMP (JSPT); Teresa Gumiel; TPW (JSPT)
Subject:            RE: 23-SC-31: Minute Order (February 2, 2023)



EXTERNAL SENDER


Dear Chambers:

The parties submit this joint email in response to the minute order below. The parties did not reach an
agreement on a joint briefing schedule. The government believes the order to show cause and NDO
should be resolved on separate tracks, while Twitter believes the issues should be heard together. Our
proposals are as follows:

        Government’s proposed briefing schedule:

        Order to show cause briefing schedule
           1. Opposition: February 6 at 12:00 p.m.
           2. Reply:        February 7 at 10:00 a.m.
           3. Hearing:      February 7 at 3 p.m.

        NDO briefing schedule
          1. Opposition: February 16
          2. Reply:        February 23
          3. Hearing:      Available at the Court’s discretion

        Twitter’s proposed briefing schedule:

             1. Oppositions: February 6 (end of day)
             2. Replies:      February 8 (end of day)
             3. Hearing:      February 9 (after 2 p.m.) or February 10 (whichever day is better for the
                Court)

Sincerely,

Gregory Bernstein
Assistant Special Counsel
202-705-4123 (cell)

From: Howell Chambers <Howell_Chambers@dcd.uscourts.gov>
Sent: Thursday, February 2, 2023 4:53 PM
To: MLD (JSPT) <MLD@usdoj.gov>; ari.holtzblatt@wilmerhale.com

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Cc: JPC (JSPT) <JPC@usdoj.gov>; RNH (JSPT) <RNH@usdoj.gov>; GDB (JSPT) <GDB@usdoj.gov>; JIP (JSPT)
<JIP@usdoj.gov>; JMP (JSPT) <JMP@usdoj.gov>; Teresa Gumiel <Teresa_Gumiel@dcd.uscourts.gov>
Subject: 23‐SC‐31: Minute Order (February 2, 2023)

Counsel,

Good evening. Please see the below Minute Order entered today in the above referenced matter. Additionally, please
submit all future filings in this matter electronically to dcd cmecf crspecial@dcd.uscourts.gov, with a courtesy copy to
Howell Chambers@dcd.uscourts.gov. Thank you.

Best,
The Chambers of Chief Judge Howell.

Notice of Electronic Filing

The following transaction was entered on 2/2/2023 at 4:42 PM EDT and filed on 2/2/2023

  Case Name:      IN THE MATTER OF THE SEARCH OF INFORMATION THAT IS STORED AT PREMISES CONTROLLED BY
                  TWITTER INC. IDENTIFIED IN ATTACHMENT A
Case Number:     1:23‐sc‐00031‐BAH *SEALED*
Filer:
Document
                 No document attached
Number:

Docket Text:
MINUTE ORDER (paperless) GRANTING Twitter, Inc.'s unopposed [6] Motion to Seal; and
DIRECTING the government and Twitter, Inc. to confer and propose, by February 3, 2023 at 1
PM, a briefing schedule for the pending [5] government's Motion for an Order to Show Cause
and [7] Twitter, Inc.'s Motion to Vacate or Modify Non-Disclosure Order, as well as a date for
hearing on these pending motions. Signed by Chief Judge Beryl A. Howell on February 2,
2023. Counsel has been notified electronically.(lcbah4)




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                                                                        Filed: 09/15/2023  Page 34SEAL
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From:               Howell Chambers <Howell_Chambers@dcd.uscourts.gov>
Sent:               Friday, February 3, 2023 2:56 PM
To:                 GDB (JSPT); MLD (JSPT); Holtzblatt, Ari; Varghese, George; Powell, Benjamin; Russell, Whitney D.
Cc:                 JPC (JSPT); RNH (JSPT); JIP (JSPT); JMP (JSPT); Teresa Gumiel; TPW (JSPT)
Subject:            23-SC-31: Minute Order (February 3, 2023)



EXTERNAL SENDER


Counsel,

Good afternoon. Please see the Minute Order entered today in the above referenced matter. The Notice in the Minute
Order refers to the email submitted by the government below. Thank you.

Best,
The Chambers of Chief Judge Howell




                                                  U.S. District Court

                                                 District of Columbia

Notice of Electronic Filing

The following transaction was entered on 2/3/2023 at 2:35 PM EDT and filed on 2/3/2023
                  IN THE MATTER OF THE SEARCH OF INFORMATION THAT IS STORED AT PREMISES CONTROLLED BY
Case Name:
                  TWITTER INC. IDENTIFIED IN ATTACHMENT A
Case Number: 1:23‐sc‐00031‐BAH *SEALED*
Filer:
Document
                  No document attached
Number:

Docket Text:
MINUTE ORDER (paperless) Upon consideration of the parties' proposed briefing schedules
submitted by email by the government, see [8] NOTICE of Proposed Briefing Schedule,
ISSUING the following SCHEDULING ORDER regarding the government's [5] Motion for Order
to Show Cause:

(1) By February 6, 2023 at 10:00 AM, Twitter, Inc. shall file any opposition to the government's
motion;
(2) By February 6, 2023 at 6:00 PM, the government shall file any reply;
(3) On February 7, 2023 at 1:30 PM, the parties are DIRECTED to appear in-person in
Courtroom 22A for a sealed hearing on the government's motion; and

ISSUING the following SCHEDULING ORDER regarding Twitter, Inc.'s [7] Motion to Vacate or
Modify Non-Disclosure Order:
                                                          JA30
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                                         Filed: 09/15/2023  Page 35SEAL
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                                  JA31
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                                  JA38
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                                  JA39
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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA



  IN THE MATTER OF THE SEARCH OF:        Case No. 1:23-SC-31 - BAH
  INFORMATION THAT IS STORED AT
  PREMISES CONTROLLED BY TWITTER         UNDER SEAL
  INC. IDENTIFIED IN ATTACHMENT A




                          EXHIBIT A
                 TO TWITTER’S OPPOSITION TO
        GOVERNMENT’S MOTION FOR AN ORDER TO SHOW CAUSE




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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



     IN THE MATTER OF THE SEARCH OF:                  Case No. 1:23-SC-31 - BAH
     INFORMATION THAT IS STORED AT
     PREMISES CONTROLLED BY TWITTER                   UNDER SEAL
     INC. IDENTIFIED IN ATTACHMENT A




                      DECLARATION OF


I,                    , declare as follows:


          1. I am the Senior Director of Legal for Twitter, Inc. (“Twitter”). Twitter is a global

             social media platform that fosters public and private conversations amongst its

             450 million active monthly users. I make this Declaration based on my own

             personal knowledge and investigation, and if called as a witness to testify, I could

             and would testify competently to the following facts.

          2. On Wednesday, January 25, at 4:54pm I received an incoming call from Assistant

             Special Counsel Greg Bernstein. He informed me that the Special Counsel’s

             Office had previously served a search warrant on Twitter for data associated with

             the account @realDonaldTrump (“Warrant”). I had not heard anything about this

             Warrant prior to the call, which I told him. I said that I would need to look into

             the matter and revert. He responded that they were looking for an on time

             production, in two days. I said that without knowing more or taking any position

             that would be a very tight turnaround for us.




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        3. Later that day, at 7:25pm, I received an email from Mr. Bernstein, forwarding an

           earlier email from 5:06pm from him addressed to his colleagues but intended for

           me that he had forgotten to copy me on, attaching copies of the Warrant and the

           Non-Disclosure Order.

        4. I directed the preservation of data available in our production environment

           associated with the @realDonaldTrump account, and have confirmed that the

           available data was preserved.

        5. On Thursday, January 26, I placed an outgoing call to Mr. Bernstein, but was

           unable to reach him. I followed up with an email sent at 7:37pm, stating, “We are

           not going to be able to get back to you by tomorrow. But, I can confirm that the

           warrant is working its way through our system, and preservation is in place.”

        6. At 7:49pm on Thursday, I missed an incoming call from Mr. Bernstein. He did

           not leave a message.

        7. At 10:06pm on Thursday, I received an email from Mr. Bernstein seeking to

           schedule a call for the following day.

        8. On Friday, January 27, I called Mr. Bernstein and confirmed that the Warrant was

           being processed through the system but that we were not going to be able to

           respond by the 27th. I explained that we needed time to consider the Warrant and

           Non-Disclosure Order and we would get back to them early next week with an

           update. Mr. Bernstein pressed me for more information, and I assured him I was

           one of the most senior lawyers at the company, and the fact that I was attending to

           these questions underscored that the company was prioritizing the matter and

           taking it very seriously. I reiterated that it was clearly a matter of great



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           importance and I had only had it for two days. We agreed to talk again on

           Tuesday after 5 pm ET due to Mr. Bernstein’s schedule that day.

        9. At 5:02pm ET on Tuesday, January 31, I called Mr. Bernstein as arranged. He did

           not answer.

        10. At 5:07pm ET, Mr. Bernstein called me back. I told him that I appreciated his

           patience. We had had a chance to review the warrant and NDO, consult outside

           counsel, and also gather internal information potentially responsive to Attachment

           B. I explained that it is essential to Twitter’s business model (including our

           commitment to privacy, transparency, and neutrality) that we communicate with

           users about law enforcement efforts to access their data. I shared that on

           occasion, we have challenged non-disclosure orders, whether in follow-up

           conversations with prosecutors or government officials, or in court filings. I

           explained that we had reviewed the Non-Disclosure Order here, but we did not

           see how it meets the factors outlined in § 2705(b), given the intense publicity

           around the investigation. I asked, recognizing that he may not be able to answer,

           whether the Special Counsel had sought this information from the National

           Archives Records Administration (“NARA”), since it maintains a copy of the

           Target Account and have much of the information called for in the Warrant. I

           asked that he consider withdrawing the Non-Disclosure Order, given its

           restriction on Twitter’s First Amendment rights to communicate with its user. I

           told him that we felt that the investigation of the Former President could not be

           more publicized. I explained that respectfully, there did not appear to be a

           legitimate compelling government interest that justifies restricting Twitter’s First



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           Amendment rights to meaningfully communicate with its users. I raised

           specifically the claim in the Non-Disclosure Order that the former President was

           likely to flee from prosecution if the Non-Disclosure Order or Warrant was

           disclosed. I told Mr. Bernstein that it seemed very unlikely that the former

           President presents a risk of flight because of a warrant for his Twitter data. I

           explained that in our view, Twitter’s First Amendment interests are particularly

           important here where the warrant could implicate issues of executive privilege.

           I told Mr. Bernstein that Twitter takes no position on these issues, as they are for

           the former President to assert, if at all. I offered to continue discussing the matter.

           I told him that I understood he had a job to do, and that I had also served as a

           federal prosecutor, and emphasized that my job was to protect Twitter’s interests

           and our users’ data while meeting our legal obligations. He responded that he

           understood, and appreciated my professionalism.

        11. At 6:58pm ET on January 31, I missed a call from Mr. Bernstein. He followed

           up with an email at 7:05pm asking me to call him back, indicating that it was time

           sensitive.

        12. At 9:08pm ET on January 31, I returned Mr. Bernstein’s call. He asked me to

           clarify our position, specifically on whether we viewed the Warrant and Non-

           Disclosure Order as linked or separate. Mr. Bernstein stated that they did not

           want to obtain data from NARA, as it would require notification pursuant to the

           Presidential Records Act. I told him that Twitter’s position would be that we

           should not produce until we resolved our questions as to the NDO. He asked

           whether I had any case law support for our position, and I said that I would collect



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           it and provide to him. He asked that I provide it by end of the next day. I told

           Mr. Bernstein that I was traveling to San Francisco the next day, but would make

           sure to get him support for our position.

        13. On February 1, at 10:38am, I sent an email to Mr. Bernstein confirming that I

           would send an email with support for Twitter’s position later that evening.

        14. On February 1, at 10:14pm, I sent the following email to Mr. Bernstein: “As

           discussed last night, I want to be clear that Twitter is not taking a position on the

           underlying warrant. That said, we continue to believe that production of

           responsive data prior to a resolution of Twitter’s questions around the validity of

           the non-disclosure order in this case would be inappropriate in light of clear

           judicial directives that the status quo should be preserved pending final judicial

           resolution of questions around the prior restraint of speech. See Elrod v. Burns,

           427 U.S. 347, 373–74 (1976) (“The loss of First Amendment freedoms, for even

           minimal periods of time, unquestionably constitutes irreparable injury.”) (citing

           New York Times Co. v. United States, 403 U.S. 713 (1971)); Freedman v. State of

           Md., 380 U.S. 51, 59 (1965) (“Any restraint imposed in advance of a final judicial

           determination on the merits must similarly be limited to preservation of the status

           quo for the shortest fixed period compatible with sound judicial resolution.”);

           Thomas v. Chicago Park Dist., 534 U.S. 316, 321 (2002) (“any restraint prior to

           judicial review can be imposed only for a specified brief period during which the

           status quo must be maintained”). Although I understand your position that the

           NDO and the warrant could be litigated separately, we remain unclear as to what




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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


       IN THE MATTER OF THE SEARCH OF:
                                         Case No. 1:23-SC-31 - BAH
       INFORMATION THAT IS STORED AT
       PREMISES CONTROLLED BY TWITTER    UNDER SEAL
       INC. IDENTIFIED IN ATTACHMENT A




                              EXHIBIT B
                     TO TWITTER’S OPPOSITION TO
            GOVERNMENT’S MOTION FOR AN ORDER TO SHOW CAUSE




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2/3/23, 4:58 PM                                          2 top Pence aides appear before Jan. 6 grand jury - POLITICO

           Two of former Vice President Mike Pence’s top White House aides have
           testified recently to a federal grand jury investigating matters connected to the
           Jan. 6, 2021, attack on the Capitol, according to two people familiar with the
           matter.

           Marc Short, Pence’s former chief of staff, testified last week under subpoena,
           while Pence’s former chief counsel Greg Jacob, also testified recently, though
           the timing and circumstances of his appearance were not immediately clear.
           Short was spotted by ABC cameras exiting the federal courthouse Friday, on
           the same day Donald Trump’s ally Steve Bannon was convicted of contempt of
           Congress for defying a Jan. 6 select committee subpoena.




                                                                          AD




           Both Short and Jacob cooperated with the Jan. 6 select committee, testifying in
           January and February this year, respectively. Jacob was also a star witness for
           the panel, testifying at a public hearing in June about helping Pence fend off
           Donald Trump’s effort to deputize the vice president to disrupt the transfer of
           power to Joe Biden.

           Short and Jacob are two of the most significant witnesses known to face grand
           jury questions related to Jan. 6. Both were in key meetings on Jan. 4 and 5,
           2021, as Trump attorney John Eastman worked to persuade Pence to adopt a
           fringe legal theory that would permit the then-vice president to single-
           handedly overturn the election certification on Jan. 6.

           Trump was present for the Jan. 4 meeting, when Pence rejected his and
           Eastman’s entreaties. Short and Jacob were also both with Pence on Jan. 6 as a
https://www.politico.com/news/2022/07/25/pence-chief-of-staff-january-6-00047772                                             2/5
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2/3/23, 4:58 PM                                          2 top Pence aides appear before Jan. 6 grand jury - POLITICO

           mob stormed the Capitol, sending them all fleeing for safety. Jacob’s email
           exchanges with Eastman amid the chaos have become crucial pieces of
           evidence for Jan. 6 investigators, showing Eastman continuing to lean on
           Pence and Jacob even as violence raged.

           Jacob’s memos and notes, explaining why he viewed Eastman’s effort as illegal,
           have proven significant documents for investigators. Among his conclusions:
           State legislatures had refused, as of Jan. 6, to certify alternate slates of electors,
           leaving the false slates assembled by pro-Trump activists in multiple states
           without any claim of authority.

           Eastman had previously embraced that notion as well, according to emails and
           correspondence obtained by the Jan. 6 committee, but pushed ahead with
           Trump’s plan anyway.

           Short testified to the Jan. 6 select committee in January about Pence’s efforts
           to convince Trump that he lacked the power to overturn the election, a message
           Pence relayed numerous times in the weeks before Jan. 6. But Trump, relying
           on a cadre of fringe attorneys, pushed a theory that Pence — who was charged
           by the Constitution with presiding over the count of electoral votes on Jan. 6 —
           could unilaterally refuse to count dozens of electors for Joe Biden, or postpone
           the count altogether.




https://www.politico.com/news/2022/07/25/pence-chief-of-staff-january-6-00047772                                             3/5
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2/3/23, 4:58 PM                                          2 top Pence aides appear before Jan. 6 grand jury - POLITICO




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https://www.politico.com/news/2022/07/25/pence-chief-of-staff-january-6-00047772                                             5/5
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2/3/23, 4:59 PM                                          Appointment of a Special Counsel | OPA | Department of Justice


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            STICE NEWS

                                                               Department of Justice

                                                               Office of Public Affairs


      FOR IMMEDIATE RELEASE                                                                                       Friday, November 18, 2022


                                                 Appointment of a Special Counsel

      Attorney General Merrick B. Garland announced today the appointment of former career Justice Department prosecutor
      and former chief prosecutor for the special court in The Hague, Jack Smith, to serve as Special Counsel to oversee two
      ongoing criminal investigations. The first is the investigation, as described in court filings in the District of Columbia, into
      whether any person or entity unlawfully interfered with the transfer of power following the 2020 presidential election or
      the certification of the Electoral College vote held on or about January 6, 2021. The second is the ongoing investigation
      involving classified documents and other presidential records, as well as the possible obstruction of that investigation,
      referenced and described in court filings submitted in a pending matter in the Southern District of Florida.

      “Based on recent developments, including the former President’s announcement that he is a candidate for President in
      the next election, and the sitting President’s stated intention to be a candidate as well, I have concluded that it is in the
      public interest to appoint a special counsel,” said Attorney General Garland. “Such an appointment underscores the
      Department’s commitment to both independence and accountability in particularly sensitive matters. It also allows
      prosecutors and agents to continue their work expeditiously, and to make decisions indisputably guided only by the
      facts and the law.”

      The Attorney General also stated, “Although the Special Counsel will not be subject to the day-to-day supervision of any
      official of the Department, he must comply with the regulations, procedures, and policies of the Department. I will
      ensure that the Special Counsel receives the resources to conduct this work quickly and completely. Given the work
      done to date and Mr. Smith’s prosecutorial experience, I am confident that this appointment will not slow the completion
      of these investigations. The men and women who are pursuing these investigations are conducting themselves in
      accordance with the highest standards of professionalism. I could not be prouder of them. I strongly believe that the
      normal processes of this Department can handle all investigations with integrity. And I also believe that appointing a
      Special Counsel at this time is the right thing to do. The extraordinary circumstances presented here demand it. Mr.
      Smith is the right choice to complete these matters in an even-handed and urgent manner.”

      Special Counsel Smith has resigned as the chief prosecutor for the special court in The Hague charged with
      investigating and adjudicating war crimes in Kosovo.


      Attachment(s):
      Download 2022.11.18 order 5559-2022.pdf

      Component(s):
      Office of the Attorney General

      Press Release Number:
      22-1237

                                                                                                                   Updated November 18, 2022

https://www.justice.gov/opa/pr/appointment-special-counsel-0                                                                                   1/2
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2/3/23, 4:59 PM                                          Appointment of a Special Counsel | OPA | Department of Justice




https://www.justice.gov/opa/pr/appointment-special-counsel-0                                                                  2/2
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2/3/23, 5:07 PM                        ‘Decisions are imminent’: Georgia prosecutor nears charging decisions in Trump probe - POLITICO

           The Atlanta-area district attorney investigating Donald Trump’s effort to
           subvert the 2020 election indicated on Tuesday that decisions on whether to
           seek the indictment of the former president or his associates were “imminent.”

           “Decisions are imminent,” Fulton County District Attorney Fani Willis said
           during a Tuesday court hearing called by the Georgia trial court judge
           overseeing the “special purpose grand jury” that Willis has used to gather
           evidence over the last year.




                                                                         AD




           Willis’ remark came as she urged the judge, Robert McBurney, to oppose calls
           to publicly release the findings of her yearlong probe, which she conducted
           alongside the special grand jury to examine Trump and his inner circle.



           Willis has spent the last year investigating Trump’s and his allies’ effort to
           reverse the election results in Georgia, despite losing the state by more than
           11,000 votes. The special grand jury probed Trump’s Jan. 2 phone call to
           Georgia Secretary of State Brad Raffensperger, asking him to “find” just
           enough votes to put him ahead of Joe Biden in the state. And it pursued
           evidence about Trump’s broader national effort to subvert the election, calling
           top allies like his White House chief of staff Mark Meadows, former national
           security adviser Michael Flynn, attorney John Eastman and Sen. Lindsey
           Graham (R-S.C.).



https://www.politico.com/news/2023/01/24/decisions-are-imminent-georgia-prosecutor-nears-charging-decisions-in-trump-probe-00079283      2/5
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2/3/23, 5:07 PM                        ‘Decisions are imminent’: Georgia prosecutor nears charging decisions in Trump probe - POLITICO
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2/3/23, 4:59 PM                                     DOJ seizes Team Trump phones as part of intensifying Jan. 6 probe

    stealing classified materials, refusing to give them back, and obstructing the retrieval process.
    There’s an ongoing criminal investigation, and indictments are a distinct possibility.


    But by some measures, the most dramatic scrutiny of Donald Trump and his team remains the
    Justice Department’s criminal probe of the Jan. 6 attack and the Republicans’ efforts to overturn
    the election results.

    For months, there was ample speculation about whether investigators were moving forward with
    any vigor at all. As the latest New York Times reporting suggests, those questions continue to get
    answers.



            Justice Department officials have seized the phones of two top advisers to former
            President Donald J. Trump and blanketed his aides with about 40 subpoenas in a
            substantial escalation of the investigation into his efforts to subvert the 2020
            election, people familiar with the inquiry said on Monday. The seizure of the phones,
            coupled with a widening effort to obtain information from those around Mr. Trump
            after the 2020 election, represent some of the most aggressive steps the department
            has taken thus far in its criminal investigation into the actions that led to the Jan. 6,
            2021, assault on the Capitol by a pro-Trump mob.



    According to the Times’ reporting, much of which has been confirmed by NBC News, federal
    agents executed court-approved search warrants, taking the phones of at least two people —
    Trump lawyer Boris Epshteyn and campaign strategist Mike Roman — while also issuing
    subpoenas to a variety of figures, including Dan Scavino, Trump’s former social media director,
    and Bernie Kerik.


    The subpoenas, according to the Times, were related to the investigation into the fake electors
    scheme.


    To quickly recap for those who might benefit from a refresher, let’s revisit our earlier coverage
    and review how we arrived at this point. It was in March when the Times first reported that
    federal prosecutors “have substantially widened their Jan. 6 investigation to examine the
    possible culpability of a broad range of figures involved in former President Donald J. Trump’s
    efforts to overturn the results of the 2020 election.”

    It raised a few eyebrows for a reason: The Justice Department hasn’t made a lot of noise about its
    Jan. 6 probe, but the reporting suggested it was eyeing Team Trump, and not just rank-and-file

https://www.msnbc.com/rachel-maddow-show/maddowblog/doj-seizes-team-trump-phones-part-intensifying-jan-6-probe-rcna47448   2/6
                                                                     JA70
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2/3/23, 4:59 PM                                     DOJ seizes Team Trump phones as part of intensifying Jan. 6 probe

    rioters who launched their assault in his name.


    Around the same time, The Washington Post also reported that the federal grand jury had
    “issued subpoena requests to some officials in former president Donald Trump’s orbit who
    assisted in planning, funding and executing the Jan. 6 rally.”



    Recommended

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                     ‘Peaceful transition’: Pompeo has a flawed memory of Jan. 6




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    In the months that followed, the grand jury heard from top members of former Vice President
    Mike Pence’s team. As part of the same probe, federal investigators descended on Jeffrey Clark’s
    home; FBI agents executed a search warrant against Trump lawyer John Eastman; and Ali
    Alexander, the founder of the “Stop the Steal” group that organized a Jan. 6 rally, also testified.

    We also learned a month ago that a grand jury subpoena made a sweeping demand for “all
    materials, in whatever form” that the National Archives had given to Congress’ Jan. 6 committee,
    including “records from the files of Mr. Trump’s top aides, his daily schedule and phone logs and
    a draft text of the president’s speech that preceded the riot.”


    It’s against this backdrop that federal law enforcement has seized some Trump advisers’ phones
    and blanketed his aides with about 40 subpoenas.

    It’s unlikely that anyone would characterize the Justice Department’s probe as swift or rushed,
    but let there be no doubt: This investigation exists and it’s obviously intensifying.


    For the former president and his political operation, this is not at all good news.




https://www.msnbc.com/rachel-maddow-show/maddowblog/doj-seizes-team-trump-phones-part-intensifying-jan-6-probe-rcna47448   3/6
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2/3/23, 4:59 PM                                     DOJ seizes Team Trump phones as part of intensifying Jan. 6 probe

                  Steve Benen



    Steve Benen is a producer for "The Rachel Maddow Show," the editor of MaddowBlog and an MSNBC political contributor. He's
    also the bestselling author of "The Impostors: How Republicans Quit Governing and Seized American Politics."




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2/3/23, 4:59 PM                                     DOJ seizes Team Trump phones as part of intensifying Jan. 6 probe
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2/3/23, 4:58 PM                                          DOJ sends some 40 subpoenas to Trump aides - POLITICO

           The Justice Department has issued some 40 subpoenas to aides of former
           President Donald Trump regarding Trump’s efforts to overturn the 2020
           presidential election, POLITICO confirmed Monday.

           The subpoenas, first reported by The New York Times, are a major step
           forward in the ongoing investigation of the events leading up to the Jan. 6,
           2021, attack on the Capitol. They also come as Trump is dealing with a separate
           inquiry into his handling of presidential records and classified material that he
           took with him to his home in Florida after the end of his presidency. Trump’s
           lawyers and the Justice Department are currently in a protracted legal battle
           over the custody of those records.




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           Former Trump adviser Stephen Bannon was the first to discuss the recent
           batch of subpoenas, saying on his podcast last week that 35 had been issued.
           That number appears to have been a slight lowballing of the actual figure.


           Among matters that investigators are reportedly looking into is Trump’s post-
           election fundraising and his efforts to overturn the election by appointing false
           electors. As POLITICO previously reported, a grand jury issued subpoenas last
           week seeking information about Trump’s Save America PAC.

           On his show Monday night, Fox News host Tucker Carlson said he had
           obtained a copy of a subpoena that was issued and that it pertained to “any
           claim that the vice president and/or the president of the Senate had the


https://www.politico.com/news/2022/09/12/justice-subpoena-trump-aides-00056274                                            2/4
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2/3/23, 4:58 PM                                          DOJ sends some 40 subpoenas to Trump aides - POLITICO
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2/3/23, 4:58 PM                                    Dozens of Trump aides subpoenaed in DOJ probe of Jan. 6 Capitol attack




 POLITICS                                                                                  Subpoenas               Add Topic



Justice Department subpoenas dozens of
Trump aides in apparent escalation of
investigation, according to reports
The investigation of Trump's effort to overturn the 2020 election and the Capitol attack on
Jan. 6, 2021, is separate from the seizure of documents from Mar-a-Lago.

            Bart Jansen
            USA TODAY
Published 7:43 p.m. ET Sept. 12, 2022        Updated 8:52 p.m. ET Sept. 12, 2022


Key Points
      The Justice Department subpoenaed dozens of Trump aides and seized at least two phones.
      Some subpoenas sought information from people who challenged the 2020 election results.
      Some subpoenas focused on Trump fundraisers and organizers of his rally before the Capitol riot.




WASHINGTON – The Justice Department issued dozens of subpoenas to Donald Trump’s
aides and associates for information about the 2020 election and the Capitol attack on Jan.
6, 2021, according to The New York Times and CNN.

The flurry of subpoenas suggested the investigation, which is separate from the seizure of
Trump administration documents from Mar-a-Lago, is picking up pace.

At least two Trump aides, Boris Epshteyn and Mark Roman, had their phones seized as
evidence, according to the Times. Epshteyn declined comment.

The subpoenas seek information about the Trump campaign's plan to organize alternate
slates of electors in states President Joe Biden won. Epshteyn had copied on emails in late
2020 from Trump lawyer John Eastman, who developed the plan.

Eastman has already been subpoenaed and had his phone seized. Eastman earlier refused to
answer questions from the House panel investigating the Capitol attack or a grand jury in
https://www.usatoday.com/story/news/politics/2022/09/12/trump-aides-subpoenaed-justice-department-jan-6-capitol-attack/10361875002/   1/3
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2/3/23, 4:58 PM                  Dozens of Trump aides subpoenaed in DOJ probe of Jan. 6 Capitol attack



Georgia based on his Fifth Amendment right against self-incrimination.

Another subpoena recipient was Bernard Kerik, the former New York City police
commissioner, who coordinated the investigation of claims of voter fraud with Trump lawyer
Rudy Giuliani.

Kerik’s lawyer, Timothy Parlatore, told USA TODAY that Kerik was willing to testify to
federal investigators as he had already before the House committee. Kerik had already
turned over examples of probable case of election fraud to the Justice Department for further
investigation in late 2020, Parlatore said.

Former Attorney General Bill Barr has testified to the House panel that the department
found no evidence to support the Trump campaign's claims of widespread fraud.

Parlatore said the department's latest subpoena read as if the current investigation had no
focus and asked Kerik about names he didn’t recognize.

“The normal DOJ subpoena looks like rifle shots,” Parlatore said. “This looks like a whole
bunch of scatter-shot shotgun blasts, almost like a spray-and-pray mindset.”

The latest subpoenas included one to Dan Scavino, Trump’s former social-media director,
according to the Times. Trump promoted his fundraising to fight the results of the 2020
election and his rally the morning of Jan. 6 through social media. Scavino’s lawyer, Stanley
Woodward Jr., declined comment.

Others who were subpoenaed include former Trump campaign manager Bill Stepien and
Sean Dollman, the campaign's chief financial officer, according to CNN.

The Justice Department declined comment on the subpoenas.

The investigation is separate from the seizure of Trump administration documents, which
included dozens of classified records, from Mar-a-Lago. In that probe, federal investigators
said they were looking for evidence of violations of the Espionage Act for mishandling
national defense documents or of obstruction of justice.

More: Will Trump or his allies face charges over Jan. 6? Legal experts explain hurdles DOJ
faces

The investigation is also separate, but overlaps with a local investigation in Fulton County,
Georgia. District Attorney Fani Willis has convened a special grand jury to investigate fake

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2/3/23, 4:58 PM                                    Dozens of Trump aides subpoenaed in DOJ probe of Jan. 6 Capitol attack



electors and other potential election fraud by Trump and his campaign. The grand jury has
subpoenaed Eastman and Giuliani, among others.

The Justice Department earlier declined without explanation to press charges against
Scavino or former White House chief of staff Mark Meadows over defying subpoenas from
the House committee investigating the attack. But the department charged Trump political
strategist Steve Bannon, who was convicted of contempt, and former trade adviser Peter
Navarro, who awaits trial.




https://www.usatoday.com/story/news/politics/2022/09/12/trump-aides-subpoenaed-justice-department-jan-6-capitol-attack/10361875002/   3/3
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2/3/23, 5:03 PM                          Federal Agents Seized Phone of John Eastman, Key Figure in Jan. 6 Plan - The New York Times

                           https://www.nytimes.com/2022/06/27/us/politics/john-eastman-jan-6.html



Federal Agents Seized Phone of John Eastman, Key Figure in Jan. 6 Plan
The action suggests that the criminal inquiry is accelerating into the efforts to help overturn the results of the 2020 election.
By Alan Feuer and Adam Goldman
June 27, 2022



Federal agents armed with a search warrant have seized the phone of John Eastman, a lawyer who advised former President Donald J.
Trump on key elements of the effort to overturn the results of the 2020 election, according to a court filing by Mr. Eastman on Monday.

The seizure of Mr. Eastman’s phone is the latest evidence that the Justice Department is intensifying its sprawling criminal investigation
into the various strands of Mr. Trump’s efforts to remain in power after he was defeated for re-election.

In the past week alone, the department has delivered grand jury subpoenas to a variety of figures with roles in backing Mr. Trump’s efforts
and it carried out at least one other search of a key figure.

The filing by Mr. Eastman, a motion to recover property from the government, said that F.B.I. agents in New Mexico, acting on behalf of
the Justice Department’s Office of the Inspector General, stopped Mr. Eastman as he was leaving a restaurant last Wednesday and seized
his iPhone.

A copy of the warrant included as an exhibit in Mr. Eastman’s filing said that the phone would be taken to either the Justice Department or
the inspector general’s forensic lab in Northern Virginia.

According to the filing, the seizure of Mr. Eastman’s phone came on the same day that federal agents raided the home and seized the
electronic devices of Jeffrey Clark, a former Justice Department official who was central to Mr. Trump’s attempts to coerce the
department’s leaders into backing his false claims of fraud in the election.

The inspector general’s office, which has jurisdiction over investigations of Justice Department employees, also issued the warrant in the
search of Mr. Clark’s home, a person familiar with the investigation said. The warrant indicated that prosecutors are investigating Mr.
Clark for charges that include conspiracy to obstruct the certification of the presidential election, the person familiar with the investigation
said.

A spokesman for the U.S. attorney’s office in Washington, which is overseeing the inquiry, declined to comment on Mr. Eastman’s court
filing.

With Mr. Eastman and Mr. Clark, the department is gathering information about two lawyers who were in close contact with Mr. Trump in
the critical weeks before the Jan. 6, 2021, attack on the Capitol by a pro-Trump mob.

The advice they were giving Mr. Trump involved separate but apparently intersecting proposals to provide him with a means of averting
his defeat, with Mr. Clark focused on using the power of the Justice Department on Mr. Trump’s behalf and Mr. Eastman focused on
disrupting the congressional certification of the election’s outcome.




                                      Jeffrey Clark at a news conference in October 2020. Yuri Gripas/Reuters




https://www.nytimes.com/2022/06/27/us/politics/john-eastman-jan-6.html                                                                       1/3
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2/3/23, 5:03 PM                            Federal Agents Seized Phone of John Eastman, Key Figure in Jan. 6 Plan - The New York Times

The search warrant executed on Mr. Eastman by the inspector general’s office may have been issued because of his connections to Mr.
Clark, which were briefly touched on at a hearing by the House select committee on Jan. 6 last week, a day after the raids on the two men.

At the hearing, Representative Liz Cheney, Republican of Wyoming and the panel’s vice chairwoman, said that Ken Klukowski, a Justice
Department lawyer who was in contact with Mr. Eastman, also helped Mr. Clark draft a letter to Gov. Brian Kemp of Georgia stating
falsely that the Justice Department had identified “significant concerns” about the “outcome of the election” in Georgia and several other
states.


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The letter further recommended that Mr. Kemp call a special session of the state legislature to create “a separate slate of electors
supporting Donald J. Trump.”

Mr. Klukowski, who briefly served under Mr. Clark at the Justice Department and had earlier worked at the White House budget office,
also “worked with John Eastman,” Ms. Cheney said during the hearing. She went on to describe Mr. Eastman as “one of the primary
architects of President Trump’s scheme to overturn the election.”




                                      Ken Klukowski, center, a Justice Department lawyer who was in contact with Mr.
                                      Eastman, arrived for a meeting with the Jan. 6 House select committee late last year. Al
                                      Drago for The New York Times



The inspector general’s office has the authority to look into any public corruption crimes committed by Justice Department personnel, said
Michael R. Bromwich, a former department inspector general during the Clinton administration.

“Those investigations can lead to people and places outside the Justice Department,” Mr. Bromwich said. “There must be a connection
between Eastman and someone who worked at the department.”

A former law professor in California, Mr. Eastman helped develop and promote a brazen plan to justify having Vice President Mike Pence
single-handedly block or delay certification of the Electoral College results showing Joseph R. Biden Jr.’s victory in the 2020 election. In a
series of meetings and phone calls, Mr. Trump and Mr. Eastman pressured Mr. Pence to put the plan into action when Mr. Pence presided
over a joint session of Congress on Jan. 6, 2021.

Mr. Pence’s refusal to go along helped fuel the violence that overwhelmed the Capitol that day and became a bloody symbol of Mr. Trump’s
efforts to subvert the outcome of the election. Earlier this a year, a federal judge in California considering a civil suit concerning the
release of Mr. Eastman’s emails to the House select committee concluded that Mr. Eastman and Mr. Trump most likely committed two
felonies — obstruction of a proceeding before Congress and a conspiracy to defraud the United States — for their joint role in the pressure
campaign against Mr. Pence.
https://www.nytimes.com/2022/06/27/us/politics/john-eastman-jan-6.html                                                                       2/3
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2/3/23, 5:03 PM                          Federal Agents Seized Phone of John Eastman, Key Figure in Jan. 6 Plan - The New York Times

Mr. Eastman was also instrumental in advising Mr. Trump to create purported slates of electors backing Mr. Trump in key swing states
won by Mr. Biden. These false pro-Trump electors were intended to give Mr. Pence a quasi-legal rationale for delaying or blocking the
Electoral College certification on Jan. 6, or even trying to throw the election to the House of Representatives.

Last week, a federal grand jury in Washington issued subpoenas to several people who prosecutors believe may have information about
the so-called fake elector plan. Among those who received subpoenas were top Republicans in key swing states who served as purported
pro-Trump electors, including Kelli Ward, the chairwoman of the Arizona Republican Party, and David Shafer, the chairman of the Georgia
Republican Party.

The subpoenas, some of which have been obtained by The New York Times, show that prosecutors are seeking information about lawyers
like Mr. Eastman who were close to Mr. Trump during the chaotic postelection period. The subpoenas also seek information on other
lawyers like Rudolph W. Giuliani, who oversaw Mr. Trump’s election challenges in general, and Kenneth Chesebro, who wrote legal memos
laying out the viability of the fake elector plan.

In Mr. Eastman’s court papers, filed in Federal District Court in New Mexico, he says that the search warrant did not mention what
underlying crime prosecutors were looking into by seizing his phone.

On Monday night, Mr. Eastman appeared on Tucker Carlson’s Fox News show and discussed the seizure of his phone, repeating his
complaint that the warrant never specified what violation of the law prosecutors were investigating.

“There was no indication of any crime this is connected to,” he said.




https://www.nytimes.com/2022/06/27/us/politics/john-eastman-jan-6.html                                                                  3/3
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2/3/23, 5:04 PM                                        Federal Authorities Search Home of Jeffrey Clark - The New York Times

                           https://www.nytimes.com/2022/06/23/us/politics/jeffrey-clark-trump-justice-dept.html



Federal Authorities Search Home of Trump Justice Dept. Official
Investigators went to the suburban Washington home of Jeffrey Clark in connection with the sprawling inquiry into the Jan. 6 attack and
the effort to overturn the 2020 election.
By Alan Feuer, Adam Goldman and Maggie Haberman
June 23, 2022



Federal investigators carried out an early-morning search on Wednesday at the home of Jeffrey Clark, a former Justice Department
official, in connection with the department’s sprawling criminal inquiry into efforts to overturn the 2020 election, people familiar with the
matter and an associate of Mr. Clark said.

It remained unclear exactly what the investigators may have been looking for. But Mr. Clark was central to President Donald J. Trump’s
unsuccessful effort in late 2020 to strong-arm the nation’s top prosecutors into supporting his claims of election fraud, and the search
suggested that the criminal investigation could be moving closer to Mr. Trump.

The law enforcement action at Mr. Clark’s home in suburban Virginia came just one day before the House committee investigating the Jan.
6, 2021, attack on the Capitol held a hearing setting out in vivid and powerful detail Mr. Trump’s efforts to pressure the Justice Department
to help him reverse his election defeat.

The committee explored Mr. Clark’s role in particular in helping Mr. Trump try — ultimately unsuccessfully — to pressure the department
into lending credence to his baseless assertions of election fraud and pressure officials in Georgia, a key swing state, into reconsidering
their certification of Joseph R. Biden Jr.’s victory.

One of Mr. Clark’s associates described the striking scene early Wednesday morning when a dozen federal law-enforcement officials
raided the house, seized Mr. Clark’s electronic devices and put him out on the street in his pajamas.

“All because Jeff saw fit to investigate voter fraud,” said the associate, Russ Vought, who runs the Center for Renewing America, where Mr.
Clark is a senior fellow. “This is not America, folks. The weaponization of government must end.”

Mr. Clark told Tucker Carlson of Fox News on Thursday that he had been woken by agents banging on his door shortly before 7 a.m. on
Wednesday. He said that “12 agents and two Fairfax County police officers went into my house, searched it for three and a half hours.” The
agents, he said, “took all of the electronics from my house.”

Mr. Clark criticized the investigation as “highly politicized” and suggested that it was no coincidence that the raid took place just before
the House committee’s hearing. “We’re living in an era I don’t recognize,” he said.

The search at Mr. Clark’s home was a significant step in the Justice Department’s many-tentacled inquiry into the efforts to subvert the
democratic process after the 2020 election.

In the early spring, a separate strand of the investigation was revealed as grand jury subpoenas were issued seeking information on a
wide cast of political organizers, White House aides and members of Congress connected in various ways to Mr. Trump’s incendiary
speech near the White House that directly preceded the storming of the Capitol.

Mr. Clark’s involvement in the inquiry was also the latest sign that the department’s investigation had nudged ever closer to Mr. Trump
himself — and to some of his allies in Congress. Mr. Clark worked closely with Mr. Trump in the weeks leading up to the Jan. 6 attack on
the Capitol, as Mr. Trump’s options closed off, to use the Justice Department as a tool for achieving his political ends.

Encouraged by members of the far-right House Freedom Caucus, Mr. Trump considered and then abandoned a plan in the days just before
the Jan. 6 attack to put Mr. Clark in charge of the Justice Department as acting attorney general.

At the time, Mr. Clark was proposing to send a letter to state officials in Georgia falsely stating that the department had evidence that
could lead Georgia to rescind its certification of Mr. Biden’s victory in that key swing state. The effort was cut short by his superiors in the
department.


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2/3/23, 5:04 PM                                               Federal Authorities Search Home of Jeffrey Clark - The New York Times

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Attorney General Merrick B. Garland has said little publicly about the criminal investigation other than that the Justice Department
would follow the facts. But he has been under pressure from some Democrats, including members of the House select committee, to hold
Mr. Trump and his allies to account for the effort to disrupt the peaceful transfer of power.

The developments regarding Mr. Clark came to light as a federal grand jury sitting in Washington continued to issue subpoenas to people
involved in a related plan by Mr. Trump and his allies to overturn the election: an effort to subvert the normal workings of the electoral
process by creating fake slates of pro-Trump electors in states that were actually won by Mr. Biden.

In the past two days, according to several people familiar with the matter, at least nine people in four different states have received
subpoenas in connection with the fake-elector investigation. They were largely those who agreed to be electors for Mr. Trump themselves
or were aides to Mr. Trump’s campaign in states where the plan was carried out.

Among those who received subpoenas were Kelli Ward, the chairwoman of the Arizona Republican Party, and her husband, Michael, both
of whom served as electors on Mr. Trump’s purported slate in the state, according to a person familiar with the matter. Along with the
Wards, subpoenas were issued to two other pro-Trump electors in Arizona, Nancy Cottle and Loraine B. Pellegrino, the person said.

Their lawyer, Alexander Kolodin, attacked the Justice Department’s fake elector inquiry.

“This is an investigation based on allegations that our clients engaged in core First Amendment activity — petitioning Congress about
grievances,” Mr. Kolodin said.

On Wednesday evening, a local news outlet in Nevada reported yet another development in the fake-elector investigation: Federal agents
armed with a search warrant had seized the phone of Michael McDonald, the chairman of the Nevada Republican Party who had served
as pro-Trump elector in the state. A search warrant was also issued for the party’s secretary, James DeGraffenreid, who had taken part in
the scheme as an elector as well, the news outlet reported.

Lawyers for Mr. McDonald and Mr. DeGraffenreid did not return phone calls on Thursday seeking comment.

While several state officials and Trump campaign aides have received subpoenas in the fake-elector investigation, the inquiry is primarily
focused on a group of lawyers who worked closely with Mr. Trump in devising the scheme. Those lawyers include Rudolph W. Giuliani,
who oversaw Mr. Trump’s challenges to the election in general, and John Eastman, who advised the former president on creating the fake
electors, among other things.

Mr. Giuliani and Mr. Eastman have figured prominently in earlier hearings this month by the House select committee. The two men, the
committee showed, were intimately involved in efforts to cajole state officials to throw the election to Mr. Trump and in pressuring Vice
President Mike Pence to single-handedly grant Mr. Trump a victory in the Electoral College.

At the committee’s last hearing, on Tuesday, investigators for the first time directly linked Mr. Trump to the fake elector plan. The
committee introduced a recorded deposition from Ronna McDaniel, the chairwoman of the Republican National Committee, in which she
recounted how Mr. Trump called her and put Mr. Eastman on the phone “to talk about the importance of the R.N.C. helping the campaign
gather these contingent electors.”

Mr. Clark’s role in the efforts to subvert the election are arguably most closely related to the pressure campaign against state officials to
create pro-Trump electors.

In late December 2020, Mr. Clark, while serving as the acting head of the Justice Department’s civil division, helped to draft a letter to Gov.
Brian Kemp of Georgia stating — without evidence — that the Justice Department had identified “significant concerns” about the
“outcome of the election” in Georgia and several other states.

The letter advised Mr. Kemp, a Republican, to call a special session of his state’s General Assembly to create “a separate slate of electors
supporting Donald J. Trump.”

Mr. Clark pressured the acting attorney general at the time, Jeffrey A. Rosen, to sign and send the letter to Mr. Kemp, but Mr. Rosen
refused.

Mr. Rosen was among the former Justice Department officials who testified about Mr. Clark before the House committee at its hearing on
Thursday.
Katie Benner contributed reporting.




https://www.nytimes.com/2022/06/23/us/politics/jeffrey-clark-trump-justice-dept.html                                                            2/2
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    February 18, 2022

    The Honorable Carolyn B. Maloney
    Chairwoman
    Committee on Oversight and Reform
    U.S. House of Representatives
    2157 Rayburn House Office Building
    Washington, DC 20515

    Dear Madam Chairwoman:

    I write to you pursuant to my authority under section 2203(e) of the Presidential
    Records Act (PRA), as amended (44 U.S.C. §§ 2201-2209), which establishes that I may
    “request the advice” of the appropriate committees of the House and the Senate when I
    consider that a proposed disposal of Presidential records by the incumbent President
    “may be of special interest to the Congress” or that “consultation with the Congress
    regarding the disposal of these particular records is in the public interest.” While this
    provision specifically applies to disposals proposed by the incumbent President, the
    National Archives and Records Administration (NARA) has always interpreted it to apply
    to disposals of Presidential records of which I was not informed.

    Under the PRA, all Presidential records automatically transfer to NARA’s legal custody
    when the President leaves office. With respect to the Trump Presidential records, the
    legal transfer took place on January 20, 2021. However, it is not uncommon for there
    to be a delay before NARA takes physical custody of all of the records. The complex
    technical work needed to transfer hundreds of terabytes of electronic records, coupled
    with a one-term transition, meant that the physical transfer could not be completed
    between the Presidential election and Inauguration Day. It took until November 2021
    for NARA to receive all of the electronic Trump Presidential records.

    Included among the Trump Presidential electronic records are those created on social
    media platforms. NARA recognizes that social media records are a relatively recent
    phenomenon, that capturing records on social media platforms is an evolving process,
    and that different platforms pose different issues with respect to how records are
    defined and managed.

    By this letter, I am advising you that the Trump Administration did not fully capture, and
    therefore NARA did not receive, all of the Presidential records created by President
    Trump and White House staff that were posted on social media platforms, as
    summarized in more detail below:




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      ● Early in the Trump Administration, questions were raised about President Trump’s
        use of his personal Twitter account to conduct official government business and
        whether deleted tweets were being captured and preserved as Presidential
        records. In March 2017, NARA advised the Trump Administration that it should
        capture and preserve as Presidential records all tweets that the President posts
        in the course of his official duties, whether on his personal @realDonaldTrump
        account or on the official @POTUS account, including those tweets that were
        subsequently deleted. As I reported in a March 30, 2017, letter to Senators
        Claire McCaskill and Tom Carper, NARA was “informed by White House officials
        that they [were], in fact, doing so.”

         Since the end of the administration, we have learned that the White House
         initially used a manual process to capture tweets that were deleted from
         @realDonaldTrump and @POTUS by copying them from non-governmental
         organizations that were capturing them, such as Propublica and Factba.se. The
         White House did not begin using the vendor ArchiveSocial to automate the
         capture of tweets and other social media records in real-time until January 2018.
         Moreover, @realDonaldTrump was not enrolled until August 2018 and the tool
         stopped capturing @realDonaldTrump in April 2020. The official @POTUS was
         enrolled in February 2018 and remained connected throughout the rest of the
         administration.

         When properly implemented, ArchiveSocial captures all versions of content as it
         appears on the platforms, along with any changes, such as deleted or edited
         content, changes to an account profile, and direct or private messages. However,
         it cannot capture such changes retroactively. If a social media account is not
         enrolled or subsequently becomes disconnected from ArchiveSocial, any changes,
         including deleted or modified posts, cannot be captured.

         The Twitter account @realDonaldTrump was disconnected from ArchiveSocial in
         April 2020. A key feature of ArchiveSocial is that it sends automated alerts to the
         account owners/system administrators every three to five days to remind them
         to reconnect any disconnected accounts. The tool also displays information about
         the account status in the dashboard. This account was not re-enrolled.

         When White House officials brought this problem to our attention near the end of
         the administration, Twitter had permanently suspended @realDonaldTrump.
         NARA contacted Twitter directly to ask if it retained the account data between
         April 20th and the account’s suspension. Twitter provided us with a copy of the
         available account data. However, it did not include previously deleted tweets,
         which are not retained by the company. Accordingly, we were unable to obtain a
         complete set of these Presidential records from the Trump Administration or
         Twitter. While we do have access to copies of deleted tweets collected by other
         non-governmental sources, we do not consider them as official Presidential
         records and cannot ensure the completeness of their captured account data.




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      ● The Trump White House did not take any steps to capture deleted content from
        any Trump Administration social media account other than @realDonaldTrump or
        @POTUS prior to enrolling them with ArchiveSocial. As with @realDonaldTrump,
        many other Trump Administration social media accounts were not enrolled until
        the summer or fall of 2018, even though these accounts were active for over a
        year prior to enrollment, during which time deleted or modified Presidential
        record content was not captured. Other accounts were not enrolled until just
        prior to the end of the administration.

      ● The ArchiveSocial tool included the ability to capture direct messages that may
        have been used on the platforms, but the Trump Administration opted not to
        enable capture of direct messages, and was unable to report whether direct
        messaging was actually used on any of the platforms by the account holders.

      ● NARA identified seven Twitter accounts that we think contain presidential record
        information, but were not captured by the Trump Administration. These accounts
        belonged to Andrew Giuliani, Chad Gilmartin, Ivanka Trump, Kayleigh McEnany,
        Kellyanne Conway, Mark Meadows, and Peter Navarro. After the end of the
        administration, NARA obtained the publicly available tweets from these accounts
        in order to supplement its archival collection.

      ● In January 2021, administration officials advised NARA that two social media
        accounts they thought contained Presidential record content were not enrolled in
        ArchiveSocial and could not be retroactively enrolled as they had been
        suspended by the platforms. These accounts were Donald J. Trump on Facebook
        and @realDonaldTrump on Instagram. NARA endeavored to work with Facebook,
        which operates Instagram, to obtain access to the accounts, but Facebook was
        not able to provide access.

      ● SnapChat was used by the Trump Administration (@realdonaldtrump and
        @whitehouse), which advised NARA that it was capturing content posted to the
        platform. NARA has not yet been able to locate any SnapChat content in the
        records transferred to us. SnapChat ultimately banned President Trump from the
        platform, and it is not possible to see any previous content. SnapChat advised
        NARA that the Trump Administration used the @whitehouse account
        approximately five times during four years. However, the administration regularly
        used the @realdonaldtrump account. News reports indicate that the account had
        1.5 million followers on the platform. We do not know whether direct messaging
        was enabled on the account. We are not able to determine to what extent
        @realdonaldtrump SnapChat contained unique Presidential records as compared
        to content duplicative from other platforms, or purely campaign related
        information, which would not have been a Presidential record.




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    Please let me or my staff know if you have questions or would like to discuss this issue
    further.

    Sincerely,




    DAVID S. FERRIERO
    Archivist of the United States

    cc: The Honorable James Comer, Ranking Member




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2/3/23, 4:57 PM                         First on CNN: Top Trump adviser Stephen Miller testifies to January 6 federal grand jury | CNN Politics

    Windom is expected to join the newly created Special Counsel’s Office led by longtime
    public corruption prosecutor Jack Smith and will continue leading the investigation into
    former President Donald Trump’s role in efforts to impede the transfer of power following
    the 2020 election.

    Federal investigators have for months sought information from Trump’s inner circle in the
    White House, attempting to gather insight into Trump’s state of mind before his supporters
    rioted on January 6.

    Miller, a former White House speechwriter and senior adviser to Trump, could provide a
    firsthand account of the former president’s preparations for his speech at the Ellipse in
    Washington on January 6, including how he wanted to inspire his supporters, many of
    whom went on to attack the Capitol and disrupt Congress.

    Miller was first subpoenaed in the federal criminal investigation months ago.

    In April, Miller testified virtually for roughly eight hours before the House select committee
    investigating January 6 – a completely separate probe from the criminal investigation
    being run by the Justice Department.

    According to findings the committee presented at a public hearing in July, Miller spoke to
    Trump for several minutes on the morning of January 6 about his planned speech at the
    Ellipse. After talking with Miller, Trump added a line to his speech about then-Vice
    President Mike Pence, according to the committee’s findings.

    The committee said that Miller removed the lines about Pence after having a conversation
    with a White House lawyer, Eric Herschmann, who objected to the president’s edits,
    according to testimony from Miller. Yet when Trump gave the speech, it included several
    references to Pence.

    At the time, Trump and others were pressuring Pence to block certification of the election.
    Pence ultimately refused and told Trump and others he had no authority to do so. During
    the Capitol riot, Trump supporters chanted, “Hang Mike Pence” and broke into restricted
    areas of the complex, prompting Pence to be evacuated from the Senate chamber.

    In recent months, the January 6 investigation team led by Windom has secured decisions
    ordering top Pence aides to testify to the grand jury about some of the most guarded
    conversations around Trump after the election. And a parade of top advisers to Trump
    have had their cell phones seized or received grand jury subpoenas for testimony and
    documents related to the effort to overturn Trump’s electoral loss.

https://www.cnn.com/2022/11/29/politics/stephen-miller-testifies-january-6-federal-grand-jury-trump/index.html                                    2/6
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2/3/23, 4:57 PM                         Former Trump White House counsel and his deputy testify to Jan. 6 criminal grand jury | CNN Politics
    before 9 a.m., and he was there for more than five hours. urpura has not responded to
    requests for comment. The grand jury proceedings themselves are confidential.

    Philbin, whom Purpura also represents, headed into the grand jury area just before the
    lunch hour on Friday, staying until about 4 p.m.

    Thomas Windom and Mary Dohrmann, prosecutors in the January 6 investigation who are
    now to be led by Smith, were also seen walking in with Cipollone.

    The investigators are looking at efforts to obstruct the transfer of power at the end of
    Trump’s presidency and have obtained testimony from several administration advisers
    closest to the former president after the election and as the Capitol was attacked by his
    supporters.

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    CNN previously reported that Chief Judge Beryl Howell of the DC District Court, who
    oversees the federal grand juries in Washington, ordered Cipollone and Philbin to provide
    additional grand jury testimony this month, following up on their testimony in the fall. The
    judge has repeatedly rejected Trump’s privilege claims in the Justice Department’s
    criminal investigation of efforts to overturn the 2020 election, according to people briefed
    on the matter.

    Philbin and Cipollone were both key witnesses to Trump’s actions in the last days of his
    presidency. Cipollone repeatedly pushed back on efforts to overturn the 2020 election,
    and according to a Senate Judiciary Committee report, he and Philbin opposed a proposal
    to replace the attorney general with someone willing to look into false claims of election
    fraud.

    Previously, the Justice Department compelled top advisers from Vice President Mike
    Pence’s office to testify to the grand jury. They had sought to protect Pence in January
    2021 from Trump’s pressure campaign to overturn the election.

    Earlier this week, Trump White House official Stephen Miller, who worked with Trump on
    his speech at the Ellipse, had his own day before the grand jury.

    On Thursday, another leg of Smith’s special counsel investigation – into the handling of
    documents at Mar-a-Lago after the presidency – was active in the courthouse. At least one
    Mar-a-Lago prosecutor was working in the secret grand jury proceedings, as three aides
https://www.cnn.com/2022/12/02/politics/pat-cipollone-district-courthouse/index.html                                                           2/5
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2/3/23, 5:10 PM                                Manhattan Prosecutors Begin Presenting Trump Case to Grand Jury - The New York Times

                            https://www.nytimes.com/2023/01/30/nyregion/trump-stormy-daniels-grand-jury.html



Manhattan Prosecutors Begin Presenting Trump Case to Grand Jury
The Manhattan district attorney’s decision represents a dramatic escalation of the inquiry, and potentially sets the case on a path toward
criminal charges against the former president.
By William K. Rashbaum, Ben Protess, Jonah E. Bromwich and Hurubie Meko
Jan. 30, 2023                                                                                                                           7 MI N R EAD



The Manhattan district attorney’s office on Monday began presenting evidence to a grand jury about Donald J. Trump’s role in paying
hush money to a porn star during his 2016 presidential campaign, laying the groundwork for potential criminal charges against the former
president in the coming months, according to people with knowledge of the matter.

The grand jury was recently impaneled, and the beginning of witness testimony represents a clear signal that the district attorney, Alvin
L. Bragg, is nearing a decision about whether to charge Mr. Trump.

On Monday, one of the witnesses was seen with his lawyer entering the building in Lower Manhattan where the grand jury is sitting. The
witness, David Pecker, is the former publisher of The National Enquirer, the tabloid that helped broker the deal with the porn star, Stormy
Daniels.

As prosecutors prepare to reconstruct the events surrounding the payment for grand jurors, they have sought to interview several
witnesses, including the tabloid’s former editor, Dylan Howard, and two employees at Mr. Trump’s company, the people said. Mr. Howard
and the Trump Organization employees, Jeffrey McConney and Deborah Tarasoff, have not yet testified before the grand jury.

The prosecutors have also begun contacting officials from Mr. Trump’s 2016 campaign, one of the people said. And in a sign that they want
to corroborate these witness accounts, the prosecutors recently subpoenaed phone records and other documents that might shed light on
the episode.

A conviction is not a sure thing, in part because a case could hinge on showing that Mr. Trump and his company falsified records to hide
the payout from voters days before the 2016 election, a low-level felony charge that would be based on a largely untested legal theory. The
case would also rely on the testimony of Michael D. Cohen, Mr. Trump’s former fixer who made the payment and who himself pleaded
guilty to federal charges related to the hush money in 2018.

Still, the developments compound Mr. Trump’s legal woes as he mounts a third presidential campaign. A district attorney in Georgia could
seek to indict him for his efforts to overturn his 2020 election loss in the state, and he faces a special counsel investigation into his removal
of sensitive documents from the White House as well as his actions during the attack on the Capitol on Jan. 6, 2021.

Mr. Bragg’s decision to impanel a grand jury focused on the hush money — supercharging the longest-running criminal investigation into
Mr. Trump — represents a dramatic escalation in an inquiry that once appeared to have reached a dead end.

Under Mr. Bragg’s predecessor, Cyrus R. Vance Jr., the district attorney’s office had begun presenting evidence to an earlier grand jury
about a case focused on Mr. Trump’s business practices, including whether he fraudulently inflated the value of his assets to secure
favorable loans and other benefits. Yet in the early weeks of his tenure last year, Mr. Bragg developed concerns about the strength of that
case and decided to abandon the grand jury presentation, prompting the resignations of the two senior prosecutors leading the
investigation.

One of them, Mark F. Pomerantz, was highly critical of Mr. Bragg’s decision and has written a book that is scheduled to be published next
week, “People vs. Donald Trump,” detailing his account of the inquiry. Mr. Bragg’s office recently wrote to Mr. Pomerantz’s publisher,
Simon & Schuster, expressing concern that the book might disclose grand jury information or interfere with the investigation.




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2/3/23, 5:10 PM                             Manhattan Prosecutors Begin Presenting Trump Case to Grand Jury - The New York Times
                                     District Attorney Alvin L. Bragg, center right, jump-started the inquiry last summer into
                                     Mr. Trump’s role in the hush money paid to the porn star Stormy Daniels. Karsten Moran
                                     for The New York Times
Although he balked at charging Mr. Trump over the asset valuations, this is a different case, and Mr. Bragg is now a bolder prosecutor. He
has ramped up the hush money inquiry in the weeks since his prosecutors convicted Mr. Trump’s company in an unrelated tax case, a far
cry from his unsteady early days in office, when Mr. Bragg was under fire from all quarters for unveiling a host of policies designed to put
fewer people behind bars.

For his part, Mr. Trump has denied all wrongdoing and chalked up the scrutiny to a partisan witch hunt against him. He has also denied
having an affair with Ms. Daniels. If Mr. Trump were ultimately convicted, he would face a maximum sentence of four years, though prison
time would not be mandatory.

“This is just the latest act by the Manhattan D.A. in their never-ending, politically motivated witch hunt,” the Trump Organization said in a
statement, adding that reviving the case under what it called a “dubious legal theory” was “simply reprehensible and vindictive.”

A spokeswoman for Mr. Bragg’s office declined to comment. Mr. Pecker’s lawyer, Elkan Abramowitz, did not immediately respond to a
request for comment. A lawyer for Mr. McConney and Ms. Tarasoff declined to comment.

The panel hearing evidence is likely what’s known as a special grand jury. Like regular grand juries, it is made up of 23 Manhattan
residents chosen at random. But its members are sworn in to serve for six months to hear complex cases, rather than for 30 days, as is the
case with panels that review evidence and vote on whether to bring charges in more routine matters.

The investigation, which has unfolded in fits and starts for more than four years, began with an examination of the hush money deal before
expanding to include Mr. Trump’s property valuations. Last summer, Mr. Bragg’s prosecutors returned to the hush money anew, seeking
to jump-start the inquiry after the departures of Mr. Pomerantz and Carey R. Dunne, the other senior prosecutor in the investigation.


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The district attorney’s office, working with the New York attorney general, Letitia James, is also continuing to scrutinize the way that the
former president valued his assets, the people with knowledge of the matter said.

Over the course of the investigation into Mr. Trump, the hush money payment was discussed within the district attorney’s office with such
regularity that prosecutors came to refer to it as the “zombie theory” — an idea that just won’t die.

The first visible sign of progress for Mr. Bragg came this month when Mr. Cohen appeared at the district attorney’s office to meet with
prosecutors for the first time in more than a year. He is expected to return for at least one additional interview in February, one of the
people said.

The lawyer who represented Ms. Daniels in the hush money deal, Keith Davidson, is also expected to meet with prosecutors.

Mr. Trump’s company was instrumental in the deal, court records from Mr. Cohen’s federal case show.

Although Mr. McConney and Ms. Tarasoff were not central players, they helped arrange for Mr. Cohen to be reimbursed for the $130,000
he paid Ms. Daniels, whose real name is Stephanie Clifford.

Allen H. Weisselberg, the company’s former chief financial officer, was also involved in reimbursing Mr. Cohen. And, according to Mr.
Cohen, Mr. Weisselberg was involved in a discussion with Mr. Trump about whether to pay Ms. Daniels.

Mr. Weisselberg is serving jail time after pleading guilty to a tax fraud scheme unrelated to the hush money deal, a case that also led to the
conviction of the Trump Organization in December. Although he was the star witness for the district attorney’s office in that case, Mr.
Weisselberg has never implicated Mr. Trump in any wrongdoing.

Without his cooperation, prosecutors could struggle to link Mr. Trump directly to the misconduct.

In 2018, when Mr. Cohen pleaded guilty to federal campaign finance charges stemming from his role in the hush money payments, he
pointed the finger at Mr. Trump, saying the payout was done “in coordination with, and at the direction of” the president. Federal
prosecutors agreed that Mr. Trump was behind the deal but never charged him or his company with a crime.




https://www.nytimes.com/2023/01/30/nyregion/trump-stormy-daniels-grand-jury.html                                                             2/3
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2/3/23, 5:10 PM                                  Manhattan Prosecutors Begin Presenting Trump Case to Grand Jury - The New York Times




                                          The cooperation of Allen H. Weisselberg, the Trump Organization’s former chief financial
                                          officer, will be key to the prosecution’s case against Mr. Trump. Jefferson Siegel for The New
                                          York Times


There is some circumstantial evidence suggesting that Mr. Trump was involved: He and Mr. Cohen spoke by phone twice the day before
Mr. Cohen wired the payment to Ms. Daniels’s lawyer, according to records in the federal case.

For prosecutors, the core of any possible case is the way in which Mr. Trump reimbursed Mr. Cohen for the $130,000 he paid Ms. Daniels
and how the company recorded that payment. According to court papers in Mr. Cohen’s federal case, Mr. Trump’s company falsely
identified the reimbursements as legal expenses.

The district attorney’s office now appears to be focusing on whether erroneously classifying the payments to Mr. Cohen as a legal expense
ran afoul of a New York law that prohibits the falsifying of business records.

Violations of that law can be charged as a misdemeanor. To make it a felony, prosecutors would need to show that Mr. Trump falsified the
records to help commit or conceal a second crime — in this case, violating a New York State election law, according to a person with
knowledge of the matter. That second aspect has largely gone untested, and would therefore make for a risky legal case against any
defendant, let alone the former president.

Defense lawyers might also argue that Mr. Trump, who was a first-time presidential candidate, did not know that the payments violated
election law. And they could take aim at Mr. Cohen, arguing that he is a convicted criminal who has an ax to grind against Mr. Trump.

In its statement, the Trump Organization noted that “the narrow issue of whether payments to Michael Cohen were properly recorded in a
personal accounting ledger back in 2017 was thoroughly examined” by the federal prosecutors who charged Mr. Cohen and concluded he
had engaged in a “pattern of deception.”

Mr. Pecker’s testimony, however, could bolster the prosecution’s contention that Mr. Trump was involved in planning the hush money
payment. A longtime ally of Mr. Trump, the publisher agreed to look out for potentially damaging stories about Mr. Trump during the 2016
campaign. He agreed to this at a meeting in Mr. Trump’s office.

In October 2016, Ms. Daniels’s agent and lawyer discussed the possibility of selling exclusive rights to her story to The National Enquirer,
which would then never publish it, a practice known as “catch and kill.”

But Mr. Pecker balked at the deal. He and the tabloid’s editor, Mr. Howard, agreed that Mr. Cohen would have to deal with Ms. Daniels’s
team directly.

When Mr. Cohen was slow to pay, Mr. Howard pressed him to get the deal done, lest Ms. Daniels reveal their discussions about
suppressing her story. “We have to coordinate something,” Mr. Howard texted Mr. Cohen in late October 2016, “or it could look awfully bad
for everyone.”

Two days later, Mr. Cohen transferred the $130,000 to an account held by Ms. Daniels’s attorney.
Michael Rothfeld contributed reporting.




https://www.nytimes.com/2023/01/30/nyregion/trump-stormy-daniels-grand-jury.html                                                                3/3
                                                                                    JA126
      USCA Case #23-5044                     Document #2017106                                        FILED UNDER
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2/3/23, 5:00 PM                                          MyPillow CEO, Trump ally M ke Lindell says FBI seized phone




 NATION                                                                                       Hardee's            Add Topic



MyPillow CEO, Trump ally Mike Lindell
says FBI issued subpoena, seized phone
at a Hardee's
            Scott Gleeson
            USA TODAY
Published 9:00 a.m. ET Sept. 14, 2022       Updated 2:36 p.m. ET Sept. 14, 2022


MyPillow CEO Mike Lindell, a prominent Donald Trump supporter, said the FBI seized his
cellphone and he was handed a subpoena from a Colorado grand jury Tuesday while he was
in a Hardee's parking lot in Minnesota.

Lindell, who founded MyPillow in 2004, has been a key ally for Trump and has continued to
protest the 2020 election by pushing baseless claims and conspiracy theories. In May, he was
been banned from Twitter for a second time after trying to use a new account. Lindell’s
original account was permanently banned earlier in the year after he continued to perpetuate
claims that Trump won.

On his podcast, "Frank Speech: The Lindell Report," Lindell detailed how he was issued
the subpoena while waiting for his food and was questioned about a Colorado clerk, Tina
Peters, who is being charged in what prosecutors say was a "deceptive scheme" to breach
voting system technology used across the country. Lindell said the papers he was served
labeled it an "official criminal investigation of a suspected felony" with the use of a federal
grand jury.

Anti-vaxxer, election denier: And, in Michigan, perhaps secretary of state

Critics call it intimidation: Virginia's GOP attorney general sets up 'election integrity
unit.'

Lindell said he also was questioned about his connection to Doug Frank, an Ohio educator
who claims voting machines have been manipulated.

https://www.usatoday.com/story/news/nation/2022/09/14/my-pillow-ceo-trump-ally-fbi-seized-phone/10375227002/                  1/2
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      USCA Case #23-5044                     Document #2017106                                        FILED UNDER
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Lindell said on the podcast: "Cars pulled up in front of us, to the side of us and behind us,
and I said, ‘These are either bad guys or the FBI.’ Well, it turns out they were the FBI. ... I
want to say this for the record: They were pretty nice guys. None of them had an attitude."

In a separate interview with ABC News, Lindell said three cars with federal agents pulled in
front of his vehicle while he was parked at the fast-food restaurant and handed him the
search warrant for his cellphone. "I've been to many jails," Lindell told the outlet. "I'm not
scared to go to jail. I'm trying to save my country."

"Without commenting on this specific matter, I can confirm that the FBI was at that location
executing a search warrant authorized by a federal judge," FBI spokeswoman Vikki Migoya
told The Associated Press.

Contributing: The Associated Press




https://www.usatoday.com/story/news/nation/2022/09/14/my-pillow-ceo-trump-ally-fbi-seized-phone/10375227002/                  2/2
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      USCA Case #23-5044                        Document #2017106                                      FILED UNDER
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2/3/23, 4:52 PM           Records Released In Response to Presidential Records Act (PRA) questions under the Trump Administration | National Archives




           Records Released In Response to
           Presidential Records Act (PRA) questions
           under the Trump Administration
           NARA officials are often consulted about the management of presidential and federal
           records. The Presidential Records Act governs access to records after the end of an
           administration.

           The National Archives received records from the Trump Administration, which ended on
           January 20, 2021. We are in the process of preserving and providing access to these records,
           including all official Trump Administration social media content and deleted posts from
           @realDonaldTrump and @POTUS. As records are made available online, they may be
           accessed through the trumplibrary.gov website, which is part of NARA. The Trump Library will
           begin accepting FOIA requests on January 20, 2026, in accordance with the PRA.

           Below are documents concerning records management-related inquiries about the Trump
           Administration's presidential records.


            Document Title                                                                                            Document
                                                                                                                      Date

             White House letter to the Archivist of the United States : Trump PRA                                      February 16,
             Designation                                                                                               2017

             White House memo to all personnel re PRA obligations (attached to Oct. 2                                  February 22,
             Compliance Reminder email)                                                                                2017

             Letter from Sens. McCaskill and Carper to Archivist David S. Ferriero                                     March 7, 2017

             Archivist's response to Sens. McCaskill and Carper                                                        March 30,
                                                                                                                       2017




https://www.archives.gov/foia/pra-trump-admin                                                                                                       1/4
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                                                                                                                      Document
            Document Title
                                                                                                                      Date

             Attachments to March 30, 2017 letter:
                  Briefing on the PRA
                  Background on the PRA
                  Guidance on Presidential Records (publication)
                  Presidential Records, 44 U.S.C. Chapter 22
                  Proposed rule on Presidential Records (note: now a final rule)
                  Notification Procedures
                  Approved Requests for Waiver of Incumbent President Privilege Review
                  Approved Requests for Disposal of Incumbent Presidential Records
                  NSC memo , Feb. 6, 2009 on procedure for access to PRA records of
                  previous administration
                  Archivist's memo  to Senior Agency Officials for Records
                  Management on Records Management Priorities for 2017
                  Records Express Blog on Records Management of Social Media and
                  Electronic Records

             White House email: Compliance Reminder PRA                                                                October 2,
                                                                                                                       2017

             White House email: Monthly Legal Compliance and Ethics Training                                           October 2,
             reminder                                                                                                  2017

             American Oversight letter : Presidential Advisory Commission on Election                                  January 18,
             Integrity and potential alienation of records                                                             2018

             NARA response letter to American Oversight: Presidential Advisory                                         January 25,
             Commission on Election Integrity and potential alienation of records                                      2018

             White House letter to the Archivist of the United States: Updated Trump                                   January 19,
             Designation of PRA Representatives                                                                        2021

             Letter from House Committee on Oversight and Reform regarding recovery                                    February 9,
             of Trump PRA records                                                                                      2022

             Archivist's response to House Committee on Oversight and Reform                                           February 18,
             regarding recovery of Trump PRA records                                                                   2022
                  NARA letter to Stefan Passantino, Deputy Counsel to the President
                  regarding destruction of records, June 14, 2018




https://www.archives.gov/foia/pra-trump-admin                                                                                                       2/4
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            Document Title                                                                                            Document
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             Archivist's letter to House Committee on Oversight and Reform regarding                                   February 18,
             Trump social media records                                                                                2022

             Archivist's letter to Senate Committee on Homeland Security and                                           February 18,
             Governmental Affairs regarding Trump social media records                                                 2022

             Acting Archivist's Letter to Evan Corcoran regarding Trump boxes                                          May 10,2022

             Former President Trump's Letter to the Acting Archivist of the United                                     June 19 2022
             States, Designating PRA Representatives

             U.S. House of Representatives Permanent Select Committee on Intelligence                                  August 9,
             (HPSCI) Ranking Member Michael R. Turner Letter to Acting Archivist                                       2022

             Acting Archivist's Response Letter to August 9, 2022, Letter from HPSCI                                   August 16,
             Ranking Member Michael Turner                                                                             2022

             U.S. House of Representatives Ranking Member Committee on Oversight                                       August 10,
             and Reform, James Comer Letter to Acting Archivist                                                        2022

             Acting Archivist's Response Letter to August 10, 2022, Letter from House                                  August 16,
             Committee on Oversight and Reform Ranking Member James Comer                                              2022

             NARA Notice from Acting Archivist to All NARA Employees Update on Trump                                   August 24,
             Administration Presidential Records                                                                       2022

             U.S. House of Representatives Ranking Member Committee on Oversight                                       August 30,
             Reform, James Comer Letter to Acting Archivist                                                            2022

             Acting Archivist's Response Letter to August 30, 2022, Letter from House                                  September
             Committee on Oversight Reform Ranking Member James Comer                                                  22, 2022

             U.S. Committee on Oversight and Reform Chairwoman, Carolyn B. Maloney                                     September
             Letter to Acting Archivist                                                                                13, 2022

             Acting Archivist's Response Letter to September 13, 2022, Letter from U.S.                                September
             Committee on Oversight and Reform Chairwoman Carolyn B. Maloney                                           30, 2022

             U.S. House of Representatives Committee on Oversight Reform, Ranking                                      October 4,
             Member James Comer Letter to Acting Archivist                                                             2022

             Acting Archivist's Response Letter to October 4, 2022, Letter from House                                  October 7,
             Committee on Oversight Reform Ranking Member James Comer                                                  2022




https://www.archives.gov/foia/pra-trump-admin                                                                                                       3/4
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      USCA Case #23-5044                        Document #2017106                                      FILED UNDER
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            Document Title
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             U.S. House of Representatives Committee on Oversight Reform, Ranking                                      October 14,
             Member James Comer and Committee on the Judiciary Ranking Member                                          2022
             Jim Jordan Letter to Acting Archivist

             Acting Archivist's Response Letter to October 14, 2022, Letter from House                                 October 25,
             Committee on Oversight Reform Ranking Member and Committee on the                                         2022
             Judiciary Ranking Member




                                         The U.S. National Archives and Records Administration
                                                   1-86-NARA-NARA or 1-866-272-6272




https://www.archives.gov/foia/pra-trump-admin                                                                                                       4/4
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2/3/23, 5:00 PM                                         Rep. Scott Perry, Trump ally, says FBI agents seized his cellphone




 POLITICS                                                                  Scott Perry (politician)                   Add Topic



Pennsylvania Rep. Scott Perry, a Trump
ally, says FBI agents seized his cellphone
             Ella Lee
             USA TODAY
Published 9:08 a.m. ET Aug. 10, 2022


WASHINGTON — U.S. Rep. Scott Perry, R-Pa., said in a statement that while traveling
Thursday morning with his family, his cellphone was confiscated by three FBI agents
carrying a search warrant.

He compared the action to the Monday search of former President Donald Trump's Mar-a-
Lago home, describing it as “banana republic tactics.”

“They made no attempt to contact my lawyer, who would have made arrangements for them
to have my phone if that was their wish,” Perry said. “I’m outraged — though not surprised
— that the FBI under the direction of Merrick Garland’s DOJ, would seize the phone of a
sitting Member of Congress.”

The circumstances surrounding the seizure were not immediately known. The FBI declined
to comment on the matter. USA TODAY requested comment from Perry's office.

Perry is one of a handful of House Republicans who allegedly helped the former president in
his efforts to overturn the 2020 election.

Jan. 6 committee: Scott Perry, GOP congressman, refuses to cooperate with Jan. 6
investigation committee

Presidential pardons: At least 5 House Republicans sought pardons after Jan. 6,
including Brooks, Gaetz, testimony reveals

The Pennsylvania lawmaker said in January 2021 that he introduced Trump and Department
of Justice lawyer Jeffrey Clark, a top Justice official who was pushing Trump’s baseless
claims of election fraud. Clark drafted a letter urging officials in six states won by Biden to
https://www.usatoday.com/story/news/politics/2022/08/10/scott-perry-fbi-seized-cellphone/10284599002/                             1/2
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submit a different group of electors who supported Trump, according to evidence shown by
the Jan. 6 committee.

Former senior Justice Department officials have testified that Perry had “an important role”
in Trump’s effort to try to install Clark as the acting attorney general. Other administration
lawyers rejected the idea as “asinine” and potentially criminal, and Trump relented only
after top Justice Department and White House lawyers threatened to resign in protest.

Perry was one of five Congress members to request a pardon from the former president after
the Jan. 6 Capitol attack, according to testimony from former White House officials during
the Jan. 6 hearings.

Fox News first reported the seizure of Scott's cellphone.

Contributing: Associated Press




https://www.usatoday.com/story/news/politics/2022/08/10/scott-perry-fbi-seized-cellphone/10284599002/                           2/2
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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH OF:

 INFORMATION THAT IS STORED AT                     Case No. 23-SC-31
 PREMISES CONTROLLED BY
 TWITTER INC. IDENTIFIED IN                        Filed Under Seal
 ATTACHMENT A


 GOVERNMENT’S REPLY IN FURTHER SUPPORT OF MOTION FOR AN ORDER
 TO SHOW CAUSE WHY TWITTER INC. SHOULD NOT BE HELD IN CONTEMPT
         FOR FAILURE TO COMPLY WITH A SEARCH WARRANT

        Twitter Inc. (“Twitter”) declined to comply with a clear order issued by this Court: a search

warrant requiring Twitter to provide information associated with the Twitter account

“@realDonaldTrump.” ECF No. 4 (the “Warrant”). Twitter acknowledges the Warrant’s validity

but nonetheless refuses to comply unless it is first permitted to disclose the Warrant to former

President Donald J. Trump and the former President is provided with an opportunity to challenge

it. Indeed, Twitter claims that it will refuse to execute the Warrant even were the government to

retract the Non-Disclosure Order (“NDO”)—which the government will not do. The Court should

require Twitter to comply with this Warrant just like any other. Twitter should not be permitted to

dictate a special protocol.

   I.      Legal Standard

        “A civil contempt action is characterized as remedial in nature, used to obtain compliance

with a court order or to compensate for damages sustained as a result from noncompliance.” United

States v. Shelton, 539 F. Supp. 2d 259, 262 (D.D.C. 2008) (citing Evans v. Williams, 206 F.3d

1292, 1294-95 (D.C. Cir. 2000)). The party seeking the finding of contempt has the burden of

establishing by clear and convincing evidence that “(1) there was a clear and unambiguous court

order in place; (2) that order required certain conduct” by Respondent; and (3) Respondent “failed



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to comply with that order.” United States v. Latney’s Funeral Home, Inc., 41 F. Supp. 3d 24, 30

(D.D.C. 2014); see also Food Lion, Inc. v. United Food and Commercial Workers, 103 F.3d 1007,

1016 (D.C. Cir. 1997) (rejecting argument that movant must demonstrate bad faith by contemnor);

Armstrong v. Executive Office of the President, 1 F.3d 1274, 1289 (D.C. Cir. 1993). “[A litigant’s]

intent in failing to comply . . . is irrelevant.” CFTC v. Trade Exch. Network Ltd., 117 F. Supp. 3d

22, 26 (D.D.C. 2015).

         If the party seeking contempt sanctions makes the above prima facie showing, the burden

shifts to the putative contemnor to produce evidence justifying noncompliance either because of

an inability to comply or good faith and substantial compliance. MasTec Advanced Technologies

v. National Labor Relations Board, No. 1:20-mc-0022, 2021 WL 4935618, at *3 (D.D.C. June 3,

2021). Both good faith and substantial compliance “must be accompanied by adequate detailed

proof.” Int’l Painters & Allied Trades Indus. Pension Fund v. ZAK Architectural Metal & Glass

LLC, 736 F. Supp. 2d 35, 38 (D.D.C. 2010). “To prove good faith substantial compliance, the

contemnor must show that it ‘took all reasonable steps within [its] power to comply.’” SEIU Nat’l

Indus. Pension Fund v. Artharee, 48 F. Supp. 3d 25, 30 (D.D.C. 2014) (alteration in original)

(quoting Int’l Painters, 736 F. Supp. 2d at 40). A party’s good faith may be a factor in determining

whether substantial compliance occurred, and may be considered in mitigation of damages, but

good faith alone is not sufficient to excuse contempt. Food Lion, Inc., 103 F.3d at 1017-18.

   II.        The Requirements for Holding Twitter in Civil Contempt Are Satisfied Here

         A.      Twitter Has Failed to Comply with a Clear and Unambiguous Order

         The Warrant issued by this Court unambiguously requires Twitter to produce the records

delineated in Attachment B. Twitter knows full well what it must do to comply with the Warrant.

Indeed, on February 5, 2023, Twitter informed the government that it is fully prepared and able to




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“produce data responsive to the Warrant.” Email from George Varghese, Feb. 5, 2023; see Opp.

10. But Twitter states it will comply with the Warrant and provide the data only if the government

agrees not to review that data until this Court decides Twitter’s motion to vacate or modify the

separate NDO. In short, Twitter refuses to comply because it has purportedly decided to “safeguard

the privacy” of a particular user. Opp. 3.

        B.      Twitter Does Not and Cannot Demonstrate an Inability to Comply or Good
                Faith Substantial Compliance

        Twitter offers no technical obstacle to complying with the Warrant. Indeed, as noted

above, it appears Twitter has already gathered the responsive information. Instead, Twitter claims

that legal obstacles prevent it from complying with this Court’s order. But Twitter can avail and

has availed itself of an independent legal avenue to challenge the NDO. It has entirely failed to

comply with the Warrant, let alone substantially comply. And even if it had substantially

complied, its invocation of an unfounded executive privilege claim belies its purported good faith.

                 1.     Twitter Cannot Refuse to Comply Based on Potential Privileges
                        Possessed by Third Parties

        Twitter does not dispute that no legal authority permits a third party served with a search

warrant to contest that warrant before it is executed. See Opp. 4; Gov. Mot. at 1, 3. Twitter instead

contends (Opp. 4) that the absence of any legal mechanism to press such a challenge is “entirely

unsurprising” given the “unique situation” implicating “significant and unresolved legal issues”

that the Warrant presents. But the potential for a legal challenge to information obtained through

a search warrant, whether “unique” or not, provides no basis for the recipient of a search warrant

to refuse, on behalf of a third party, to execute it.

        The practical consequences of adopting Twitter’s amorphous standard are momentous. As

Twitter observes (Opp. 3-4), Twitter users on whose accounts a search warrant has been executed




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could potentially advance any number of legal arguments, including privilege claims (such as

attorney-client, clergy-penitent, Speech or Debate) and suppression claims under the Fourth

Amendment. Twitter correctly acknowledges (Opp.3) that it lacks standing to assert its users’

“rights and privileges” but nonetheless proceeds to advocate an approach that would permit Twitter

not to comply with a court order directing it to execute a search warrant any time Twitter deems

the situation “unique” (Opp. 4) or determines that the warrant presents “challenging and substantial

issues” (Opp.1). Neither legal authority nor an overarching interest in protecting the privacy of

its users permits Twitter to arrogate such power to itself. See Matter of Warrant to Search a Certain

E-Mail Acct. Controlled & Maintained by Microsoft Corp., 855 F.3d 53, 56 (2d Cir. 2017)

(Carney, J, concurring in the order denying rehearing en banc) (noting that a warrant “issued by a

neutral magistrate judge upon a showing of probable cause . . . satisfied the most stringent privacy

protections our legal system affords”). Here, Twitter seeks to deploy that power to characterize

the Warrant as “unique” and, in contravention of the court’s order, unilaterally impose heightened

requirements for execution of a search warrant where a high-profile client is involved. The

government merely seeks evenhanded application of established legal principles.

        Furthermore, the potential for collateral litigation around search warrants under Twitter’s

approach is significant. Every time Twitter deems a case—or a user—“unique,” it could intervene

in a case to delay a criminal investigation. But even Twitter recognizes that that is not how the

law works because it is not permitted to notify users of law enforcement requests where “legally

prohibited from doing so.” Opp. 3. Here, such a prohibition exists, yet Twitter nonetheless seeks

special treatment for this user.

       None of the cases that Twitter cites supports its novel approach. See Opp. 5-6. For one,

none of those cases involved a potential executive privilege claim—a claim that lacks merit. See




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infra at 6-9. Additionally, none of those cases involved a pre-enforcement challenge brought by a

third party that held no cognizable privilege in the materials to be seized under the warrant. See,

e.g. In re Sealed Search Warrant & Application for a Warrant by Tel. or Other Reliable Elec.

Means, 11 F.4th 1235, 1238-39 (11th Cir. 2021), cert. denied sub nom. Korf v. United States, 214

L. Ed. 2d 15, 143 S. Ct. 88 (2022) (challenge brought by attorneys “assert[ing] attorney-client and

work-product privilege over at least some of [the] documents”); In re Search Warrant Issued June

13, 2019, 942 F.3d 159, 164-65 (4th Cir. 2019) (challenge brought by law firm invoking attorney-

client and work-product privilege over materials); Klitzman, Klitzman & Gallager v. Krut, 744

F.2d 955, 956 (11th Cir. 1984) (post-search challenge brought by defendant, an attorney, whose

materials were seized); United States v. Vepuri, 585 F. Supp. 3d 760, 762 (E.D. Pa. 2021) (pre-

enforcement challenge to procedure for review of potentially privileged materials brought by the

defendant); United States v. Ritchey, No. 21-cr-6, 2022 WL 3023551, at *1-*2 (S.D. Ohio June 3,

2022) (post-search challenge to filter protocol). 1 In each of those cases, moreover, the search

warrant was executed, and the parties then litigated whether any right or privilege precluded full

government access to them. In short, Twitter can point to no case approving its course of action

here: refusing to execute a valid search warrant given the potential for a privilege claim.

       Nor does Twitter’s attack (Opp. 11-14) on Google LLC v. United States, 443 F. Supp. 3d

447 (S.D.N.Y. 2020), aid its argument. As relevant here, Google stands for the uncontroversial

principle—borne out by the briefing schedule this Court has now adopted—that the Warrant and



1
 The Third Circuit’s decision in In re Search Warrant (Sealed), 810 F.2d 67, 70-71 (3d Cir. 1987),
which involved a physician seeking to protect the privacy rights of his patients, is nothing like
Twitter’s relationship to its users—as Twitter itself recognizes. See Opp. 3 (recognizing the
“medical professional and patients” privilege); see also United States v. Westinghouse Elec. Corp.,
638 F.3d 570, 572 (3d Cir. 1980) (similar approach involving “privacy interests of employees in
their medical records”).


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the NDO do not travel together. Id. at 455. Twitter criticizes Google’s reasoning with respect to

the decision to deny the movant’s efforts—similar to Twitter’s here—to vacate or modify the

NDO. Whatever the merits of that reasoning, Twitter’s obligation to comply with a clear court

order does not turn on it. To be sure, the court in Google relied largely on its analysis rejecting

the motion to vacate the NDO, which in turn mooted Google’s motion to stay execution of the

warrant. But even if Twitter succeeded on its NDO challenge, Twitter identifies no case for the

proposition that enjoining execution of the Warrant would also be appropriate. 2

                2.     In Any Event, Executive Privilege Provides No Basis for Twitter to
                       Refuse Compliance

       Even if Twitter could rely on a third party’s potential privilege claims as a basis to refuse

compliance with a search warrant, it fails to demonstrate a colorable claim of executive privilege

here that could justify such non-compliance. The executive-privilege claims that Twitter

speculates might be available to the former President are entirely without merit.

       The former President would have no basis to challenge the government’s access to his

Twitter account based on executive privilege because the warrant requires access to the materials

by the Executive Branch itself. Executive privilege is “inextricably rooted in the separation of

powers under the Constitution,” United States v. Nixon, 418 U.S. at 708, and it “derives from the

supremacy of the Executive Branch within its assigned area of constitutional responsibilities,”

Nixon v. Gen. Servs. Admin., 433 U.S. 424, 447 (1977). The privilege exists “not for the benefit of

the President as an individual, but for the benefit of the Republic.” Id. at 449. Consistent with the

privilege’s function of protecting the Executive Branch as an institution, it may be invoked in



2
 Twitter’s reliance on two First Amendment prior restraint cases (Opp. 14) is inapposite. Among
other things, neither case involved an ongoing criminal investigation where, as here, the
government had obtained a search warrant.


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appropriate cases to prevent the sharing of materials outside the Executive Branch—i.e., with

Congress, the courts, or the public. Cf. Trump v. Thompson, 142 S. Ct. 680, 680 (2022) (per curiam)

(noting unresolved questions about whether and under what circumstances a former President can

invoke the privilege to prevent such “disclosure”—there, to Congress). But the separation-of-

powers principles that form the basis for executive privilege provide no justification to prevent the

Executive Branch itself from accessing the materials.

       Twitter cites no case in which executive privilege has been successfully invoked to prohibit

the sharing of documents within the Executive Branch, and the government is aware of none. To

the contrary, in what appears to be the only case in which such an assertion has ever been made,

Nixon v. GSA, the Supreme Court rejected former President Nixon’s assertion that a statute

requiring the General Services Administration to take custody of and review recordings and

documents created during his presidency violated either the separation of powers or executive

privilege. 433 U.S. at 433-36. Addressing the separation of powers, the Court emphasized that the

Administrator of the GSA “is himself an official of the Executive Branch,” and that the GSA’s

“career archivists” are likewise “Executive Branch employees.” Id. at 441. The Court rejected the

former President’s invocation of privilege against the statutorily required review by the GSA,

describing it as an “assertion of a privilege against the very Executive Branch in whose name the

privilege is invoked.” Id. at 447-48. The Court explained that the relevant question was whether

review by Executive Branch officials within the GSA would “impermissibly interfere with candid

communication of views by Presidential advisers.” Id. at 451. And it held that the question was

“readily resolved” because the review in question was “a very limited intrusion by personnel in

the Executive Branch sensitive to executive branch concerns.” Id.

       Indeed, when the former President previously sought to prevent the Department of Justice




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from accessing documents from his presidency on the basis of executive privilege, the United

States National Archives and Records Administration (“NARA”) flatly rejected that attempt. 3

After NARA found documents with classified markings within 15 boxes of presidential documents

that the former President provided to NARA and notified the Department of Justice, the former

President sought to prevent the Department of Justice from accessing the materials on the basis of

executive privilege. See Letter from Debra Steidel Wall, Acting Archivist of the United States, to

Evan Corcoran (May 10, 2022) at 1, available at https://www.archives.gov/files/foia/wall-letter-

to-evan-corcoran-re-trump-boxes-05.10.2022.pdf. NARA rejected those efforts, noting that with

respect to the former President’s attempt to assert executive privilege to prevent others within the

Executive Branch from reviewing the documents, its decision was “not a close one.” Id. at 3.

       The issue here is similarly not close, and Twitter’s speculation is even further afield given

the extreme unlikelihood that the former President’s Twitter account will contain confidential

communications subject to executive privilege. The presidential-communications privilege, which

appears to be the only form of executive privilege to which Twitter refers in its brief, applies to

communications involving the President and his immediate White House advisers (and their staff)

that “reflect presidential decisionmaking and deliberations and that the President believes should

remain confidential.” In re Sealed Case, 121 F.3d 729, 744 (D.C. Cir. 1997). The privilege applies

only to “communications in performance of a President’s responsibilities of his office and made

in the process of shaping policies and making decisions.” GSA, 433 U.S. at 449 (internal citation

and quotation omitted). Twitter provides no basis to conclude that the former President used his

Twitter account—rather than face-to-face conversations, written memoranda, or even electronic


3
  At the time Nixon v. GSA was litigated, the National Archives was a part of the General Services
Administration. In 1985, Congress created the National Archives and Records Administration as
a separate agency.


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communications through government accounts—to communicate confidentially with his advisors

about presidential matters. Indeed, as the former President has acknowledged, he used the account

during his presidency “as a channel for communicating and interacting with the public about his

administration.” Knight First Amend. Inst. at Columbia Univ. v. Trump, 928 F.3d 226, 231 (2d Cir.

2019), cert. granted, judgment vacated sub nom. Biden v. Knight First Amend. Inst. At Columbia

Univ., 141 S. Ct. 1220 (2021) (emphasis added). Twitter’s supposed concern about potential

executive-privilege issues provides no basis to refuse compliance with the valid warrant here.

   III.      The Court Should Enter an Order Imposing Monetary Sanctions Until Twitter
             Complies with the Warrant

          Twitter’s failure to comply with a clear and unambiguous order warrants a finding of

contempt and coercive sanctions.

          “Judicial sanctions in civil contempt proceedings may, in a proper case, be employed for

either or both of two purposes; to coerce the defendant into compliance with the court’s order, and

to compensate the complainant for losses sustained.” United States v. United Mine Workers of

America, 330 U.S. 258, 303-304 (1947) (citation omitted). A “per diem, coercive fine . . . is the

epitome of a civil sanction” for contempt. Pigford v. Veneman, 307 F. Supp. 2d 51, 57 (D.D.C.

2004). “[F]ines exert a constant coercive pressure, and once the jural command is obeyed, the

future, indefinite, daily fines are purged.” Int’l Union, United Mine Workers of Am. v. Bagwell,

512 U.S. 821, 829 (1994).        Contempt sanctions “must be sufficiently hefty such that the

contemnors are induced to comply and the Court ‘must then consider the character and magnitude

of the harm threatened by continued contumacy, and the probable effectiveness of any suggested

sanction in bringing about the result desired.’” In re Grand Jury Investigation of Possible

Violations of 18 U.S.C. § 1956 & 50 U.S.C. § 1705, Misc. Nos. 18-175, 18-176, 18-177 (D.D.C.




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Apr. 10, 2019) (BAH), 2019 WL 2182436, at *4 (quoting United Mine Workers of Am., 330 U.S.

at 304).

       To maximize the likelihood of obtaining Twitter’s rapid compliance with this Court’s

decision, the government respectfully requests that the Court impose escalating daily fines. See

Pigford, 307 F. Supp. 2d at 54 (adopting fine of $1,000 per day for first month of contempt,

increasing by $1,000 for each subsequent month the contempt continued unpurged). The amount

of any fine should be commensurate with the gravity of Twitter’s non-compliance and Twitter’s

ability to pay. 4 See, e.g., NLRB v. Local 3, International Brotherhood of Elec. Workers, 471 F.3d

399, 405 (2d Cir. 2006) (affirming a per-violation prospective compliance fine plus an additional

$5,000 per day for each day that a violation continues); In re Grand Jury Investigation of Possible

Violations of 18 U.S.C. § 1956 & 50 U.S.C. § 1705, 2019 WL 2182436, at *5 (explaining that a

“[d]aily imposition of a $50,000 fine is fitting” for “multi-billion-dollar banks disregarding an

order to produce records or a witness essential to an investigation into a state-sponsor of terrorism’s

proliferation of nuclear weapons”); id. (“Courts previously have approved the amount of $50,000

per day as an appropriate sanction for other well-resourced corporations and international banks.”)

(citing multiple cases in support); see also Pigford, 307 F. Supp. 2d at 54.




4
 As of October 2022, Twitter was valued at over $40 billion. See Kate Conger & Lauren Hirsch,
Elon Musk Completes $44 Billion Deal to Own Twitter, New York Times (Oct. 27, 2022);
available      at     https://www.nytimes.com/2022/10/27/technology/elon-musk-twitter-deal-
complete.html.




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                                     Respectfully submitted,

                                     JACK SMITH
                                     Special Counsel

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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

     * * * * * * * * * * * * * * * *
    In the Matter of The Search of         )   Case No. 23-SC-31
    Information That is Stored             )
    at Premises Controlled by              )
    Twitter, Inc.                          )
                                           )
    UNITED STATES OF AMERICA,              )   February 7, 2023
              Interested Party,            )   1:32 p.m.
                                           )   Washington, D.C.
    TWITTER,                               )
             Interested Party.             )
    * * * * * * * * * * * * * * * *

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                         TRANSCRIPT OF HEARING
                 BEFORE THE HONORABLE BERYL A. HOWELL,
                UNITED STATES DISTRICT COURT CHIEF JUDGE

    APPEARANCES:

    FOR THE UNITED STATES:
                        GREGORY BERNSTEIN
                        JAMES PEARCE
                        THOMAS WINDOM
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                          WHITNEY RUSSELL
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    Court Reporter:       Elizabeth Saint-Loth, RPR, FCRR
                          Official Court Reporter


               Proceedings reported by machine shorthand.
          Transcript produced by computer-aided transcription.
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1                           P R O C E E D I N G S

2                THE COURTROOM DEPUTY:      Matter before the Court,

3     Case No. 23-SC-31, In the matter of the search of

4     information that is stored at premises controlled by

5     Twitter, Inc.     Interested parties:    United States of America

6     and Twitter, Inc.

7                Counsel, please come forward and state your names

8     for the record, starting with the government.

9                MR. BERNSTEIN:     Good afternoon, Your Honor.

10    Greg Bernstein, Thomas Windom, Mary Dohrmann, and

11    James Pearce for the United States.

12               THE COURT:    All right.     Just so you all know, if

13    you are feeling okay today, and you are fully vaccinated,

14    when you are speaking you can remove your masks so we can

15    all hear you better.

16               During the pandemic, I guess, it was nice that I

17    have so much strong air conditioning in my courtroom, but it

18    does create a lot of white noise.       It's a lot easier to

19    understand you if you are speaking without your mask.

20               For Twitter.

21               MR. VARGHESE:     Good afternoon, Your Honor.

22    My name is George Varghese on behalf of Twitter.         I am

23    joined today by my colleagues, Ari Holtzblatt, Ben Powell --

24               THE COURT:    Okay, wait.    Slow down.

25               So you are Mr. Varghese.      Are you going to be

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1     mostly speaking today, Mr. Varghese.

2                MR. VARGHESE:    Yes, Your Honor.

3                THE COURT:    Who else is there?

4                MR. VARGHESE:    Ari Holtzblatt.

5                THE COURT:    Ari Holtzblatt.    Which one of you is

6     that?

7                MR. HOLTZBLATT:    I am, Your Honor.

8                MR. VARGHESE:    Ben Powell.

9                THE COURT:    Ben Powell.    P -- Powell with a "P"?

10               MR. POWELL:   Yes, Your Honor.

11               THE COURT:    Got it.

12               MR. VARGHESE:    And Whitney Russell.

13               THE COURT:    All right.    Who is the personal

14    representative from Twitter?

15               MR. VARGHESE:    We don't have a personal

16    representative from Twitter.

17               THE COURT:    I thought my order directed that there

18    be a personal representative from Twitter here.

19               MR. VARGHESE:    I don't believe the minute order

20    did, Your Honor.

21               THE COURT:    Okay.     Maybe the government wanted a

22    personal representative?

23               MR. VARGHESE:    That's correct, Your Honor.      I

24    believe their draft order did.       But, in the minute order,

25    the Court did not --

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1                THE COURT:   Okay.      So I only have the attorneys --

2     outside counsel attorneys for Twitter sitting at counsel

3     table?

4                MR. VARGHESE:    Yes, Your Honor.

5                THE COURT:   Okay.      Just so I know who is who.

6                All right.   So we're here, first, on the

7     government's motion for issuance of the order to show cause

8     why Twitter should not be held in contempt; although, I know

9     that we have this other pending motion filed by Twitter, and

10    some of the conversation today will probably address both.

11               And even though I gave briefing -- a briefing

12    schedule for the First Amendment challenge to the NDO, that

13    doesn't require briefing to be done until the end of

14    February -- towards the end of February.       So I would like to

15    focus on the order to show cause for contempt first;

16    although, there is not that much difference between a motion

17    for an order to show cause why a party should be held in

18    contempt and a contempt hearing itself.

19               So let me just point out that under our local

20    Criminal Rule 6.1:    All hearings affecting a grand jury

21    proceeding shall be closed, except for contempt proceedings

22    in which the alleged contemnor requests a public hearing.

23               I am confident the government is not requesting a

24    public hearing.

25               Is Twitter requesting a public hearing today?

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1                MR. VARGHESE:    No, Your Honor.

2                THE COURT:    Okay.     Perfect.    Because that would

3     have been denied, but that saves me time.

4                All right.    So let me just put on the table some

5     of the issues that I want to discuss today so you all --

6     we're all lawyers.     None of us like to be surprised.       Let me

7     just tell you the things that I am puzzling over, generally.

8                The precise deadline for the search warrant's

9     compliance given the back and forth between the parties, the

10    formal or informal extensions that the government gave.

11               Second, I need to be clear about what Twitter has

12    seen of the warrant package.       I don't know how many of you

13    at Twitter's table have ever been prosecutors; but you know

14    the warrant is a very thin little part -- important part,

15    critical part, it is a court order -- a thin part of a

16    warrant package.    I am not clear from this record what

17    Twitter has seen and what it hasn't.          It doesn't know very

18    much at all, although it thinks it does, about the

19    government's investigation; but it certainly doesn't know, I

20    don't think, very much about the warrant that I signed and

21    all of its parts.    But I need to be clear about what it does

22    and doesn't know about that.

23               Third, Twitter's thrown up "NARA," and I need to

24    know where there is an overlap or not between what the

25    search warrant is demanding and requiring Twitter to turn

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1     over, and what NARA holds now or potentially in the future.

2     Not that that's all relevant here.        But I actually want to

3     be clear in my own mind in addressing, if not today, with

4     respect to the NDO challenge -- the merits of Twitter's

5     arguments.

6                  Fourth, Twitter's standing here to raise any

7     issues as to the NDO or the warrant and the account user's

8     privileges, and whether those concerns -- even if Twitter

9     doesn't have standing -- warrant, on consideration, a

10    rewrite of the Court order, which is what Twitter is

11    actually demanding here, which is a rewrite of the warrant.

12                 And then, finally, whether Twitter has acted in

13    good faith, and what is necessary for enforcement and

14    compliance with the Court ordered warrant.

15                 Those are, generally, the topics I plan to

16    discuss.

17                 Who is arguing on behalf of the government?

18                 MR. BERNSTEIN:   Greg Bernstein, Your Honor.

19                 THE COURT:   Okay.    Mr. Bernstein, step forward to

20    the podium.

21                 Okay.   So the warrant, by its terms, is pretty

22    explicit about saying that the warrant issued on

23    January 17th gave ten days for the warrant returns to be

24    delivered to the government, which brings us to -- if my

25    math is right, and I am a mere J.D., January 27th -- which

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1     is -- again, if my math is right -- about ten days ago; ten

2     days --

3                MR. BERNSTEIN:     Yes, Your Honor.

4                THE COURT:    -- in a matter of national importance

5     pending before the special counsel's office.

6                MR. BERNSTEIN:     Yes, Your Honor.

7                THE COURT:    Okay.      But then, when I look at these

8     negotiations going back and forth between Twitter and the

9     government -- I guess it was you on the other end of the

10    communications with the Twitter general counsel or counsel?

11               MR. BERNSTEIN:     Yes, Your Honor.       I was the one

12    speaking with                        who identified           as the

13    most senior counsel for Twitter.

14               THE COURT:    Okay.      By my review back and forth of

15    this, you gave Twitter an extension -- almost until

16    February 1 -- for Twitter to provide authority, I guess, for

17    refusing to comply with the warrant on a timely basis.          But

18    it seemed like the government was giving little extensions

19    back and forth.

20               So when is it that the government expected this

21    warrant, given that back and forth with Twitter's counsel --

22    when did the government expect Twitter to comply?

23               MR. BERNSTEIN:     So, Your Honor, just to be clear,

24    the order itself, which I don't think the government has any

25    authority to modify unilaterally -- just as Twitter

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1     doesn't -- ordered the production of these records by

2     January 27th.     The negotiations to which Your Honor

3     refers --

4                 THE COURT:   Yes.   But in terms of fairness and

5     equity and bad-faith measurements, I am looking at

6     compliance here, in terms of and assessing what the contempt

7     penalty should be; I look at the amount of the delay.

8                 MR. BERNSTEIN:    Yes, Your Honor.

9                 THE COURT:   Ten days is a long time.      But I am not

10    sure that ten days is the right assessment of that delay.

11                MR. BERNSTEIN:    I can give Your Honor a timeline

12    of the discussions --

13                THE COURT:   Don't.     Don't.   The back and forth is

14    ridiculous.    What's the government -- I mean, I don't have

15    time for that, and I have read it -- between the declaration

16    and the government's papers, and the back and forth.

17                What is the bottom line?     When did the government

18    expect, as a final drop dead date, for the warrant returns

19    to be put in your hands?

20                MR. BERNSTEIN:    It's January 27th.

21                And the request for authority by February 1 was

22    not to say:    We are extending the deadline of the warrant

23    which, of course, is Your Honor's order.        It was to say:

24    Give us authority for your position by this time or we

25    intend to pursue court intervention.

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1                THE COURT:   All right.     Now let's turn to the

2     warrant package.    Okay.

3                So the warrant package consisted of an incredibly

4     lengthy affidavit, the warrant itself.       The warrant itself

5     had Attachment A, property to be searched; it had

6     Attachment B, particular things to be searched; and

7     Attachment B had different parts.

8                Now, certainly, Twitter hasn't seen the

9     application part of the package; it hasn't seen the

10    affidavit part of the package.       Is that right?

11               MR. BERNSTEIN:    Yes, Your Honor.

12               THE COURT:   That's correct?

13               MR. BERNSTEIN:    That's correct, Your Honor.

14               THE COURT:   Certainly, Twitter has seen the

15    warrant and Attachment A; is that correct?

16               MR. BERNSTEIN:    That's correct, Your Honor.

17               THE COURT:   And out of Attachment B, has Twitter

18    seen any part other than Part 1?

19               MR. BERNSTEIN:    No, Your Honor.

20               THE COURT:   Okay.      Well, that's sort of what I

21    thought, but I wanted to make sure.

22               So Twitter, as it sits here, has zero idea and

23    zero affirmation about whatever filter protocol or procedure

24    there is attached to this warrant in terms of processing any

25    warrant returns; is that correct?

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1                MR. BERNSTEIN:    That's correct, Your Honor.

2                THE COURT:   And if they know, it's not from the

3     government.

4                MR. BERNSTEIN:    I'm sorry.     Can you repeat the

5     question, Your Honor?

6                THE COURT:   They wouldn't know from the

7     government.

8                MR. BERNSTEIN:    They would not know from the

9     government, Your Honor, that's correct.

10               THE COURT:   All right.    So to the extent that

11    Twitter is standing here, as I understand their position,

12    trying to protect any privilege of the account user with

13    this solution of providing prior notice to the account user,

14    they are taking no account because they can't -- because

15    they haven't seen it and they don't know anything about any

16    filter protocol that might be attached to this warrant.

17               MR. BERNSTEIN:    That's correct, Your Honor.      They

18    do not know about any filter protocol that could or could

19    not be attached to the warrant.

20               THE COURT:   Got it.     Okay.

21               I just want to make it clear, when providers step

22    in here and take up my time on what should be a simple

23    processing of a warrant, exactly how much in the dark they

24    are.   Okay.

25               Now let's turn to what came up in your discussions

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1     with the Twitter lawyer, in-house lawyer, and was also put

2     in the lawyer's declaration.        I also saw in Twitter's

3     papers, here, that Twitter believes that the government

4     could obtain all of the information it's seeking in the

5     search warrant from NARA, the good old archivist of the

6     United States.

7                So does the government know whether NARA has all

8     of the information sought by this search warrant directly

9     from Twitter?

10               MR. BERNSTEIN:     We have spoken to NARA after we

11    had these communications with Twitter.        And they represented

12    to us that there is not complete overlap between the

13    Attachment B and the records in their possession.

14               THE COURT:    Okay.      Do you know what they have

15    versus what the warrant is seeking?

16               MR. BERNSTEIN:     Could I have one moment to confirm

17    with co-counsel, Your Honor?

18               THE COURT:    Yes.

19               And let me just say, it may be that Twitter has

20    better information on that because Twitter supposedly

21    provided the information to NARA.        But go ahead.

22               (Whereupon, government counsel confer.)

23               MR. BERNSTEIN:     Thank you, Your Honor.

24               So, in the preliminary conversation we had with

25    counsel for NARA, their representation was more, on a

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1     general level, that the data that NARA had in its possession

2     was not a complete overlap with what we would have in the

3     Attachment B.     And I believe that Twitter's opposition also

4     makes reference to much of the data being in there as --

5                THE COURT:    I know.     I am going to talk to them

6     about that.    I saw that too.      It was pretty clear.   Not a

7     complete overlap -- not the briefing.       The briefing was a

8     little bit more vague about that but, certainly, the

9     declaration was more precise; that they said much of the

10    information required under the warrant was turned over to

11    NARA without saying a complete overlap.

12               MR. BERNSTEIN:     That's correct, Your Honor.

13               THE COURT:    But do you know what is missing from

14    NARA?

15               MR. BERNSTEIN:     We are not in a position

16    ourselves, at this moment, to make a representation --

17               THE COURT:    So, Twitter, you be ready to answer

18    that.

19               Okay.    So, now, the Presidential Records Act -- I

20    am going to read you part of this -- provides, in relevant

21    part, quote:     When the archivist determines under this

22    chapter to make available to the public any presidential

23    record that has not previously been made available to the

24    public, the Archivist shall promptly provide notice of such

25    determination to the former President during whose term of

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1     office the record was created.        That's at 44 U.S.C. Section

2     2208(a)(1)(A)(i).

3                  Is that provision the basis for the government's

4     belief -- and I think you made the representation to the

5     Twitter counsel -- that the government would have to inform

6     the former President before they were able to get this

7     information from NARA?     You couldn't do it covertly.

8                  Is that the specific provision that you are

9     relying on?

10                 MR. BERNSTEIN:   I am not sure that's the specific

11    provision.     But I do know that -- having spoken to NARA

12    counsel, they have made it clear to us that there will be

13    notice to the President if we attempt to obtain this

14    evidence from them directly.

15                 THE COURT:   And you heard that from whom?

16                 MR. BERNSTEIN:   That's Gary Stern, the general

17    counsel of NARA, Your Honor.

18                 THE COURT:   But you didn't find out from

19    Gary Stern what provision of the Presidential Records Act he

20    was relying on, and whether it was this one in particular?

21                 MR. BERNSTEIN:   No, Your Honor.

22                 THE COURT:   Well, I mean, Gary Stern is a great

23    lawyer, but I would still ask him for a citation.

24                 Because, if it's this provision, I really am

25    puzzled -- when there is a request to NARA on a covert basis

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1     pursuant to a warrant or a subpoena to produce information,

2     that's not producing it to the public.        So I am not sure why

3     that would require notice -- an advance notice to the

4     privilege -- to the former President, whose records they are.

5                  MR. BERNSTEIN:    We will go back with Gary Stern

6     and hash that out, Your Honor.

7                  As a practical matter, that has been the process

8     thus far; that, when we have made these requests for

9     information in the possession of NARA, that there's been

10    notification, and the President has had -- the former

11    President's had some opportunity to challenge that process.

12                 THE COURT:    Okay.    Even when the government is

13    serving a subpoena?       So not for public dissemination?

14                 MR. BERNSTEIN:    Yes, Your Honor.

15                 THE COURT:    All right.   Well, I am sort of

16    curious.   Maybe, when you are litigating the rest of this,

17    you can talk to Mr. Stern who knows the Presidential Records

18    Act, I know, inside and out.        He can educate all of us

19    because, as I look at the PRA, I am not sure where he is

20    getting that.

21                 MR. BERNSTEIN:    We'll find out, Your Honor.

22                 THE COURT:    Okay.    But neither here nor there, in

23    some ways.

24                 But -- and also, I actually have a question about

25    whether this Twitter account used by the former President

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1     and his staff, I guess, is even subject to the Presidential

2     Records Act.

3                I mean, the Presidential Records Act says:       The

4     President may not create or send a presidential record using

5     a nonofficial electronic message account unless the

6     President copies an official electronic messaging account of

7     the President, in the original creation or transmission of

8     the presidential record; or forwards a complete copy of the

9     presidential record to an official electronic messaging

10    account of the President not later than 20 days after the

11    original creation or transmission of the presidential

12    record.   That's under 44 U.S.C. Section 2209(a)(1) through (2).

13               So if that provision of the Presidential Records

14    Act wasn't complied with by the former President with

15    respect to his Twitter account activity, does this mean that

16    this Twitter account activity falls outside the protection

17    of the Presidential Records Act, doesn't even qualify as a

18    presidential record, which, of course, would also have an

19    impact on any assessment of whether any contents of his

20    Twitter account are entitled to any executive privilege.

21               So have you conferred with NARA about whether the

22    Twitter account is even subject to the Presidential Records

23    Act?

24               MR. BERNSTEIN:   I can confirm with co-counsel

25    whether we have had conversations with NARA about that.

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1                  The representation that we received from

2     Twitter -- and they can speak more about this -- is that --

3     I believe is that the White House made some effort to

4     designate part or all of the Twitter account as a

5     presidential record and turn it over to NARA.         But I think

6     that counsel for Twitter might be in a better position to

7     talk about what happened with respect to the President's --

8     the former President's Twitter account and how it ended up

9     going into the possession of NARA.

10                 THE COURT:   Let me step back for a minute.

11                 What constitutes a presidential record subject to

12    the PRA is pretty defined.      And that's helpful when you're

13    defining what a presidential record is and it's, certainly,

14    helpful when you are making an assessment of a presidential

15    privilege.

16                 So do you think this is a rabbit hole or worth

17    inquiring about?

18                 MR. BERNSTEIN:   Well, I wouldn't necessarily

19    characterize it as a "rabbit hole."       But I think, for

20    purposes of today's hearing, whether there was an

21    alternative route for the government to obtain these

22    records, yes or no --

23                 THE COURT:   Is beside the point, I agree.

24                 But as I said, part of this hearing is going to

25    be -- as you saw in my scheduling order, I am only going to

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1     have a hearing on the NDO if it's necessary; and I am trying

2     to make it not necessary by doing that hearing now.          And

3     actually, you know, in some ways, it's a constructive way to

4     hold a hearing; have the hearing so you can see what I am

5     puzzling over so you can address it in your briefing.

6                 MR. BERNSTEIN:     Then that's fair, Your Honor.

7     I think for the purpose of today -- perhaps beside the

8     point.   For the purpose of the NDO briefing, it's helpful to

9     hear Your Honor's thoughts on this so that we can address

10    them before that hearing actually comes up.

11                THE COURT:    And you are welcome to tell me in your

12    briefing that this is a rabbit hole, not relevant, or

13    whatever.      But, I mean, I am just looking at this and

14    puzzling over how the PRA serves as any kind of valid

15    defense to compliance with a search warrant and trying to

16    figure out what the basis of that is at all when, you know,

17    I am not confident that the PRA -- that whatever was turned

18    over to NARA is what is being called for in the warrant.           I

19    am not confident that the Twitter account is even subject to

20    the PRA, let alone is a presidential record.         So I'd just

21    invite the government to help me figure that out.          Maybe you

22    will do it in your briefing.

23                Okay.    So now let's turn to more specific

24    executive privilege concerns, which is why Twitter wants to

25    rewrite the warrant to turn it from a covert warrant to an

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1     advance notice warrant and, basically, not disclose any

2     information to the government until, I guess, the former

3     President's had an opportunity -- or the account user's had

4     an opportunity to decide whether he wants to challenge the

5     warrant and then, if so, to challenge the warrant, and then

6     assert whatever privileges he has.

7                Part of the reason Twitter says they're doing that

8     here is because -- they call the issues concerning executive

9     privilege difficult and novel questions.

10               Does the government find these issues difficult

11    and novel or is that just Twitter's take on these questions,

12    because it hasn't been living with them for as long as the

13    government has been?

14               MR. BERNSTEIN:    I have a few responses to that,

15    Your Honor, and I will be succinct here.

16               First -- one factual, one legal.       First, for

17    factual context, Twitter has proffered no evidence -- and I

18    don't think the government is aware of any evidence -- that

19    the former President used his private Twitter account to

20    engage in communications with his senior advisors about

21    matters that were vital to presidential decisionmaking.

22               There is no evidence in the record whatsoever --

23    and I don't think Twitter is going to proffer any

24    evidence -- to show that there is a serious possibility that

25    we are going to find executive privileged communications on

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1     his private Twitter account.

2                As a legal matter, the case law -- and I am

3     referring to GSA versus Nixon right now -- makes it clear

4     that it's not the same as, say, an attorney-client issue

5     where communications that are protected by the

6     attorney-client privilege don't belong to the government or

7     don't belong to the executive branch.      In this case, the

8     assertion here is that these are communications that are

9     privileged that belong to the executive branch.        Of course,

10    we are the executive branch.       So there can't be any unlawful

11    disclosure of communications that are protected by the

12    executive privilege to the executive branch itself.

13               That aside, Your Honor -- again, I think this is

14    what Your Honor was alluding to at the beginning of the

15    hearing.   The issuing judge, which is Your Honor, the Chief

16    Judge in this district already considered these issues,

17    already hashed these issues out when Your Honor issued a

18    warrant, a clear order to Twitter to produce the

19    Attachment B records within ten days.

20               THE COURT:    A clear order.    They haven't seen the

21    full order.    They haven't seen the full order but --

22               MR. BERNSTEIN:    But they have seen the order to

23    produce the records --

24               THE COURT:    Correct.

25               MR. BERNSTEIN:    -- the unambiguous order to

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1     produce the records.

2                THE COURT:    They have seen the only part of it for

3     which they're responsible?

4                MR. BERNSTEIN:    That's correct.

5                And the response to that has been, "Thank you, no

6     thank you."    We have decided, on our own timetable, one that

7     we are -- seem to be implementing for what they consider to

8     be a quote-unquote unique client.

9                THE COURT:    Right.    Well, it's my view, just so,

10    Twitter, you are clear:     You may think these are difficult

11    and novel issues.    For the others of us in this room, they

12    are not.

13               All right.    On your last point, that it's hard to

14    imagine -- to paraphrase you -- it's hard to imagine that

15    the President would use a Twitter account to engage in the

16    types of confidential presidential decisionmaking issues

17    that are subject to executive privilege.

18               But Twitter apparently has these communications

19    mechanisms for direct messaging, and so on.        So is it

20    remotely possible that the former President could have

21    communicated with his closest advisors about presidential

22    decisionmaking on Twitter?

23               MR. BERNSTEIN:    Is it theoretically possible that

24    the President sent a direct message to, say, National

25    Security Advisor Robert O'Brien about invading Iran over a

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1     direct message over Twitter?       It's theoretically possibly.

2     I am aware of no evidence in the record or from the

3     investigation that would even remotely support that

4     assertion.

5                  THE COURT:   So it's your view that should -- that

6     the mere fact that these were presidential communications on

7     Twitter, which -- from Twitter's perspective means:         Hey, it

8     could be subject to executive privilege.        From the

9     government's perspective means:       You have got to be kidding;

10    it's most likely nothing there is executive privilege.

11                 MR. BERNSTEIN:   That would --

12                 THE COURT:   We just have two different

13    perspectives on how important the Twitter activity was to

14    the conduct of presidential decisionmaking.

15                 MR. BERNSTEIN:   That there were communications

16    between the President and senior advisors that were vital to

17    presidential decision-making, that was our reaction.

18                 And, again, Twitter has this data in its

19    possession, and they haven't made any kind of representation

20    that they have specifically seen a communication that would

21    fit that bill.

22                 THE COURT:   Although it would be pretty ironic,

23    isn't it, if Twitter, which is trying to stand up and

24    protect the privacy and executive privilege of a former

25    President, went scouring through it to find that evidence?

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1     But I guess it could, which also is something that one could

2     take into account --

3                  MR. BERNSTEIN:   Well, Your Honor --

4                  THE COURT:   -- in assessing the viability of an

5     executive privilege defense on Twitter's part to delay in

6     executing a warrant.

7                  MR. BERNSTEIN:   Well, that is true.     But, Your

8     Honor, they have inserted themselves in this process in

9     contravention of Your Honor's order.

10                 They have decided that they will not comply with

11    the order even though they understand it and they are not

12    challenging the validity of the warrant itself.         And they

13    have come to this argument without any ammunition to suggest

14    that there is any potential for this Twitter account to

15    contain communications that are protected by the executive

16    privilege.     That is the problem here, that this is an order

17    to show cause.     And they are not coming forth with any

18    evidence to show that they are unable to comply, that they

19    have substantially complied, or that the foundation of their

20    argument for why they're not complying has any basis, in

21    fact, whatsoever.

22                 THE COURT:   Twitter has also raised what they

23    call -- and I quote:      The issue of executive privilege in

24    this context, including what limitations might need to be

25    imposed on derivative use of private presidential

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1     communications.    That's in the Twitter motion, at 12 through

2     13.

3                What does the government make of this term

4     "derivative use" and this whole argument?

5                MR. BERNSTEIN:    I think what they're trying to say

6     is that from their point of view -- and there is no citation

7     to authority for this.    But, from their point of view,

8     communications covered by the executive privilege are the

9     same as communications covered by something like

10    attorney-client privilege, where you could actually have

11    prosecutors being tainted off the prosecution team so that

12    no derivative use could be made of those communications.

13               My understanding of the case law surrounding

14    executive privilege is that is distinctly not the case.

15    There is no executive privilege, for example -- or no case

16    that says that -- one, there is no case that says that the

17    executive branch or another part of the executive branch

18    can't be exposed to these communications.       And there is

19    certainly no case to my knowledge that says that if another

20    part of the executive branch were exposed to the

21    communications then, all of a sudden, the prosecutors and

22    agents would be tainted off because of the mere possibility

23    of derivative use.

24               So, in other words, I think they're saying that

25    communications in the possession of the Department of

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1     Justice that potentially could be covered by executive

2     privilege carry with them the same concerns as

3     attorney-client privilege communications; but there is no

4     authority for that proposition, Your Honor, and they have

5     not cited any.

6                THE COURT:   So, interestingly, having lived

7     through Special Counsel Robert Mueller's investigation as

8     chief judge -- it was interesting to me to see that Twitter

9     cites Special Counsel Mueller's report on the investigation

10    into Russian interference in the 2020 election and uses that

11    as -- cites an example where it says:      The White House was

12    given notice in advance of interviews regarding statements

13    made by the President, quote:       To give the White House an

14    opportunity to invoke the executive privilege in advance of

15    the interviews.

16               And it is certainly the practice, often, that a

17    privilege holder is given notice of a motion to compel

18    testimony, as the example from the Mueller report indicates,

19    from another person about potentially privileged

20    communications.    But that same advance notice to a privilege

21    holder is not given before the government obtains covertly

22    potentially privileged records because, obviously, obtaining

23    testimony from a person is not covert.      And if that

24    testimony is obtained from a person before the grand jury,

25    grand jury secrecy rules, under Federal Rule of Criminal

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1     Procedure 6(e), expressly do not subject a grand jury

2     witness to grand jury secrecy.

3                So having -- Twitter having pointed out what are,

4     to most of us -- not novel, not difficult -- but obvious

5     differences between the Mueller report example of giving

6     advance notice to a privilege holder before obtaining

7     potentially privileged testimony from a third person before

8     the grand jury because that's not going to be -- it's not

9     going to be covert.    That grand jury witness can go talk

10    about it to the privilege holder; compared to the obvious

11    difference, as I said, of a covert warrant.

12               Does the government have any other reasons for the

13    difference in procedures between giving advance notice to a

14    privilege holder before obtaining potentially privileged

15    testimony from a person, third party, and not giving such

16    advance notice in connection with covertly obtaining a

17    privilege holder's records pursuant to a Stored

18    Communications Act warrant?

19               MR. BERNSTEIN:    Well, it's just that, Your Honor.

20    It's the fact that if we speak to a witness, that's not a

21    covert step.    Again, the witness can go speak with the

22    President himself or herself, and that often can be the

23    case.   In this case, we're asking for Twitter to simply

24    comply with the unambiguous order that this order issued to

25    produce these records; "these records," being communications

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1     and materials related to the former President, that there is

2     no legal bar to us possessing it in the first place.

3                THE COURT:    Well, are there other reasons for not

4     giving advance notice in connection with a covert warrant to

5     a potential privilege holder that might be incorporated into

6     a nondisclosure order?

7                MR. BERNSTEIN:    In this case, the specific reasons

8     for why we sought the nondisclosure order -- I think if we

9     get into the granular facts, that will be part of an

10    ex parte submission.    But I can say now that we expect to

11    prevail on the litigation related to the NDO.        And the basis

12    for that -- there actually are concrete cognizable reasons

13    to think that:    If the former President had notice of these

14    covert investigative steps, there would be actual harm and

15    concern for the investigation, for the witnesses going

16    forward.

17               THE COURT:    And that's based on your own

18    investigation here, and not Volume II -- Volume II of the

19    Mueller report which lays out, in hundreds of pages, the

20    number of obstructive actions taken by the same person who

21    was the user of the account at issue?

22               MR. BERNSTEIN:    So, Your Honor, yes.

23               In our ex parte submission, we intend to lay out a

24    number of validated concrete facts independent of what is in

25    the Mueller report that make out a relatively clear case of

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1     the President being someone who will take obstructive action

2     if he is notified of this warrant.

3                THE COURT:    All right.   So Twitter says that

4     producing the warrant returns prior to allowing the company

5     to alert the former President of the warrant would

6     irreparably injure its First Amendment rights, eliminate any

7     potential remedy for the former President.        And the

8     government's response is to turn to Google -- the Google

9     case from the Southern District of New York from 2020, as

10    standing for the uncontroversial principle that the warrant

11    and NDO do not travel together.

12               So is the government construing Twitter's First

13    Amendment concerns as tied only to the NDO and not to both

14    the NDO and the warrant?

15               MR. BERNSTEIN:    Yes, Your Honor.     And they are

16    construing it the same way, their First Amendment

17    challenge -- the only remedy they are seeking is to an

18    entirely separate order.     They are seeking, under the First

19    Amendment, to modify or vacate the nondisclosure order.

20               Nothing they do under the First Amendment will

21    alter the validity of the warrant itself or negate any

22    element of contempt.

23               If Your Honor can give me 30 seconds to make

24    another point here.     The citation of the First Amendment is,

25    to a certain degree, disingenuous for this reason:          If the

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1     government -- and Twitter has represented this to the

2     government.    But if the government were to withdraw the NDO

3     today -- which we are not doing, but if we did -- Twitter

4     would have all the speech it wanted.       It would have no more

5     restrictions on speech; the First Amendment issue would be

6     gone, I think everybody agrees with that.

7                  Even then they have represented that they will not

8     produce the records to the government.       They will continue

9     to violate the order because they have decided that they

10    will give this special account holder the opportunity to

11    litigate pre-indictment motions related to executive

12    privilege.

13                 So, again, Your Honor, has ordered Twitter to

14    produce these records within ten days; they have said, "No,

15    thank you."    We are going to -- whether there is a First

16    Amendment issue or not, we are going to set a different

17    timetable, a special protocol; and we will give this account

18    holder the opportunity to litigate these motions about

19    executive privilege which, again, are frivolous considering

20    that there is no indication in the record that there will be

21    executive privilege communications on this account in the

22    first place.    And even if there were, we are the executive,

23    Your Honor.

24                 THE COURT:   Okay.    So Twitter, in its opposition,

25    had, like, I don't know, I counted like 80 pages of an

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1     exhibit of all these press reports about the special counsel

2     investigation; I didn't look at it in detail.

3                But, in sum, Twitter's argument is:       Hey, the

4     government's interest in maintaining the NDO isn't

5     compelling because look at all this press.        Lots of people

6     know about this investigation going on.       The Attorney

7     General has an order on the DOJ website saying:        I have

8     appointed the special counsel to look at the following

9     issues.

10               Twitter goes on to say that the press has been

11    doing its job, thankfully.     And so, as a consequence, we all

12    know that, you know, the government, in aggressively

13    pursuing this investigation, has been looking at the

14    communications of a number of people.

15               So it sums up by saying:     It strains credulity to

16    believe that the incremental disclosures of this warrant

17    could somehow alter the current balance of public knowledge

18    in any meaningful way so as to cause harm to the

19    investigation.

20               So just like Twitter doesn't know much about the

21    warrant here at all, and has only seen a small sliver of the

22    entire warrant package, do you think that it strains

23    credulity to believe the incremental disclosure of this

24    order would somehow alter the current balance of public

25    knowledge in any meaningful way?

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1                MR. BERNSTEIN:    Absolutely not, Your Honor.

2                There is an incredible difference between the

3     public knowing about the existence of the investigation and

4     the account holder in this case knowing about a concrete,

5     investigative step that the government has taken.

6                And, again, I have to be careful about what I say

7     in this setting because I don't want to disclose information

8     that's covered by 6(e) or that otherwise would compromise

9     the investigation.    With that said, Your Honor, I think when

10    Your Honor gets our ex parte filing with respect to the NDO,

11    I think Your Honor will wholeheartedly reject the assertion

12    that it strains credulity to think that there could be

13    serious adverse consequences from the President finding out

14    about this search warrant.

15               THE COURT:   And Twitter goes on -- focusing on the

16    NDO -- that the government's proffered explanations for

17    needing the NDO appear conclusory and that there is no

18    reason to believe that notification of the warrant would

19    suddenly cause former President Trump or potential

20    confederates to destroy evidence, intimidate witnesses, or

21    flee prosecution, particularly since the former President

22    has announced that he is running in 2024.

23               And I did look at the NDO just to see is that

24    language just as specific as that, and it is.        It doesn't

25    have to be.    Under 2705(b), it's not just by the account

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1     holder, it's by any other person who might flee, might

2     obstruct.      And this NDO was written fairly narrowly, to say

3     the least.

4                  I think one thing that I hope the government takes

5     away from this interlude with Twitter is that the

6     boilerplate NDOs -- although in the applications are fairly

7     more detailed, and clearly and broadly -- the orders

8     themselves, you probably need to look at the more

9     boilerplate orders in the NDOs to make it as broad as the

10    application is requesting.

11                 So do you want to respond to that? -- to Twitter's

12    comment that there is no reason to believe notification

13    would suddenly cause Trump or potential confederates to

14    destroy evidence, intimidate witnesses, or to flee

15    prosecution, or are you waiting on that for an ex parte

16    submission?

17                 MR. BERNSTEIN:    We are waiting.    But I can give

18    Your Honor two responses in the meantime.

19                 First, they don't know anything.       I mean, they

20    know some stuff.      They know what they have read in the

21    newspapers.     But they're making these confident factual

22    assertions without knowing the actual facts of the

23    investigation.

24                 Number two, they have cited a number of news

25    articles.      They seem to have a robust understanding of what

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1     is in the public record.     They seem to be ignoring the fact

2     that there is an entirely separate public investigation into

3     the former President for doing just that, for taking

4     obstructive efforts with respect to NARA's request to

5     retrieve classified documents, and then the government --

6     the grand jury's request to subpoena classified documents

7     from the former President, and the steps that he took to

8     obstruct those efforts.     So there will be considerably more

9     detail about the basis for the NDO when we brief this issue.

10               For now, though, the assertion that they're

11    making, one, is not based on any factual foundation that

12    they could possibly be aware of; and then, second, to the

13    extent that they are able to ascertain details from the

14    public record, they seem to be ignoring those details.

15               THE COURT:    Okay.     So let me just let me turn to

16    compliance since it's been ten days of delay.         I think if

17    Twitter can comply with production by 5 p.m. today -- is

18    that what the government is looking for, or are you looking

19    for some other time period?

20               MR. BERNSTEIN:    We are looking for compliance as

21    soon as possible.    And we understand that they're prepared

22    to comply, they are just choosing not to.

23               THE COURT:    And the government -- consistent with

24    past situations like this, the government has been coy about

25    setting out precisely what it's asking for, in terms of an

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1     incentive to comply within the time frame of 5 p.m. today of

2     the penalty, given the fact that I am looking at a company

3     that was bought for $44 billion; and the CEO, sole owner of

4     Twitter, is worth -- according to some news reports, I

5     guess -- over 180 billion.

6                What is the government asking for in terms of a

7     fine, for failure to comply by 5 p.m. today?

8                MR. BERNSTEIN:    So the marching orders I have,

9     Your Honor, are to take into account -- once discussed

10    today, we will go back to the special counsel's office,

11    discuss with the special counsel what actual number and

12    schedule we think is appropriate; and then we can file that

13    by 5 p.m. today.

14               THE COURT:   That's not on my time frame.       You need

15    to come prepared for that.     $25,000, $50,000 a day, for

16    failure to comply?    What's the number?

17               MR. BERNSTEIN:    Could I have 30 seconds to speak

18    with co-counsel?

19               THE COURT:   You can have like ten.

20               (Whereupon, government counsel confer.)

21               MR. BERNSTEIN:    Your Honor, we're asking for

22    $50,000, and then to double each day thereafter.

23               THE COURT:   All right.    Okay.   Thank you.

24               Anything further?

25               MR. BERNSTEIN:    No, Your Honor.    Thank you.

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1                THE COURT:   All right.

2                MR. VARGHESE:    Good afternoon, Your Honor.

3                THE COURT:   Mr. Varghese.

4                Twitter says in its opposition that -- in its

5     defense, that its ability to communicate with its customers

6     about law enforcement's efforts to access their

7     communications and data is essential to its business model

8     in fostering trust with its user base.

9                But, clearly, Twitter does not run to court, as it

10    is here today, in response to court orders for information

11    about Twitter users.    So even though a lot of Twitter users

12    probably have potential privileges -- marital, priest,

13    clergy, executive, attorney-client -- so what is it -- is it

14    just lucky me, you know, that you are here?

15               What is it about this case?      The government

16    suggests it's because you are giving special attention to

17    this particular user.

18               MR. VARGHESE:    No.    No, Your Honor.

19               THE COURT:   Why are you here?

20               MR. VARGHESE:    Thank you, Your Honor.

21               So Twitter receives thousands of legal requests

22    every year from law enforcement.

23               THE COURT:   I hope you have your website working

24    better than it was working here.

25               MR. VARGHESE:    I don't know.    I think that might

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1     have been on them, Your Honor.      I don't know what the

2     details were about the legal process, but it worked --

3                THE COURT:   I thought legal counsel said:       Oh,

4     yeah, our website for handling this was down for a couple of

5     days, or something.

6                MR. VARGHESE:    I don't know the answer for that,

7     Your Honor.    I don't know.

8                THE COURT:   Well, that should be a focus for

9     Twitter, rather than trying to delay --

10               MR. VARGHESE:    Your Honor, if I may.

11               THE COURT:   -- warrant returns in a case of such

12    national importance as this.

13               MR. VARGHESE:    Your Honor, if I may.

14               Twitter reviews thousands of pieces in the legal

15    process, including the nondisclosure orders that goes with

16    it; that's what this issue is about.      It's about Twitter's

17    First Amendment rights.

18               When this legal process came in with this

19    nondisclosure order, as this Court noted, it is boilerplate.

20               THE COURT:   Come on.    Let's just cut through this.

21               Twitter gets NDOs a lot --

22               MR. VARGHESE:    Yes, Your Honor.

23               THE COURT:   -- so it has to pick and choose:       This

24    is where we're going to stand up for our First Amendment

25    rights and challenge a gag order on these particular cases,

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1     and on these particular cases we're not.

2                So what is the criteria that Twitter uses?

3                MR. VARGHESE:    It's whether or not they're

4     facially valid, Your Honor.

5                THE COURT:   Is it because the CEO wants to cozy up

6     with the former President, and that's why you are here?

7                MR. VARGHESE:    No, Your Honor.    It's whether or

8     not they are facially valid.

9                In this case, one of the arguments was flee from

10    prosecution.    As this Court has already noted, the former

11    President of the United States, who has announced that he is

12    rerunning for President, is not at flight from prosecution.

13    Presumably, with his security detail, he is not fleeing.

14               Second, Your Honor --

15               THE COURT:   And you didn't accept the other

16    reasons?

17               MR. VARGHESE:    The other reason is destruction of

18    evidence, Your Honor.    What we know about destruction of

19    evidence in notifying Confederates is that this is the most

20    publicly announced criminal investigation.        The Attorney

21    General of the United States had a press conference to

22    announce Mr. Smith's appointment, as well as his mandate

23    with respect to investigating the former President.        It just

24    doesn't ring true, Your Honor.

25               THE COURT:   So the -- Twitter's in-house counsel

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1     states that:    On occasion, we, Twitter, have challenged

2     nondisclosure order orders whether in follow-up

3     conversations with prosecutors or government officials or in

4     court filings.

5                 On how many occasions has Twitter challenged NDOs

6     in court?

7                 MR. VARGHESE:   I don't know the exact number, Your

8     Honor.

9                 THE COURT:   Does somebody at your table know?

10                MR. VARGHESE:   I don't believe we have the exact

11    number, Your Honor.

12                THE COURT:   Okay.     By 5 p.m. today, can you

13    provide that list to me?

14                I want to know how often Twitter has challenged

15    NDOs in court.    I want case cites and docket numbers.       If

16    those orders are under seal, I would like you to tell me

17    that; and I want to know the results.

18                MR. VARGHESE:   Your Honor, if I may, I personally

19    have called on behalf of Twitter two prosecutors and raised

20    concerns about this.

21                THE COURT:   I am not asking about whether you have

22    had informal conversations.        I am asking about court

23    filings.

24                MR. VARGHESE:   Yes, Your Honor.

25                THE COURT:   Okay.     So I just want to know

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1     because -- based on those court filings -- perhaps I will be

2     able to see what criteria Twitter is using to assert the

3     rights of its users in court.

4                  MR. VARGHESE:   If I may, Your Honor.

5                  So we have made informal calls where we had

6     concerns about NDOs.      And, oftentimes, prosecutors have

7     agreed either to withdraw the NDO or to modify the NDO.

8     Your Honor, that is the process that we go through.

9                  THE COURT:   What modifications did you want here?

10                 As I understand it, your modification was to take

11    out of the NDO "potential risk of flight by the President,"

12    although he does have properties overseas that would be

13    probative.

14                 What your demand of the government here was, was

15    to provide advance notice of an otherwise covert warrant.

16                 MR. VARGHESE:   Your Honor, if I may, either to the

17    user or to the user's representative, a representative of

18    the user who could assert the user's interest in this issue.

19    And Your Honor --

20                 THE COURT:   What user representative, when you are

21    dealing with an individual and not a company, doesn't report

22    directly to the user?

23                 MR. VARGHESE:   Well, the former --

24                 THE COURT:   So what are you talking about

25    Mr. Varghese?

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1                 MR. VARGHESE:   The former President has designated

2     certain individuals to act in his capacity with respect to

3     his presidential records.

4                 THE COURT:   And they are lawyers who report

5     directly to him, if they're still -- to the extent that he

6     designated any, if they're still working for him.

7                 MR. VARGHESE:   And so, for example, Your Honor --

8                 THE COURT:   There have been a lot of changes.

9                 MR. VARGHESE:   For example, Your Honor, this issue

10    came up with Google and a warrant with respect to The

11    New York Times.    In that case, there was an accommodation

12    made that allowed -- that allowed Google to notify The

13    New York Times general counsel but not the reporter whose

14    records were being sought.

15                THE COURT:   Because that was a company context

16    here.   We're dealing with an individual.

17                So how is that workable here?

18                MR. VARGHESE:   Well, Your Honor, we would submit

19    that the former President has identified certain individuals

20    in his capacity for the office of the presidency.

21                THE COURT:   Do you know if all of those people who

22    were designated back on January -- January 2021, are still

23    working as his representatives vis-à-vis NARA?

24                MR. VARGHESE:   Your Honor, I believe some of them

25    are.    There was an updated list that was provided to NARA

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1     for people who could represent him, Your Honor.         We can

2     check on their exact employment status, but --

3                  THE COURT:   And you think that you could

4     communicate with them, unlike company counsel, who could

5     preserve secrecy that these are individuals designated by

6     the former President who could preserve secrecy from the

7     former president?

8                  MR. VARGHESE:   Well, if this Court ordered that --

9                  THE COURT:   And you have confidence, and you think

10    the government should have confidence in that?

11                 MR. VARGHESE:   Well, if this Court ordered that

12    representative -- like what happened in the Google-New York

13    Times case, if this Court ordered that representative not to

14    disclose the existence of the warrant, but simply to assert

15    whether or not any executive privilege would be at issue, I

16    think it is a workable solution, yes, Your Honor.

17                 THE COURT:   Okay.    Well, I would like the

18    government to be prepared to respond to that potential

19    alternative.

20                 MR. VARGHESE:   And, Your Honor, I have -- I

21    apologize.

22                 THE COURT:   So let's go to what Twitter's in-house

23    counsel said, in the              declaration at paragraph 10,

24    that NARA has a copy of the target account and much of the

25    information called for in the warrant.       So, of course, "much

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1     of" is not all of the information called for in the warrant.

2                MR. VARGHESE:    Yes, Your Honor.

3                THE COURT:   So what is it that Twitter sent to

4     NARA that -- well, has Twitter sent information to NARA

5     already?

6                MR. VARGHESE:    Yes, Your Honor.    But --

7                THE COURT:   Okay.      And what information is

8     covered -- required to be produced in the warrant that has

9     not been produced to NARA?

10               MR. VARGHESE:    Thank you, Your Honor.

11               The big difference between what is in Attachment B

12    and what NARA has --

13               THE COURT:   Attachment B, Part 1 --

14               MR. VARGHESE:    Part 1.

15               THE COURT:   -- of multiple parts that you have no

16    idea about.

17               MR. VARGHESE:    Yes, Your Honor.

18               -- and what is being held by NARA currently and

19    safely -- the big difference is business records.

20               So Attachment B asked for the communications with

21    Twitter about any service interruptions.       It asked for

22    communications -- logs of service, length of service --

23    these kinds of business records that Twitter has; that's not

24    what is being held at NARA.

25               What is being held at NARA is the user's profile,

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1     his tweets, including deleted tweets, images, videos, gifts

2     attached to those tweets, his list of followers, direct

3     messages, moments, mentions, replies; there is extensive

4     information.    And I will point out, Your Honor, what NARA is

5     holding is from January 17th through January 2021 [sic], a

6     far longer time period than what the special counsel is

7     offering.

8                 In fact, the volume of information that is being

9     held at NARA is much more significant than what is being

10    requested in Attachment B.     But the distinction, Your Honor,

11    to be clear, are those Twitter business records, such as IP

12    records, length of service records, credit card

13    information -- those kinds of business records.        That's not

14    what NARA was interested in, and that was not what was

15    provided to NARA as part of the records collection, Your

16    Honor.

17                If I may also take a step back and answer a

18    question --

19                THE COURT:   So you have already produced all of

20    the user names, the date and time each user name was active,

21    all associated accounts including those linked by machine,

22    cookie, IP address, email address, or any of their account

23    or device, records or information about connections with

24    third-party websites and mobile app s whether active,

25    expired, or removed?

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1                MR. VARGHESE:    No, Your Honor.

2                Actually, Twitter doesn't maintain that

3     information.

4                THE COURT:    And in terms of information about

5     devices used to log in or access the account?

6                MR. VARGHESE:    That would not be at NARA, no, Your

7     Honor.

8                THE COURT:    Okay.     And internet protocol addresses

9     used to create, log in, or use the account, including dates,

10    times, and port numbers?

11               MR. VARGHESE:    No, Your Honor.     That would have

12    been -- those are Twitter business records that would not

13    have been produced to --

14               THE COURT:    And privacy account settings,

15    including change history?

16               MR. VARGHESE:    No, Your Honor.

17               THE COURT:    Communications between Twitter and any

18    person regarding the account, including context with support

19    services and records of actions taken?

20               MR. VARGHESE:    No.    That would be situations where

21    you would report:    My IP is not working, my access is not --

22               THE COURT:    Okay.     So in Attachment B, Part 1,

23    nothing in paragraph 1 has been turned over by Twitter to

24    NARA?

25               MR. VARGHESE:    That's not what NARA requested, no,

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1     Your Honor.

2                THE COURT:    Got it.

3                And then paragraph 2 is:      All content, records,

4     and other information relating to communications, including

5     the content of all tweets created, drafted, favorited,

6     liked, or re-tweeted.

7                MR. VARGHESE:    Yes, Your Honor.     I believe most of

8     that information would have been produced to NARA.

9                THE COURT:    Most, or all?

10               MR. VARGHESE:    Well, Your Honor --

11               THE COURT:    If you don't know, you can just let me

12    know, Mr. Varghese.

13               MR. VARGHESE:    I don't know precisely if they're a

14    complete overlap.    But that is the type of information that

15    was produced to NARA, so I just don't know if it's 100

16    percent accurate -- complete, Your Honor.

17               THE COURT:    So you don't know, okay.

18               We have got all of paragraph 1.       We have got

19    paragraph 2A, not necessarily produced to NARA.

20               And then, B:    Content of all direct messages sent

21    from, received by, stored in draft form in, or otherwise

22    associated with the subject account including all

23    attachments, multimedia, header information, metadata, and

24    logs.

25               MR. VARGHESE:    Again, Your Honor, direct messages

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1     were provided to NARA.

2                THE COURT:    And that means drafts also?

3                MR. VARGHESE:    I don't know, Your Honor.

4                THE COURT:    Okay.     Well, somebody behind you

5     knows.

6                (Whereupon, Twitter counsel confer.)

7                MR. VARGHESE:    Everything that Twitter had in

8     January of 2021 was provided to NARA with respect to the

9     draft message.

10               THE COURT:    Yes.    But that's not my question.

11               My question was:      Was everything --

12               MR. VARGHESE:    I think to the extent --

13               THE COURT:    -- covered in paragraph 2B produced to

14    NARA?

15               MR. VARGHESE:    To the extent that Twitter had it,

16    it was produced to NARA.

17               THE COURT:    All right.    In your briefing -- I am

18    not going to waste more time going up and down through this

19    whole thing.    But, clearly, I think the point has already

20    been established that everything Twitter produced to NARA is

21    not covered -- it's not a complete overlap with what was

22    demanded in the warrant.

23               Okay.   So even if it's correct, although I am not

24    persuaded that the Presidential Records Act would require

25    notice to the former President if the government did seek

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1     from NARA all of this Twitter account information, why

2     should Twitter be able to dictate to the government where it

3     gets information for its investigation?

4                MR. VARGHESE:    To be clear, Your Honor, Twitter is

5     not trying to dictate to the government where it should get

6     that information.

7                Twitter engaged in good-faith negotiations with

8     the special counsel's office about the nondisclosure order

9     in Twitter's own First Amendment rights.        And as we were

10    having discussions with Mr. Bernstein, we offered an

11    alternative; that was the context in which NARA was raised.

12    It was not saying go somewhere else.

13               THE COURT:    Okay.     So let's go right to that.

14               Twitter concedes it has no standing whatsoever to

15    assert any privilege on behalf of the user of this account,

16    correct?

17               MR. VARGHESE:    That's correct, Your Honor.

18               THE COURT:    All right.    And so -- but you are

19    saying that you do have standing to assert a First Amendment

20    right here under the --

21               MR. VARGHESE:    That's correct.

22               THE COURT:    -- nondisclosure order?

23               MR. VARGHESE:    That's correct, Your Honor.       And

24    it's an important First Amendment right.        It's the right to

25    communicate with our users that's being restrained by the

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1     special counsel's office, and that was the basis for

2     reaching out to them, Your Honor.

3                THE COURT:    But you want to exercise that First

4     Amendment right here, the reason -- what is animating your

5     assertion of the First Amendment right here is because you

6     believe that there are these unique constitutional issues

7     associated with this user and this user account because of

8     what Twitter perceives to be an executive privilege,

9     difficult and challenging issue.

10               So what is it about the executive privilege issues

11    that Twitter sees here that Twitter believes differentiates

12    it from other privileges that any Twitter user might have?

13               I mean, the government has made what I think is a

14    very accurate statement, that this is -- Twitter's

15    intervention here is quite momentous, I think is the word

16    the government used.

17               So why isn't it momentous if Twitter can pop up --

18    take up all of my time, and every district court judge

19    across the country's time -- to intervene, to stop

20    compliance -- not just with warrants in investigations of

21    this significance, but even in a request for subscriber

22    information or any other use of Stored Communications Act

23    authorities to say:     Whoops, there might be a privilege

24    there, we want to alert the user of that account that we're

25    about to turn over information about the account user to the

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1     government so that they can have an opportunity to step in?

2                  You are not doing that for everybody.

3                  MR. VARGHESE:   No, Your Honor.

4                  THE COURT:   And you are not doing it for every

5     privilege.

6                  MR. VARGHESE:   No, Your Honor.

7                  THE COURT:   So what is it about executive

8     privilege or this user or this user account that makes

9     Twitter stand before me today?

10                 MR. VARGHESE:   Your Honor, there's two things that

11    make this case unusual, which is what brought us here.

12    First, we had a facially invalid NDO in our view based on

13    the way that we read it and what we know about this

14    investigation.

15                 THE COURT:   Which is not much, to be honest.      You

16    don't even know the half about the very warrant you are

17    coming in here to delay execution of.

18                 MR. VARGHESE:   Understood, Your Honor.     However,

19    we also know --

20                 THE COURT:   I hope you do understand.

21                 MR. VARGHESE:   Of course, Your Honor.     But what we

22    also know is saying:      Risk of flight for a former President

23    of the United States doesn't make a lot of sense.

24                 Second, Your Honor --

25                 THE COURT:   I would agree with that.

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1                  MR. VARGHESE:   Thank you, Your Honor.     That raises

2     concerns for us.

3                  Then, when we looked at the underlying substantive

4     issue, Your Honor, this is the first time in our knowledge

5     that private presidential communications held by a third

6     party were being demanded by the government through a

7     warrant without any notice to that former occupant.         We were

8     not aware of another time ever where that has happened.

9                  THE COURT:   Well, you did not read the Mueller

10    report very carefully.

11                 MR. VARGHESE:   Yes, Your Honor.

12                 THE COURT:   Because the Mueller report talks about

13    the hundreds of Stored Communications Act -- let me quote.

14    Let's see.

15                 The Mueller report states that:     As part of its

16    investigation, they issued more than 2800 subpoenas under

17    the auspices of the grand jury in the District of Columbia.

18    They executed nearly 500 search and seizure warrants,

19    obtained more than 230 orders for communications records

20    under 18 U.S.C. Section 2703(d); and then it goes on and on

21    and on for all of the other things they did.

22                 And some of those communications included the

23    former President's private and public messages to General

24    Flynn, encouraging him to "Stay strong," and conveying that

25    the President still cared about him, before he began to

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1     cooperate with the government.

2                 So what makes Twitter think that, before the

3     government obtained and reviewed those Trump-Flynn

4     communications, the government provided prior notice to the

5     former President so that he can assert executive privilege?

6                 MR. VARGHESE:   My understanding, Your Honor, is

7     that the Mueller investigators were in contact with the

8     White House counsel's office about executive privilege

9     concerns.

10                THE COURT:   You quoted the one part that said

11    that, and that was for testimony, testimony, where it was

12    not covert.

13                MR. VARGHESE:   Yes, Your Honor.

14                THE COURT:   You need to read the Mueller report a

15    little bit more carefully.

16                MR. VARGHESE:   Yes, Your Honor.    Our --

17                THE COURT:   You think that for 230 orders, 2800

18    subpoenas, and 500 search and seizure warrants the Mueller

19    team gave advance notice to the former President of what

20    they were about?

21                MR. VARGHESE:   I don't know that, Your Honor.

22                THE COURT:   You do not know that.

23                MR. VARGHESE:   But what I believe was that there

24    was consultation with the White House about the scope of

25    executive privilege, that's my understanding.

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1                THE COURT:   When it came to testimony for the

2     obvious reason, that that was not covert.

3                MR. VARGHESE:    Yes, Your Honor.

4                THE COURT:   All right.

5                MR. VARGHESE:    So if I may finish your question,

6     though, Your Honor.

7                THE COURT:   Do you understand --

8                MR. VARGHESE:    Yes, Your Honor.

9                THE COURT:   -- that it is only with respect to the

10    speech and debate clause privilege that the D.C. Circuit,

11    alone, of all of the circuits, has said that there is a

12    nondisclosure component to that privilege that requires the

13    privilege holder to have the opportunity to review the

14    materials before it is reviewed by prosecutors?

15               MR. VARGHESE:    Yes, Your Honor.

16               THE COURT:   And no such nondisclosure attribute

17    has ever, as government counsel said, been attached to the

18    exercise of executive privilege.

19               And do you know why it is that the D.C. Circuit in

20    Rayburn said that there was a nondisclosure aspect to the

21    speech or debate clause privilege?

22               MR. VARGHESE:    No, Your Honor.

23               THE COURT:   Well, let me advise you.

24               It was because of separation of powers concerns;

25    Congress being investigated by the executive branch.         So

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1     that before prosecutors sitting in the executive branch

2     could see potentially privileged under speech or debate

3     clause material, they had to give the privilege holder the

4     opportunity to review it all because of separation of powers

5     concerns.      And here I have the executive branch looking at

6     executive branch materials; it is not the same thing.

7                 MR. VARGHESE:     Your Honor --

8                 THE COURT:    So I don't know how it is that you

9     think that the same nondisclosure, advance notice to the

10    privilege holder requirement applies here.            It is not

11    looking at the full scope of privilege law as it has

12    developed in this circuit.

13                And I find it very ironic you are relying on Nixon v

14    Administrator of General Services, this 1977 Supreme Court

15    case.   But in that case, didn't the Supreme Court -- to the

16    point that I was talking about in terms of speech or debate

17    clause and its differences with executive privilege -- hold

18    that the GSA administrator could take custody of and review

19    recordings and documents created by President Nixon?

20                MR. VARGHESE:     It did, Your Honor.       But it did not

21    accept that principle that:          Oh, this is all within the

22    executive branch; that was not the basis for that decision.

23    It was a multifactored fact-intensive inquiry.           What they

24    said was that we feel comfortable that the archivist can

25    review this material.

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1                  THE COURT:   Yes.   Because GSA is himself an

2     official of the executive branch, and that GSA's career

3     archivists are, likewise, executive branch employees.

4                  MR. VARGHESE:   But that was not the end of the

5     inquiry, Your Honor.      That is a 45-year-old opinion that the

6     special counsel's office is holding on to to make a

7     bright-line rule that says that they are allowed to look at

8     everything in the executive branch, and that is simply --

9                  THE COURT:   What Twitter's position here is that

10    the same separation of powers concerns that animated the

11    nondisclosure aspect to the speech or debate clause, meaning

12    the privilege holder needed to obtain advance notice, should

13    apply here --

14                 MR. VARGHESE:   No, Your Honor.

15                 THE COURT:   -- to assertion of executive

16    privilege?     And all Twitter is doing here is it's holding up

17    what it views should be the state of the law for executive

18    privilege?

19                 MR. VARGHESE:   No, Your Honor.

20                 Twitter does not take a position on what the scope

21    and the contours of executive privilege are.        But note that

22    that is not a well-defined space.       And all we are asking

23    for --

24                 THE COURT:   It's much better defined than you

25    think.

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1                  MR. VARGHESE:   Your Honor, if I may, one of the

2     things that we don't know about is derivative use.         What if

3     the special counsel's office uses that --

4                  THE COURT:   What are you talking about with

5     "derivative use"?

6                  MR. VARGHESE:   I can explain, Your Honor.

7                  THE COURT:   I read that, and I really wanted to

8     know what you are talking about.

9                  MR. VARGHESE:   I can explain, Your Honor.

10                 THE COURT:   Sure.

11                 MR. VARGHESE:   If, for example -- assuming for a

12    second there is executive privilege materials in the

13    account --

14                 THE COURT:   Which, of course, you have zero idea

15    about.

16                 MR. VARGHESE:   I can come back to that question,

17    Your Honor.

18                 THE COURT:   No.    Deal with it right now.

19                 You have zero idea about executive privilege

20    communications in this Twitter account.

21                 MR. VARGHESE:   Twitter does not review the

22    contents of its users' accounts.

23                 THE COURT:   You have no idea?

24                 MR. VARGHESE:   But I can say there are

25    confidential communications associated with the account.

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1                THE COURT:   And how do you know that?

2                MR. VARGHESE:    So, Your Honor, we went back --

3     because this was an important issue for us to compare,

4     whether or not there were potentially confidential

5     communications in the account, and we were able to confirm

6     that.

7                THE COURT:   How?

8                MR. VARGHESE:    So, Your Honor, there was a way

9     that we compared the size of what a storage would be for DMs

10    empty versus the size of storage if there were DMs in the

11    account.   And we were able to determine that there was some

12    volume in that for this account.      So there are confidential

13    communications.    We don't know the context of it, we don't

14    know --

15               THE COURT:   They are direct messages.      What makes

16    you think -- do you think that everything that a President

17    says, which is generically a presidential communication, is

18    subject to the presidential communications privilege?

19               MR. VARGHESE:    No, Your Honor.

20               THE COURT:   Is that the basis of this?      You have a

21    total misunderstanding of what the presidential

22    communications privilege is?

23               MR. VARGHESE:    No, Your Honor.    No, Your Honor,

24    that's not my understanding.

25               THE COURT:   So what -- I don't understand your

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1     argument, Mr. Varghese.

2                MR. VARGHESE:     My argument simply, Your Honor, is

3     the user may have an interest in these communications, and

4     asserting that privilege.       It's not Twitter's interest.

5                THE COURT:    Having an interest is a very different

6     thing from saying something is privileged --

7                MR. VARGHESE:     It might be.

8                THE COURT:    -- under the executive privilege or

9     the presidential communications privilege.         Would you

10    concede that?

11               MR. VARGHESE:     Yes, Your Honor.    But it's not my

12    privilege to assert.     It's not Twitter's privilege to

13    assert.   All we're simply trying to do is exercise our First

14    Amendment rights to notify the user so the user may assert

15    that privilege if he chooses.

16               But getting back to the derivative point, Your

17    Honor, if I may.

18               THE COURT:    Yes.

19               MR. VARGHESE:     The point of the derivative

20    argument is if -- the special counsel's office is using

21    these materials before the grand jury, which is an organ of

22    this court, or using them in warrant affidavits --

23               THE COURT:    Well, actually, grand jury is a,

24    actually, a totally independent body from any branch of

25    government.

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1                MR. VARGHESE:    But certainly not the executive

2     branch, Your Honor.     Also, we would say --

3                THE COURT:    The grand jury is independent of --

4                MR. VARGHESE:    That's right, Your Honor.

5                THE COURT:    -- of every branch of government,

6     including the executive branch.

7                MR. VARGHESE:    Yes, Your Honor.    And that's

8     precisely why the executive privilege wouldn't be protected

9     in that case, or if the material is put into an affidavit

10    and shown before a judge to get another warrant, that would

11    also vitiate the privilege it would seem.       Also, if it was

12    being used in interviews with witnesses --

13               THE COURT:    So what is it about -- so this is the

14    confusion here, Mr. Varghese.

15               MR. VARGHESE:    Yes, Your Honor.

16               THE COURT:    That you want to treat the executive

17    privilege like the speech or debate clause without any of

18    the same foundational predicates for that because material

19    obtained covertly by the government that is potentially

20    privileged is, typically, subject to a filter review

21    protocol to identify that and get judicial rulings on that;

22    and that's how it's normally dealt with, use of a filter

23    team.

24               But what you are saying is executive privilege

25    can't be dealt with that way; it has to, instead, use a

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1     protocol similar to that required by the D.C. Circuit in my

2     reading.    But the D.C. Circuit is going to consider that, I

3     would hope, and say that advance notice has to be given to

4     the privilege holder to debate it.

5                 MR. VARGHESE:   No, Your Honor, that is not my

6     position.

7                 THE COURT:   That is exactly what you are saying.

8     Why are you fighting that?

9                 MR. VARGHESE:   Because, Your Honor, I am not

10    saying what the right way is for executive privilege to be

11    treated.

12                THE COURT:   Aren't you saying that advance notice

13    has to be given to the user of the account here?        I thought

14    that was the whole reason we're here.

15                MR. VARGHESE:   Your Honor, if I may, what I am

16    trying to say is that it is ill defined.       The contours of

17    how executive privilege works is ill defined.        The only case

18    the special counsel's office is looking to is a 45-year-old

19    Supreme Court case.

20                THE COURT:   And, as a consequence, isn't it

21    Twitter's position, yes or no, that advance notice to a

22    privilege holder of the executive privilege must be given

23    before Twitter can turn over the warrant returns?

24                MR. VARGHESE:   Your Honor, our position --

25                THE COURT:   Yes or no?   Is that your position or

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1     not?

2                MR. VARGHESE:    We would like to notify the user as

3     per our First Amendment rights.

4                THE COURT:   So, yes, that's your position?

5                MR. VARGHESE:    We would like to notify the user

6     per our First Amendment rights.

7                THE COURT:   I am interpreting that as a "yes."       I

8     don't know why you can't say "yes," it's a puzzle to me.

9                MR. VARGHESE:    Yes, Your Honor.

10               THE COURT:   It's very frustrating.

11               MR. VARGHESE:    I apologize, Your Honor.

12               THE COURT:   I try to be direct, and I don't

13    understand why you are not being direct.       But -- yes.

14               And I am telling you -- why, for the executive

15    privilege, does Twitter believe that such advance notice is

16    required when, for every other privilege except speech or

17    debate clause, it is not?

18               MR. VARGHESE:    It's because it is ill defined.

19    There is no controlling law in this area, and we believe the

20    user has the right to litigate this issue; that's it, Your

21    Honor.

22               We have a First Amendment right to notify --

23               THE COURT:   Even though the entire Mueller report,

24    with hundreds of search warrants, thousands of subpoenas --

25    the only time the two-volume Mueller report ever talks about

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1     ever alerting the White House counsel is where it wasn't

2     covert it was overt, because they were seeking potentially

3     privileged information from a grand jury witness.        But,

4     nonetheless, you think it's never been done before?

5                MR. VARGHESE:    There is no published opinion, Your

6     Honor, that lays out the contours of executive privilege

7     beyond this 45-year-old opinion, which we do not necessarily

8     think is on point.

9                THE COURT:   Okay.      It couldn't be that Twitter is

10    trying to make up for the fact that it kicked Donald Trump

11    off Twitter for some period of time that it now is standing

12    up to protect First Amendment rights here, is it?

13               MR. VARGHESE:    No, Your Honor.

14               THE COURT:   Because it's a little bit of an ironic

15    position, don't you think?

16               MR. VARGHESE:    No, Your Honor.    This is based on

17    the facially invalid NDO.

18               THE COURT:   Is this to make Donald Trump feel like

19    he is a particularly welcomed new renewed user of Twitter

20    here?

21               MR. VARGHESE:    Twitter has no interest other than

22    litigating its constitutional rights, Your Honor.

23               THE COURT:   And how does requiring compliance with

24    the search warrant here actually implicate Twitter's First

25    Amendment rights which are only at issue with the gag order?

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1                MR. VARGHESE:    Your Honor, the issue is about

2     whether or not that speech is meaningful.

3                We have a right to speak.     There is a

4     difference -- and timing of that speech is critical, and so

5     we would like to provide meaningful notice to the user prior

6     to the review by the government.

7                We still have a First Amendment right, to be

8     clear, to speak to the user afterwards; but we think that

9     that message is stronger and more meaningful if we have an

10    opportunity to convey that message beforehand.

11               THE COURT:   So I didn't see it, but this has been

12    on a fairly quick turnaround given the ten-day delay already

13    in compliance with the warrant.      But has Twitter found any

14    court decision in which a third-party company, like Twitter,

15    has successfully stayed compliance with a search warrant

16    pending a First Amendment challenge to a nondisclosure

17    order?

18               MR. VARGHESE:    No, Your Honor, not an NDO.

19               THE COURT:   And would Twitter acknowledge that

20    there is an ongoing harm to the government and the public by

21    continued failure to comply with the search warrant?         And if

22    Twitter had its way, that would -- there would be no

23    execution of this search warrant until after completion of

24    briefing and resolution of its challenge to the NDO.         Would

25    you acknowledge that that delay would take us, wow, for a

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1     month?

2                  MR. VARGHESE:   No, Your Honor.

3                  We proposed a briefing schedule that was five

4     days.    We were having a briefing schedule that would be done

5     by the end of this week -- by the end of next -- next week,

6     I believe.     And, therefore, Your Honor, we tried to

7     accommodate the government's concerns.       It has never been

8     Twitter's position that we are seeking to delay the

9     government's investigation.

10                 We are trying to vindicate our First Amendment

11    right; that is all.     So we tried to work around the

12    government's expedited schedule.

13                 I should also note, Your Honor -- you mentioned

14    the ten-day delay.     Let me just address that for a second.

15                 When Mr. Bernstein talked to               , counsel,

16    on January 27th, he acknowledged that we were wrestling

17    through these issues.     He said:    Can we please talk about

18    realistic dates for completion, for execution?         He

19    recognized that we were going through these issues.         We

20    thought we were having a good-faith discussion.         And to say

21    that we have just been sitting on this and trying to upset

22    both the court and the special counsel's office is factually

23    inaccurate, Your Honor.

24                 We were trying to work through these issues.        We

25    have talked to Mr. Bernstein --

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1                 THE COURT:   Let me just be clear.      I really -- I

2     take offense when lawyers try and attribute to me certain

3     feelings --

4                 MR. VARGHESE:   I apologize, Your Honor.

5                 THE COURT:   -- that are totally -- totally off

6     course.    So I am not upset.

7                 I am trying to puzzle over the arguments to make

8     sense of them when there is zero case law and support of

9     Twitter's arguments.

10                MR. VARGHESE:   I apologize, Your Honor.     I didn't

11    mean upsetting in the emotion sense.       I meant upsetting the

12    Court's deadline or the special counsel's investigation;

13    that is not our goal, Your Honor.

14                Our goal was to engage in good-faith negotiations,

15    which we thought we were doing with Mr. Bernstein.

16                THE COURT:   Okay.     Can Twitter produce the warrant

17    returns by 5 p.m. today?

18                MR. VARGHESE:   I believe we are prepared to do

19    that.   Yes, Your Honor.

20                THE COURT:   Good.     Anything further?

21                MR. VARGHESE:   Your Honor, we have a draft -- we

22    have an order that was issued in the Google case, if you

23    want to observe how they did it, allowing The New York

24    Times --

25                THE COURT:   I don't need to look and see what the

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1     Southern District of New York judge did.

2                MR. VARGHESE:    Thank you, Your Honor.

3                I have nothing further.

4                THE COURT:   Any reply?

5                MR. BERNSTEIN:    No, Your Honor.

6                THE COURT:   All right.    I am going to grant the

7     government's motion for an order to show cause why Twitter

8     should not be held in contempt.      I am just going to

9     summarize my reasons here.

10               When I deal with the nondisclosure order challenge

11    I may elaborate on these reasons more fulsomely.        But given

12    the fact that Twitter will have until 5:00 p.m. today to

13    produce the warrant returns to the government, I think I am

14    going to keep my remarks fairly brief.

15               As an initial matter, the government has satisfied

16    all three requirements for finding contempt here.        There was

17    a clear and unambiguous court order in place; that order

18    required certain conduct by the respondent, the respondent

19    failed to comply with the order.      See U.S. v Latney's

20    Funeral Home, 41 F. Supp. 3d 24, jump cite 30, D.D.C. from

21    2014.

22               The search warrant was issued on January 17, 2023.

23    It was an unambiguous court order requiring Twitter to

24    comply with production of the specified records in

25    Attachment B, Part 1, by January 7, 2023.       Twitter did not

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1     comply.

2                Twitter doesn't contest those findings in its

3     opposition.    Instead, it asserts that it has promptly and

4     expeditiously sought to comply with the warrant and has

5     acted in good faith and with alacrity.       But Twitter's good

6     faith does not matter for the purpose of finding it in

7     contempt because a finding of bad faith on the part of the

8     contemnor is not required.      See Food Lion, Inc. v United

9     Food and Commercial Workers, a D.C. Circuit case from 1997.

10               Twitter's defense is that producing the requested

11    information prior to allowing it the opportunity to alert

12    the former President would irreparably injure its First

13    Amendment rights and eliminate any potential remedy for the

14    former President.    If accepted, Twitter's argument would

15    invite intervention by Twitter -- let alone every other

16    electronic communications provider -- to delay execution of

17    any order, let alone warrants, issued under the Stored

18    Communications Act based on the provider's belief, knowing

19    slivers, slivers of what is required for execution of the

20    warrant -- slivers of knowledge of the scope of an

21    investigation.    But they would, nonetheless, step forward to

22    frustrate execution of orders across the country based on

23    their perceived view that their user's potential privilege

24    rights at issue.

25               The government calls the practical consequences of

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1     adopted Twitter's amorphous standards "momentous," and I

2     agree.   There is simply no support for Twitter's position.

3                Twitter concedes it doesn't have standing to

4     assert President Trump's claims of executive privilege.          And

5     any merit to the former President's potential executive

6     privilege claims need not be addressed here because Twitter

7     lacks standing to assert them or fully brief them.         Twitter

8     has no defense for its failure to comply with the search

9     warrant.

10               As the Southern District of New York explained in

11    Google v United States, any challenge to a NDO is separate

12    from a challenge to a search warrant because any further

13    delay on the production of the materials responsive to the

14    warrant increases the risk that evidence will be lost or

15    destroyed, heightens the chance the targets will learn of

16    the investigation, and jeopardizes the government's ability

17    to bring any prosecution in a timely fashion.         The public

18    interest is served by prompt compliance with the warrant,

19    443 F. Supp. 3d 447, 455, SDNY, 2020.

20               Twitter's insistence that its First Amendment

21    challenge to the NDO must be resolved prior to its

22    compliance with the search warrant are rejected.

23               Twitter is directed to comply with the warrant by

24    5 p.m. today.     Should Twitter fail to comply, I agree with

25    the government that escalating daily fines are appropriate.

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1     If Twitter fails to comply, the fines are civil, designed to

2     ensure Twitter complies with the search warrant.        They are

3     not punitive to punish Twitter for its failure thus far to

4     comply.

5                Considering that Twitter was purchased for over

6     $40 billion, and the sole owner is worth over $180 billion,

7     a hefty fine is appropriate here.      If Twitter does not

8     comply with the warrant by 5 p.m. today, it will be fined

9     $50,000, and that fine will double every day thereafter.

10               So accordingly -- and part of my consideration for

11    the size of the fine and the need to get this moving is

12    because Twitter is delaying a special counsel investigation

13    into whether any person or entity violated the law in

14    connection with efforts to interfere with the lawful

15    transfer of power following the 2020 presidential election

16    or the certification of the Electoral College vote held on

17    January 6, 2021, and other matters of vital national

18    importance.    This delay is going to stop now.

19               Upon consideration of the government's motion for

20    an order to show cause, docketed at ECF No. 5 in the record

21    herein, it's hereby ordered that the government's motion is

22    granted.

23               It is further ordered that Twitter comply with the

24    search and seizure warrant, which itself required compliance

25    by January 27, 2023, by today at 5 p.m.

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1                It is further ordered that Twitter shall be held

2     in contempt if it fails to comply with this order by 5 p.m.

3     today.

4                It is further ordered that Twitter shall be fined

5     $50,000 each day; a fine amount that shall double every day

6     for failure to comply with the order, with that fine payable

7     to the Clerk of this court.

8                Is there anything further today since we already

9     have a schedule for further briefing on the NDO?

10               MR. BERNSTEIN:    No, Your Honor.

11               THE COURT:   From Twitter?

12               MR. VARGHESE:    No, Your Honor.    Thank you.

13               THE COURT:   You are all excused.

14               (Whereupon, the proceeding concludes, 3:03 p.m.)

15                                * * * * *

16                                CERTIFICATE

17              I, ELIZABETH SAINT-LOTH, RPR, FCRR, do hereby
      certify that the foregoing constitutes a true and accurate
18    transcript of my stenographic notes, and is a full, true,
      and complete transcript of the proceedings to the best of my
19    ability.

20             This certificate shall be considered null and void
      if the transcript is disassembled and/or photocopied in any
21    manner by any party without authorization of the signatory
      below.
22

23         Dated this 11th day of February, 2023.

24         /s/ Elizabeth Saint-Loth, RPR, FCRR
           Official Court Reporter
25

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  From:           Howell Chambers
  To:             GDB (JSPT); JMP (JSPT); MLD (JSPT); Holtzblatt, Ari; Varghese, George; TPW (JSPT); JIP (JSPT); Russell,
                  Whitney D.; Powell, Benjamin
  Cc:             Teresa Gumiel
  Subject:        23-sc-31: Minute Order (February 7, 2023)
  Date:           Tuesday, February 7, 2023 3:58:00 PM



  EXTERNAL SENDER

  Counsel,

  Please see the below Minute Order entered today in the above referenced matter. Thank you.

  Best,
  The Chambers of Chief Judge Howell


                                                U.S. District Court

                                               District of Columbia

  Notice of Electronic Filing

  The following transaction was entered on 2/7/2023 at 3:53 PM EDT and filed on 2/7/2023
              IN THE MATTER OF THE SEARCH OF INFORMATION THAT IS STORED AT PREMISES
  Case Name:
              CONTROLLED BY TWITTER INC. IDENTIFIED IN ATTACHMENT A
  Case
              1:23-sc-00031-BAH *SEALED*
  Number:
  Filer:
  Document
              No document attached
  Number:

  Docket Text:
  MINUTE ORDER (paperless) GRANTING the government's [5] Motion for Order
  to Show Cause; DIRECTING that Twitter, Inc.: (1) By February 7, 2023 at 5:00
  PM, comply with the [4] Search and Seizure Warrant, which itself required
  compliance by January 27, 2023; and (2) by February 8, 2023 at 5 PM, submit a
  list of each case in which Twitter, Inc. has filed a challenge to a non-disclosure
  order, issued pursuant to 18 U.S.C. § 2705(b), summarizing for each case the
  court's resolution of that challenge; and further ORDERING that Twitter, Inc.
  shall be held in contempt if it fails to comply with the [4] Search and Seizure
  Warrant by February 7, 2023 at 5:00 PM, and that Twitter, Inc. shall be fined
  $50,000, a fine amount that shall double every day, for failing to comply with
  this Order, payable to the Clerk of this Court. Signed by Chief Judge Beryl A.
  Howell on February 7, 2023. Counsel has been notified electronically.(lcbah4)




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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

     * * * * * * * * * * * * * * * *
    In the Matter of the Search of         )    Case No. 23-SC-31
    Information That is Stored             )
    at Premises Controlled by              )
    Twitter, Inc.                          )
                                           )
    UNITED STATES OF AMERICA,              )    February 9, 2023
              Interested Party,            )    11:10 a.m.
                                           )    Washington, D.C.
    TWITTER,                               )
             Interested Party.             )
    * * * * * * * * * * * * * * * *

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                         TRANSCRIPT OF HEARING
                 BEFORE THE HONORABLE BERYL A. HOWELL,
                UNITED STATES DISTRICT COURT CHIEF JUDGE

    APPEARANCES:

    FOR THE UNITED STATES:
                        THOMAS WINDOM
                        MARY DOHRMANN
                        Office of Special Counsel
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                        Washington, DC 20530
                        (202) 804-7000


    FOR TWITTER:
                          ARI HOLTZBLATT
                          WHITNEY RUSSELL
                          BENJAMIN A. POWELL
                          WilmerHale
                          2100 Pennsylvania Avenue NW
                          Washington, DC 20037 USA
                          (202) 663-6964


    Court Reporter:       Elizabeth Saint-Loth, RPR, FCRR
                          Official Court Reporter


               Proceedings reported by machine shorthand.
          Transcript produced by computer-aided transcription.

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1                            P R O C E E D I N G S

2                 THE COURTROOM DEPUTY:      Matter before the Court,

3     Case No. 23-SC-31, In the matter of the search of

4     information that is stored at premises controlled by

5     Twitter, Inc.     Interested parties, United States of America

6     and Twitter, Inc.

7                 Counsel, please come forward and state your names

8     for the record, starting with the government.

9                 MR. WINDOM:   Good morning, Your Honor.

10    Thomas Windom and Mary Dohrmann for the United States.

11                THE COURT:    Yes.    Good morning.

12                MR. HOLTZBLATT:      Your Honor, Ari Holtzblatt for

13    Twitter.

14                THE COURT:    All right.    Who else is with you at

15    counsel table, if you would just introduce them again.

16                MR. HOLTZBLATT:      I'm sorry.   Ben Powell and

17    Whitney Russell.

18                THE COURT:    And Mr. Varghese, as I understand, is

19    on his way.

20                MR. HOLTZBLATT:      Mr. Varghese is in an interview

21    that could not be rescheduled.        So I will be --

22                THE COURT:    Okay.     I thought we were waiting for

23    somebody.

24                MR. HOLTZBLATT:      I'm sorry.   Yes.   Mr. Aaron

25    Zebley entered an appearance this morning and is on his way.

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1     He is actually outside the building.           He will be joining

2     very shortly.

3                THE COURT:    So we're not waiting for anybody?

4                MR. HOLTZBLATT:     He is trying to get up here.         But

5     we don't need to wait for him; I will be presenting.

6                THE COURT:    I'm sorry.     I had gotten a message

7     that the person who was supposed to be arguing today was

8     delayed, but to begin without him.           I just want to make sure

9     the record is correct.     I presumed it was Mr. Varghese since

10    that was the person who argued the last time we were here

11    earlier this week.     But perhaps I misunderstood.

12               MR. HOLTZBLATT:     I think something may have been

13    lost in communication.     I will be presenting for Twitter

14    today.   My colleague Aaron Zebley is on his way, and will be

15    here shortly.

16               THE COURT:    Okay.      Fine.    Got it.    Fine.   Because

17    we're not waiting.

18               Okay.    So as I look at this and look at the time

19    of the warrant issuance, I look at how far out we are from

20    compliance with the warrant, the representation by Twitter's

21    counsel when we met earlier this week that they could comply

22    by 5 p.m. on the 7th; and there was some compliance, I

23    think, by the deadline.

24               But I understand from the government's email to

25    chambers, with a copy to Twitter's counsel, that there has

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1     not been full compliance with the warrant.          I want to just

2     find out today what happened, and where are we on compliance

3     with the warrant.    Twitter has had quite some time to comply

4     with the warrant and have everything prepared to turn over,

5     so I am a little bit concerned about where we are.

6                Let me find out first from the government, since

7     we're here at the government's request, what is the

8     government expecting to happen today --

9                MR. WINDOM:    Thank you, Your Honor.

10               THE COURT:    -- other than counting up the amount

11    of the penalty?

12               MR. WINDOM:    Yes, ma'am.    A few things.

13               First of all, the government wanted to raise this

14    with Your Honor since it was inconsistent with what was

15    represented in court by Twitter counsel two days ago.

16               Second of all, we want compliance; that's the

17    entire purpose of these repeated proceedings and

18    conversations with counsel, is to get the information that

19    the Court ordered them to produce 13 days ago.

20               Each time we have received an email or had a

21    conversation with counsel over the last 48 hours, we have

22    not been left with any confidence that they have produced

23    everything, that they have a time frame to produce

24    everything, or that they even know the scope of the

25    repositories of information.

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1                Even this morning, when we had a phone call with

2     them, it seemed as if they were attempting to cabin one of

3     the requests in the warrant.       The only way to describe the

4     end of the phone call after it concluded, I had felt like I

5     had been getting nickle-and-dimed for the prior 20 minutes

6     of conversation.    We need the material.     We need it now.     We

7     needed it 13 days ago.

8                The purpose of this hearing is to impress upon

9     counsel in a way that apparently the government cannot, that

10    the meter is running.    $50,000 accrued at five o'clock two

11    days ago; $100,000 yesterday; $200,000 so far today.         It

12    will continue to run until Twitter completely complies with

13    the warrant.

14               THE COURT:    All right.     So let's hear from you,

15    Mr. Holtzblatt.

16               MR. HOLTZBLATT:    Thank you, Your Honor.

17               I would like to address three things that counsel

18    for the government just said:        First, what we understood we

19    were producing at five o'clock on Tuesday; second, what we

20    have done since then -- actually, four things -- what

21    remains.   And the final item that counsel for the government

22    mentioned about the single category where we discovered this

23    morning that we had a different understanding about what

24    that category represents, and I think it may be -- I

25    ultimately would like --

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1                THE COURT:   Well, I am looking at Attachment B,

2     Part 1.   We're just going to go through it line by line,

3     something tediously -- I tried to avoid at the last hearing;

4     but it seems like that kind of supervision of Twitter is

5     necessary here.

6                Do you have that in front of you, Mr. Holtzblatt?

7                MR. HOLTZBLATT:    I do, Your Honor.

8                THE COURT:   Let's start with number 1.

9                All business records and subscriber information in

10    any form kept pertaining to the subject account starting

11    with:   A, identity and contact information, past and

12    current, including full name, email address, physical

13    address, date of birth, phone number, gender, and other

14    personal identifiers.

15               Has that been turned over?

16               MR. HOLTZBLATT:    Your Honor, I was prepared to

17    identify for you the items that we understand are not yet

18    turned over --

19               THE COURT:   Well, it's the same way of doing it.

20    What have you turned over?     What is missing?

21               So everything in "A" turned over?

22               MR. HOLTZBLATT:    The one item that I know that is

23    not yet turned over but is about to be turned over is the

24    information regarding gender.

25               THE COURT:   Which you are still determining

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1     whether you have or not?

2                MR. HOLTZBLATT:    No.    We have determined that we

3     have the gender information.       We spoke to the government

4     about the gender information yesterday.

5                The email communication from the government

6     suggested that the gender field was not necessarily the most

7     pressing of information, but we have gathered it.        And, I

8     think, as we speak are producing the gender field

9     information.

10               THE COURT:   And everything else in "A," I am

11    understanding from what you said, has been turned over.

12               Is that a correct understanding?

13               MR. HOLTZBLATT:    That is my understanding.

14               THE COURT:   All right.     B.   Do I have to read it

15    to you or can you read it yourself?

16               Has everything in B been turned over?

17               MR. HOLTZBLATT:    Your Honor.    Can you bear with me

18    for one second?

19               (Whereupon, Twitter counsel confer.)

20               MR. HOLTZBLATT:    Your Honor, we have turned over

21    information in all categories in B with one exception that

22    we are -- we don't possess in the manner in which it is

23    described in B, and so we're attempting to turn over what we

24    do have.

25               THE COURT:   What is that precisely?

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1                 MR. HOLTZBLATT:    All associated accounts,

2     parentheses, including those linked by machine, cookie, IP

3     address, email address, or any other account or device

4     identifier, that's not -- "associated accounts," as I

5     understand it, is not a category of information that exists

6     in that term within our systems.       And so we are attempting

7     to gather a proxy for that, but it's not --

8                 THE COURT:   What is the proxy you are gathering

9     for that?

10                (Whereupon, Twitter counsel confer.)

11                MR. HOLTZBLATT:    We are --

12                THE COURT:   Is there a reason why Ms. Russell just

13    has to just sit there as opposed to speaking, since she

14    seems to be the person with the answers?

15                MR. HOLTZBLATT:    No, Your Honor.     We have

16    collectively gathered the information about the answers.          So

17    before I make a representation to you I wanted to confirm

18    that information because I don't want to make an incorrect

19    representation to Your Honor.

20                THE COURT:   Of course not.    We have already been

21    through that.

22                Okay.   So you are still figuring out all of the

23    associated account information in 1B.

24                How long will it take you to figure that out,

25    produce it, collect it, and produce it?

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1                MR. HOLTZBLATT:    Well, Your Honor, we don't -- the

2     issue, Your Honor -- there isn't a category of "associated

3     account information"; that's not information that Twitter

4     stores.

5                What we are doing right now is manually attempting

6     to ascertain links between accounts.       But the ascertainment

7     of links between accounts on the basis of machine, cookie,

8     IP address, email address, or other account or device

9     identifier is not information that Twitter possesses, it

10    would be information that Twitter needs to create.        So

11    that's the reason why we had not previously produced it

12    because it's not a category of information that we actually

13    possess.

14               So what we are trying to do is be -- I would

15    say -- because it's not information --

16               THE COURT:    Okay.     I am going to do this in a way

17    that makes sense on the record as we're talking about

18    things.

19               Mr. Windom, with respect to the "all associated

20    accounts," have you obtained -- has the government obtained

21    information like that before from Twitter, if you know?

22               MR. WINDOM:   I can't make that representation with

23    respect to Twitter.

24               With any number of other electronic communication

25    providers, they keep that information in a consistent form.

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1                 To the extent that Twitter does not, it should be

2     a simple process.     You have cookies associated with an

3     account; you have the email for the subscriber information;

4     perhaps you have the phone number; you definitely have the

5     IP addresses.     Control F that through your system to see

6     what other accounts have come from those IP addresses, are

7     linked to that email address, are linked to the phone

8     number, are linked to the same cookies.

9                 I don't profess to be a technological wizard, but

10    it does not seem to be a complex issue.

11                THE COURT:    And all associated --

12                MR. HOLTZBLATT:    Your Honor.

13                THE COURT:    Excuse me.   Mr. Windom, you escaped

14    too fast.

15                MR. WINDOM:   Sorry, ma'am.

16                THE COURT:    "All associated accounts" information

17    is helpful and useful for what reason?

18                MR. WINDOM:   It is, as explained more fully in the

19    warrant -- but for these purposes, it is a useful tool in

20    identifying what other accounts are being used by the same

21    user or by the same device that has access to the account.

22                As oftentimes in any number of cases, user

23    attribution is important.      And if there are other accounts

24    that a user is using, that is very important to the

25    government's investigation.

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1                THE COURT:    All right.

2                MR. HOLTZBLATT:     So, Your Honor, all providers are

3     not the same.     And it is -- I believe it is correct that

4     other providers possess this information in this form.

5                The warrant, in Section 1 of the warrant, is a BSI

6     request for basic subscriber information.        It, therefore, is

7     asking for information that exists, not information that

8     needs to be created.

9                What I understand the government to be asking --

10    and we are -- we were trying to be cooperative, and our

11    communications with the government have aimed at attempting

12    to assist the government -- is for us to create information

13    that does not exist, as opposed to produce information that

14    does exist.    We are trying to work with the government.        But

15    in terms of compliance with the warrant, the creation of BSI

16    that does not exist, I think, is beyond the scope of the

17    warrant.

18               THE COURT:    Well, it's business records and

19    subscriber information in any form kept.        You are saying

20    because of the word "kept" you don't have that information

21    as a business record that you maintain?

22               MR. HOLTZBLATT:     That's right.    If the records --

23    if the linkage between accounts, which is what we understand

24    this category to be referring to, is not itself a piece of

25    information that we keep, then it's not a business record

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1     that we would ordinarily produce.

2                What I understand the government to be asking is

3     for us to analyze our data, as opposed to produce existing

4     data.   And we are trying to work with the government in that

5     respect, but that is the reason that it is not something

6     that -- that is a different category of information.

7                THE COURT:   All right.     1C, length of service, has

8     that been produced?

9                MR. HOLTZBLATT:    We have produced length of

10    service including start date; and I don't know the answer to

11    the rest of 1C.

12               THE COURT:   Ms. Russell, do you know the answer?

13               (Whereupon, Twitter counsel confer.)

14               MR. HOLTZBLATT:    We have produced everything, but

15    there is no credit card or bank account number information

16    associated with the account.

17               THE COURT:   Really?      Then how did somebody pay for

18    that account at all, or --

19               MR. HOLTZBLATT:    The Twitter services --

20               THE COURT:   -- or identify themselves -- that's

21    just one way to identify yourselves as an account user?         You

22    don't have to provider that information to use a Twitter

23    account?

24               MR. HOLTZBLATT:    That's correct, Your Honor.      The

25    Twitter service is free.

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1                THE COURT:   All right.    D?

2                MR. HOLTZBLATT:    Yes.   We have produced that

3     information.

4                THE COURT:   E?

5                MR. HOLTZBLATT:    We have produced that information.

6                THE COURT:   And F?

7                MR. HOLTZBLATT:    We have produced that information.

8                THE COURT:   G?

9                MR. HOLTZBLATT:    We have produced that information.

10               THE COURT:   H?

11               MR. HOLTZBLATT:    This is the source of our

12    divergence of understanding with the government that we

13    discussed with the government this morning.        Until we had

14    this discussion this morning, we did not understand how --

15    we had a different understanding of what 1H refers to.         And

16    if Your Honor will permit, I can explain --

17               THE COURT:   Well, for purposes of the record, H

18    is:   Communications between Twitter and any person regarding

19    the account including contacts with support services and

20    records of actions taken.

21               It seems pretty plain on its face.

22               Have you reached an understanding now with the

23    government as to the scope?

24               MR. HOLTZBLATT:    No.    We have attempted and would

25    like to continue to attempt to reach an understanding with

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1     the government as to the scope if Your Honor would permit.

2                  THE COURT:   I am going to dictate the scope right

3     now:    All communications that Twitter had with any person

4     regarding this account including any contacts with support

5     services and records of actions taken.       Is that clear?

6                  MR. HOLTZBLATT:    Well, Your Honor --

7                  THE COURT:   What don't you understand about what I

8     just said?

9                  MR. HOLTZBLATT:    We understand 1H to refer to

10    basic subscriber information because it appears in Section 1

11    of the warrant.

12                 THE COURT:   I think it speaks for itself, and it

13    is not just "basic subscriber information," it is what it

14    says.

15                 So have there been communications between Twitter

16    and any person regarding this account -- and given the fact

17    that it was turned off at one point and then turned back on

18    again -- one would think that there would be a lot of

19    communications; and all of those communications would be

20    included.

21                 Where are you puzzled as a company?

22                 MR. HOLTZBLATT:    This is where we are puzzled,

23    Your Honor.    1H appears in Section 1 of the warrant which

24    otherwise refers -- every other category in Section 1 refers

25    to basic subscriber information.

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1                  THE COURT:   Forget -- forget what you think this

2     category is.

3                  It's all business records and subscriber

4     information in any form kept pertaining to the subject

5     account.

6                  So any communications between Twitter and anybody

7     else regarding the account -- if it's kept, it's

8     communications regarding the account and subject to that

9     paragraph.

10                 MR. HOLTZBLATT:    We had understood this category

11    to be defined by the including clause here, which says:

12    Contacts with support services and records of actions taken.

13                 We have searched for that information, and are in

14    the process of producing just, I think, two records.          What

15    the government explained --

16                 THE COURT:   Well, that's just including contacts.

17    "Including" does not mean only limited to.         "Including"

18    means including that but any other communications as well.

19                 MR. HOLTZBLATT:    We understand that is how the

20    government communicated to us their understanding of this

21    clause today because it appears in the basic subscriber

22    information section.

23                 THE COURT:   So the government agrees with what I

24    have just read to you, that that is what the scope is?

25                 MR. HOLTZBLATT:    So we have done -- we have

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1     attempted to conduct searches today, in light of the

2     conversation we had this morning with the government, to

3     understand the scope of this.           What we have found is --

4     based on certain types of searches -- we are talking about

5     millions of emails that include, for example,

6     realDonaldTrump.      That is a dramatically broader scope of

7     information than we had understood would be covered by this

8     category.      And what we said to the government --

9                 THE COURT:    Why don't you explain that more.

10                MR. HOLTZBLATT:      Why don't I explain what we

11    understood it to mean or what we --

12                THE COURT:    No.    I understand you thought it was

13    limited to two records with support services; and that's

14    clearly not the full scope of what is covered in H.

15                So based on what the plain text of H means, and

16    you just mentioned -- made reference to millions of emails,

17    what would the response mean to the plain text of this?

18                MR. HOLTZBLATT:      So what -- if what the government

19    believes we need to produce for this category -- and we are

20    prepared to be as cooperative as we can be with the

21    government in doing that.

22                The government this morning communicated to us

23    that they were most interested in communications between

24    government officials and Twitter regarding the subject

25    account as captured by this.

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1                If that is what we are to produce, which is not

2     what we had understood was covered by this category until

3     the conversation this morning, then, what we would normally

4     do for that kind of a communication production would be to

5     meet and confer with the government or -- if we were in

6     civil litigation with the opposing party -- identify search

7     terms and, potentially, custodians that would produce a

8     reasonable set of records that we can review and then

9     produce in order to produce a manageable amount of

10    information.    That's what we proposed to the government this

11    morning, is that we meet and confer, try to understand what

12    search terms would be effective at narrowing down the

13    search.

14               As I said, when we did a search for -- simply the

15    keyword search of @realDonaldTrump on emails within the

16    Twitter system, it produced millions of hits.          I think there

17    are other ways of constructing a search that would produce

18    an appropriate scoped search for this category.

19               THE COURT:     And those millions of hits consist of

20    people concerned about Twitter turning off the account, is

21    that why it was millions?       Why would it be millions?

22               MR. HOLTZBLATT:      Well, that's with only the search

23    term @realDonaldTrump, so that's obviously broader than what

24    Your Honor just said.

25               H says:    Communications between Twitter and any

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1     person regarding the account.        To give meaning to that in --

2     to be responsive to the government about what they are most

3     interested in with respect to this category, we proposed --

4     and would still propose -- that we meet and confer,

5     understand what a set of search terms would be that would

6     obtain the kind of information that the government is trying

7     to obtain under this category --

8                THE COURT:    Mr. Holtzblatt, why are -- are there a

9     million emails?    Why are there a million emails?      From whom?

10               MR. HOLTZBLATT:      Within the Twitter email system.

11    It's not limited to emails -- between people outside the

12    Twitter set of employees and Twitter itself.

13               So we -- so, for example, one way of addressing

14    this category would be to limit our search to -- that was

15    from 2006 to the present.     So there is no date limitation

16    within Category 1, which is another reason we understood it

17    to be BSI information.

18               So what would help to narrow this down would be to

19    impose a date limitation, which is not currently within

20    Category 1; to, perhaps, add a set of to/from or bcc, or cc

21    recipients.    For example, if the government is interested in

22    specifically communications from government officials, then

23    we can do a:    To/from .gov.

24               THE COURT:    Okay.     Please sit down.

25               Mr. Windom, do you really need that from 2006 to

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1     the present on H?

2                  MR. WINDOM:   This is the first time I have heard a

3     complaint about a date limitation on 1H.        The answer is no.

4     I don't need it from 2006 forward.

5                  If we were to pick a date right now, I would say

6     October 1st of 2020 through January 20th of 2021, which is

7     consistent with 1F.

8                  But this information about, you know, what it is

9     that we say that we're most specifically interested in, I

10    did not represent that we were most interested in

11    communications between government officials and Twitter

12    regarding the account.

13                 We did point out that -- much as Your Honor did

14    just now -- it seemed beyond comprehension that there

15    weren't communications regarding the account when it was

16    suspended and terminated, but that doesn't mean government

17    officials at least cabined to that.       It can mean campaign

18    officials.     It can be anybody acting on behalf of the user

19    of the account, or the user of the account himself.

20                 THE COURT:    So any person regarding the account is

21    broader than what you just said, though, Mr. Windom.

22                 "Any person regarding the account" is quite broad.

23    It could be all the complaints of all of the Trump

24    supporters out in the world saying:       What are you doing,

25    Twitter?

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1                  So I take it, from what you just said, that you

2     are interested only in -- rather than "any person," a person

3     who was the subscriber or user of the account or on behalf

4     of that person regarding the account?

5                  MR. WINDOM:   Yes, ma'am.    An agent thereof.

6                  THE COURT:    All right.   How long -- with that

7     clarification, Mr. Holtzblatt, how long will it take Twitter

8     between -- with the date limitation and the limitation on

9     any person, to produce records?

10                 MR. HOLTZBLATT:    Your Honor, I just want to make

11    sure I understand the limitation.

12                 There are two additional limitations that are

13    being placed on 1H, one is -- is that it be limited by date,

14    from October 1st, 2020, to January 20th, 2021, is that

15    correct, or the end of January --

16                 THE COURT:    January 20th, 2021.

17                 MR. HOLTZBLATT:    -- January 20th, 2021, and that

18    the individuals covered would be only the owner of the

19    account or an agent of the owner of the account for

20    communications?

21                 I will need to talk to my client about how long it

22    will take.     But what I can represent to the Court is that,

23    within an hour of today's hearing, I will be able to provide

24    an estimate.     And my hope would be that I will be able to

25    produce today that information, but I don't feel like I can

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1     make a representation without first talking to my client

2     about it.

3                 THE COURT:    All right.   Is that sufficient,

4     subscriber or agent of the user of the account?

5                 MR. WINDOM:   Yes, ma'am, with the qualification

6     that I can't know the universe of who those agents or

7     putative agents may be.

8                 THE COURT:    Well, how is Twitter going to know

9     that?

10                MR. WINDOM:   It would be beyond all comprehension

11    to imagine that, with this account, there is not a file

12    known within the general counsel's office or some other

13    liaison office within Twitter regarding the account with

14    everything that transpired during the relevant time period.

15                THE COURT:    We'll see how that goes because

16    hopefully -- I don't want to see you all here again.         I am

17    sure none of you want to be here again.

18                All right.    So now we're on to 2, which is --

19                MR. HOLTZBLATT:    Just on one -- on the agents,

20    Your Honor, one category that I could propose is the

21    representatives of -- that subject to the account assigned

22    to be responsible for all presidential records with respect

23    to the archivist, so there are a limited -- a defined and

24    limited set of individuals who were assigned to be

25    responsible for presidential records.      And as we have talked

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1     about before, at least during the relevant time period, both

2     the archivist and Twitter understood these to be

3     presidential records.    Whether or not -- I know Your Honor

4     has some questions about that.       But in terms of the

5     contemporaneous understanding of the parties, that's how

6     Twitter understood the records --

7                THE COURT:   Well, when this account was set up,

8     was there a communication from the person or persons who set

9     up the account with Twitter as to who could access it and

10    who could communicate regarding the functionality and any

11    other concerns about the account?

12               MR. HOLTZBLATT:    The account was set up in 2006,

13    Your Honor.    A great deal transpired between 2006 and 2020

14    with respect to the individual who is the owner of the

15    account.   So I don't -- there is obviously -- there is

16    sign-in information with the account, but you don't need to

17    provide very much information to open a Twitter account.         So

18    it's -- it may be surprising to the government or to the

19    Court, but there is not a -- we don't keep dossiers on users

20    in that sense.

21               I can represent to Your Honor that the current

22    email -- we have a name of an individual who is the current

23    email contact for the account, and that is a person who is a

24    credible --

25               THE COURT:   What is that name?

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1                MR. HOLTZBLATT:                .   So I think we can

2     certainly look at the NARA -- the individuals who are

3     assigned to be agents for the account --

4                THE COURT:    And expand it beyond                 to

5     include those people as well?

6                MR. HOLTZBLATT:    That's correct, Your Honor.

7                THE COURT:    Right.

8                Mr. Windom, I am not sure what else they can do.

9                MR. WINDOM:   Your Honor, that's a starting point.

10    We can add names to the extent we think appropriate.

11               I will say this, the letter that they're talking

12    about was signed on January 19th and includes the sitting

13    Assistant Attorney General for the Office of Legal Counsel.

14    I highly doubt that that person is having communications

15    with Twitter in the relevant time period about this account.

16    I would not cabin it to that --

17               THE COURT:    Well, I know the NARA representatives

18    are -- limiting it to them would be useless, generally

19    useless.

20               MR. WINDOM:   Yes, ma'am.

21               THE COURT:    I am fully aware of that.     But

22             would not be.

23               MR. WINDOM:                 is one person I can

24    consult, and add additional names to the extent that their

25    list is not robust.

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1                THE COURT:    All right.    Well, you can provide the

2     list of names to them.

3                MR. WINDOM:    Thank you, Judge.

4                THE COURT:    All right.    We're on to 2A,

5     Mr. Holtzblatt.

6                MR. HOLTZBLATT:     Thank you, Your Honor.

7                THE COURT:    And for purposes of the record, so

8     we're all clear, 2 states that the warrant demands:         All

9     content, records, and other information relating to

10    communications sent from or received by the subject account

11    from October 2020 to January 2021 including but not limited

12    to:   A, content of all tweets created, drafted, favorited,

13    liked, or re-tweeted by the subject account including all

14    such deleted tweets, and all associated multimedia,

15    metadata, and logs.

16               Has that been produced?

17               MR. HOLTZBLATT:     Yes, Your Honor.     We have --

18               THE COURT:    You can stop at "yes," if it's all

19    been produced.    If there is an exception --

20               MR. HOLTZBLATT:     It's more complicated, so I was

21    going to explain.

22               THE COURT:    Okay.     That's unfortunate.

23               MR. HOLTZBLATT:     At 5 p.m. on February 7th, I

24    think that was our day, we produced all data in this

25    category that was in the standard production tools of

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1     Twitter.

2                We communicated with the government on

3     February 8th that there were prior preservations of the

4     subject account that are not within Twitter's standard

5     production tools and that would, therefore, require

6     engineering to obtain information.       And we asked the

7     government whether it wished us to undertake that effort,

8     and the government confirmed that it did.

9                And we have since then -- when we produced on

10    February 7, we indicated to the government in our production

11    letter that there was potentially deleted data that might

12    exist, which is what would be found in prior preservations,

13    but that it would require additional engineering efforts.

14               At 2 a.m. last night, or this morning, Twitter

15    produced additional information from those prior

16    preservations that falls within category 2A.        There are --

17               THE COURT:    When you say "prior preservations"

18    what are you talking about?

19               Prior litigation holds of some kind or that you

20    had a stash or a cache of preserved data sitting in

21    different places?    What are you talking about?

22               MR. HOLTZBLATT:     I am referring -- with respect to

23    this particular account, I am referring to preservations

24    from two specific dates.

25               There is a preservation that was made that

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1     includes the subject account covering January 3rd to 9th,

2     2021.   There is a second preservation of this that includes

3     this account that covers January 11 to 12, 2021.

4                Those are collections of data that -- they are

5     not -- it's not coterminous with the categories that would

6     exist in the active account right now and -- and that's data

7     that does not exist within a production environment.         So

8     it's not data that you can just click -- we have a system to

9     just click a button and produce, which is why we indicated

10    that further engineering efforts might be necessary.

11               We asked the government if they wished us to

12    undertake those efforts.     We had an engineer working through

13    the night, after the government asked us to, to undertake

14    those efforts.    At 2 a.m. in the morning we produced

15    additional information that came from those preservations.

16               There are two categories of information that --

17    actually, I'm sorry, three categories of information that we

18    are still working to produce because of the engineering

19    challenges associated.

20               One of those categories is the list of -- I am not

21    sure this is from 2A.    But I think, for purposes of

22    coherence, it would be helpful for me to describe it now

23    because it connects to this preservation; that is,

24    followers -- a list of followers for this account that were

25    contained within the January 11 through 12th prior

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1     preservation.     We have segregated that information.      It is a

2     complicated and large set of information.        And we are unable

3     to deliver it in the manner that we normally deliver

4     information to law enforcement, which is to send a token.

5     We believe right now it would require physical media to put

6     that information on and to hand it over to the government.

7                  This morning we indicated to the government:        If

8     there is a mechanism, like an FTP site or something, that

9     you have that you can work with us, we would like to work

10    with you on this.     We have it.      We have segregated it.    We

11    just don't currently have a tool that allows us to produce

12    it to you.     So that --

13                 THE COURT:     This is really just a list of

14    followers attached to the preserved account from January 11

15    through 12, 2021?

16                 MR. HOLTZBLATT:    That's this particular -- there

17    are two others that I need to address, but that's this

18    particular one that I am addressing.        That's correct, Your

19    Honor.

20                 THE COURT:     Okay.   Category two of the three.

21                 MR. HOLTZBLATT:    As I mentioned, Your Honor, there

22    were two prior preservations, and then there is the current

23    production tools.     In two of the three of those sets, the

24    January 3 through 9 and the current one, we have produced

25    the tweets and related tweet information for the account.

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1                In the January 11 to 12th prior preservation, the

2     way that the tweet and tweet-related information is stored,

3     it goes all the way back to 2006.       We don't have a

4     warrant -- that is contents of user communications.         We

5     don't have a warrant that would permit us to produce the

6     entirety of that information.        So what we have is a tool

7     that -- what we refer to as a redaction [sic] tool or a

8     trimming tool.    Because this is not a production

9     environment, a human being has to go in and manually trim

10    the information to isolate the date range.          That, as I think

11    Your Honor can understand, is a laborious process, including

12    for this particular account, given the time frame; and we

13    need to isolate it, I think, over a three-month, four-month

14    period, I'm sorry, Your Honor.       So we are undertaking it.

15               We are underway on that effort, but the second

16    piece of information that we are working on producing but

17    have not yet produced is the tweets for the January 11 to

18    12th prior preservation for the subject account as we

19    undergo the trimming process.

20               THE COURT:    Okay.     And how long will it take you

21    to produce -- do that trimming process?

22               MR. HOLTZBLATT:    I am hopeful that we will be able

23    to finish it today.     I don't know that we will be able to

24    finish it today.    What I would propose to the government --

25    what we have proposed and what we would propose again is

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1     that we provide updates this afternoon on where we are with

2     that engineering process.

3                  We are working as, I think, evidenced by having an

4     engineer come in overnight and work with this tool through

5     the night.     We are working very diligently to try to produce

6     this information.     We have produced this category of

7     information for two of the three repositories where this

8     type of information is held, and we are working on this last

9     one --

10                 THE COURT:   And these tweets in the preserved data

11    set from January 11 through 12, 2021, are different from in

12    the current -- your current status of the account?

13                 MR. HOLTZBLATT:    That's a great question, Your

14    Honor.

15                 So they are probably not different and they are

16    certainly not, in any large sense, different.         It is

17    possible that between when the account was suspended on

18    January 8th, which is before this preservation occurred, and

19    then it was reinstated recently -- it is conceivable that,

20    after it was reinstated, someone that has access to the

21    account deleted some of the tweets.        If that happened, they

22    would be present in the January 11th and 12th, but not in

23    the current one.     I don't know.     It may be -- I don't know.

24                 THE COURT:   Okay.     I understand.

25                 The third category of information that you are

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1     still working on.

2                MR. HOLTZBLATT:     The third category is something

3     called fleets with an "F."       I will be honest with you, Your

4     Honor, until this morning I didn't know that that was a

5     content category that existed.        I am a Twitter user and have

6     worked with Twitter a long time; that was not something that

7     I was aware of.

8                But we are collecting that from the January 11th

9     through 12th production set, and only that set; and it

10    presents, I believe, a similar problem, of having to trim it

11    down.   We're working on that well.

12               THE COURT:    What precisely is fleets?

13               MR. HOLTZBLATT:     It is similar to tweets, and I

14    don't know more than that, Your Honor.

15               THE COURT:    You don't use "fleets."

16               MR. HOLTZBLATT:     I had not heard of fleets until

17    this morning.

18               THE COURT:    And was fleet used on this account?

19               MR. HOLTZBLATT:     It is a vanishing tweet.

20               THE COURT:    A vanishing tweet.

21               MR. HOLTZBLATT:     I guess fleet -- that makes

22    sense, fleeting.

23               THE COURT:    Okay.      So it's a vanishing tweet.   And

24    do you know whether that vanishing tweet or fleet

25    functionality was active on this account?        And are you able

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1     to tell that?

2                  MR. HOLTZBLATT:    I don't, as I stand here now,

3     know whether it was.       If there is data -- if there is fleet

4     data in the prior preservation from January 11 and 12th,

5     then that would be -- it would have been active, and that

6     would correspond to it, and that's what we're working to

7     obtain.

8                  THE COURT:    Okay.    So let me interrupt you for a

9     second.

10                 Mr. Windom, of these three categories is the

11    government particularly interested in Category No. 1, this

12    list of followers for the account from January 11

13    through 12, 2021?

14                 MR. WINDOM:    Yes, Your Honor.

15                 The answer is going to be yes for all three.       I

16    have some additional information that may be of assistance.

17                 This is a perfect example of why it was imperative

18    that we come before Your Honor.        Twitter counsel has just

19    mentioned two things that we have never heard of before in

20    our calls.

21                 What we were told was that there was one

22    preservation done of the entire history of the account on

23    January 11th.     This is the first time we are hearing about

24    another preservation between January 3rd and January 9.

25                 Second, I have never heard of "fleets" in part of

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1     any discussion that we have had.        I don't know if that is

2     information in this account; it may or may not be.          It still

3     will be relevant, it still will be responsive.

4                 THE COURT:    Well, it seems to me that that's a

5     functionality that you would probably understand from the --

6     1C, types of services utilized.

7                 MR. WINDOM:    Yes, ma'am.

8                 THE COURT:    But perhaps people -- representatives

9     of Twitter can explain why that's just not indicated in 1C,

10    which is:      Functionality uses of the account?

11                MR. WINDOM:    I can't speak to that given our

12    review of the material at this point.        I do want to point

13    out, though, Your Honor, what Twitter counsel told us, in

14    terms of the preservations, they said that according to

15    Twitter's policies, if the user deletes tweets or direct

16    messages Twitter, nonetheless, retains that information for

17    14 days.    These two prior preservations could have deleted

18    tweets, could have deleted direct messages that are not part

19    of the instant production from this year.

20                We know with certainty that there were deleted

21    tweets on January 6th.      Twitter said that the President had

22    to delete those tweets in order to reinstate his account

23    from suspension.      We do not know if those deleted tweets are

24    part of what we got from this year's preservation versus

25    either of those two prior preservations.         That is one of the

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1     reasons it is very concerning to us.

2                I will also point out that the introductory

3     paragraph in the warrant for Part 1 specifically says

4     anything in their holdings -- it mentions including any

5     preservations that were made pursuant to 18 U.S.C. -- I

6     think it is 2703.

7                It is not clear to us whether these preservations

8     were made pursuant to a federal order or just for internal

9     reasons.   But, in any event, that opening paragraph of

10    Part 1 clearly covered all of these things.         And all of the

11    problems that they say they're encountering and redacting,

12    and going back and looking at things, we're 23 days from the

13    date that the Court entered an order and they're just

14    starting to learn about things now.

15               THE COURT:    Okay.     So were these -- I mean, I

16    didn't pursue the preservation orders and why they were in

17    place, presuming that they were government orders and you

18    might already know about those.       But were these government

19    preservation requests under the Stored Communications Act?

20               MR. HOLTZBLATT:     So we don't believe they were,

21    but the individuals who would know definitively are no

22    longer employed with Twitter.        But we don't believe that

23    these are 2703; and one of the two is definitely not.

24               That's what I thought, yes.

25               One of the two is certainly not, and the second

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1     one we don't know the answer.

2                THE COURT:    Doesn't Twitter keep track of why

3     they're preserving data?

4                MR. HOLTZBLATT:     Your Honor, this particular time

5     frame --

6                THE COURT:    Like, which order, for how long, and

7     so on?

8                MR. HOLTZBLATT:     So I don't know -- yes.

9                THE COURT:    Does Twitter keep track of why it's

10    preserving data and pursuant to which order?

11               MR. HOLTZBLATT:     So I don't know -- I have two

12    answers, Your Honor.     As a general matter, I don't know the

13    answer to your question.

14               In this particular instance, we do not have a

15    record of a government request that corresponds to either of

16    these two preservations.

17               THE COURT:    Interesting.    Okay.

18               MR. HOLTZBLATT:     So if a negative pregnant is to

19    be followed, then it would suggest that these were done not

20    pursuant to a preservation order.       But I cannot -- I do not

21    wanted to stand up here and make a representation to Your

22    Honor that I don't know to be true.

23               So I can tell you we do not have a record.         I know

24    that one of the two was not; and I don't know the answer as

25    to the other one.

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1                  THE COURT:    Okay.    All right.   And for the -- let

2     me just go back for one second just to make sure my notes

3     are complete.

4                  For Category 1, the list of followers, did you

5     tell me when you think that is going to be produced?

6                  MR. HOLTZBLATT:    We need the government's help

7     with this.     We have it ready to go, it's simply a question

8     of how to do it --

9                  THE COURT:    He just needs to know where to do it.

10                 MR. HOLTZBLATT:    If the government would like us

11    to deliver a hard drive to the FBI office in San Francisco,

12    we can do it today.       If they would like us to do it to an

13    FTP site and they can provide us an FTP link, we can do it

14    today.   We stand ready to produce that as soon as we have a

15    mechanism to do it.

16                 THE COURT:    Okay.    Mr. Windom, on that issue?

17                 MR. WINDOM:    I am advised that there is an FTP

18    link in their email in-box now.

19                 MR. HOLTZBLATT:    Great.

20                 THE COURT:    Okay.    So that can start now.

21                 With respect to 2, the time frame is possibly

22    today, possibly tomorrow; no promises on that.         But you are

23    going to keep the government updated on the status of two.

24                 And for the fleets, what is your time frame?

25                 MR. HOLTZBLATT:    So the fleets is only as to one

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1     of the three repositories we're talking about, January 11

2     through 12.

3                THE COURT:   Right.

4                MR. HOLTZBLATT:    That's in the same category as

5     the tweets for January 11 and 12.       I am hopeful that we will

6     have it today.    I can commit to having -- to providing an

7     update to the government this afternoon about where we stand

8     with that effort; and we are working around the clock.

9                THE COURT:   Okay.      So you are going to give

10    Mr. Windom and Ms. Dohrmann an update on both 2 and 3, let's

11    say, by 4 p.m. today if you haven't delivered everything by

12    then.

13               MR. HOLTZBLATT:    Yes, Your Honor.

14               THE COURT:   Okay.      Let's move on to B, the content

15    of all direct messages, the DMs:       Sent from, received by,

16    stored in draft form, in or otherwise associated with the

17    subject account including attachments, multimedia, header

18    information, metadata, and logs.

19               Am I understanding correctly, Mr. Holtzblatt, that

20    that has been produced, to the extent it's subject to your

21    standard production tool, but to the extent that this data

22    falls in the two preserved caches --

23               MR. HOLTZBLATT:    We have also produced --

24               THE COURT:   You have also produced it?

25               MR. HOLTZBLATT:    That is -- happily, that was one

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1     of the things our engineers were able to pull at 2 in the

2     morning; and that included deleted direct messages and not

3     just nondeleted, but also deleted direct messages.

4                THE COURT:   And then 3, content which -- for the

5     record's clarity, 3 asked for:       All content records and

6     other information relating to all other interactions between

7     the subject account and other Twitter users from

8     October 20th to January 20, 2021 including but not limited

9     to -- this is where we get into the, A, users the subject

10    account has followed, unfollowed, muted, unmuted, blocked or

11    unblocked, and all users who have followed, unfollowed,

12    muted, unmuted, blocked or unblocked the subject account.

13               Do you want to give me the status of that?

14               MR. HOLTZBLATT:    So I -- the one category that is

15    not produced from that is this physical media, this

16    production that we need to do, I guess, through an FTP site

17    that's in my email box or George's, Mr. Varghese's --

18               THE COURT:   Which is the Category 1 that you have

19    referred to before; and you are ready to produce that today?

20               MR. HOLTZBLATT:    We are ready to produce that

21    today.

22               THE COURT:   Got it.      Via the FTP site or mechanism.

23               B, all information from the connect or

24    notifications tab for the account including all lists of

25    Twitter users who have favorited or re-tweeted tweets posted

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1     by the accounts, as well as all tweets that include the user

2     name associated with the account, i.e., mentions or replies.

3                MR. HOLTZBLATT:     So, Your Honor, this is a

4     category we have not produced, and I want to explain why.

5                The items in 3 are all date limited.        This is not

6     a category of information that was -- is contained within

7     the prior preservation, so it's not saying we can go back to

8     January of 2021 and collect to fit it within the time frame.

9                All we have that could conceivably fall within

10    this category is information that is there today.         This is

11    dynamic information, so it's information that changes.          And

12    so the information that would be contained in this today is

13    a mix of information that might have been responsive to this

14    category and information that is definitely not.         Because it

15    is contents of communications, we don't believe we can

16    produce without a warrant the information that's available

17    in this category on our systems today because it is -- it

18    includes a category of information that goes beyond the

19    scope of the warrant.     So we don't have a way of

20    disaggregating this information --

21               THE COURT:    Meaning, you don't have a way to put a

22    time frame on it?

23               MR. HOLTZBLATT:     That's correct, Your Honor.

24               It is information that -- because it's dynamic --

25    whatever is in the account today is not what was in the

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1     account at the time -- at the relevant time frame.

2                THE COURT:    I see.

3                MR. HOLTZBLATT:    And I don't -- so I don't know if

4     this is important to the government or not.         If it is, we

5     have to come up with a different solution.          I don't think we

6     actually can -- I don't think we are permitted to produce

7     what we have today.

8                THE COURT:    Okay.     Well, let me just --

9     Mr. Windom, do you want to think about that or do you want

10    to respond?

11               Do you think Mr. Zebley is standing outside the

12    locked door?

13               MR. HOLTZBLATT:    I think there is a chance.

14               THE COURT:    Could you check?    Poor Mr. Zebley.

15               MR. WINDOM:   Should I wait, Your Honor, or

16    proceed?

17               THE COURT:    Proceed.    In my chambers we wait for

18    no man.

19               MR. WINDOM:   Thank you.

20               Your Honor, I mean, the short answer is of course

21    it's important to us.    Just by PC -- for it to be in the

22    warrant, and Your Honor signed a warrant with this in it, I

23    don't understand -- I just don't understand the explanation

24    that was given as to what exists or does not exist.

25               It sounds like they have more information than is

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1     responsive and so there can be an overproduction of

2     material.      Honestly, I am not clear what they're saying; nor

3     do I understand if the two preservations that they have

4     identified today would somehow ameliorate the problem that

5     they have just raised at the podium.

6                 I don't understand the technology behind it.         If

7     they would like to explain further or if they would like to

8     talk to me offline, that is fine.        The bottom-line --

9                 THE COURT:    I am going to let you-all talk about

10    this offline.

11                MR. WINDOM:    Thank you, Your Honor.

12                THE COURT:    Because I think -- what I am

13    understanding from Twitter is that -- I am not a Twitter

14    user; most judges are not.

15                The connector notifications tab -- I am not

16    exactly sure what that is.       But I do understand lists of

17    Twitter used who have favorited or re-tweeted tweets posted

18    by the account.

19                As I understand what Twitter is saying, that is

20    just a mass of data that is not segregated or segregable by

21    date frame -- by a time frame.        And so I think that they are

22    having trouble figuring out how to do that.

23                And then, the last part of this is:        All tweets

24    that include the user name associated with the account.

25    That could be a lot of data.         So I think you need to talk to

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1     them about how to refine that.       Okay.

2                MR. HOLTZBLATT:    Thank you, Your Honor.

3                THE COURT:    C, all contacts and related sync

4     information, produced?

5                MR. HOLTZBLATT:    Yes.

6                THE COURT:    Okay.     All associated logs and

7     metadata, produced?

8                MR. HOLTZBLATT:    Yes.

9                THE COURT:    4, for the record, reads:     All other

10    content records and other information relating to the use of

11    the subject account including but not limited to:        A, All

12    data and information associated with the profile page

13    including photographs, bios, and profile backgrounds and

14    themes.

15               Has that been produced?

16               MR. HOLTZBLATT:    Yes.

17               THE COURT:    B, multimedia uploaded to or otherwise

18    associated with the subject account.

19               Has that been produced?

20               MR. HOLTZBLATT:    With one exception, yes.

21               The one exception is that there is tweet media

22    which are associated with the tweets.        And so in the

23    January 11th through 12th repository that we are trimming --

24    that requires the trimming -- that one of the things that

25    has to be trimmed down to includes the tweet media.          Other

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1     than that, we have produced for this category.

2                 THE COURT:   Okay.     C, all records of searches

3     performed by the subject account from October 20th to

4     January 20, 2021.

5                 Has that been produced, Mr. Holtzblatt?

6                 MR. HOLTZBLATT:    We have produced saved searches;

7     and we are in the process of producing actual search

8     queries, which can be produced today.

9                 THE COURT:   Today.

10                MR. HOLTZBLATT:    It may have been included in the

11    earlier production, I don't know the answer to that.          We are

12    producing additional information of actual search queries

13    today.

14                THE COURT:   Okay.     D, all location information

15    including all location data collected by any plug-ins,

16    widgets or the quote-unquote tweet with location service

17    from October 20th to January 20, 2021.

18                MR. HOLTZBLATT:    Yes.   We have produced what we

19    have.    It is not something we normally have, so it may be a

20    small or null set.     But to the extent we have it, we have

21    produced it.

22                THE COURT:   Okay.     E, information about the

23    subject account's use of Twitter's link service including

24    all longer website links that were shortened by the service,

25    all resulting shortened links or information about the

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1     number of times that link posted while the subject account

2     was clicked, which is a lot of information in there.

3                MR. HOLTZBLATT:     Yes.   We have not -- we have not

4     produced this information.      We're struggling to understand

5     what would be responsive, and it's one we're continuing to

6     work on and would like to be able to continue to talk with

7     the government to make sure we understand what they

8     understand would fall in this category, so we're working on

9     it.

10               THE COURT:    Can I just ask why is it that when

11    there are questions about the scope, and so on -- to be

12    quite honest, we are J.D.s, we are not IT professionals.          So

13    it's oftentimes the case that, when we lawyers look at

14    language, we have to confer with IT to find out what is

15    feasible, what they have, how much longer it is, does it

16    exist, and so on.

17               So why is it on February 9th you-all are just

18    starting to have that conversation?

19               MR. HOLTZBLATT:     Well, Your Honor --

20               THE COURT:    When I do take, at face value,

21    Twitter's representation in connection with its motion

22    challenging the NDO, that it was perfectly prepared to

23    comply with this warrant?

24               MR. HOLTZBLATT:     So I would like to explain that,

25    Your Honor.

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1                THE COURT:    It's a puzzle from where I sit.

2                MR. HOLTZBLATT:     I'm sorry, Your Honor.

3                In                 communication with the government

4     prior to any filing in this case, one of the things that

5     said to the government was:         Once these issues, by which

6     meant what was the subject of our -- what is still the

7     subject of our pending motion -- what was the subject of the

8     government's motion are resolved, which we understood to be

9     the big question -- there are some technical issues that we

10    will need to discuss with respect to this account.         These

11    are the kinds of things                  was referring to, about

12    the need to talk about technical information.

13               That's everything from:        We have a standard

14    production tool, which is how -- for thousands of warrants

15    we produce information --

16               THE COURT:    So         was putting the cart before the

17    horse.         should have been working on getting the warrant

18    production ready to go while she litigated whatever else

19    Twitter wanted to litigate.

20               Okay.    Well, that's been clear from the process

21    here.

22               Okay.    So let's break down E.

23               So information about use of Twitter's link

24    service, which is shortening longer website links.         Does

25    Twitter maintain that information, when a Twitter user

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1     accesses and uses the link service?

2                  You can tell me you don't know if you don't know.

3                  MR. HOLTZBLATT:    I think the safest thing for me

4     to say to Your Honor would be that I don't know the answer.

5     It is something that, I think, we are trying to produce

6     today; but it is also something that there was some

7     confusion about what it is.        To the extent there remains

8     confusion, we will speak with the government and continue

9     speaking with the government until we have eliminated that

10    confusion.

11                 And if it is available -- I think I am saying that

12    it is not hard to produce.       We will endeavor to produce it

13    today.   And if not, we will provide an update and explain

14    why we have not at the end of this afternoon, at four

15    o'clock.

16                 THE COURT:   This may be why the government keeps

17    insisting at each of these meetings that a personal

18    representative from Twitter be sitting at the table to

19    answer more technical questions.       I am not sure why they

20    keep asking for a personal representative, but perhaps

21    that's one reason.

22                 You are going to find that out.     It will be

23    produced today if Twitter maintains it?

24                 MR. HOLTZBLATT:    It will be produced today if we

25    maintain it.    And with the only caveat that if, for some

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1     reason, there is an engineering challenge that we cannot

2     overcome today, I will give an update to the government at

3     four o'clock and explain that.

4                THE COURT:   Okay.      And then -- so if the account

5     user used the link service.        And then, the second part of

6     this is:   All resulting shortened links.      And then, the

7     third part of it is:    The number of times that a link posted

8     by the subject account was clicked.

9                Do you understand what that means by "clicked"?

10               MR. HOLTZBLATT:    I understand what it would mean

11    to click a link.    I don't know if that is information that

12    Twitter maintains, the information about the clicking of

13    links that have been shortened through any link service.          I

14    don't know the answer to that.

15               THE COURT:   Because, certainly, the source link

16    might maintain the number of clicks on its link.        But does

17    Twitter maintain information about those number of clicks

18    for links accessed via Twitter?

19               MR. HOLTZBLATT:    I don't know.     That is not

20    standard information that Twitter produces.         I have some

21    doubt about whether this is information that Twitter

22    maintains, but I am not going to make a representation to

23    the Court when I don't know.

24               THE COURT:   Mr. Windom.

25               Let's get clarity right now on what is being

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1     requested in 4E.

2                Just reading the English here, I think it reads --

3     but you can correct me if I'm wrong -- it's requesting three

4     things, the number of times the user of this account

5     accessed and used Twitter's link service which shortens

6     links -- so far so good?

7                MR. WINDOM:    Yes, ma'am.

8                THE COURT:    And then the second thing is what were

9     the shortened links.

10               MR. WINDOM:    Yes, ma'am.

11               THE COURT:    Is that right?

12               MR. WINDOM:    Yes, ma'am.

13               THE COURT:    And then, finally, any information

14    that Twitter has about the number of times that a link

15    posted by the subject account was actually clicked, which

16    is, basically, clicking on the tweet -- clicking on a link

17    embedded in a tweet.

18               Is it the government's information that this is

19    information that can be preserved, maintained, collected by

20    an electronic communications provider like Twitter.

21               MR. WINDOM:    Yes, ma'am.    And there is some

22    reference to this in the affidavit I will read briefly.

23    Twitter tracks --

24               THE COURT:    In the affidavit?

25               MR. WINDOM:    Ma'am?

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1                THE COURT:    In the affidavit?

2                MR. WINDOM:    Yes, ma'am.

3                THE COURT:    Which is currently sealed, and Twitter

4     hasn't seen it?

5                MR. WINDOM:    This is a line that is a statement of

6     fact responsive to your question.

7                THE COURT:    What a privilege to --

8                MR. WINDOM:    "According to the government's

9     information, Twitter tracks how many times these shortened

10    links are clicked."     Period, full stop.

11               THE COURT:    Well, we'll find out if that

12    representation in the affidavit is correct, but that is

13    certainly information that the government has.

14               The government has been living and working and

15    obtaining information from Twitter since its existence,

16    probably, so they have experience before they put that in

17    their affidavit.    Perhaps that can help counsel in

18    communicating with Twitter.

19               MR. HOLTZBLATT:    Thank you, Your Honor.     I

20    appreciate that.

21               THE COURT:    Okay.     All right.   So E, 4 p.m. update

22    to the government today, Mr. Holtzblatt, about how much of

23    that you can produce, and when.

24               MR. HOLTZBLATT:    Yes, Your Honor.

25               THE COURT:    All right.    I think that's it for what

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1     hasn't been produced, and a time frame for production.

2                  It's clear to me that Twitter didn't comport or

3     comply with the deadline by 5 p.m. on February 7th and is

4     working hard to do so now.       So that's good news.

5                  When production is complete, I will expect the

6     government to let me know and what the government's

7     calculation is at that point because I am not keeping count

8     of the penalty, but I am sure the government will.          I will

9     enter an order at that time for the amount.          And, hopefully,

10    the government will confer with Twitter that everybody is

11    counting the days the same way and doing the math the same

12    way.   But $50,000 a day is a pretty big -- easy to calculate

13    round number even for us J.D.s.         Hopefully, this production

14    will get wrapped up promptly.

15                 Is there anything further today, Mr. Windom?

16                 MR. WINDOM:   No, ma'am.     Thank you, Your Honor.

17                 THE COURT:    Anything further from Twitter?

18                 MR. HOLTZBLATT:    No, Your Honor.

19                 THE COURT:    All right.    Hopefully, I won't see you

20    all again.     You will be able to work this out.

21                 I will just wait for your submissions on Twitter's

22    motion, and then we'll proceed from there.           As I said, I was

23    hoping that the hearing we had on Tuesday pretty much covers

24    most of the issues that I might be concerned about with both

25    motions that were pending in front of me.         But, as I said,

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1     if something comes up in the briefing where I think I

2     need -- another hearing is necessary on Twitter's motion,

3     we'll hold it then.

4                 All right.    If there is nothing else, you are

5     excused.

6                 MR. HOLTZBLATT:    Thank you, Your Honor.

7                 MR. WINDOM:   Thank you, Your Honor.

8                 (Whereupon, the proceeding concludes, 12:15 p.m.)

9                                   * * * * *

10                                CERTIFICATE

11

12                I, ELIZABETH SAINT-LOTH, RPR, FCRR, do hereby

13    certify that the foregoing constitutes a true and accurate

14    transcript of my stenographic notes, and is a full, true,

15    and complete transcript of the proceedings to the best of my

16    ability.

17               This certificate shall be considered null and void

18    if the transcript is disassembled and/or photocopied in any

19    manner by any party without authorization of the signatory

20    below.

21         Dated this 11th day of February, 2023.

22         /s/ Elizabeth Saint-Loth, RPR, FCRR
           Official Court Reporter
23

24

25

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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



   IN THE MATTER OF THE SEARCH OF:                      Case No. 1:23-SC-31 – BAH
   INFORMATION THAT IS STORED AT
   PREMISES CONTROLLED BY TWITTER                       UNDER SEAL
   INC. IDENTIFIED IN ATTACHMENT A




        TWITTER’S NOTICE REGARDING APPLICABILITY OF SANCTIONS

       Twitter, Inc. writes to set forth its position on the extent of any penalty that should be

imposed on Twitter pursuant to the Court’s February 7 order compelling Twitter to comply with

the government’s warrant.

       Twitter does not believe any accrued penalty is appropriate. “[S]ubstantial compliance

… is a complete defense in a civil contempt proceeding.” Brotherton v. Lehman, 1984 WL 66

(D.D.C. 1984); see also Cobell v. Babbitt, 37 F. Supp. 2d 6, 9-10 (D.D.C. 1999) (“To rebut a

prima facie showing of civil contempt, the contemnor may assert the defense of ‘good faith

substantial compliance.”). Here, Twitter at all times acted in good faith and had substantially

complied with the warrant by 5:00 pm on February 7, 2023 by using its standard tools for

responding to law enforcement requests. Twitter’s February 7 production included 39 data sets

containing over 100 data fields, folders, or JSON files.

       Twitter produced supplemental data after 5:00 pm on February 7, 2023 but Twitter

submits that this supplemental production does not warrant imposition of any penalty, and in all

events, it does not warrant imposition of the $350,000 penalty that the government seeks.

                                                                                                    1




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Twitter’s supplemental production resulted from two issues that Twitter had sought to raise with

the government prior to the Court’s February 7 hearing and that were ultimately resolved only

after subsequent conferrals with the government and the Court’s hearing on February 9.1 Twitter

swiftly completed production once it had received necessary guidance from the government and

the Court.

The Government’s Non-Standard Requests

       The first issue on which Twitter needed guidance concerned the technical and operational

challenges of responding to certain non-standard requests in the warrant. These requests fell

outside the ordinary categories of information captured by the tools that Twitter uses to respond

to the thousands of warrants, 2703(d) orders, and subpoenas it receives each year. Given the

challenges and technical issues of responding to such non-standard requests, Twitter sought to

raise this issue with the government prior to the February 7th hearing without success. See supra

n.1. Following the hearing, Twitter contacted the government on February 8 at 11:56 am to

determine whether the government wished Twitter to take the extraordinary efforts that would be

required to collect and produce this non-standard data, which in several instances would be

challenging even to locate within the company’s systems.

       Counsel for Twitter and the government met and conferred at February 8 at 5:30 pm. At

8:51 pm on February 8, the government confirmed that it did indeed wish Twitter to collect and


1
  Prior to any hearing before the Court, on February 1, 2023, Twitter conveyed to the
government that “we will want to further discuss with you Attachment B and technical issues we
will need to work through in responding,” separate and apart from Twitter’s position that
compliance with the warrant should be delayed until the resolution of its motion to quash the
non-disclosure order.          Decl. ¶ 14. The government declined Twitter’s request to discuss
these issues with Twitter at that time and instead moved the Court for an order to show cause
why Twitter should not be held in contempt.
                                                                                                2




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produce non-standard data. Twitter accordingly worked through the night and the next day to

overcome the technical challenges presented by the government’s request. Twitter produced

certain supplemental data at around 2:00 am ET in the morning of February 9 (approximately

five hours after the government confirmed it wanted Twitter to go outside its standard law

enforcement tools) and completed its supplemental production of non-standard data by 8:06 pm

ET on February 9,2 less than 24 hours after the government had confirmed that it wished Twitter

to undertake these efforts.

Guidance Regarding Certain Requests

       The second issue on which Twitter needed guidance from the government and the Court

concerned the scope of certain requests in the warrant. Request 1(h) seeks “communications

between Twitter and any person regarding the account, including contacts with support services

and records of actions taken.” This request could potentially have been read to encompass all

communications with any party and an employee at Twitter regarding the subject account from

2006 until the present, a potentially vast scope of data. During the February 9 call, the

government would not provide any further guidance on this request.

       At the hearing on February 9, however, the Court recognized the need for guidance given

the breadth of Request 1(h) and consequently defined the scope of the Request to

communications between October 1, 2020 and January 20, 2021 with 8 identified individuals

regarding the subject account, and permitted the government to meet and confer with Twitter to



2
  We believe the government incorrectly labeled this production as occurring at 5:03pm Eastern
(Gov’t Notice at 1) because its FTP site may have date/time stamped the upload using Pacific
time. For the reasons stated below, the government’s claim that a purported three-minute
delinquency requires a $200,000 penalty is equally unreasonable even with the correct time.
                                                                                                 3




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potentially identify additional agents who the government believed might have communicated

with Twitter about the subject account on behalf of the accountholder during that time period.

(Transcript of Hearing, February 9, 2023, 13:10-24:3.) The government provided Twitter a list

of additional email addresses that it wished Twitter to search at 3:52 pm ET on February 9, 2023.

Although Twitter believed that the government’s list was overbroad, Twitter nonetheless

completed a search using the government’s list and included the identified communications in its

final production at 8:06 pm ET on February 9.

The Government’s Calculation Is Unreasonable

       Prior to the first hearing before the Court on February 7, Twitter attempted to confer with

the government about the technical and operational challenges of responding to its requests. In

addition, Twitter had a good faith, legal disagreement about whether production should have

been stayed pending resolution of its challenge to the non-disclosure order. Once the Court

rejected Twitter’s position, Twitter moved swiftly that same day to comply—not only by

substantially completing production using its standard production tools before 5:00 pm on

February 7, but also by working around the clock and overcoming significant technical issues to

produce supplemental data shortly thereafter. In light of Twitter’s diligence, substantial

compliance, and good faith, Twitter believes that no penalty is warranted here.

       In all events, however, Twitter objects to the incremental $200,000 that the government

seeks to impose for the period after 5:00 pm on February 9, 2023. As set forth above, Twitter

was still receiving clarification on the government’s position regarding the scope of the warrant

up until 3:52 pm on February 9—just 68 minutes before the government believes this final

$200,000 penalty was triggered. Twitter then completed its production—including with respect

                                                                                                    4




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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

   IN THE MATTER OF THE SEARCH OF:

   INFORMATION THAT IS STORED AT                    Case No. 23-SC-31
   PREMISES CONTROLLED BY
   TWITTER INC. IDENTIFIED IN                       Filed Under Seal
   ATTACHMENT A


      GOVERNMENT’S SEALED OPPOSITION TO TWITTER INC.’S MOTION TO
      VACATE OR MODIFY NON-DISCLOSURE ORDER AND STAY TWITTER’S
                 COMPLIANCE WITH SEARCH WARRANT

         For what appears to be the first time in its history, Twitter Inc. (“Twitter”) has filed a

  motion to vacate or modify an order that it not disclose the existence of a search warrant. ECF

  No. 7. Twitter takes this extraordinary action only for the account subject to the warrant:

  @realDonaldTrump (“Account”), used by former president Donald J. Trump. For the reasons

  stated in the application in support of the non-disclosure order (“NDO”) and expanded upon here,

  there is reason to believe notification to the former president, a sophisticated actor with an

  expansive platform, would result in a statutorily cognizable harm. Yet Twitter, using the First

  Amendment as pretense, apparently wants the Court to place Twitter’s economic interests over the

  Court’s findings in the NDO—and the integrity of the Government’s ongoing investigation. The

  Court should deny Twitter’s Motion.

                                         BACKGROUND

         Twitter is an electronic service provider that enables account holders to share and interact

  with content and to send and receive communications with other users, publicly or privately. The

  former president, from the Account, used Twitter in ways described in the Government’s ex parte

  submission.




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      I.       The Warrant

            On January 17, 2023, based on an affidavit establishing probable cause, this Court

  authorized a warrant (the “Warrant”) to search the Account. ECF No. 4, Affidavit in Support of

  Application for a Search Warrant (the “Affidavit”), at ¶ 8. The Warrant incorporates by reference

  two attachments—describing the “Property to Be Searched” (Attachment A) and the “Particular

  Things to Be Seized” (Attachment B)—but not the warrant application or the probable cause

  Affidavit. ECF No. 4, at 2. In other words, of the extensive application, the Warrant itself (as

  served on Twitter) comprises only six pages. See Exhibit A. Nevertheless, those six pages reflect

  (1) the existence of the Warrant; (2) the Court and Judge from which the Warrant was obtained;

  (3) the date and time of the Warrant’s issuance; (4) the specific account subject to the Warrant; (5)

  the specific categories of information sought by the Government, including certain content, subject

  areas, and persons of interest; and (6) the name, title, and official address of the agent with the

  Federal Bureau of Investigation (“FBI”) to whom responsive information should be disclosed. Id.

      II.      The Non-Disclosure Order

            When it authorized the Warrant, the Court also issued an order sealing the Warrant and

  related materials and requiring, under 18 U.S.C. § 2705(b), that Twitter not disclose the contents

  or existence of the Warrant for a period of 180 days. ECF No. 3. 1 The NDO was granted based

  on facts showing that notifying the former president would result in destruction of or tampering

  with evidence, intimidation of potential witnesses, or other serious jeopardy to an investigation or




  1
   The Government’s NDO application was based on § 2705(b)(3)-(5), ECF No. 3, ¶ 10, but its
  proposed non-disclosure order erroneously included language from § 3103a(b), which applies to
  delayed-notice Rule 41 warrants (not ECPA warrants) and which errantly included flight from
  prosecution as a predicate. The Government now seeks to strike from the NDO this language,
  which can be found at the bottom of page two of the NDO.

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 delaying of trial. See 18 U.S.C. § 2705(b)(3)-(5); NDO at 1. Facts supporting the NDO are

 detailed in the Government’s ex parte submission.

    III.      Procedural History

           The Warrant commanded that Twitter disclose responsive information to the Government

 within ten days of its issuance, that is, by January 27, 2023. ECF No. 4, Attachment B.I, ¶ 5.

 Twitter was served with the Warrant, including Attachment A and Attachment B.I, see Exhibit A,

 and the accompanying NDO, but refused to comply with the Warrant’s deadline. Consequently,

 on February 2, 2023, the Government filed a Motion for an Order to Show Cause Why Twitter

 Inc. Should Not Be Held in Contempt for Failure to Comply with a Search Warrant. ECF No. 5.

 Later that same day, asserting in part that its “ability to communicate with its customers about law

 enforcement’s efforts to access their communications and data . . . is essential to its business

 model,” Twitter filed a motion to vacate or modify the NDO now pending before the Court. ECF

 No. 7; ECF No. 7-1, Twitter Inc.’s Memorandum of Points and Authorities in Support of Motion

 to Vacate or Modify Non-Disclosure Order Issued Pursuant to 18 U.S.C. § 2705(b) and Stay

 Twitter’s Compliance with Search Warrant (“Twitter’s Mem.”), at 4.

           After a hearing on February 7, 2023, the Court granted the Government’s Motion and

 ordered Twitter to comply with the Warrant by 5:00 p.m. that day or be held in contempt and

 subject to a fine of $50,000, to double every day of continued non-compliance with the Warrant.

 See Min. Order, dated Feb. 7, 2023. While Twitter made a production before 5:00 p.m. on

 February 7, it was not complete. Following multiple further conferences between the Government

 and Twitter, as well as a hearing before the Court on February 9, 2023, Twitter finally asserted

 compliance with the search warrant on February 9, 2023, at 8:28 p.m. Accordingly, Twitter was

 in contempt until at least February 9, 2023, at 8:28 p.m. and should be subject to a $350,000 fine



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 as a result. See ECF No. 19.

        At the February 7 hearing, Twitter acknowledged that it had not “found any court decision

 in which a third-party company, like Twitter, has successfully stayed compliance with a search

 warrant pending a First Amendment challenge to a non-disclosure order.” Sealed Hr’g Tr. (Feb.

 7, 2023) at 61. The Court ordered Twitter to “submit a list of each case in which Twitter, Inc. has

 filed a challenge to a non-disclosure order, issued pursuant to 18 U.S.C. § 2705(b), summarizing

 for each case the court’s resolution of that challenge.” Min. Order, dated Feb. 7, 2023. Twitter

 included in its response cases not involving § 2705(b), and even cases where Twitter simply

 “asserted,” in Twitter’s parlance, an informal—i.e., not “filed”—challenge to the NDO. ECF No.

 14. Twitter’s list reveals that Twitter has never before, in its sixteen years of operating, filed a

 challenge to an NDO issued pursuant to § 2705(b) for a warrant.

        The Government now opposes Twitter’s Motion.

                                           ARGUMENT

    I. The Non-Disclosure Order is constitutional under the First Amendment.

        A. Statutory background

        Congress enacted the Stored Communications Act (the “SCA”) in 1986, as part of the

 Electronic Communications Privacy Act, Pub. L. No. 99-508, 100 Stat. 1848 (1986). In pertinent

 part, the SCA regulates the Government’s access to electronic communications and information

 stored by electronic communications service providers and remote computing providers, like

 Twitter. Within the SCA, Section 2703 defines how the Government obtains records and

 information pertaining to the users of electronic services. See generally 18 U.S.C. § 2703(a)-(c).

 Section 2703 provides for different means of obtaining the evidence—including grand jury

 subpoenas, court orders under Section 2703(d), and search warrants—and different levels of

 privacy protection depending on the type of evidence sought. See § 2703(c)(2).
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         Section 2705(b) complements Section 2703 by authorizing the Government to seek a court

 order to prevent an electronic communications service provider from disclosing the fact that it has

 received Section 2703 process regarding a user. See 18 U.S.C. § 2705(b); In re United States for

 an Order Pursuant to 18 U.S.C. § 2705(b), 289 F. Supp. 3d 201, 208 (D.D.C. 2018). At the

 Government’s request, a court may issue a non-disclosure order “for such period as the court deems

 appropriate,” based upon an independent judicial determination that “there is reason to believe that

 notification of the existence of the [legal process pursuant to Section 2703] will result” in (1)

 endangerment of a person’s life or physical safety; (2) flight from prosecution; (3) destruction of

 or tampering with evidence; (4) intimidation of potential witnesses; or (5) seriously jeopardizing

 an investigation or unduly delaying a trial. 18 U.S.C. § 2705(b). The SCA’s statutory scheme

 thus requires that, once a court has found that the Government has demonstrated a “reason to

 believe” that disclosure would result in one or more of the listed harms, the court must issue an

 order prohibiting the service provider to whom the Section 2703 process is directed from notifying

 “any other person” of the legal process for a period of time that the court deems appropriate. Id. 2

         Section 2703 process, and related Section 2705(b) orders, are employed in a wide array of

 contexts, often involving grand jury investigations that are not yet public or where only some

 aspects of the investigation are publicly known. The Government may seek basic subscriber



 2
   Section 2705(b) is far from the only statute limiting disclosure of information related to
 government investigations. See, e.g., 18 U.S.C. § 3420 (providing that “[n]o officer, director,
 partner, employee, or shareholder of, or agent or attorney for, a financial institutional shall, directly
 or indirectly, notify any person named in a grand jury subpoena served on such an institution in
 connection with an investigation . . .”); 18 U.S.C. § 2511 (governing disclosures of wiretap
 surveillance; 18 U.S.C. § 3123 (governing disclosures of pen registers and trap-and-trace devices);
 see also Lee v. Bankers Tr. Co., 166 F.3d 540, 544 (2d Cir. 1999) (observing that “even in a suit
 for damages based on disclosures allegedly made in a [suspicious activity report (“SAR”)], a
 financial institution cannot reveal what disclosures it made in a SAR, or even whether it filed a
 SAR at all”).

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  information at an early stage of an investigation, when investigators know nothing more than an

  IP or email address used in connection with a potential crime, and the identity of the individual is

  unknown. And the Government may seek a court order under Section 2703(d) to gather further

  information, such as identifying information about individuals with whom a suspect is

  communicating as an investigation progresses. Where, as here, probable cause exists to believe

  that the contents of an electronic account include evidence of a crime, warrants are sought to obtain

  such evidence.

         In all of these situations, absent the limited secrecy provided for under the SCA, the ability

  of grand juries and government investigators to accumulate evidence and identify wrongdoers

  would be seriously undermined by an electronic communications service provider’s decision to

  inform the target of legal process, or other potentially involved third parties, about the existence

  of, or steps taken in, a grand jury investigation. In recognition of the evolving nature of

  investigations, the U.S. Department of Justice policy regarding applications for orders pursuant to

  Section 2705(b) notes that “[w]hen applying for a § 2705(b) order to accompany a subpoena

  seeking basic subscriber information in an ongoing investigation that is not public or known to the

  subject(s) of the investigation, stating the reasons for the protection from disclosure under

  § 2705(b) . . . usually will suffice.” U.S. Dep’t of Justice, Policy Regarding Applications for

  Protective Orders Pursuant to 18 U.S.C. § 2705(b), at 2 n.2 (Oct. 19, 2017). “At a later stage of

  the investigation,” the policy notes, such as “when a search warrant is being sought, the prosecutors

  should include more specific facts, as available, in support of the protective order.” Id.; see also

  U.S. Dep’t of Justice, Supplemental Policy Regarding Applications for Protective Orders Pursuant

  to 18 U.S.C. § 2705(b), at 2 (May 27, 2022) (noting the prosecutors “must provide a court with




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 sufficient facts to permit the court to conduct” a “case- and fact-specific analysis,” including by

 “identify[ing] which of the pertinent factors apply”).

        B. The Non-Disclosure Order survives strict scrutiny.

        Twitter contends that the NDO cannot withstand strict scrutiny. 3 Twitter’s Mem. 7–15.

 Under strict scrutiny, the challenged NDO is valid if it is “narrowly tailored to serve compelling

 state interests,” Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015), and there are no “less restrictive

 alternatives [that] would be at least as effective in achieving the [NDO’s] legitimate purpose,”

 Reno v. ACLU, 521 U.S. 844, 874 (1997). The NDO at issue here satisfies strict scrutiny. See

 Matter of Subpoena 2018R00776, 947 F.3d 148, 159 (3d Cir. 2020) (Matter of Subpoena)

 (applying strict scrutiny and affirming district court order denying challenge to a non-disclosure

 order under Section 2705(b)); Matter of the Search of Information Associated with E-mail

 Accounts, 468 F. Supp. 3d 556, 560–63 (E.D.N.Y. 2020) (E-mail Accounts) (applying strict

 scrutiny and denying Microsoft Corporation’s challenge to a non-disclosure order under Section

 2705); Google LLC v. United States, 443 F. Supp. 3d 447, 452–55 (S.D.N.Y. 2020) (same for

 challenge brought by Google); cf. In re National Security Letter, 33 F.4th 1058, 1063 (9th Cir.

 2022) (applying strict scrutiny and affirming a non-disclosure order obtained in connection with a

 national security letter issued under 18 U.S.C. § 2709(c)).




 3
   No precedent from this Court or the D.C. Circuit has concluded that strict scrutiny applies when
 an electronic service provider challenges a non-disclosure order, and there are good reasons not to
 apply such “exacting” review to a non-disclosure order that “is not a restraint imposed on those
 who customarily wish to exercise rights of free expression, such as speakers in public fora,
 distributors of literature, or exhibitors of movies.” John Doe, Inc. v. Mukasey, 549 F.3d 861, 877–
 78 (2d Cir. 2008). Because the NDO here nonetheless survives strict scrutiny, the Court can
 assume without deciding that it applies. See Google LLC v. United States, 443 F. Supp. 3d 447,
 452 (S.D.N.Y. 2020) (adopting that approach).

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               i.      The Non-Disclosure Order serves a compelling interest.

       The compelling government interests at stake include preserving the integrity and secrecy

of an ongoing investigation. “Maintaining the integrity of an ongoing criminal investigation is a

compelling government interest.” E-mail Accounts, 468 F. Supp. at 560 (citation omitted). The

interest is particularly “acute” where, as here, the investigation remains ongoing. Matter of

Subpoena, 947 F.3d at 156. And that interest is all the more compelling for the reasons described

in the ex parte submission. Cf. Haig v. Agee, 453 U.S. 280, 307 (1981) (“It is obvious and

inarguable that no governmental interest is more compelling than the security of the Nation.”)

(quotation omitted).

       Closely linked to the compelling interest in maintaining the integrity of an investigation is

protecting its secrecy, which in turns facilitates its “proper functioning.” Douglas Oil Co. v. Petrol

Stops Northwest, 441 U.S. 211, 218 (1979). Relatedly, erosion of grand jury secrecy “substantially

increase[s] the ability of persons who have something to hide to impede legitimate investigations.”

SEC v. Jerry T. O’Brien, 467 U.S. 735, 750 (1984). Such secrecy also furthers several additional

governmental interests, including (1) “prevent[ing] the escape” of individuals who may be

indicted; (2) ensuring free deliberations by the grand jury, while “prevent[ing] persons subject to

indictment or their friends from importuning the grand jurors”; (3) forestalling efforts to suborn

perjury or tamper with witnesses; and (4) “encourag[ing] free and untrammeled disclosures by

persons who have information with respect to the commission of crimes.” Matter of Subpoena,

947 F.3d at 157 (citing Douglas Oil Co., 441 U.S. at 291 n.10). Although articulated in the context

of grand jury investigations, those factors parallel similar considerations described in Section

2705(b), including destroying or tampering with evidence, intimidating witnesses, or “otherwise

seriously jeopardizing an investigation or unduly delaying a trial.” 18 U.S.C. § 2705(b)(3)-(5).



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        For the reasons explained in the Government’s ex parte submission, the NDO serves a

 compelling governmental interest.

        Twitter offers (Twitter’s Mem. 8–14) two unpersuasive arguments to the contrary. First,

 Twitter contends (id. at 8–12) that because some aspects of the investigation are publicly known,

 it “strains credulity to believe” that providing the Warrant to the former president will “alter the

 current balance of public knowledge in any meaningful way” because such a disclosure would be

 merely “incremental.” Id. at 11. That contention is flawed in several respects. Although the

 investigation’s existence is no longer secret, it does not follow that the specific ongoing

 investigative steps the Government is pursuing are therefore publicly known. Many of the media

 accounts that Twitter cites (id. at 8–10) attempt to fill in gaps based on discrete pieces of

 information or courthouse sightings of witnesses. 4 Whatever the effect of those accounts on the

 “current balance of public knowledge,” id. at 11, they provide nowhere close to the detail supplied

 in the Warrant. Providing the Warrant to the former president at this point in the investigation

 would thus far exceed some mere “incremental” step in informing the former president, as

 described in the ex parte submission.

        Second, Twitter argues (Twitter’s Mem. 12–14) that “[u]nique and [i]mportant” (id. at 12)

 executive privilege issues support the relief it seeks. That argument is also wanting. For one,

 Twitter does not explain the relevance of a putatively “unique” or “important” issue to strict

 scrutiny analysis, which asks whether the NDO sought under Section 2705(b) is narrowly tailored

 to serve a compelling governmental interest. See In re National Security Letter, 33 F.4th at 1072.

 A Twitter user’s potential ability to challenge the legal process at issue—here, the Warrant—is


 4
  The same is true of the 80 pages of articles and other documents that Twitter submitted as an
 exhibit to its opposition to the Government’s Motion to Show Cause. See Twitter’s Opposition to
 Government’s Motion for an Order to Show Cause, Exhibit B (filed Feb. 6, 2023).

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  entirely distinct from the First Amendment concerns that Twitter claims it seeks to further through

  its own challenge to the NDO. See, e.g., Twitter’s Mem. 3 n.1 (Twitter not challenging the

  Warrant’s validity); id. at 4 (Twitter acknowledging it “might lack standing to assert the rights and

  privileges of its users,” and acknowledging many potentially privileged communications in which

  its users could engage). But even if the executive privilege claim that Twitter postulates bore some

  relevance to the NDO, that claim lacks merit for the reasons given in the Government’s briefing

  in the show cause litigation. See Government’s Reply in Further Support of Motion for an Order

  to Show Cause Why Twitter Inc. Should Not be Held in Contempt for Failure to Comply with a

  Search Warrant, at 6–9 (filed Feb. 6, 2023).

                 ii.     The Non-Disclosure Order is narrowly tailored.

         The NDO is narrowly tailored to serve the Government’s compelling interest because any

  restriction on Twitter is the least restrictive means of advancing governmental interests. See

  Matter of Subpoena, 947 F.3d at 157–58. The NDO restricts Twitter from disclosing only discrete

  investigation-related information—information that is in Twitter’s hands only because it received

  legal process in connection with the investigation. And the NDO is limited in duration.

         The scope of speech regulated by the NDO is extremely narrow. The NDO prohibits

  Twitter from disclosing the existence or contents of the Warrant. The NDO does not purport to

  regulate Twitter’s ability to speak about any other topic, such as the issue of non-disclosure orders

  generally or any information Twitter has obtained independent of its interactions with the

  Government (or the grand jury) in this case. See Matter of Subpoena, 947 F.3d at 158 (finding a

  non-disclosure order narrowly tailored where it permitted the service provider to “discuss[] the

  government’s requests abstractly, as service providers have done by disclosing the number of data

  requests and NDOs they receive in public docket civil complaints”). Thus, “[b]y any measure,


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 [the NDO] restricts a narrow slice of speech.” Williams-Yulee v. Florida Bar, 575 U.S. 433, 452

 (2015). That approach is entirely consistent with cases permitting a protective order in civil

 litigation that prohibited disclosure of information obtained in discovery because “an order

 prohibiting dissemination of discovered information before trial is not the kind of classic prior

 restraint that requires exacting First Amendment scrutiny.” Seattle Times v. Rhinehart, 467 U.S.

 20, 33 (1984); see Butterworth v. Smith, 494 U.S. 624, 632 (1990) (extending Rhinehart to

 government investigations by striking down a provision that limited a witness from disclosing his

 own testimony but not addressing “information which he may have obtained as a result of his

 participation in the proceedings”).

        The NDO is further narrowly tailored because it does not apply indefinitely but rather is

 limited to 180 days. The presence of a “temporal limitation” in a non-disclosure requirement is an

 “important” consideration in assessing “the balance of government versus free speech interests.”

 John Doe, Inc., 549 F.3d at 877. Courts have upheld as narrowly tailored non-disclosure orders

 that lasted up to a year. See Matter of Subpoena, 947 F.3d at 159; E-mail Accounts, 468 F. Supp.

 3d at 563. Here, the 180-day order appropriately balances the need for investigative secrecy and

 any speech interests.

        Rather than dispute these straightforward factors, Twitter posits (Twitter’s Mem. 14–16)

 three less restrictive means that it claims would preserve its “[e]ssential First Amendment [r]ights.”

 Id. at 14. First, it suggests (id. at 14) notifying “just its user”—that is, the former president. That

 suggestion is a fallacy and a non-starter for all the reasons discussed above and in the

 Government’s ex parte submission. Second, Twitter speculates (id. at 14–15) that one of the

 former president’s “representative[s]” might fit the bill, perhaps even a representative under the

 Presidential Records Act (“PRA”), 22 U.S.C. § 2201 et seq. These “alternatives are untenable”



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 because they are “impractical,” “would be ineffective in maintaining . . . secrecy,” risk

 “undermin[ing] the government’s interest in maintaining the confidentiality of an ongoing

 investigation,” and require a court to “assess the trustworthiness of a would-be confidante chosen

 by a service provider.” Matter of Subpoena, 947 F.3d at 158–59. In short, this Court should

 “‘decline to wade into this swamp’ of unworkable line drawing.” Id. at 159 (quoting Williams-

 Yulee, 575 U.S. at 454). 5

        Twitter’s final proposal (Twitter’s Mem. 15) that the Government obtain the data in

 question from NARA fares no better. As an initial matter, this proposal is moot in light of Twitter’s

 representation that it has fully complied with the warrant. But more so, even Twitter acknowledges

 that NARA does not possess the full universe of responsive documents required under the Warrant.

 See id. at 6 (suggesting that “much”—though not all—“of the information sought in the Warrant

 has been produced to NARA”); Sealed Hr’g Tr. (Feb. 7, 2023) at 41–46 (discussing entire

 categories of information required by the Warrant that are not in NARA’s possession). Moreover,

 Twitter’s purported inability to comply with the Court’s order and fully execute the Warrant calls

 into question the credibility of Twitter’s representations concerning what it has produced to

 NARA, since it took days after the Court held Twitter in contempt for Twitter to work through

 various “challenges and technical issues” and “take the extraordinary efforts” to meet the

 Warrant’s requirements. ECF No. 18, Notice of Twitter’s Position on Sanctions, at 2 (filed Feb.




 5
   Twitter does not expand on why it thinks this approach would be workable. Presumably, Twitter
 would want to notify the PRA representative in an effort to permit the former president to litigate
 any executive privilege concerns. But the PRA representative would not have standing or authority
 to pursue such litigation, absent telling the former president of the Warrant and gaining the former
 president’s consent to file suit.

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13, 2023). 6 Finally, Twitter identifies no authority for the proposition that a narrow-tailoring

analysis under Section 2705(b) constrains the Government’s choice of investigative tools.

    II.      Twitter’s meritless stay motion is moot.

          Twitter’s motion to vacate or modify the NDO includes a request to stay execution of the

Warrant, Twitter’s Mem. 15–16—relief that Twitter acknowledges no court has ever granted, see

supra 4. The Court’s granting of the Government’s separately filed Motion to Show Cause and

ordering Twitter to comply by executing the Warrant necessarily mooted that stay request. In any

event, the request lacked merit. The first two steps for obtaining a stay under Nken v. Holder, 556

U.S. 418 (2009), require that Twitter make “a strong showing” that it is “likely to succeed on the

merits” and demonstrate that it “will be irreparably injured absent a stay.” Id. at 434. Twitter

makes no showing, let alone a “strong showing,” that it is likely to succeed on its claim that the

NDO cannot withstand strict scrutiny. Consistent with the weight of recent case law and for the

reasons described above and in the Government’s ex parte submission, Twitter’s challenge to the

NDO fails, which in turns demonstrates that it cannot satisfy the first stay showing of a strong

likelihood of success on the merits. See Google LLC, 443 F. Supp. 3d at 455 (denying service

provider’s motion to stay execution of a search warrant after concluding that the non-disclosure

order satisfied strict scrutiny). Twitter suggests that its loss of First Amendment “freedoms”

necessarily amounts to irreparable injury, but this case is a far cry from the case that Twitter cites



6
  The Government does not take a position on whether the Account information held at NARA
would necessarily qualify as “presidential records” as that term is defined in 44 U.S.C. § 2201(2),
in part because it is unknown the extent to which the former president may have used any private
settings in his Twitter account to create “personal records,” see § 2201(3), which, while outside
the ambit of the PRA, may nonetheless be relevant and probative evidence in an investigation. It
is unclear whether the Government could obtain any previously undisclosed presidential records
without triggering the PRA regulation and related executive order that requires notification to the
former president. See 36 C.F.R. § 1270.44(a)(1) and (c); Executive Order 13489.

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  for that proposition—Elrod v. Burns, 427 U.S. 347 (1976), which involved claims by civil servants

  that they were discharged or threatened with discharge on account of their political affiliation or

  nonaffiliation, see id. at 349—or other similar situations where more than a “narrow slice of

  speech” is at issue. See Williams-Yulee, 575 U.S. at 452. 7

                                              CONCLUSION

         For the foregoing reasons, the Court should deny Twitter’s motion to vacate or modify the

  non-disclosure order.

                                               Respectfully submitted,

                                               JACK SMITH
                                               Special Counsel

                                        By:    /s/ Mary L. Dohrmann
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                                               Washington, D.C. 20530




  7
    Twitter’s invocation (Twitter’s Mem. 16) of Freedman v. State of Md., 380 U.S. 51 (1965), is
  misplaced. The “procedural safeguards” that Freedman requires, 380 U.S. at 58, and on which
  Twitter relies (Twitter’s Mem. 7, 16), apply to cases involving “government censorship and
  licensing schemes,” not to a law that prohibits disclosure of government-requested information
  sought “to assist in an investigation.” In re National Security Letter, 33 F.4th at 1077.

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             Exhibit A
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



    IN THE MATTER OF THE SEARCH OF:                      Case No. 1:23-SC-31 - BAH
    INFORMATION THAT IS STORED AT
    PREMISES CONTROLLED BY TWITTER                       UNDER SEAL
    INC. IDENTIFIED IN ATTACHMENT A




                    TWITTER’S REPLY IN SUPPORT OF ITS
           MOTION TO VACATE OR MODIFY NON-DISCLOSURE ORDER
                    ISSUED PURSUANT TO 18 U.S.C. § 2705(b)
          AND STAY TWITTER’S COMPLIANCE WITH SEARCH WARRANT

       In its opposition, the government does not seriously contest that Twitter has a First

Amendment interest in informing its user of the Warrant, nor that the Non-Disclosure Order

operates as a prior restraint on such speech and is therefore subject to strict scrutiny. Instead, it

asserts that disclosure of the Warrant in this case would undermine “the integrity and secrecy of

an ongoing investigation.” Opp. 8. But those vague and generalized interests are insufficient to

justify the prior restraint in this case. Both the statute and the First Amendment require the

government to establish that silencing Twitter is necessary to address the narrower and more

concrete objectives that the government identified when it first obtained the order: preventing

“destruction of or tampering with evidence,” “intimidation of potential witnesses,” and “serious

jeopardy to the investigation.” 1




1
 In its opposition brief, the government abandons the first rationale (flight from prosecution) on
which it relied, conceding it was included in error. Opp. 2 n.1. The government states that the
errant language “can be found at the bottom of page two of the NDO,” but it appears that the
government instead means to refer to language found at the bottom of page one.
                                                                                                        1


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        The government has not met and cannot meet that burden. The government’s opposition

does not even attempt to account for the unique and unparalleled level of publicity surrounding

this investigation. It is undisputed that the public knows the government is seizing electronic

communications in this (publicly-announced) criminal investigation, including from people who

communicated directly with the Twitter user at issue in the Warrant. When an investigation’s

existence and details about the specific investigative technique at issue in a warrant are widely

known, as here, secrecy alone cannot justify a gag order covering a warrant that any reasonable

observer would expect the Special Counsel to obtain. Nor can the government claim to be

concerned that the Twitter user might destroy the evidence sought, given that the government has

now obtained that evidence from Twitter pursuant to the Warrant. And it cannot be credibly said

that disclosing the Warrant would provide a particular reason for witness intimidation in view of

all the prior reporting that this type of warrant has already been used to seize this type of

communications.

        Even if the government could establish that the Non-Disclosure Order furthered a

compelling (and statutorily identified) interest, it still could not demonstrate that it is the least

restrictive means of advancing that interest. The government cursorily dismisses Twitter’s

proposed alternatives as “untenable” or “impractical,” but the Constitution demands more than

that. The government may not just assert that proposed alternatives “do not work,” or that its

“chosen route is easier”—it “must demonstrate that alternative measures … would fail to achieve

the government’s interests.” McCullen v. Coakley, 573 U.S. 464, 494-495 (2014) (applying

intermediate scrutiny). The government has not done so here. It could prevent whatever

investigative danger it fears by, for instance, permitting Twitter to disclose only the warrant form

and Attachment A (and the relevant date range) to a representative of Mr. Trump who has

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already been authorized to act on his behalf “in all respects that pertain to the records of [his]

Presidency.” 2 Or it could disclose just the fact of the Warrant, but not its contents or

attachments.

       As a result, the government has failed to carry its burden of justifying the Non-Disclosure

Order in this case. The court should accordingly vacate or at least modify that order.

I.     The Government’s Asserted Interests Cannot Justify the Non-Disclosure Order

       Both the SCA and the Constitution require the government to make specific showings to

justify a non-disclosure order. But the highly public nature of the government’s investigation

and use of this investigative tool means that it cannot make the required showing. Indeed, the

government’s opposition brief makes little effort to do so—instead, it appears to apply a

different—and lesser—legal standard than the one mandated by the statute and the Constitution.

       1.      The Government Cannot Satisfy the Proper Standard for Obtaining a Section
               2705(b) Order

       Strict scrutiny requires the government to “specifically identify an ‘actual problem’ in

need of solving,” and explain why the Non-Disclosure Order is “actually necessary to the

solution.” Brown v. Ent. Merchants Ass’n, 564 U.S. 786, 799 (2011). The government cannot

satisfy that burden here for the three statutorily-authorized rationales that remain in the Non-

Disclosure Order.

       Destruction or Tampering With Evidence. The government cannot demonstrate a

meaningful risk that the evidence at issue will be destroyed or tampered with, because Twitter

has now produced the evidence from the Target Account that the government requested. If



2
  Letter of Donald J. Trump to NARA Archivist David S. Ferriero (Jan. 19, 2021), available at
https://www.archives.gov/files/foia/wh-ltr-to-u.s.-archivist-trump-pra-rep-1.19.2021.pdf
(hereinafter “NARA Designation”).
                                                                                                     3


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disclosure of the Warrant ever risked the destruction of the evidence it sought, it cannot do so

now that the evidence is within the government’s control.

       Nor is it reasonable to conclude that disclosure of the Warrant could prompt the

destruction of other evidence. As explained in Twitter’s opening brief, the Special Counsel has

made its investigations into Mr. Trump public. Mot. 8-12. These investigations are likely the

most widely known and widely reported on criminal investigations in the Nation. The

Department of Justice has itself confirmed the investigations’ existence and scope, and has

issued scores of subpoenas (now public) encompassing subjects’ telephones, personal

communications, and sensitive testimony (including that of aides who worked directly for the

former President). Mot. at 9-11. As a result, everyone—including Mr. Trump—knows the

following:

             •   The investigations target Mr. Trump and his associates;

             •   The investigations focus on, among other things, Mr. Trump’s involvement in and
                 responsibility for interference with Congress’s certification of the presidential
                 election on January 6;

             •   The government has seized electronic communications of Mr. Trump’s associates,
                 including those who communicated directly with Mr. Trump; and

             •   The investigations encompass Mr. Trump’s personal communications, including
                 communications stored electronically.

       In short, Mr. Trump is at least constructively aware that the government has done or is

doing what the Warrant does.

       Adding the limited information reflected in the Warrant—that the government seeks

information from the Target Account—to that vast body of public knowledge cannot constitute a

reason to believe that anyone will destroy evidence (or, if notice were limited to Mr. Trump, that

he will destroy evidence). If Mr. Trump or a witness were inclined to destroy evidence, they

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already have ample reason to do so in view of the numerous public reports that the government

has taken the specific investigative step at issue here in this very case—seizing electronic

communications. The statute and the Constitution require the government to draw a specific link

between disclosure of this Warrant and that act of destroying evidence—and the government

cannot do so. 3

       Indeed, since this court initially issued the Non-Disclosure Order, the rationale for it has

grown weaker, not stronger. In just the past few weeks, the government has taken several highly

publicized investigatory steps 4: the Special Counsel has subpoenaed the former President’s

daughter and advisor Ivanka Trump and her husband and former presidential advisor Jared

Kushner 5; subpoenaed former Vice President Mike Pence 6; subpoenaed Mark Meadows, Mr.

Trump’s last Chief of Staff 7; required two of Mr. Trump’s lawyers to appear before a grand




3
  Mr. Trump may be unique in this regard for this investigative step. Because he was announced
as a principal subject of investigation and because the public reporting has focused on
investigative actions directed at him, he may have a unique level of knowledge about
investigative actions regarding him—even relative to other investigations of him that were
conducted with far less public awareness.
4
  The news articles Twitter cited its initial motion are attached here as Exhibit A. The articles
cited in this Reply are attached as Exhibit B.
5
 Maggie Haberman & Michael S. Schmidt, Jared Kushner and Ivanka Trump Subpoenaed in
Jan. 6 Investigation, N.Y. TIMES (Feb. 22, 2023), available at
https://www.nytimes.com/2023/02/22/us/politics/jared-kushner-ivanka-trump-jan-6.html.
6
  Maggie Haberman & Glenn Thrush, Pence Gets Subpoena From Special Counsel in Jan. 6
Investigation, N.Y. TIMES (Feb. 9, 2023), available at
https://www.nytimes.com/2023/02/09/us/politics/pence-subpoena-trump.html.
7
  C. Ryan Barber & Sadie Gurman, Mark Meadows, Trump’s Last Chief of Staff, Subpoenaed by
Grand Jury, WALL STREET JOURNAL (Feb. 15, 2023), available at
https://www.wsj.com/articles/mark-meadows-trumps-last-chief-of-staff-subpoenaed-by-grand-
jury-8c7ad44e?mod=Searchresults_pos2&page=1.
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jury 8; attempted to force one of those lawyers to provide “answers about direct conversations” he

had with Mr. Trump 9; “moved aggressively with subpoenas to associates of Mr. Trump and

requests for prompt productions of documents” 10; and subpoenaed state legislative leaders to

acquire their communications with Mr. Trump and other Trump campaign officials. 11 If there

was any public uncertainty before (and there was not), there is now no hiding that the Special

Counsel is investigating Mr. Trump and his associates, and that his investigative steps include

obtaining the contents of direct communications between Mr. Trump and his associates. The

disclosure of the Warrant does not meaningfully add anything to that public knowledge. 12



8
 C. Ryan Barber & Alex Leary, Trump Lawyers Appeared Before Grand Jury as Part of
Classified-Documents Probe, WALL STREET JOURNAL (Feb. 11, 2023), available at
https://www.wsj.com/articles/trump-lawyers-appeared-before-grand-jury-as-part-of-classified-
documents-probe-3d1c8040?mod=Searchresults_pos5&page=1.
9
  Katelyn Polantz et al., Special counsel is locked in at least 8 secret court battles in Trump
investigations, CNN (Feb. 16, 2023), available at
https://www.cnn.com/2023/02/16/politics/secret-grand-jury-special-counsel-trump/index.html.
10
  C. Ryan Barber & Alex Leary, Trump Lawyers Appeared Before Grand Jury as Part of
Classified-Documents Probe, WALL STREET JOURNAL (Feb. 11, 2023).
11
   Jim Small, GOP Arizona legislators, including leaders of the house and senate, subpoenaed to
testify in special counsel probe of Trump, Arizona Mirror (Feb. 17, 2023), available at
https://www.azmirror.com/blog/gop-arizona-legislators-including-leaders-of-the-house-and-
senate-subpoenaed-to-testify-in-special-counsel-probe-of-trump/.
12
   Significant media coverage of an investigation may have different legal consequences in the
context of grand jury sealing than in the context of Section 2705(b) non-disclosure orders. See
In re Application of the N.Y. Times Co. & Charlie Savage, 2023 WL 2185826, at *10 (D.D.C.
Feb. 23, 2023) (“[M]aterials from grand jury matters of intense public interest … may have to
remain entirely sealed in the name of grand jury secrecy.”). Rule 6(e) asks only whether sealing
is required “to prevent the unauthorized disclosure of a matter occurring before a grand jury.”
Fed. R. Crim. P. 6(e). Section 2705(b), by contrast, requires the government to make a showing
that specific adverse consequences may flow from disclosure. Even if media publicity arguably
lowers the bar for establishing a potential breach of grand jury secrecy (as relevant for Rule
6(e)), it can sometimes raise the bar for proving that a particular breach of secrecy will lead to
specific adverse consequences for an investigation—as Twitter’s motion and this reply have
explained.


                                                                                                  6


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       Intimidation of Potential Witnesses. Nor is it reasonable to conclude that disclosure of

this Warrant in particular would spur witness intimidation in view of that which is already well

known about this investigation’s seizure of electronic communications. Just as with the

destruction of evidence factor, any would-be intimidators, including Mr. Trump himself, have

already had more than sufficient reason and opportunity to try to intimidate witnesses in this

investigation. Learning of this Warrant would add nothing meaningful to the mix of information

already available. And unlike the dozens of subpoenas that are already public, the Warrant here

does not involve a witness at all—only data stored on Twitter’s servers. The types of revelations

that would be logically tied to potential witness intimidation—the disclosure of an

investigation’s existence or the name of a potential witness—are not implicated by the limited

disclosure of this Warrant. And indeed, those categories of information have already been

revealed, dozens of times over.

       Serious Jeopardy to an Investigation. For similar reasons, the government cannot

show that disclosure would “seriously jeopardiz[e]” its already highly public investigation. 18

U.S.C. § 2705(b)(5). Importantly, this factor cannot be satisfied merely by showing some vague

impact on the “integrity” of the government’s investigation. Contra Opp. 8. Only “serious[]

jeopard[y]” to the investigation can justify restricting Twitter’s First Amendment rights.

       In a typical case, the government might demonstrate a risk of “serious[] jeopardiz[ation]”

by observing that disclosure would “alert the targets to [an] ongoing investigation” of which they

would otherwise be unaware. In re Grand Jury Subpoena Subpoena to Facebook, 2016 WL

9274455, at *2 (E.D.N.Y. May 12, 2016); see also, e.g., In the Matter of the Application of the

U.S. for a Warrant Authorizing, [Redacted], 2015 WL 667923 (D. Kan. Feb. 13, 2015), at *1

(“[T]he government contends such [serious] jeopardy ‘would result from notifying a major target

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of these investigations that he is under current scrutiny by law enforcement personnel.’”). But

that cannot justify the government’s approach here—where the Attorney General of the United

States held a nationally televised press conference and confirmed the investigation, its scope, and

the identity of the target. Once again, this Warrant adds nothing to the public knowledge of the

investigation’s existence or targets. See In re Grand Jury Subpoena Issued to Twitter, Inc., 2017

WL 9287146, at *6 (N.D. Tex. Sept. 22, 2017) (vacating a non-disclosure order after indictment

was unsealed, because the resulting public knowledge meant that “ongoing restriction on

Twitter’s communication with its subscriber[]” did “little to conceal that [its subscriber]—and,

thus, his associates—are under investigation … .”), report and recommendation adopted, No.

3:17-MC-40-M-BN, 2017 WL 9287147 (N.D. Tex. Oct. 19, 2017).

       Past Conduct. That Mr. Trump may have previously engaged in obstructive behavior

towards known cooperating witnesses (or potentially cooperating witnesses) with respect to other

investigations or inquiries does not suffice. Twitter does not question that such past behavior

would justify concern that Mr. Trump might attempt to obstruct this investigation. But that alone

cannot justify restricting Twitter from speaking because the Warrant reveals little that is not

already public and provides no new reason for Mr. Trump to engage in obstructive activity. To

silence Twitter the government must show that “there is reason to believe that notification of the

existence of the” Warrant here—as opposed to all of the government’s other public efforts—

would prompt obstruction. 18 U.S.C. § 2705(b). And for the reasons already described, the

particular sorts of obstruction that could actually endanger the government’s investigation—like

the destruction of evidence or intimidation of witnesses—are not realistically likely to follow

from the Warrant’s disclosure.




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       2.      The Government’s Counter-Arguments Cannot Justify The Non-Disclosure Order

       In its opposition, the government offers two counter-arguments for why disclosure of the

Warrant is nonetheless likely to damage its investigations. First, it argues that much of the

public knowledge of its investigations stems from media accounts that “attempt to fill in gaps

based on discrete pieces of information or courthouse sightings of witnesses.” Opp. 9. But a

significant portion of the public information about the investigations has, in fact, come from the

government itself. As explained in Twitter’s opening brief, the Department of Justice confirmed

the criminal investigations into Mr. Trump in a televised press conference. Mot. 9. It has issued

scores of subpoenas to extremely high-profile witnesses who are close to the target of its

investigations. And the government “has supported the partial unsealing of two judicial

decisions resolving filter team motions” that confirmed it has seized and is reviewing the email

accounts of Mr. Trump’s associates as part of the investigations. In re Application of the N.Y.

Times Co. & Charlie Savage, 2023 WL 2185826, at *15 (D.D.C. Feb. 23, 2023) (citing In re

Search of Info. Associated with Two Accounts Stored at Premises Controlled by Google LLC,

2022 U.S. Dist. LEXIS 237972 (D.D.C. Dec. 15, 2022)). In any event, it is largely irrelevant

whether the public’s existing knowledge of the investigations arises from deliberate disclosures

by the Special Counsel, or instead from investigative reporting. Either way, the public—

including Mr. Trump—has become aware of the investigation’s existence, scope, and methods

(including the Warrant’s method and the Warrant’s target type of material). Regardless of how

that came about, it means that disclosure of the Warrant is unlikely to substantially alter the

balance of public knowledge about the investigations.

       The government’s second argument, that the public’s knowledge is more general than

what the Warrant reveals, fares no better. In particular, the government argues that while “the

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investigation’s existence is no longer secret,” the “specific ongoing investigative steps the

Government is pursuing” are. Opp. 9. But as explained above, the public knows of far more

than just “the investigations’ existence.” The public knows that the investigations target Mr.

Trump and a wide range of his associates; that the investigations focus on, among other things,

Mr. Trump’s involvement in the events of January 6; that the government has seized electronic

communications of Mr. Trump’s associates, including those who communicated directly with

Mr. Trump; and that the investigations encompass Mr. Trump’s personal communications,

including those stored electronically. The government cannot point to any piece of information

in the Warrant that would meaningfully reveal something beyond that broad set of already-public

facts.

         3.     The Government Misstates the Legal Standard for Obtaining a Section 2705(b)
                Order

         The SCA provides that a court may issue a non-disclosure order under 18 U.S.C.

§ 2705(b) only if “there is reason to believe that notification of the existence of the warrant …

will result in” one of several specific adverse outcomes. Those include the grounds on which the

non-disclosure order in this case now relies: “destruction of or tampering with evidence,”

“intimidation of potential witnesses,” and “otherwise seriously jeopardizing an investigation.”

18 U.S.C. § 2705(b)(3)-(5). The government’s opposition, however, largely ignores these

statutory requirements. Instead, the government suggests an entirely separate rationale for non-

disclosure: “preserving the integrity and secrecy of an ongoing investigation.” Opp. 8.

         Contrary to what the government suggests, it cannot justify the non-disclosure order

simply because there is a related grand jury proceeding. See Opp. 8. Grand jury secrecy rules do

not speak to disclosure of a warrant, Fed. R. Crim. P. 6(e)(2)(B), and the fact of a search warrant



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does not in and of itself reveal “a matter occurring before the grand jury.” 13 See In re

Application of the N.Y. Times Co. & Charlie Savage, 2023 WL 2185826, at *4 n.6 (“Search

warrants … are not subject to Rule 6(e), even when the warrant is issued to obtain evidence as

part of an ongoing grand jury investigation[.]”). Indeed, a warrant, unlike a grand jury subpoena,

can be issued in the absence of a grand jury, such as post-indictment. And given the level of

public knowledge concerning the Special Counsel’s investigations (discussed above), the

Warrant in this case has far more in common with a post-indictment warrant, where maintaining

secrecy is not an issue, than a pre-indictment grand jury subpoena issued in total secrecy.

Moreover, the existence of a grand jury investigation does not cloak every related government

action in grand jury secrecy. See Bartko v. U.S. Dep’t of Justice, 898 F.3d 51, 73 (D.C. Cir.

2018) (“Rule 6(e) does not … draw a veil of secrecy over all matters occurring in the world that

happen to be investigated by a grand jury.” (quotation marks and alteration omitted)). Even the

governing federal rule in the grand jury context begins with a presumption against secrecy, see

Fed. R. Crim. P. 6(e)(2)(A) (“No obligation of secrecy may be imposed on any person except in

accordance with [this rule].”), and courts that have upheld non-disclosure orders in the grand jury

context have limited those orders to “exceptional cases,” see, e.g., In re Grand Jury Proceedings,

814 F.2d 61, 69 (1st Cir. 1987).

       Moreover, the secrecy of a criminal investigation alone does not, “without more, provide

a statutory basis for a nondisclosure order under Section 2705(b).” In re Grand Jury Subpoena

Issued to Twitter, Inc., 2017 WL 9287146, at *6. Neither “secrecy” nor “integrity,” as an end

unto itself, appear in the statute. Rather, the law spells out that a desire for secrecy justifies non-



13
  Were it otherwise, a non-disclosure order would be required for every search warrant to
protect grand jury secrecy.
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disclosure only where the government establishes a specific, factual link to the particular harms

Congress has identified. “[S]ecrecy” and “integrity” could be invoked to justify any speech

restriction about any investigative step. But both the First Amendment and the statute preclude

the government from asserting an interest that is “too broad … to serve as an effective constraint

on law enforcement decisions that may infringe First Amendment rights.” Doe v. Harris, 772

F.3d 563, 580 (9th Cir. 2014).

       As explained above (and in Twitter’s opening motion), the government cannot satisfy the

specific and concrete interests enumerated in Section 2705(b)(3)-(5). To the extent that the

government’s ex parte filing relies on some other interest, it should be required to disclose that

interest to Twitter. That is particularly so in this case, where the government has already

conceded that it committed a substantive error in its initial ex parte filing to obtain the Non-

Disclosure Order. Revealing the nature of the government’s interest—as opposed to the facts

establishing a risk to that interest—is unlikely to disclose anything that could endanger the

government’s investigation. And keeping it secret (if that is what the government has done)

deprives Twitter of a meaningful opportunity to contest the Non-Disclosure Order by explaining

why that interest would not be endangered by limited disclosure. “Ex parte communications

generally are disfavored because they conflict with a fundamental precept of our system of

justice: a fair hearing requires a reasonable opportunity to know the claims of the opposing party

and to meet them.” United States v. Microsoft Corp., 56 F.3d 1448, 1464 (D.C. Cir. 1995)

(quotation marks omitted). For that reason, particularly where an in camera, ex parte filing is

“dispositive,” the government should at least make “available to both sides … the general

purport of the [ex parte] argument and evidence such that the other side will have an opportunity

to respond to the general tenor of the proposed submission,” and “explain[] why more detail

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should not be made available.” Ibrahim v. Dep’t of Homeland Sec., 2012 WL 6652362, at *6

(N.D. Cal. Dec. 20, 2012); see also United States v. Barnwell, 477 F.3d 844, 851 (6th Cir. 2007)

(“If ex parte communications are to be allowed at all, they must continue no further than the

extent to which they are absolutely necessary to protect the state’s compelling interest.”).

        If the government is relying on a secret rationale for the Non-Disclosure Order, that also

raises the possibility that it has shifted its rationale since it first sought the order. But because

prior restraints are constitutionally suspect, such a restraint cannot be defended based on “post

hoc rationalizations” or the use of “shifting … criteria,” which too easily enable censors to

“permit[] favorable, and suppress[] unfavorable, expression.” City of Lakewood v. Plain Dealer

Publ’g Co., 486 U.S. 750, 758 (1988). The government was required to make the requisite

showing prior to the Non-Disclosure Order being signed. The Court should not countenance any

post-hoc rationalizations that were not offered at the time the government first sought the Non-

Disclosure Order.

II.     The Government Has Not Demonstrated That the NDO is Narrowly Tailored; Nor
        Has It Meaningfully Addressed Twitter’s Proposed Less Restrictive Alternatives

        A speech restriction is narrowly tailored only “if it targets and eliminates no more than

the exact source of the ‘evil’ it seeks to remedy.” Boardley v. U.S. Dep’t. of Interior, 615 F.3d

508, 519 (D.C. Cir. 2010) (quoting Frisby v. Schultz, 487 U.S. 474, 485 (1988)). As Twitter

explained in its Motion, there are several ways that the Court could more narrowly tailor the

Non-Disclosure Order to achieve the government’s asserted interests and minimize infringement

on Twitter’s First Amendment rights. Rather than seriously consider these less restrictive

measures, the government dismisses them with two paragraphs of cursory analysis. But the

government may not just assert, as it does here, that the proposed alternatives simply “do not

work.” McCullen, 573 U.S. at 494 (applying intermediate scrutiny). It must instead “show[] that
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it seriously undertook to address the problem with less intrusive tools readily available to it,”

“that it considered different methods that other jurisdictions have found effective,” and,

ultimately, “that alternative measures that burden substantially less speech would fail to achieve

the government’s interests.” Id. at 494-495; see also Billups v. City of Charleston, S.C., 961

F.3d 673, 688 (4th Cir. 2020) (“testimony from [government] officials regarding the predicted

ineffectiveness of … suggested alternatives[,] … without more, is not sufficient to satisfy” even

intermediate scrutiny). Because the government fails to meaningfully respond to Twitter’s

proposals for a less restrictive alternative or itself demonstrate that alternative measures are

insufficient, it has not shown that its Non-Disclosure Order is narrowly tailored to achieve its

stated interests.

        1.      The Government has not Demonstrated an Absence of Less Restrictive Means

        First, the Court could partially modify the Non-Disclosure Order to permit Twitter to

notify the user of the Target Account to the existence of the Warrant without disclosing the

contents of Attachment B. The government’s articulation of its interest presupposes that Twitter

would be “[p]roviding the Warrant to the former president” or otherwise providing to him “the

detail supplied in the Warrant.” (Opp. 9.) But the government makes no attempt to tailor its

interest to mere disclosure of the Warrant’s existence, and in fact makes several concessions

suggesting that such a disclosure would not significantly impact its interest: For example, the

government acknowledges that its “investigation’s existence is no longer secret.” (Opp. 9.) Nor

does it contest that the public is aware of the investigation’s scope—in particular, that the

investigation encompasses the sensitive personal communications of Mr. Trump and his

associates. See supra 4-6. Instead, the government warns that “[p]roviding the Warrant to the

former president at this point in the investigation” would “exceed some mere ‘incremental’ step,”

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but instead impair its investigation. Opp. 9. Even accepting the government’s argument, no

such impairment would take place absent provision of the Warrant and attachments. Similarly,

to the extent that the risks to the government’s interest arise from the user’s confederates, and not

from the user himself, then disclosure of the Warrant to the user alone would be sufficient.

       Alternatively, the Court could permit Twitter to alert one of the former President’s

representatives authorized to assert his privileges in this case—for example, the former

President’s attorney, or the several designated “representatives in all respects that pertain to the

records of my Presidency” on file with the National Archives and Records Administration

(NARA). NARA Designation. As other courts in this District have done in similar cases, the

Court could then order those individuals not to disclose the existence of the Warrant. See, e.g.,

Order, ECF No. 4 at 1, In re Application of USA for 2703(d) Order for Six Email Accounts

Serviced by Google LLC for Investigation of Violation of 18 U.S.C. §§ 641 and 793 [hereinafter

“In re Application re: Six Email Accounts”], SC No. 20-sc-3361 (D.D.C. Mar. 3, 2021)

(modifying gag order to permit disclosure to target’s counsel but to no other entities); Order,

ECF No. 6 at 1, In re Application re: Six Email Accounts (Mar. 8, 2021) (similar); Order, ECF

No. 8 at 1, In re Application re: Six Email Accounts (Mar. 22, 2021) (similar); see also In re

Guantanamo Detainee Cases, 344 F. Supp. 2d 174, 180 (D.D.C. 2004) (permitting attorney

review of sensitive evidence through issuance of a protective order and prohibiting counsel from

“disclos[ing] classified information not provided by [their client] to [their client]”).

       The government does not dispute this latter alternative would minimize the infringement

on Twitter’s speech while avoiding the harms set forth in their ex parte submission. (Opp. 12.)

Instead, the government asserts that it would be “untenable” or “impractical” to assess a

representative’s trustworthiness, and that such a representative would lack the ability to vindicate

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Mr. Trump’s interests without informing him of the Warrant. (Opp. 11-12.) But the government

nowhere explains why extending the Non-Disclosure Order to cover the representatives—as

other courts in this District have done—would not address any concerns about a representative’s

trustworthiness. See ECF Nos. 4, 6, 8, In re Application re: Six Email Accounts. And courts

frequently assess the trustworthiness and discretion of representatives in many contexts,

including protective orders and conservatorships. See, e.g., In re Guantanamo Detainee Cases,

344 F. Supp. 2d 174. In any event, that disclosing to a representative would be less expedient for

the government than the blanket Non-Disclosure Order imposed on Twitter is not a permissible

reason to dismiss it: “[T]he prime objective of the First Amendment is not efficiency.”

McCullen, 573 U.S. at 495.

        Nor is there merit to the government’s unsupported assertion that a designated

representative would not have standing or authority to vindicate the former President’s legal

interests in this case. The NARA grant of authority is sweeping and unconditional, designating

seven identified individuals as “representatives in all respects that pertain to the records of my

presidency.” NARA Designation (emphasis added). The letter essentially grants power of

attorney to the named individuals within the specified domain. Litigation of privileges related to

those records fall within that broad ambit, and a lawfully designated representative asserting a

pertinent privilege is a circumstance in which “federal courts routinely entertain suits which will

result in relief for parties that are not themselves directly bringing suit.” Sprint Commc’ns Co.,

L.P. v. APCC Servs., Inc., 554 U.S. 269, 287-288 (2008) (noting also that “[t]rustees bring suits

to benefit their trusts; guardians ad litem bring suits to benefit their wards; receivers bring suit to

benefit their receiverships; assignees in bankruptcy bring suit to benefit bankrupt estates;

executors bring suit to benefit testator estates; and so forth”).

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       2.      The Non-Disclosure Order is not Narrowly Tailored in Light of Twitter’s
               Significant First Amendment Rights at Stake

       Instead of meaningfully addressing these less restrictive alternatives, the government

asserts that “any restriction on Twitter is the least restrictive means of advancing governmental

interests.” (Opp. 10.) It then offers two reasons why its non-disclosure order is narrowly

tailored: it is limited in duration to 180 days, and it restricts Twitter from disclosing only the

existence or contents of the Warrant itself. (Opp. 10-11.)

       As to the former, the government asserts that the mere presence of a “temporal limitation

… balances the need for investigative secrecy and any speech interests.” (Opp. 11.) But even

the case it cites acknowledges that “a temporal limitation alone may not be enough to satisfy

strict scrutiny.” Matter of Subpoena 2018R00776, 947 F.3d 148, 157 (3d Cir. 2020); Nebraska

Press Ass’n v. Stuart, 427 U.S. 539, 559 (1976) (noting that “the burden on the Government” of

justifying a prior restraint “is not reduced by [its] temporary nature[.]”). Twitter’s First

Amendment interest is in notifying its user of the Warrant at a time when that information would

be meaningful to the user—here, when the user could assert his potential privilege before it has

been invaded. Though Twitter is not privy to the government’s investigative timeline, 180 days

is likely too late for the user to assert the privilege in a timely manner. As courts routinely

recognize, “[i]t is axiomatic that the timing of speech is often crucial to its impact.” Matter of

Search of Kitty’s E., 905 F.2d 1367, 1371 (10th Cir. 1990) (emphasis added); see also White

House Vigil for ERA Comm. v. Clark, 746 F.2d 1518, 1528 (D.C. Cir. 1984) (protest restriction

upheld because it left “unaffected a multitude of possibilities for meaningful” speech) (emphasis

added); Wood v. Ga., 370 U.S. 375, 392 (1962) (“Consistent suppression of discussion likely to

affect pending investigations would mean that some continuing public grievances could never be

discussed at all, or at least not at the moment when public discussion is most needed.”).
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        The government also argues that the Non-Disclosure Order is narrowly tailored because it

impedes only a narrow swath of Twitter’s speech. But that swath goes to the heart of Twitter’s

First Amendment interest in this case: consistent with its terms of service and express

commitment to its users, Twitter has a vital interest in notifying users, who have entrusted

Twitter with their private data, when the government compels Twitter to produce that data.

        To this end, contrary to the government’s representation that Twitter has uniquely

brought this challenge to protect the former President, Twitter reviews non-disclosure orders

issued to it and frequently challenges those appearing to contain procedural or substantive

deficiencies. 14 In its February 8, 2023 letter to this Court, Twitter identified 32 such instances

dating back to 2011. While Twitter does not challenge each and every one of the thousands of

non-disclosure orders it receives on a yearly basis, where the statutory factors do not appear to be

met, or where a non-disclosure order appears to be otherwise invalid, Twitter has pursued its

First Amendment interests and challenged non-disclosure orders accompanying legal process

requests for user data in cases like this one. 15

        Here, the Non-Disclosure Order appeared to be plainly invalid for two reasons: certain of

the justifications in the order appeared facially to not apply, and (as outlined above) the




14
  Twitter’s non-disclosure order challenges are often successful, and the Court should not
discount—as the government does—situations where Twitter meets and confers with law
enforcement and they withdraw or modify an order without court action. These pre-filing
conferences are appropriate actions to conserve judicial resources, and, as noted in its filing,
Twitter’s outreach to law enforcement challenging non-disclosure orders frequently results in
law enforcement withdrawing or modifying the non-disclosure order.
15
   Twitter challenges facially invalid non-disclosure orders regardless of the legal process to
which they are attached. It is of no matter that, as the government points out, the invalid orders
have typically attached to subpoenas or national security letters, rather than warrants. The point
is that Twitter has exercised its First Amendment right to contest non-disclosure orders where
they have appeared to be improper on their face.
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underlying investigative action all but matched other actions widely known to the public in a

very public criminal case. It was also clear that Twitter’s exercise of its First Amendment rights

was particularly important in this case because the targeted account contained communications

written by the President himself that were potentially privileged.

       As submitted to Twitter, the Non-Disclosure Order stated that the former President was

likely to flee from prosecution if the Warrant were disclosed. (Doc. 3 at 1.) The Court

acknowledged that this justification did not apply. (Sealed Hr’g Tr. (Feb. 7, 2023) at 48.) And

indeed, the Government now admits that this finding—one of the facial deficiencies identified by

Twitter in its Motion—was, in fact, an error. Opp. 2 n.1 (acknowledging that the templated

language about flight applied to another statute and was “erroneously included” in the Non-

Disclosure Order).

       Additionally, there is reason to believe that Twitter’s user, the former President, may

have a claim of privilege that presents unique issues not previously addressed by any court in a

public decision. As an initial matter, public reports indicate that during his presidency, Mr.

Trump did not use email, text, or any other form of electronic communication besides Twitter. 16

The former President’s private Twitter communications appear to be the only such electronic

communications written by the former President himself, and the government seized those


16
   Jonathan Swan & Maggie Haberman, OMG. Trump Has Started Texting., N.Y. TIMES (Jan.
25, 2023), available at https://www.nytimes.com/2023/01/25/us/politics/trump-texting.html;
Alex Leary, Trump Copes With Facebook, Twitter Ban By Relying On Email, Media Interviews,
THE WALL STREET JOURNAL (May 5, 2021), available at
https://www.wsj.com/articles/trump-copes-with-facebook-twitter-ban-by-relying-on-email-
media-interviews-11620226189.
For instance, the “message” from former President Trump to General Michael Flynn that he
“stay strong” (cited by the court in the hearing on February 7, 2023) was passed in person by KT
McFarland—not by an electronic communication written by former President Trump to Gen.
Flynn. Sealed Hr’g Tr. (Feb. 7, 2023) at 49 (referencing Mueller Report, Vol. II, p44, n.267).
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private written communications from a third-party provider without some notice to him. No

court has ever addressed the application of executive privilege in that set of circumstances, and

the plain text of Section 2703, Federal Rule of Criminal Procedure 41, and the Presidential

Records Act did not contemplate this scenario. Further, if the government has not yet reviewed

the communications it seized, there remains for the real parties in interest the issue of whether

the privilege may still be asserted at the outset. 17

        Finally, there remains the separate issue of how the government might make derivative

use of those communications outside the Executive Branch, which raises a distinct and

significant basis for the former President to claim privilege. The Court and government both

suggest that there is no executive-privilege issue here because the materials have been seized by

the Executive Branch. Gov. MTSC Reply 6-7 (citing Nixon, 418 U.S. at 708); Sealed Hr’g Tr.

(Feb. 7, 2023) at 51-52. But that does not account for possible derivative uses outside of the

Executive Branch, such as the incorporation of privileged information into warrant affidavits,

witness questioning, and—as the government suggests throughout its brief—disclosure to a

grand jury. Disclosure of the privileged materials in these contexts would raise precisely the




17
  As Twitter previously explained, the executive privilege at issue here is likely injured at the
time communications are viewed by another party. See In re Sealed Case, 121 F.3d 729, 744
(D.C. Cir. 1997) (citing Nixon v. Adm’r of Gen. Servs., 433 U.S. 425, 449 (1977). In other
privilege contexts, courts have permitted the return of potentially privileged matter even after the
materials were seized. Klitzman Klitzman & Gallagher v. Krut, 744 F.2d 955, 962 (3d Cir. 1984)
(granting defendant’s motion to return attorney-client privileged materials seized during
execution of search warrant); see also In re Search Warrant Issued June 13, 2019, 942 F.3d 159,
183-184 (4th Cir. 2019) (reversing district court’s denial of injunction on federal agents
reviewing seized attorney-client privileged materials obtained through execution of search
warrant).
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Separation-of-Powers issues that the government claims are not triggered when the material stays

within the Executive Branch. 18

        In short, while Twitter may not be able to assert the former President’s potential

privilege—and takes no position here on whether it applies—the issues in play make Twitter’s

exercise of its First Amendment rights particularly important in this case. 19

        III. Twitter’s Stay Motion is Not Moot

        Twitter’s Motion included a request that the Court stay execution of the Warrant until

litigation on the Non-Disclosure Order was resolved. Mot. 16. The government argues that the

Court’s order that Twitter comply with the Warrant “necessarily mooted that stay request.” Opp.

13.

        This is incorrect for two reasons. First, the Court’s compliance order ruled on, and

rejected, Twitter’s stay request. The request has thus been denied, not mooted. Second, even if

the Court had not done so, the request would not be moot because it is “‘capable of repetition,

yet evading review.’” People for the Ethical Treatment of Animals, Inc. v. United States Fish &

Wildlife Serv., et al, 59 F. Supp. 3d 91, 97 (D.D.C. 2014). A challenged action is not moot when

it is “‘typically … in its duration too short to be fully litigated prior to its cessation or

expiration,’” and there is “‘a reasonable expectation that the same complaining party would be


18
  Even if the government’s possible use of a filter team might temporarily isolate privileged
materials, the former President retains an interest in actually asserting privilege such that his
private Presidential communications are not being protected by the mere exercise of a
prosecutor’s discretion.
19
   The government states that “[a] Twitter user’s potential ability to challenge the legal process at
issue—here, the Warrant—is entirely distinct from the First Amendment concerns that Twitter
claims it seeks to further through its own challenge to the NDO.” Opp. 9-10. This concession—
that Twitter’s First Amendment rights do not rise or fall with the success or failure of the user’s
claims—underscores the point that Twitter’s constitutional interest is in disclosing the privacy
breach to its user, not in litigating the user’s claims.
                                                                                                    21


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subjected to the same action again.’” Id.. That is the case here, where litigation over this Non-

Disclosure Order spanned less than one month, and Twitter expects to be subject to non-

disclosure orders that it will challenge in the future.

       On the merits of Twitter’s stay request, Twitter has made a “a strong showing” that it is

“likely to succeed on the merits” and “will be irreparably injured absent a stay.” Nken v. Holder,

556 U.S. 418, 434 (2009). Twitter has demonstrated that the government’s Non-Disclosure

Order cannot withstand strict scrutiny. See supra 3-21. And it has demonstrated

“unquestionabl[e]” irreparable injury through “[t]he loss of First Amendment freedoms, for even

minimal periods of time.” Elrod v. Burns, 427 U.S. 347, 373-374 (1976).

       IV. CONCLUSION

       The Non-Disclosure Order issued pursuant to 18 U.S.C. § 2705(b) is a blanket prohibition

prohibiting Twitter from notifying anyone about the Warrant or Non-Disclosure Order, and cannot

be justified by a compelling governmental interest. Accordingly, the Non-Disclosure Order

impermissibly burdens Twitter’s First Amendment rights and should be vacated or modified to

allow Twitter to notify its user of the government’s demand. In addition, this Court should stay

Twitter’s compliance with the Warrant until resolution of these constitutional issues.




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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



      IN THE MATTER OF THE SEARCH OF:      Case No. 1:23-SC-31 - BAH
      INFORMATION THAT IS STORED AT
      PREMISES CONTROLLED BY TWITTER       UNDER SEAL
      INC. IDENTIFIED IN ATTACHMENT A




                                   EXHIBIT B




                                  JA325
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2/24/23, 12:51 PM            GOP Arizona legislators, including leaders of the House and Senate, subpoenaed to testify in special counsel probe of Trump



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                 CRIMINAL JUSTICE & POLICING         ELECTION 2020         ELECTIONS        LAW & GOVERNMENT


                 A TO Z

                GOP Arizona legislators, including leaders of
                the House and Senate, subpoenaed to testify in
                special counsel probe of Trump
                BY: JIM SMALL - FEBRUARY 17, 2023                 7:15 AM

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                House Speaker Ben Toma, Senate President Warren Petersen and Sen. Sonny Borrelli all received federal
               grand jury subpoenas from the U.S. Department of Justice’s special counsel investigation of Donald Trump’s
               efforts to overturn his 2020 election loss. Photos by Gage Skidmore | Flickr/CC BY-SA 2.0



                At least three Arizona Republican state legislators have been subpoenaed by
                the U.S. Justice Department’s special counsel, Jack Smith, as part of the
                criminal investigation into former President Donald Trump and his efforts to
                reverse his 2020 election loss.

                The federal grand jury subpoenas were issued to Senate President Warren
                Petersen, Sen. Sonny Borrelli and House Speaker Ben Toma. And at least one

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2/24/23, 12:51 PM            GOP Arizona legislators, including leaders of the House and Senate, subpoenaed to testify in special counsel probe of Trump

                former state senator, Michelle Ugenti-Rita, who led the Senate’s Election
                Committee in 2021, received a subpoena. All four have been ordered to
                produce records and travel to Washington, D.C., to testify.


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                The Arizona Mirror obtained a copy of one of the subpoenas on the condition
                that it would not be published. In addition to the command to testify before
                the grand jury, the office of the special counsel is demanding any documents
                already provided to the congressional panel that investigated the Jan. 6 U.S.
                Capitol riot and any documents given to any other state or federal inquiry
                related to the 2020 presidential election.

                The subpoena also seeks all communications with Trump or his campaign. It
                also specifies 18 different campaign employees, attorneys and surrogates:
                Kenneth Chesebro, Justin Clark, Joe DiGenova, John Eastman, Jenna Ellis,
                Boris Epshteyn, Rudy Giuliani, Bernard Kerik, Bruce Marks, Cleta Mitchell,
                Matthew Morgan, Kurt Olsen, William Olson, Sidney Powell, Bill Stepien,
                Victoria Toensing, James Troupis and L. Lin Wood.

                The state Senate and House of Representatives both confirmed the existence
                of the subpoenas for the three sitting lawmakers, but refused to release them
                under the state’s public records law or to discuss if other lawmakers were also
                subpoenaed. Spokespeople and legislative attorneys also refused to answer
                questions about the subpoenas.

                “The Special Counsel’s Office has informed us that public release of its
                subpoenas could impede its investigation and interfere with federal law
                enforcement,” Pete Galvan, an associate rules attorney in the Senate, wrote in
                an email. “In light of the position of the Special Counsel’s office, the Senate
                won’t release the materials at this time but may revisit the issue in the future
                as circumstances change.”

                A House attorney also initially cited a request from the Special Counsel’s
                Office to keep the records secret as justification. Upon further questioning,
                both Justin Riches, the House’s public records counsel, and Galvan said the
                legislative bodies were under no obligation to release the subpoenas because
                of case law and administrative rules allowing records to be shielded if doing so
                is “in the best interests of the state.”

                Ugenti-Rita did not respond to questions about the subpoena.


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2/24/23, 12:51 PM            GOP Arizona legislators, including leaders of the House and Senate, subpoenaed to testify in special counsel probe of Trump

                Borrelli, Petersen, Toma and Ugenti-Rita are not the first Arizona officials to
                be subpoenaed by the Justice Department in connection to Trump’s effort to
                convince GOP officials in battleground states he lost to overturn the election
                results in a bid to retain power. In November, officials in Maricopa County
                were among the first to receive subpoenas from Smith’s office.

                And before Smith was appointed late last year, the FBI subpoenaed at least
                two Republican state senators — then-President Karen Fann and Kelly
                Townsend — as part of its investigation into Trump’s pressure campaign to
                overturn the 2020 election.

                Those earlier subpoenas to Maricopa County and the former senators sought
                communication records with 19 different Trump campaign members,
                attorneys or surrogates, including Rudy Giuliani, Sidney Powell and L. Lin
                Wood.

                Prior to that, the Department of Justice had subpoenaed Arizonans who
                signed a document that would have sent fake electors to Congress backing
                Trump. Among them was Kelli Ward, then the chair of the Arizona
                Republican Party.

                Smith’s probe appears to be intensifying and moving aggressively. This
                month, he issued a subpoena to former Vice President Mike Pence, and some
                sources have reportedly been called to testify to the grand jury multiple times.


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                                                JIM SMALL  
                                                Jim Small is a native Arizonan and has covered state government, policy and politics
                                                since 2004, with a focus on investigative and in-depth policy reporting, first as a
                                                reporter for the Arizona Capitol Times, then as editor of the paper and its prestigious
                                                sister publications. He has also served as the editor and executive director of the
                                                Arizona Center for Investigative Reporting.


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2/24/23, 12:50 PM                            Jared Kushner and Ivanka Trump Subpoenaed in Jan. 6 Investigation - The New York Times

                           https://www.nytimes.com/2023/02/22/us/politics/jared-kushner-ivanka-trump-jan-6.html



Jared Kushner and Ivanka Trump Subpoenaed in Jan. 6 Investigation
The special counsel overseeing the inquiry into Donald Trump’s efforts to retain power after the 2020 election wants the former president’s
daughter and son-in-law to testify to a grand jury.



By Maggie Haberman and Michael S. Schmidt
Feb. 22, 2023                                                                                                                         3 MI N R EAD



Former President Donald J. Trump’s daughter Ivanka and his son-in-law, Jared Kushner, have been subpoenaed by the special counsel to
testify before a federal grand jury about Mr. Trump’s efforts to stay in power after he lost the 2020 election and his role in a pro-Trump
mob’s attack on the Capitol on Jan. 6, 2021, according to two people briefed on the matter.

The decision by the special counsel, Jack Smith, to subpoena Ms. Trump and Mr. Kushner underscores how deeply into Mr. Trump’s inner
circle Mr. Smith is reaching, and is the latest sign that no potential high-level witness is off limits.

The disclosure about the subpoena comes two weeks after it was revealed that Mr. Smith had subpoenaed former Vice President Mike
Pence to testify before the grand jury. Mr. Pence plans to fight the subpoena, invoking his role as the president of the Senate to argue that
it violates the “speech or debate” clause of the Constitution.

It is unclear whether Mr. Trump will seek to block Ms. Trump and Mr. Kushner from testifying on the grounds of executive privilege, as he
has tried with some other witnesses. Both of them served as White House officials in the Trump administration. Mr. Trump declined to try
to stop them from testifying before the House special committee that investigated the Jan. 6 attack and what led to it.

An aide to Ms. Trump and Mr. Kushner did not respond to a request for comment. Josh Stueve, a spokesman for Mr. Smith, declined to
comment. Aides to Mr. Trump did not respond to a request for comment.

Ms. Trump was in the Oval Office on Jan. 6 as her father placed a late-morning call to Mr. Pence to pressure him to block or delay
congressional certification of the Electoral College results documenting Joseph R. Biden Jr.’s victory. As president of the Senate, Mr. Pence,
who rejected Mr. Trump’s demands, was to serve in a ceremonial role overseeing the process that day.

Ms. Trump also accompanied her father to the rally of his supporters at the Ellipse near the White House. Hundreds of his supporters
moved from there to the Capitol, where they attacked the building, some chanting, “Hang Mike Pence!” for his refusal to do what Mr.
Trump wished.

Mr. Kushner returned from the Middle East that day, ultimately going to the White House after the pro-Trump mob had been rioting for
hours. Both he and his wife were involved in efforts to get Mr. Trump to tell the rioters to go home, and then to commit to a peaceful
transfer of power to Mr. Biden.

Both testified before the Jan. 6 House select committee, appearing for videotaped interviews in which both provided memories about the
day. The committee, in turn, repeatedly played clips of their testimony at some of its public hearings.

One clip that got considerable attention showed Ms. Trump making clear that she accepted Attorney General William P. Barr’s declaration
that there was no evidence of widespread fraud in the election, despite Mr. Trump’s repeated claims otherwise.

Mr. Trump was infuriated by the clips and what was said in them, according to people in contact with him.

Since then, Mr. Kushner and Ms. Trump, who relocated with their three children to Florida after they left the White House, have
maintained family contact with the former president. But while Mr. Kushner appeared at Mr. Trump’s campaign kickoff in November, Ms.
Trump declined to and put out a statement saying she would not be involved in her father’s campaign this time.

Both were intimately involved in his 2016 race before going to work at the White House.

In December, Mr. Trump posted on his social media site, Truth Social, that he did not want them to be involved in his third campaign.

“Contrary to Fake News reporting, I never asked Jared or Ivanka to be part of the 2024 campaign for president and, in fact, specifically
asked them not to do it,” Mr. Trump wrote, going on to say the campaign would be “too mean and nasty.”

“There has never been anything like this ‘ride’ before, and they should not be further subjected to it,” he added.




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2/24/23, 11:17 AM                                       Mark Meadows, Trump’s Last Chief of Staff, Subpoenaed by Grand Jury - WSJ

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  POLITICS


  Mark Meadows, Trump’s Last Chief of Staff,
  Subpoenaed by Grand Jury
  Special counsel Jack Smith seeks former top aide’s testimony in probe of efforts to
  reverse 2020 presidential election




  The subpoena for Mark Meadows could set the stage for further court battles.
  PHOTO: YURI GRIPAS/REUTERS


  By C. Ryan Barber                 Follow       and Sadie Gurman                    Follow
  Updated Feb. 15, 2023 9:47 pm ET
  WASHINGTON—Former White House chief of staff Mark Meadows has been subpoenaed by
  the special counsel investigating former President Donald Trump’s efforts to overturn his loss
  in the 2020 election, according to a person familiar with the matter.

  Mr. Meadows received the subpoena in late January, the person said, as special counsel Jack
  Smith’s investigation escalated his probe into steps Mr. Trump and his allies took to keep him
  in office. As Mr. Trump’s final White House chief of staff, Mr. Meadows would be among the
  closest advisers of the former president to be summoned before the grand jury.

  The demand for his testimony predated a separate subpoena issued to former Vice President
  Mike Pence as part of the investigation. Two top aides to Mr. Pence—his former chief of staff



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2/24/23, 11:17 AM                               Mark Meadows, Trump’s Last Chief of Staff, Subpoenaed by Grand Jury - WSJ

  Marc Short and counsel Greg Jacob—are among the former Trump administration officials
  who have already appeared before the grand jury.

  The subpoena for Mr. Meadows could set the stage for further court battles between
  prosecutors and Mr. Trump, whose lawyers have cited executive privilege in attempts to block
  or delay the testimony of top aides in investigations examining the former president. Mr.
  Pence plans to resist his subpoena by arguing that, as vice president, he served also as
  president of the Senate and is covered by the Constitution’s Speech or Debate clause, which
  protects members of Congress from being questioned in court about legislative acts.




  Former President Donald Trump’s chief of staff Mark Meadows has been at the center of other investigations into
  efforts to overturn the 2020 presidential election.
  PHOTO: MANDEL NGAN/AGENCE FRANCE-PRESSE/GETTY IMAGES


  A lawyer for Mr. Meadows, George Terwilliger, and a Justice Department spokesman declined
  to comment. CNN earlier reported that Mr. Meadows has been subpoenaed.

  Attorney General Merrick Garland appointed Mr. Smith as special counsel in November to
  take on the dual investigations into Mr. Trump’s efforts to cling to power and the handling of
  classified documents at the former president’s Mar-a-Lago estate in southern Florida. It
  couldn’t immediately be determined whether prosecutors want to question Mr. Meadows also
  in connection with the Mar-a-Lago investigation.

  Mr. Meadows has been at the center of other investigations into Mr. Trump’s efforts to
  reverse his electoral defeat in 2020. Last year, the South Carolina Supreme Court ordered him



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  to testify before an Atlanta-area grand jury as part of a local prosecutor’s investigation into
  the former president’s efforts to interfere with election results in Georgia.

  The House referred Mr. Meadows to the Justice Department for prosecution after holding him
  in contempt for refusing to testify before the panel that investigated the Jan. 6, 2021, attack
  on the Capitol. The Justice Department declined to prosecute him.

  In the course of its investigation, the House Jan. 6 committee aired testimony that cast Mr.
  Meadows as a close Trump adviser with some awareness of the potential for violence on Jan.
  6, 2021, the day Congress was set to certify Mr. Trump’s loss to President Biden.

  A top aide to Mr. Meadows, Cassidy Hutchinson, testified that he told her on Jan. 2, 2021, that
  “things might get real, real bad on Jan. 6.” In videotaped testimony, Ms. Hutchinson said
  Messrs. Meadows and Trump were both told that members of the crowd for Mr. Trump’s
  speech at the Ellipse on that day were armed with knives, guns, bear spray and other
  weapons.

  The recent subpoenas suggest Mr. Smith’s investigation is intensifying.

  In the separate investigation of classified documents at Mar-a-Lago, prosecutors are asking a
  judge to compel further testimony from one of the former president’s lawyers, in a bid to
  break through claims of executive privilege raised during a recent grand jury appearance,
  according to people familiar with the Justice Department’s action.

  The prosecutors have asked the chief judge in Washington’s federal trial court to invoke the
  so-called crime-fraud exception, which would allow them to bypass attorney-client privilege
  and extract more testimony from Trump lawyer Evan Corcoran, the people said. The
  exception applies in instances where there is reason to believe legal advice has been used in
  furtherance of a crime.

  The move to invoke the crime-fraud exception suggests that federal prosecutors suspect that
  Mr. Trump or his allies used Mr. Corcoran’s services in such a way.

  A spokesman for Mr. Trump declined to comment on the tactics of the investigation, which he
  called a “targeted, politically motivated witch hunt against President Trump, concocted to try
  and prevent the American people from returning him to the White House.”

  —Alex Leary contributed to this article.


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  Write to C. Ryan Barber at ryan.barber@wsj.com and Sadie Gurman at
  sadie.gurman@wsj.com

  Appeared in the February 16, 2023, print edition as 'Special Counsel Subpoenas Meadows'.




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2/24/23, 12:50 PM                           Mike Pence Subpoenaed by Special Counsel in Trump Investigation - The New York Times

                           https://www.nytimes.com/2023/02/09/us/politics/pence-subpoena-trump.html



Pence Gets Subpoena From Special Counsel in Jan. 6 Investigation
The move by Jack Smith, the special counsel, is one of the most aggressive in his investigation of Donald Trump’s efforts to stay in power
and is likely to lead to a battle over executive privilege.



By Maggie Haberman and Glenn Thrush
Feb. 9, 2023                                                                                                                         4 MI N R EAD



Former Vice President Mike Pence has been subpoenaed by the special counsel investigating former President Donald J. Trump’s efforts
to cling to office after he lost his bid for re-election, a person familiar with the matter said on Thursday.

The move by the Justice Department sets up a likely clash over executive privilege, which Mr. Trump has previously used to try to slow,
delay and block testimony from former administration officials in various investigations into his conduct.

The existence of the subpoena was reported earlier by ABC News.

It was not immediately clear when the special counsel, Jack Smith, sought Mr. Pence’s testimony. The move is among the most aggressive
yet by Mr. Smith in his wide-ranging investigation into Mr. Trump’s role in seeking to overturn the outcome of the 2020 election. He is also
overseeing a parallel inquiry into Mr. Trump’s handling of classified documents.

The New York Times previously reported that the Justice Department was seeking to question Mr. Pence in connection with the
investigation into Mr. Trump’s efforts to remain in power after he lost the 2020 election and had reached out to his team.

Mr. Pence is potentially a key witness because he is one of the people best positioned to provide information about Mr. Trump’s state of
mind at the time, even though his relationship with Mr. Trump reached the breaking point in the days leading up to the Jan. 6, 2021, riot at
the Capitol, legal experts said.

Mr. Pence’s team held discussions with the Justice Department about a voluntary interview, according to the person familiar with the
matter, but those talks were at an impasse, leading Mr. Smith to seek the subpoena.

An aide to Mr. Pence declined to confirm the existence of the subpoena. A Justice Department official did not respond to a request for
comment.

It is not clear whether investigators will also seek to question Mr. Pence in the matter of Mr. Trump’s handling of classified material, or
what he could have to share that would be relevant. Mr. Pence’s advisers recently alerted the Justice Department that he had found some
documents with classified markings at his home in Indiana, after conducting a search following the discovery of classified documents at
President Biden’s home in Delaware and at a think tank office he used in Washington.

Justice Department officials have signaled that they plan a more thorough search of Mr. Pence’s home.

The subpoena from Mr. Smith comes at a moment of rising tension between the Pence team and the Justice Department over the
discussions about searching the former vice president’s home.

Lawyers with the department’s national security division have been discussing the details of a possible agreement to search Mr. Pence’s
house in Indiana for additional government documents on a parallel track; Mr. Pence’s advisers were incensed by the disclosure of a
pending search last week and blamed the department for leaking details to pressure them.

Another former Trump administration official, the final national security adviser, Robert C. O’Brien, has received a subpoena in connection
with the handling of the documents found to be in Mr. Trump’s possession, according to a person familiar with the matter.

But Mr. Pence figures most centrally in the inquiry into Mr. Trump’s efforts to use the government to remain in power. Mr. Trump seized on
Mr. Pence’s ceremonial role in overseeing the congressional certification of the Electoral College results to try to press his vice president
into blocking or delaying the outcome on Jan. 6.

Mr. Pence refused, a fact highlighted publicly by Mr. Trump as he stirred up a crowd of supporters that day before they marched to the
Capitol and breached it. Some of the rioters chanted, “Hang Mike Pence.”

Mr. Pence described some of his ordeal in his recently published book, “So Help Me God.”

Mr. Trump has frequently tried to assert executive privilege when officials have sought testimony from people who worked for him in the
White House. He has generally been unsuccessful, but those battles over which matters privilege covers have slowed some of the
investigations.

https://www.nytimes.com/2023/02/09/us/politics/pence-subpoena-trump.html                                                                     1/2
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2/24/23, 12:50 PM                           Mike Pence Subpoenaed by Special Counsel in Trump Investigation - The New York Times

That included when two top aides to Mr. Pence — his former chief of staff, Marc Short, and his former counsel, Greg Jacob — were
subpoenaed to testify before a grand jury.

Mr. Pence is being represented by Emmet T. Flood, a veteran lawyer who was the lead official in the White House Counsel’s Office under
Mr. Trump dealing with the special counsel investigation into whether Mr. Trump’s 2016 campaign conspired with Russian officials, and
whether the former president obstructed justice.

Mr. Pence is a potential rival to Mr. Trump for the 2024 Republican presidential nomination. Mr. Trump is so far the only declared
candidate in that race. And Mr. Biden, who is also the subject of a recently named special counsel looking into the documents found at his
home and the Penn Biden Center, is widely expected to declare another presidential campaign for a second term.

Mr. Smith has vowed to expedite the investigation into Mr. Trump, and has moved to consolidate and focus what was seen inside the
department as a sprawling inquiry into Mr. Trump’s efforts to overturn the election and the Jan. 6 attack, according to people familiar with
the situation.

That has intensified in recent weeks, as Mr. Smith’s staff — led by Thomas Windom, a veteran prosecutor who had been working out of the
office of the U.S. attorney in Washington — has pored through hundreds of witness transcripts turned over by the House committee that
investigated the Jan. 6 attack.




https://www.nytimes.com/2023/02/09/us/politics/pence-subpoena-trump.html                                                                  2/2
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2/24/23, 12:51 PM                     Special counsel Jack Smith is locked in at least 8 secret court battles in Trump investigations | CNN Politics

    presidency, separation of powers and attorney-client confidentiality in ways they’ve never
    done before.

    Yet almost all of the proceedings are sealed, and filings and decisions aren’t public.

    The sheer number of grand jury challenges from potential witnesses is both a reflection of
    the scope of the special counsel’s investigation and a hallmark of Trump’s ultra-combative
    style in the face of investigations.

                                RELATED ARTICLE
                                Pence says he's willing to take fight against DOJ subpoena in Trump probe to
                                Supreme Court




    By comparison, Robert Mueller’s grand jury investigation into Trump had a smattering of
    sealed proceedings where investigators used the court to pry for more answers, and
    independent counsel Kenneth Starr’s Whitewater investigation ultimately totaled seven
    similar sealed cases.

    A key sealed case revealed Wednesday is an attempt to force more answers about direct
    conversations between Trump and his defense attorney Evan Corcoran, where the Justice
    Department is arguing the investigation found evidence the conversations may be part of
    furthering or covering up a crime related to the Mar-a-Lago document boxes.

    A spokesman for Smith’s office declined to comment.

    About half a dozen cases are still ongoing in court, either before Chief Judge Beryl Howell
    or in the appeals court above her, the DC Circuit. Most appear to follow the typical arc of
    miscellaneous cases that arise during grand jury investigations, where prosecutors
    sometimes use the court to enforce their subpoenas.

    More challenges from subpoenaed witnesses – including former Vice President Mike Pence
    – are expected to be filed in the coming days, likely under seal as well. Pence may raise
    novel questions about the protections around the vice presidency.

    Investigations that implicate government officials often beget sealed court proceedings,
    because confidential grand jury witnesses become more likely to assert privileges that
    prompt prosecutors to ask judges to compel more answers, criminal law experts say.

    “I think we are in extraordinary times. Part of it is I think President Trump continues to
    assert these theories long after they’ve been batted away by the court,” Neil Eggleston, a
    former White House counsel who argued for executive privilege during the Clinton
https://www.cnn.com/2023/02/16/politics/secret-grand-jury-special-counsel-trump/index.html                                                             2/7
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2/24/23, 12:51 PM                     Special counsel Jack Smith is locked in at least 8 secret court battles in Trump investigations | CNN Politics

    administration and the Whitewater investigation.

    In Whitewater, after the court in DC ruled that privilege claims wouldn’t hold up when a
    federal grand jury needed information, other witnesses shied away from trying to refuse to
    testify, Eggleston recalled. But in the Trump investigations, witnesses aligned continue to
    test whether he still may have special confidentiality protections.

    Still, the number of cases is out of the ordinary.

    The other known cases are:

    The Justice Department’s long-running effort to enforce a May 2022 subpoena for all
    classified records in Trump’s possession. After a sealed December hearing, Howell gave
    Smith’s investigators an avenue to ask more questions of two people hired to search
    Trump’s properties in December and found more documents with classified markings.
    Those two people testified to the grand jury late last month. Sixteen national media
    outlets, including CNN, have asked Howell to make public transcripts of hearings and other
    records in the case.

    An appeal over whether former Pence chief counsel Greg Jacob and chief of staff Marc
    Short should have been forced to answer questions about Trump interactions around
    January 6. Both went to the grand jury in DC on the same Friday last July and refused to
    give some answers because of Trump’s attempted claims of confidentiality around the
    presidency. Court orders prompted them to testify a second time, seeking out more
    testimony from them in October last year, CNN previously confirmed. They both appeared
    a second time at the grand jury. The Trump team still has filed an appeal of Howell’s
    decisions.

    An appeal over whether former Trump White House counsel Pat Cipollone and deputy
    White House counsel Patrick Philbin could decline to answer questions about direct
    conversations with Trump from the end of his presidency. Both men cited various
    privileges when they testified to the grand jury in September, but were forced to appear a
    second time and give more answers after court rulings in November and December, CNN
    previously confirmed. Though they have already testified twice, Trump’s team filed an
    appeal.

                                RELATED ARTICLE
                                Trump lawyer says searches for classified material at Trump properties are complete




https://www.cnn.com/2023/02/16/politics/secret-grand-jury-special-counsel-trump/index.html                                                             3/7
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2/24/23, 12:51 PM                     Special counsel Jack Smith is locked in at least 8 secret court battles in Trump investigations | CNN Politics

    Following the seizure of Pennsylvania GOP Rep. Scott Perry’s cell phone in August in the
    January 6 investigation, lawyers for the congressman challenged the Justice Department’s
    ability to access data taken from the phone, citing protection around Congress under the
    Constitution’s Speech or Debate Clause. Howell refused to keep the records from
    investigators, but an appeals court panel has blocked the DOJ from seeing the records so
    far, according to indications in the court record. The case is set for oral arguments on
    February 23 at the appeals court in Washington. The circuit court also has a request from
    the Reporters Committee for Freedom of the Press to unseal documents in the case.

    Both Republican and Democratic leadership in the US House have wanted a part in the
    case because of the implications for Congress, CNN has confirmed.

    Howell has released redacted versions of two attorney confidentiality decisions she made
    last year giving prosecutors access to emails between Perry and three lawyers – John
    Eastman, Jeffrey Clark and Ken Klukowski – before January 6, 2021.

    Howell separately denied Clark’s attempt to keep from investigators a draft of his
    autobiography that discussed his efforts at the Justice Department on behalf of Trump
    before January 6. Clark had tried to mark the draft outline about his life as an attorney
    work product.

    The Justice Department secured a court order for Trump adviser Kash Patel to answer
    questions under oath in the Mar-a-Lago investigation. Patel initially declined to answer
    questions before the grand jury in October, citing his Fifth Amendment protection against
    self-incrimination. Then prosecutors fought for more answers by immunizing his testimony
    from prosecution, CNN previously reported.


    Transparency is lacking
    The suite of special counsel’s office grand jury cases raises questions how transparent the
    courts will be regarding these cases, and how soon documents filed in court could
    become available.

    The New York Times and Politico are trying to convince Howell to release redacted
    versions of any sealed court fights related to the grand jury where Trump or others in his
    administration have tried to limit the investigation with claims of executive privilege,
    according to court filings.

    The media organizations argue there’s a “profound national interest” in those legal papers.

    But the Justice Department is against making disclosures related to the grand jury
https://www.cnn.com/2023/02/16/politics/secret-grand-jury-special-counsel-trump/index.html                                                             4/7
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2/24/23, 11:17 AM                                  Trump Copes With Facebook, Twitter Ban by Relying on Email, Media Interviews - WSJ

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  POLITICS


  Trump Copes With Facebook, Twitter Ban by
  Relying on Email, Media Interviews
  Cut off from social media, the former president pursues other ways to get his
  message out




  When he was president, Donald Trump relied on Twitter to communicate with supporters; now he relies on email.
  Supporters of the former president marched down Fifth Avenue in New York City on March 5.
  PHOTO: JOHN MINCHILLO/ASSOCIATED PRESS


  By Alex Leary             Follow
  May 5, 2021 10:49 am ET
  In the heat of the 2016 presidential campaign, then-candidate Donald Trump said, “I’m just
  not a believer in email.” Since he was banned from social media earlier this year, it has been
  his go-to communication tool.

  Unable since January to tweet, put videos on YouTube or post to Facebook—whose oversight
  board upheld the ban on Wednesday and gave the company six months to determine whether
  Mr. Trump should be permanently banned—the former president has been blast emailing
  statements to comment on daily news developments, endorse candidates and target critics.

  He continues to claim in emailed statements and in private gatherings with supporters that
  the election was rigged. There is no evidence there was widespread fraud in the election, and
  Mr. Trump’s campaign and his allies failed in dozens of court challenges to the results.
https://www.wsj.com/articles/trump-copes-with-facebook-twitter-ban-by-relying-on-email-media-interviews-11620226189                                                   1/4
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2/24/23, 11:17 AM                             Trump Copes With Facebook, Twitter Ban by Relying on Email, Media Interviews - WSJ

  “They’re really much more elegant. And the word is getting out,” Mr. Trump said of his
  emailed statements in a recent Newsmax interview.




  Mr. Trump spoke at the Conservative Political Action Conference, or CPAC, in Orlando, Fla., on Feb. 27.
  PHOTO: ELIJAH NOUVELAGE/BLOOMBERG NEWS


  “The tweeting gets you in trouble,” Mr. Trump added. “You’re retweeting people and you find
  out that the retweets were not so good, because the person—if you didn’t do research—that
  you’re retweeting is not the best. … I like this better than Twitter. Actually, they did us a
  favor.”

  But while Mr. Trump once could instantly communicate to tens of millions of people, his email
  reach is smaller and slower, people familiar with the process say. News outlets that once hung
  on his every word are being more selective. Lawmakers too say they are relieved not to have
  to react to the barrage of tweets.

  A spokesman declined to say how large the email list is.

  Mr. Trump has floated the idea of creating his own social-media platform. On Tuesday, Mr.
  Trump’s website added a section— titled “From the Desk of Donald J. Trump” —that contains
  his statements with buttons for people to share on Twitter and Facebook. Trump spokesman
  Jason Miller said in a tweet that the site is “not a new social media platform. We’ll have
  additional information coming on that front in the very near future.”




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2/24/23, 11:17 AM                             Trump Copes With Facebook, Twitter Ban by Relying on Email, Media Interviews - WSJ




  Mr. Trump made a speech at a dog-rescue fundraising event at Mar-a-Lago on March 12.
  PHOTO: VALENTINA AVED VIA STORYFUL


  Mr. Trump has done a handful of TV interviews, with Newsmax, One America News Network
  and Fox News, allowing him a broad audience. He has also appeared on podcasts and radio
  shows. In a conversation last week with conservative host Dan Bongino, Mr. Trump suggested
  he is planning to revive his campaign-style rallies, while he continues to tease the idea of
  running for president in 2024.

  He has closely followed the news from his Mar-a-Lago club in Florida, aides say, and has
  regular talks with political advisers. A stream of candidates have visited him in hopes of an
  endorsement. Some are holding fundraisers at the club, in hopes the former president makes
  a personal appearance. Mr. Trump is planning to relocate to his Bedminster golf club in New
  Jersey for the summer.

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2/24/23, 11:17 AM                             Trump Copes With Facebook, Twitter Ban by Relying on Email, Media Interviews - WSJ

  The Trump statements are sent through his official office or political action committee, Save
  America PAC. They read like long versions of his former tweets, full of capital letters,
  exclamation points, boasts about his record in office, attacks on rivals and general musings.

  “What used to be called The Academy Awards, and now is called the ‘Oscars’—a far less
  important and elegant name—had the lowest Television Ratings in recorded history, even
  much lower than last year, which set another record low,” he wrote last week.

  “Why is it that every time the 2020 ELECTION FRAUD is discussed, the Fake News Media
  consistently states that such charges are baseless, unfounded, unwarranted, etc.?” he
  lamented on April 2. “Other than that, Happy Easter!”

  Mr. Trump dictates the messages to an aide, according to two people familiar with the
  process, and the message is reviewed by staff before being sent out. He is given a printed-out
  copy and sometimes makes edits in black marker.

  Some of the emails have generated news, such as one attacking Senate Minority Leader Mitch
  McConnell (R., Ky.) following his criticism of Mr. Trump’s rhetoric leading up to the Jan. 6
  Capitol riot. Despite the Twitter ban, the statements have appeared in tweets from other
  users.

  Republican adversaries are a frequent target, including House GOP Conference Chairwoman
  Liz Cheney of Wyoming, Utah Sen. Mitt Romney and his former national security adviser John
  Bolton.

  The back and forth with Ms. Cheney escalated this week, after Mr. Trump issued an email
  statement calling the 2020 election “THE BIG LIE.” She responded on Twitter that calling the
  election stolen poisons the democratic system, prompting him to call her a “warmonger” who
  polls badly.

  Regardless of the Facebook decision, Mr. Trump appears to have moved on from Twitter,
  which banned him permanently. Speaking on Fox News in late March, he said, “It’s become
  very, very boring.”

  Write to Alex Leary at alex.leary@wsj.com

  Appeared in the May 6, 2021, print edition as 'Former President Turns To Email'.




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2/24/23, 12:52 PM                                                   Trump Has Started Texting - The New York Times

                           https://www.nytimes.com/2023/01/25/us/politics/trump-texting.html



OMG. Trump Has Started Texting.
The former president, averse to leaving records of his communications, had long avoided text and email.
By Jonathan Swan and Maggie Haberman
Jan. 25, 2023                                                                                                                         3 MI N R EAD



One of former President Donald J. Trump’s most consistent personal traits — one that his advisers say has helped keep him out of even
worse legal jeopardy — has been his refusal to communicate by text or email.

Until now.

Mr. Trump, 76, who is heading into his third presidential campaign and is still under scrutiny by investigators on multiple fronts, has at last
become a texter, according to three people with knowledge of his new habit. His messages have recently shown up in the phones of
surprised recipients, they said.

The former president’s resistance to texting frustrated investigators for the House Jan. 6 committee as they tried to track his thoughts and
actions when he worked to overturn the 2020 election. In his testimony before the committee, the former president’s eldest son, Donald
Trump Jr., said he texted the White House chief of staff, Mark Meadows, during the Capitol attack because his father “doesn’t text.”

That changed around the beginning of this year. Friends, confidants and even people not especially close to Mr. Trump began receiving
text messages from his cellphone, most of them described as innocuous, such as new year greetings or political observations. A
spokesman for Mr. Trump declined to comment.

The former president has long been constantly on his phone, but only to talk into it — or, before he was kicked off Twitter, to send streams
of tweets. (The former aide who helped set up his Twitter account once told Politico that when Mr. Trump, who initially relied on aides to
write his posts, began to tweet on his own, it was akin to the scene in the film “Jurassic Park” when the velociraptors learned to open
doors.)

For years, people corresponding with him sent him text messages, which always went unanswered. He was unreachable by email. He
sometimes asked aides to send electronic messages to reporters, referring to the missives as “wires,” like a telegram.

Now, his delayed embrace of what has long been a default mode of communication spanning generations signals not only a willingness to
join in the world of LOL’s and BRB’s but also a small shift from his aversion to leaving paper or electronic trails.

People who have worked for Mr. Trump in the White House and in his private business say he has prided himself on being “smart” for
leaving almost no documentation of his communications and discussions in meetings. That included snatching notes being taken in real
time by a junior legal associate in his offices in the 1990s, when Mr. Trump spotted the man scribbling, according to a consultant working
for him then.

Those who have witnessed firsthand his visceral aversion to record-keeping said they were shocked to learn about his new electronic
habit.

“Has he now also started to take notes?” John R. Bolton, Mr. Trump’s former national security adviser, dryly texted when told about the
former president’s texting.

Mr. Trump upbraided Mr. Bolton, who wrote one of the most searing book-length accounts of the Trump presidency, for taking notes during
meetings.

Mr. Trump also chided Donald F. McGahn II, his first White House counsel, for notes he took. Mr. McGahn, when interviewed by the
special counsel Robert S. Mueller III during the Russia investigation, described informing Mr. Trump that he took notes because he was a
“real lawyer.”

“I’ve had a lot of great lawyers, like Roy Cohn. He did not take notes,” Mr. McGahn recounted Mr. Trump saying, referring to his ruthless
longtime fixer and mentor who became the prototype for what Mr. Trump sought in a lawyer.

The fact that Mr. Trump is now sending texts has caused alarm among some of his associates, who are concerned about what he might say.
Still, they have been relieved about another shift: His phone now sends calls that are not from numbers in his contacts to voice mail,
according to two people familiar with the change.

That shift occurred this month, after an NBC reporter called Mr. Trump directly during Representative Kevin McCarthy’s desperate fight
to be elected speaker of the House. Mr. Trump picked up, giving a brief interview that created some political heartburn for Republicans.

Still unclear is Mr. Trump’s position on emojis.

https://www.nytimes.com/2023/01/25/us/politics/trump-texting.html                                                                             1/1
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2/24/23, 11:21 AM                               Trump Lawyers Appeared Before Grand Jury as Part of Classified-Documents Probe - WSJ

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  POLITICS

  Trump Lawyers Appeared Before
  Grand Jury as Part of Classified-
  Documents Probe
  Evan Corcoran and Christina Bobb’s appearances come as the Justice
  Department ramps up Mar-a-Lago investigation




  Evan Corcoran has represented Donald Trump in dealings with the Justice Department over the classified
  documents.
  PHOTO: MARCO BELLO/AGENCE FRANCE-PRESSE/GETTY IMAGES


  By C. Ryan Barber              Follow       and Alex Leary            Follow
  Updated Feb. 11, 2023 6:57 pm ET
  Two lawyers for Donald Trump appeared before a grand jury last month as part of the special
  counsel investigation into the handling of classified documents and other records discovered at
  the former president’s South Florida residence and private club, according to people familiar
  with the matter.

  Christina Bobb and Evan Corcoran, lawyers who have represented Mr. Trump in dealings with
  the Justice Department over the classified documents, made their appearances in the early
  weeks of January as the special counsel, Jack Smith, ramped up his investigation, the people
  said.


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2/24/23, 11:21 AM                          Trump Lawyers Appeared Before Grand Jury as Part of Classified-Documents Probe - WSJ

  The two have faced scrutiny since last year, when the Federal Bureau of Investigation found a
  cache of classified documents at Mr. Trump’s Mar-a-Lago estate during a court-authorized
  search. In a court filing after that search, the Justice Department said the discovery of
  documents during the Aug. 8 search “cast serious doubt” on a sworn statement Ms. Bobb had
  signed in June attesting that all materials requested by a subpoena to Mr. Trump had been
  turned over to the Justice Department. In fact, more records were later retrieved from the
  property.

  The Justice Department declined to comment.

  Ms. Bobb declined to comment on Saturday. Her grand jury appearance hasn’t previously been
  reported.

  Mr. Corcoran’s appearance was earlier reported by Bloomberg News. He didn’t respond to
  repeated requests for comment.

  Their appearances came as the Justice Department ramped up the investigation into the
  potential mishandling of sensitive records at Mar-a-Lago. Attorney General Merrick Garland
  appointed Mr. Smith, a former public integrity and war crimes prosecutor, in November to
  oversee the dual investigations into the mishandling of classified records and Mr. Trump’s
  efforts to overturn the 2020 election results.




  A cache of classified documents was discovered last year at Donald Trump’s Mar-a-Lago estate.
  PHOTO: JOE RAEDLE/GETTY IMAGES


  In recent weeks, Mr. Smith’s office has moved aggressively with subpoenas to associates of Mr.
  Trump and requests for prompt productions of documents, according to people familiar with
  the investigation. The Wall Street Journal reported Thursday that the special counsel

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2/24/23, 11:21 AM                          Trump Lawyers Appeared Before Grand Jury as Part of Classified-Documents Probe - WSJ

  subpoenaed former Vice President Mike Pence as part of the investigation into efforts to
  overturn the 2020 election.

  Ms. Bobb had previously spoken with federal investigators. In an October interview, Ms. Bobb
  said Mr. Corcoran had assured her that he conducted a thorough search of Mar-a-Lago before
  he asked her to certify that all records requested by a subpoena had been returned, the Journal
  reported. Ms. Bobb at the time insisted on adding language to the certification that said she was
  acting “based upon the information that has been provided to me,” and “to the best of my
  knowledge.” She declined an offer of immunity, saying she didn’t need it, according to people
  familiar with the process.

  Mr. Corcoran handled Mr. Trump’s responses to government requests for the return of records
  from his presidency. He accepted a subpoena requesting those documents, according to court
  records, and was present at Mar-a-Lago in June when federal officials arrived at the West Palm
  Beach estate to collect more materials.

  In May, Mr. Corcoran wrote a letter to the Justice Department asserting that Mr. Trump had
  “readily and voluntarily agreed” to send the materials to the National Archives after the agency
  requested them. In the letter, which was revealed in court filings following the Mar-a-Lago
  search, Mr. Corcoran also warned it was critical that the Justice Department’s steps “not involve
  politics,” and he argued that a president’s actions with classified documents aren’t subject to
  criminal sanction.

  Mr. Corcoran has more recently represented Mr. Trump in legal proceedings related to the
  investigation into mishandling of classified documents at Mar-a-Lago, which is also examining
  potential obstruction of justice. In December, he was observed entering the chambers of Chief
  Judge Beryl Howell for a sealed proceeding related to a grand jury matter.

  A former federal prosecutor, Mr. Corcoran has also represented close allies of Mr. Trump. Last
  year, he defended Mr. Trump’s former strategist Steve Bannon against criminal contempt of
  Congress charges stemming from his defiance of a subpoena issued by the House committee
  that investigated the Jan. 6, 2021, attack on the Capitol. A jury found Mr. Bannon guilty in July.
  Mr. Bannon was later sentenced to four months in prison, but a judge allowed him to remain
  free while Mr. Bannon challenges the criminal conviction in the U.S. Court of Appeals for the
  D.C. Circuit.

  In January, just weeks after his grand jury appearance, Mr. Corcoran appeared on Mr. Trump’s
  behalf in the contempt of Congress case against another onetime Trump White House adviser,

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  Peter Navarro. In a Jan. 23 letter, which was filed in federal court, Mr. Corcoran endorsed Mr.
  Navarro’s decision to rebuff a subpoena from the House Jan. 6 committee by raising executive
  privilege claims.

  Write to C. Ryan Barber at ryan.barber@wsj.com and Alex Leary at alex.leary@wsj.com

  Appeared in the February 13, 2023, print edition as 'Trump Lawyers Appeared Before Grand Jury in Probe'.




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

   IN THE MATTER OF THE SEARCH OF:                        Case No. 23-SC-31
   INFORMATION THAT IS STORED AT
   PREMISES CONTROLLED BY TWITTER                         Under Seal and
   INC. IDENTIFIED IN ATTACHMENT A                        Ex Parte to Government

                                                          Chief Judge Beryl A. Howell

                                   MEMORANDUM OPINION

         For what appears to be the first time in their nearly seventeen-year existence as a company,

  see generally Letter from Counsel for Twitter, Inc. (SEALED), ECF No. 14, Twitter Inc.

  (“Twitter”) seeks to vacate or modify an order, issued under the Stored Communications Act of

  1986 (“SCA”), 18 U.S.C. § 2701 et seq., commanding that the company not disclose the existence

  of a search warrant for a user’s Twitter account, and further seeks to condition any compliance by

  the company with that search warrant on the user (or user’s representatives) first being notified

  about the warrant and given an opportunity to stop or otherwise intervene in execution of the

  warrant. See Twitter’s Mot. to Vacate or Mod. NDO and Stay Twitter’s Compl. with Warrant

  (“Twitter’s Motion”) (SEALED), ECF No. 7; see also Twitter’s Mem. Supp. Twitter Mot.

  (“Twitter Mem.”) (SEALED), ECF No. 7-1. This is an extraordinary request. Twitter denies that

  this action is being taken by the company due to the identity of the targeted Twitter account

  (“Target Account”) or its user, suggesting instead that Twitter regularly engages in challenging

  SCA nondisclosure orders (“NDOs”)—though concededly never before regarding a covert search

  warrant—and assuring the Court that the fact that the user of the Target Account (“the User”) is a

  high-profile public figure is merely coincidence. See Feb. 7, 2023 Hrg. Tr. at 60:9-22 (SEALED)




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  permission to alert the User about the search warrant, the company failed fully and timely to

  comply with the Warrant, in violation of two court orders.

         As explained below, the government has established that, even if strict scrutiny analysis

  applies—which the Court assumes without deciding—the compelling interests of avoiding the

  harms to the criminal investigation, as authorized in § 2705(b), warrant Twitter’s continued

  nondisclosure of the warrant’s existence, and the NDO is the narrowest possible way available to

  protect those compelling government interests. Accordingly, Twitter’s motion to vacate or modify

  the NDO is denied. Moreover, Twitter must pay $350,000 in contempt fines for failing to comply

  with the warrant in a timely manner, a delay for which Twitter bears full responsibility.

  I.     BACKGROUND

         The relevant statutory, factual and procedural background is summarized below.

          A.     Statutory Framework

         The SCA governs how providers of “electronic communications service[s] [“ECS”],” as

  defined in 18 U.S.C. § 2510(15), and “remote computing service [“RCS”]” providers, as defined

  in 18 U.S.C. § 2711(2), may be compelled to supply records related to that service in response to

  a subpoena, court order, or search warrant. As relevant here, the SCA’s §§ 2703(a), (b)(1)(A), and

  (c) provide that the government may obtain contents of communications, as well as non-content

  information and records or other information, about a subscriber or customer of such service, via

  a search warrant. See Id. § 2703(a)-(c). Twitter enables account holders to share and interact with

  electronic content and to send and receive electronic communications with other users, publicly or

  privately, and is indisputably an ECS and RCS provider. See NDO Appl. ¶ 3.

         The SCA is silent as to any obligation of ECS/RCS providers to notify subscribers about

  the providers’ production of records in response to subpoenas, court orders, or search warrants,

  implicitly allowing such notification on a voluntarily basis. Indeed, Twitter promotes a policy of
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 “notify[ing] its users of any requests from law enforcement for account information, particularly

 requests for contents of communications, unless prohibited from doing so.” Twitter Mem. at 1.

 The SCA is explicit, however, in authorizing “governmental entit[ies],” which includes federal

 “department[s] or agenc[ies]” and those of “any State or political subdivision thereof,” 18 U.S.C.

 § 2711(4), to apply for and obtain a judicial order “commanding” a provider of ECS or RCS “to

 whom a warrant, subpoena, or court order is directed, for such period as the court deems

 appropriate, not to notify any other person of the existence of the warrant, subpoena, or court

 order.” Id. § 2705(b). Upon receipt of such an application, the SCA requires that “[t]he court

 shall enter such an order if it determines that there is reason to believe that notification of the

 existence of the warrant, subpoena, or court order will result in” any of five enumerated harms. Id.

 (emphasis added). These enumerated harms broadly cover: “(1) endangering the life or physical

 safety of an individual; (2) flight from prosecution; (3) destruction of or tampering with evidence;

 (4) intimidation of potential witnesses; or (5) otherwise seriously jeopardizing an investigation or

 unduly delaying a trial.” Id. “The explicit terms of section 2705(b) make clear that if a court[]

 finds that there is reason to believe that notifying the customer or subscriber of the court order or

 subpoena may lead to one of the deleterious outcomes listed under § 2705(b), the court must enter

 an order commanding a service provider to delay notice to a customer for a period of time that the

 court determines is appropriate.” Matter of Application of U.S. of Am., 45 F. Supp. 3d 1, 5 (D.D.C.

 2014).

          A service provider is authorized to move “promptly” to quash or modify an order for

 disclosure of the contents of communications, such as the warrant at issue here, under two specific

 circumstances: first, “if the information or records requested are unusually voluminous in nature,”

 18 U.S.C. § 2703(d), or, second, “compliance with such order otherwise would cause an undue



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  burden on such provider,” id. Twitter does not contend that either of those circumstances are

  present here. The SCA is notably silent in providing any statutory authorization for a service

  provider to challenge an NDO. Instead, in a mechanism designed to encourage compliance with

  NDOs and minimize litigation, particularly during an ongoing criminal investigation when SCA

  authorities are employed by law enforcement, the SCA expressly relieves providers from any

  liability on any claim in any court for disclosing their customer’s information in compliance with

  an SCA order. See id. § 2703(e) (“No cause of action shall lie in any court against any provider

  of wire or [ECS], its officers, employees, agents, or other specified persons for providing

  information, facilities, or assistance in accordance with the terms of a court order, warrant,

  subpoena, statutory authorization, or certification under this chapter.”).

          B.     The Search Warrant and NDO At Issue

         On November 18, 2022, Attorney General Merrick Garland announced the appointment of

  Jack Smith to serve as Special Counsel to oversee two ongoing criminal investigations into

  (1) unlawful interference with the transfer of power following the 2020 presidential election,

  including certification of the Electoral College vote held on January 6, 2021, (“the January 6th

  Investigation”), and (2) unlawful retention of classified documents and possible obstruction (“the

  Classified Documents Investigation”). See “Appointment of a Special Counsel,” Department of

  Justice (Nov. 18, 2022), available at https://www.justice.gov/opa/pr/appointment-special-counsel-

  0 (last visited on Mar. 2, 2023). As part of the January 6th Investigation, on January 17, 2023, the

  government applied for, and the Court issued, based on an affidavit establishing probable cause to

  believe the Target Account contains evidence of criminal activity, a search warrant to search the

  Target Account and seize responsive records




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 of the Warrant were submitted to Twitter, consisting of the Warrant with Attachment A and part

 of Attachment B. See Gov’t’s Ex Parte Opp’n, Ex. A. (SEALED), ECF No. 22-1; see also Feb.

 7, 2023 Hrg. Tr. at 9:1-19 (same). Twitter has thus never been privy to the remaining parts of

 Attachment B to the Warrant, the Warrant Affidavit or Application, nor even the Application for

 the NDO. Twitter Mem. at 1 (conceding “Twitter has not seen” the ex parte application for the

 NDO); Feb. 7, 2023 Hrg. Tr. at 9:1-19 (government counsel agreeing that Twitter has only seen

 the warrant, Attachment A, and Part 1 of Attachment B).

          The government’s initial service attempts on Twitter failed twice, with the government’s

 receipt both times of an automated message indicating that Twitter’s “page [was] down.” Gov’t’s

 Mot. at 2 (alteration in original). On January 19, 2023, the government was finally able to serve

 Twitter through the company’s Legal Requests Submissions site. Id.

          Twitter, however, somehow did not know of the existence of the Warrant until January 25,

 2023—two days before the Warrant returns were due. That day, the government contacted Twitter

 about the status of the company’s compliance with the Warrant, and Twitter’s Senior Director of

 Legal,                        , “indicated she was not aware of the Warrant but would consider it a

 priority.” Id.; see also Decl. of                         , Senior Director of Legal for Twitter

 (“        Decl.”) ¶ 2 (SEALED), ECF No. 9-1. The government indicated that “they were looking

 for an on time production, in two days[,]” to which         responded, “without knowing more or

 taking any position that would be a very tight turnaround for us.”                Decl. ¶ 2. The

 government sent the six pages of the Warrant and the NDO directly to            later that evening.

 Meanwhile,             directed Twitter’s personnel to preserve data available in its production

 environment associated with the Target Account, and “have confirmed that the available data was

 preserved.” Id. ¶ 4.



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         Twitter notified the government in the evening of January 26, 2023, that the company

  would not comply with the Warrant by the next day, id. ¶ 5, and responded to the government’s

  request for more specific compliance information, by indicating that “the company was prioritizing

  the matter and taking it very seriously” but that       had the Warrant and NDO only “for two

  days,” id. ¶ 8, even though the government had tried to submit the Warrant and NDO through

  Twitter’s Legal Requests Submissions site nine days earlier. The Warrant’s deadline for

  compliance makes no exception for the provider’s failure to have a fully operational and

  functioning system for the timely processing of court orders.

         On January 31, 2023, Twitter indicated for the first time that the company would not

  comply with the Warrant without changes to the NDO, stressing as “essential to Twitter’s business

  model (including [its] commitment to privacy, transparency, and neutrality) that [Twitter]

  communicate with users about law enforcement efforts to access their data.” Id. ¶ 10. Referencing

  that “on occasion, [Twitter has] challenged nondisclosure orders,”          asserted that the NDO

  “did not . . . meet[] the factors outlined in § 2705(b), given the intense publicity around the

  investigation.” Id. In a subsequent conversation with government counsel,         made clear that

  “Twitter’s position would be that we should not produce until we resolved our questions as to the

  NDO.” Id. ¶ 12.

                 2.     Government and Twitter’s Cross Motions

         Given Twitter’s refusal to comply with the Warrant unless and until its condition was met

  allowing disclosure of the Warrant to the Target Account user (or user’s representatives), on

  February 2, 2023, the government moved for an Order to Show Cause “why Twitter Inc. should

  not be held in contempt for its failure to comply with the Warrant.” Gov’t’s Mot. at 1. The

  government explained Twitter had no basis for refusing to comply with the Warrant, pointing out

  that the Warrant and NDO were different court orders, so Twitter could “not delay, to an unknown
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  future date, compliance with the Warrant by challenging the NDO,” id. at 3, and arguing that

  neither “the Warrant itself nor Section 2703 provide for intervention by a third party before

  compliance with the Warrant is required,” id.

          The same day, Twitter filed its motion to vacate or modify the NDO and stay compliance

  with the Warrant, arguing that the requested stay was required to “(1) prevent irreparable injury to

  Twitter’s interests that would occur if production under the Warrant were required prior to

  resolution, and (2) to preserve the status quo as to the user’s interest in potentially seeking to assert

  privilege or otherwise curtail derivative use of potentially privileged communications.” Twitter

  Mem. at 3. Twitter highlighted that the Target Account’s User could, in theory, exert a privilege

  over his private communications on Twitter (through direct messages with other users), and should

  have the opportunity to exert privilege prior to Twitter turning over the information to the

  government. Id. at 12–14

          The parties were directed to confer and propose a briefing schedule for the pending

  motions, Min. Order (Feb. 2, 2023) (SEALED), and the schedule proposed by the government was

  ultimately adopted, see Min. Order (Feb. 3, 2023) (SEALED).

                  3.    Hearing on and Resolution of Government’s Motion For Order To
                  Show Cause

          At a hearing held on February 7, 2023 on the government’s motion, see Minute Entry (Feb.

  7, 2023) (SEALED), Twitter conceded that: (1) the company had no standing to assert any

  privilege by any of its users, including the Target Account’s User, Feb. 7, 2023 Hrg. Tr. at 66:3-

  4; accord Twitter Opp’n Mot. Ord. Show Cause at 3 (“Twitter Opp’n”) (SEALED) (same), ECF

  No. 9 (SEALED); (2) the company had no confirmation that the Target Account’s User wanted or

  would seize on any opportunity to assert any privilege if such opportunity were provided, see Feb.

  7, 2023 Hrg. Tr. at 54:11-25; and (3) the company was operating on a mere sliver of the


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  information presented to the Court in support of issuance of the Warrant and the NDO, see id. at

  48:15-19.

         Nevertheless, Twitter argued that “producing the requested information prior to allowing

  it the opportunity to alert the [Target Account’s User] would irreparably injure its First

  Amendment rights.” Id. at 65:10-14. This argument was rejected for both practical and logistical

  reasons as well as legal grounds. If accepted, Twitter’s argument would invite repeated litigation

  by Twitter and other ECS providers to challenge NDOs in order to alert users to SCA orders,

  particularly for high profile, highly placed users, such as current or former government officials,

  with whom the providers might want to curry favor, with concomitant and inevitable delays in

  execution of SCA orders and resultant frustration in expeditiously conducting criminal

  investigations. See id. at 65:14-20. As a legal matter, the NDO was a wholly separate order from

  the Warrant, with different standards applicable to issuance of each.

         These concerns had been well articulated by another court in a similar situation of being

  confronted with a government motion to compel compliance with an SCA warrant and an ECS

  provider simultaneously seeking to challenge an NDO, and capsulized this Court’s decision to

  grant the government’s motion because the “public interest is served by prompt compliance with

  the [W]arrant” because “any challenge to a NDO is separate from a challenge to a search warrant

  [since] any further delay on the production of the materials responsive to the Warrant increases the

  risk that evidence will be lost or destroyed, heightens the chance the targets will learn of the

  investigation, and jeopardizes the government’s ability to bring any prosecution in a timely

  fashion.” Id. at 66:11-17 (paraphrasing Google v. United States, 443 F. Supp. 3d 447, 455

  (S.D.N.Y. 2020)).




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         In response to the Court’s direct question, Twitter’s counsel represented that the company

  was prepared to and could comply with the Warrant by 5:00 PM that day. See Feb. 7, 2023 Hrg.

  Tr. at 63:16-19 (THE COURT: Okay. Can Twitter produce the [W]arrant returns by 5 p.m. today?

  MR. VARGHESE: I believe we are prepared to do that. Yes, Your Honor.”). The government

  requested that if Twitter failed to comply with the Warrant by 5:00 PM that day, an escalating

  sanction should be imposed, starting at a sanction of $50,000, an amount that should “double each

  day thereafter.” Id. at 33:6-22; see also id. at 33:2-5 (the Court noting that the company “was

  bought for $40 billion, and the CEO, sole owner is worth . . . over $180 billion”); Gov’t’s Reply

  Supp. Mot. Order Show Cause (“Gov’t’s Reply”) at 10 (SEALED), ECF No. 11 (requesting

  “escalating daily fines” for continued noncompliance by Twitter with the Warrant, at an amount

  “commensurate with the gravity of Twitter’s non-compliance and Twitter’s ability to pay”). With

  Twitter’s assurance of full compliance by close of business that day, and given Twitter’s already

  tardy compliance with the Warrant, the Court ordered Twitter to comply with the Warrant by 5:00

  p.m. that day or be held in contempt and subject to a fine of $50,000, to double every day of

  continued non-compliance with the Warrant. See Min. Order (Feb. 7, 2023) (“Show Cause

  Order”) (SEALED).

                4.      Twitter Fails To Comply Timely With Court’s Show Cause Order

         Despite representing that the company would and could comply with the Warrant by 5:00

  p.m. on February 7, 2023—by that point, nearly two weeks late—Twitter failed timely to comply

  with the Show Cause Order. Gov’t’s Notice Re. Twitter’s Non-Compliance with the Warrant

  (SEALED), ECF No. 25. The government explained that prior to 5:00 PM on February 7, “Twitter

  made a production to the [g]overnment,” but “[i]n a follow up call on February 8, counsel for

  Twitter identified certain information that may (or may not) exist in their holdings and that had

  not been produced to the [g]overnment.” Id. Twitter made another production on February 9, and
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 in a subsequent call, alerted the government that further productions were expected, though the

 company could not provide a timeframe when “all materials responsive to the Warrant would be

 produced.” Id. The government accordingly requested a prompt in-person hearing that day

 regarding Twitter’s continued failure to fully comply with the Warrant. Id.

         At a hearing held later on February 9, 2023, see Minute Entry (Feb. 9, 2023); Feb. 9, 2023

 Hrg. Tr. 4:1-5 (SEALED), the Court reviewed with Twitter each part of Part I of Attachment B to

 the Warrant to assess the extent of compliance and noncompliance by identifying the responsive

 records Twitter had yet to produce. See Feb. 9, 2023 Hrg. Tr. at 6:1–48:20. During this process,

 Twitter raised questions for the first time about certain requests, demonstrating that the company

 had failed to confer effectively with the government. See, e.g., Feb. 9, 2023 Hrg. Tr. at 5:1-7

 (government counsel commenting about Twitter “attempting to cabin one of the requests in the

 warrant,” during a call earlier on February 9); id. at 18:25–19:4 (government counsel explaining

 that “[t]his is the first time I have heard a complaint about a date limitation on 1H”); id. at 31:21-

 24 (government counsel, stating, “What [the government was] told was that there was one

 preservation done of the entire history of the account on January 11th. This is the first time we are

 hearing about another preservation between January 3rd and January 9.”); id. at 30:2-22, 31:25–

 32:3 (after Twitter counsel explained that they were collecting data on potentially responsive

 “fleets,” i.e. “vanishing tweets,” government counsel responded, “I have never heard of ‘fleets’ in

 part of any discussion that we have had. I don’t know if that is information in this account; it may

 or may not be. It still will be relevant, it still will be responsive.”).

         After a line-by-line review of Twitter’s responsive and not yet completed productions to

 the Warrant, Twitter promised to provide an update to the government, by 4:00 PM that day,

 explaining what responsive records were left to produce and when production would be completed.



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  Id. at 48:21-24. At the end of the hearing, the Court instructed the government to calculate the

  total penalty for Twitter’s failure to comply with the Show Cause Order by the 5:00 p.m. deadline

  on February 7, and submit notice of the same to the Court. Id. at 49:5-14.

         The government supplied notice, on February 13, 2023, see Gov’t’s Not. Re. Accrued

  Sanction (“Government Notice”) (SEALED), ECF No. 19, that Twitter advised the government,

  at 8:28 p.m. on February 9, 2023, that “it believed ‘Twitter’s obligations under the Warrant and

  the Court’s order were complete.’” Id. at 1–2. With respect to the fine amount, the government

  calculated that Twitter owed “$350,000, payable to the Clerk of the Court.” Id. at 2 (“By the terms

  of the Court’s order, Twitter was in contempt as of 5:00 p.m. on February 7, 2023, at which point

  a $50,000 sanction came into effect. An additional amount of $100,000 accrued at 5:00 p.m. on

  February 8, 2023, since Twitter still had not fully complied with the Warrant as of that time. And

  at 5:00 p.m. on February 9, 2023, an additional amount of $200,000 accrued.”).

         Twitter disputes that any sanction is appropriate, see Twitter Not. Re. Appl. Of Sanctions

  at 1 (“Twitter Notice”) (SEALED), ECF No. 18, because the company acted in good faith to

  comply speedily after the February 7 hearing, and the government bears the fault for production

  delays due to the government’s nonstandard requests combined with the government delaying

  clarifying the scope of the Warrant’s requirements. See generally id.

  II.    DISCUSSION

         Twitter’s motion asserts that the NDO violates its First Amendment right to inform the

  Target Account’s User of the existence of the Warrant, and accordingly requests the NDO be

  modified to allow notification to that User (or his authorized representatives). See Twitter Mem.

  at 2–3. The government opposes Twitter’s motion, with both a sealed opposition shared with

  Twitter and in an ex parte filing. See Gov’t’s Ex Parte Opp’n; Gov’t’s Sealed Opp’n Twitter’s



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  Mot. to Vacate or Modify NDO (SEALED), ECF No. 22. As discussed below, Twitter’s motion

  is denied and sanctions are appropriately levied here.

          A.     Twitter’s Challenge to the NDO Is Without Merit

         Twitter asserts that the NDO “constitutes a content-based prior restraint on [its] speech,”

  and the government’s interests in keeping the Warrant secret cannot “satisfy strict scrutiny in light

  of the significant publicity surrounding the Department of Justice’s criminal investigation into the”

  January 6th Investigation and the Classified Documents Investigation. Twitter Mem. at 2. Claims

  under the Free Speech Clause of the First Amendment, U.S. CONST. AMEND. I, are analyzed in

  three steps: (1) “whether the activity at issue is protected by the First Amendment[;]” (2) “whether

  the regulation at issue is content based or content neutral, i.e., if it applies to particular speech

  because of the topic discussed or the idea or message expressed[;]” and (3) whether the

  government’s justifications for restricting the plaintiff’s speech satisfy the relevant standard, i.e.,

  strict or intermediate scrutiny. Green v. United States Dep't of Just., 54 F.4th 738, 745 (D.C. Cir.

  2022) (cleaned up). Strict scrutiny requires that the government show its restriction on speech is

  “narrowly tailored to serve compelling state interests.” Reed v. Town of Gilbert, 576 U.S. 155,

  163 (2015). “If a less restrictive alternative would serve the Government’s purpose, the legislature

  must use that alternative.” United States v. Playboy Entm’t Grp., Inc., 529 U.S. 803, 813 (2000).

         As to the first step, Twitter correctly points out that “the government does not seriously

  contest that Twitter has a First Amendment interest in informing its user of the Warrant, nor that

  the Non-Disclosure Order operates as a prior restraint on such speech[.]” Twitter Reply Supp.

  Mot. to Vacate or Modify NDO (“Twitter Reply”) at 1 (SEALED), ECF No. 27. Other courts have

  concluded, and this Court so finds here, that a nondisclosure orders issued under the authority of

  the SCA’s § 2705(b) “implicate First Amendment rights because they restrict a service provider’s

  speech” and “also constitute[] prior restraint, a characterization typically used to describe ‘judicial
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 orders forbidding certain communications when issued in advance of the time that such

 communications are to occur.’” Matter of Subpoena 2018R00776, 947 F.3d 148, 155 (3d Cir.

 2020) (“Matter of Subpoena”) (quoting Alexander v. United States, 509 U.S. 544, 550 (1993));

 see also Google, 443 F. Supp. 3d at 452; In re Info. Associated with E-Mail Accts., 468 F. Supp.

 3d 556, 560 (E.D.N.Y. 2020) (“In re E-Mail Accounts”); Matter of Search Warrant for

 [redacted].com, 248 F. Supp. 3d 970, 980 (C.D. Cal. 2017) (collecting cases).

        With respect to the second step, no decision from this Court, the D.C. Circuit, or the

 Supreme Court has established whether strict scrutiny or intermediate scrutiny applies when an

 ECS provider challenges a nondisclosure order issued pursuant to the SCA’s § 2705(b). On the

 one hand, a nondisclosure order is a content-based restriction on speech, and content-based

 restrictions are normally evaluated under strict scrutiny. Green, 54 F.4th at 745 (“[W]e apply . . .

 strict scrutiny for content-based statutes[.]”); see also In re Nat’l Sec. Letter, 33 F.4th 1058, 1072

 (9th Cir. 2022) (applying strict scrutiny to a nondisclosure requirement because it “is content based

 on its face” since “the nondisclosure requirement prohibits speech about one specific issue”). At

 the same time, in this context, a “nondisclosure requirement” is “not a typical example of such a

 restriction for it is not a restraint imposed on those who customarily wish to exercise rights of free

 expression, such as speakers in public fora, distributors of literature, or exhibitors of movies.”

 John Doe, Inc. v. Mukasey, 549 F.3d 861, 876 (2d Cir. 2008).               Indeed, considering that

 nondisclosure orders tend to be narrow in scope, limited to their accompanying orders or warrants

 and the facts surrounding them, good reasons exist to subject such orders only to intermediate

 scrutiny instead of the exacting requirements of strict scrutiny.          See id. at 876 (“[T]he

 nondisclosure requirement is triggered by the content of a category of information . . . is far more




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  limited than the broad categories of information that have been at issue with respect to typical

  content-based restrictions.”).

         The strict-scrutiny debate need not be resolved here. Assuming, without deciding, that

  strict scrutiny applies to nondisclosure orders, the NDO at issue here survives strict scrutiny review

  as a narrowly tailored restriction for which no less restrictive alternative is available that would be

  at least as effective in serving the government’s compelling interests.

                 1.      The NDO serves a compelling government interest

         The government says that the NDO safeguards “the integrity and secrecy of an ongoing

  [criminal] investigation”                                                        . Gov’t’s Ex Parte

  Opp’n at 14–15. According to the government, these secrecy interests are particularly salient here

  because

                        based on the evidence outlined in its ex parte opposition. Id. at 15; see also

  supra at n. 4, infra n.6, and associated text

         The government is correct. For starters, “[m]aintaining the integrity of an ongoing criminal

  investigation is a compelling governmental interest.” In re E-Mail Accounts, 468 F. Supp. 3d at

  560; see also United States v. Smith, 985 F. Supp. 2d 506, 545 (S.D.N.Y. 2013) (“[T]he

  [g]overnment has demonstrated that there is good cause for a protective order because of its

  compelling interest in ongoing investigations into potentially serious criminal conduct that could

  be jeopardized by dissemination of the discovery.”); Matter of Subpoena 2018R00776, 947 F.3d

  at 156 (“The government's interest is particularly acute where, as here, the investigation is

  ongoing.”). That compelling interest here is magnified by the national import of the January 6th

  investigation into conduct that culminated in a violent riot at the U.S. Capitol on January 6, 2021,

  and the disruption of the Joint Session of Congress to certify the results of the 2020 presidential

  election. Ferreting out activity intended to alter the outcome of a valid national election for the
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 leadership of the Executive Branch of the federal government, which activity undermines

 foundational principles of our democracy, and assessing whether that activity crossed lines into

 criminal culpability, presents as compelling a governmental interest as our very national security.

 See Haig v. Agee, 453 U.S. 280, 307 (1981) (quotation marks omitted) (“It is obvious and

 inarguable that no governmental interest is more compelling than the security of the Nation.”); see

 also Gov’t’s Opp’n at 14 (“And that interest is all the more compelling where the investigation

 concerns an effort to overturn the results of an election and thwart the transfer of presidential

 power—an effort that culminated in a mob attack on the United States Capitol as lawmakers sought

 to carry out their constitutional and statutory obligation to certify the Electoral College results.”).

        Additionally, the government has a strong interest in maintaining the “confidentiality of

 [its] investigative techniques and [not] cause the subjects of other investigations to change their

 conduct to evade detection and otherwise thwart future investigations of similar allegations.” Cf.

 In re Los Angeles Times Commc’ns LLC, No. MC 21-16 (BAH), 2022 WL 3714289, at *8 (D.D.C.

 Aug. 29, 2022) (quotation marks omitted) (holding that these weighty law enforcement interests,

 in the context of an application to unseal court records under the common-law right of public

 access to judicial records, weighed in favor of continued sealing of certain search-warrant

 materials). Thus, the SCA deems certain factors to be sufficiently compelling to justify issuance

 of a nondisclosure order based on reason to believe that disclosure otherwise would pose a risk of

 destruction or tampering with evidence, intimidation of witnesses, or “otherwise seriously

 jeopardizing an investigation or unduly delaying a trial.” 18 U.S.C. § 2705(b)(3)-(5). In short,

 maintaining the confidentiality of the government’s criminal investigation into any efforts

                                              to overturn the 2020 election to ensure that all those

 responsible and criminally liable, or not, are identified and that relevant documentary and



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 testimonial evidence is both preserved and collected, without spoliation, alteration or tampering,

 plainly serves compelling government interests.

        Twitter disagrees. In Twitter’s view, “the government cannot credibly show that the

 [NDO] . . . serves a compelling governmental interest,” citing “the voluminous publicly available

 information about the investigation,” Twitter Mem. at 8; id. at 9-10 (describing, inter alia, media

 reports about witnesses “subpoenaed to testify before a federal grand jury” and the appointment of

 Special Counsel Jack Smith); see also Twitter Opp’n at 13 (arguing that public revelation of the

 search and seizure Warrant at issue here would pose “no credible risk” because “the publicity

 surrounding the investigations” being conducted by Special Counsel Jack Smith “is widespread

 and unprecedented,” making this investigation “wholly distinct from any typical covert law

 enforcement investigation where the targets are unaware of the government’s activities”). With

 this perception of “no credible investigative reasons to bar disclosure [] of the existence of the

 Warrant,” Twitter urges that the Target Account’s User be alerted to the Warrant so he “may raise

 whatever concerns he has, if any, for determination by this Court in a full adversarial proceeding.”

 Twitter Mem. at 14. While Twitter denies taking any position “on the applicability of [any]

 privilege or the validity of the Warrant,” Twitter Opp’n at 1 (“Twitter is not taking a position

 . . . .”); id. at 7 (“Twitter takes no position on the applicability of [] privilege as to these

 communications in this circumstance.”), Twitter’s real objection then is that the government is

 proceeding covertly with a criminal investigation when, in the company’s view, any privilege issue

 “should be resolved through a full adversarial process involving the real parties in interest, not

 through an ex parte secret filing.” Id. at 8; Twitter Mem. at 2 (“Allowing Twitter . . . to notify the

 account holder would afford the user . . . an opportunity to address the legal issues surrounding a




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  demand for [ ] communications in this unique context, and give this Court a full adversarial process

  in which to evaluate them.”).

           Twitter makes this demand for an adversarial assessment of privilege issues as a condition

  of complying with the Warrant, despite not being privy to the full Warrant,

                                                                                     , let alone the other proffered

  evidence presented to the Court in issuing the Warrant and the NDO. See Feb. 7, 2023 Hrg. Tr. at

  9:20–10:19. Put another way, Twitter is taking the extraordinarily aggressive position as a service

  provider to demand that a covert step taken in an ongoing grand jury and criminal investigation be

  made public, at least to the account user, before complying with a court order, notwithstanding the

  informational void on which it stands.

           Despite the fact that Twitter has been privy to only a sliver of the government

  documentation underlying the Warrant and NDO, and thus is quite ignorant of details about and

  the scope of the government’s current investigation into unlawful interference with the transfer of

  power following the 2020 presidential election and                                                            in such

  illegal activity, the company nonetheless boldly contests any compelling interest the government

  may have in continuing to conduct its investigation covertly, bolstered by the NDO, for three

  reasons, each of which is meritless. First, Twitter challenges each of the government’s articulated

  justifications for the NDO under Section 2705(b), arguing that because some aspects of the

  investigation are publicly known, it “strains credulity to believe” that providing the Warrant to the

  Target Account’s User will “alter the current balance of public knowledge in any meaningful way”

  since that disclosure would at most be “incremental.” Twitter Mem. at 11. 5 For instance, the


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           In support, Twitter cites news articles discussing the existence of the government’s investigations and certain
  public steps the government has taken as part of its investigations or courthouse citing of witnesses. Twitter Mem. at
  9–11; see also Twitter Opp’n, Ex. B (SEALED), ECF No. 9-2 (culling eighty pages of similar articles discussing the
  investigations); Twitter Reply at 5–6 (identifying several members of former president’s administration that have been

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  company argues that disclosure of the Warrant is not likely to prompt “the destruction of other

  evidence,” Twitter Reply at 4 (emphasis in original), because the public and the User know that

  the User is under investigation for any involvement in interfering “with Congress’s certification

  of the presidential election on January 6,” id. Nor would it be reasonable, Twitter asserts, “to

  conclude that disclosure of this Warrant in particular would spur witness intimidation in view of

  that which is already well known about this investigation’s seizure of electronic communications,”

  or that the investigation would be seriously jeopardized because the Attorney General “confirmed

  the investigation, its scope, and the identity of the target” to the country. Id. at 7–8.

           Twitter misapprehends the risks of disclosure here. For one thing, without being privy to

  any non-public information about the investigation, including the full Warrant, Warrant

  Application and Affidavit, and NDO Application submitted to the Court, Twitter is simply in no

  position to assess how much of the media reports and general public information about the

  investigation are accurate and how limited that information may be compared to what is known to

  investigators. Put bluntly, Twitter does not know what it does not know.

           More importantly, Twitter’s argument is unmoored from the realities of what disclosure

  would mean here. As the government observes, Gov’t’s Ex Parte Opp’n at 16, Attachment B to

  the Warrant provides significant insight into the type and nature of information that the

  government requested and targets a key social media account. No public reporting has, thus far,

  indicated execution of search warrants for the contents of the User’s personal electronic

  communications and records, even if the User is aware of the general contours of the government’s




  subpoenaed or compelled to testify, including former vice president Pence, the former president’s daughter and advisor
  Ivanka Trump and her husband Jared Kushner, his former chief of staff Mark Meadows, and others). Twitter also
  observes that government has itself “confirmed it has seized and is reviewing the email accounts of [the former
  president’s] associates as part of the investigation.” Twitter Reply at 9 (citing In re Application of the N.Y. Times Co.
  & Charlie Savage, 2023 WL 2185826 (D.D.C. Feb. 23, 2023) (“In re N.Y. Times”)).

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  investigation. Specific identification of the Warrant could prompt witnesses, subjects, or targets

  of the investigation to destroy their communications or records, including on Twitter or other social

  media platforms, and could lead the User to ratchet up public and private pressure on others to

  refuse to be cooperative with the government, or even to engage in retaliatory attacks on law

  enforcement and other government officials that have real world and violent consequences. This

  is not a “conclusory” harm Twitter dismisses out of hand based on its limited information, but

  rather could “endanger the life or physical safety of” government officers or “otherwise seriously

  jeopardiz[e]” the government’s investigation. See 18 U.S.C. §§ 2705(b). Permitting Twitter to

  alert the Target Account’s User of the Warrant may prompt a response to this new investigative

  scrutiny of the User’s conduct that could very well result in one of the enumerated harms set out

  in Section 2705(b).

         Twitter points to “‘the partial unsealing of two judicial decisions resolving filter team

  motions’” in relation to one of Special Counsel Smith’s investigations, Twitter Reply at 9 (quoting

  In re N.Y. Times, 2023 WL 2185826 *15), but this is both unpersuasive and supports maintaining

  the NDO. The two unsealed judicial decisions addressed review of the contents of email accounts

  that are not those of the Target Account’s User, so the unsealing of those decisions raise entirely

  different risk assessment contexts than here. Furthermore, this Court’s decision in In re N.Y. Times

  makes clear that “reliance on and deference to the government is necessary” when considering

  whether the release of grand jury materials might harm the government’s investigation because

  “courts are not made aware of the full scope of materials presented to the grand jury and therefore

  are not best positioned to execute redactions[.]” Id. at *9. As Twitter correctly notes, the Warrant

  exists outside the grand jury context—though Warrant returns may be presented to the grand jury

  and to that extent become “a matter occurring before the grand jury,” subject to secrecy, under



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 455, and that harm plainly outweighs a temporary denial of Twitter’s ability to speak to its user

 about the existence of the Warrant. In any event, no matter the privileges the Target Account’s

 User may hold, what matters for purposes of the First Amendment is whether the government has

 established that the NDO is narrowly tailored to serve a compelling government interest to keep

 the Warrant confidential. The government’s interests here are plainly compelling. See supra at

 nn. 4, 6, and associated text.

        Third, as a last-ditch argument, Twitter says that the government “was required to make

 the requisite showing prior to the [NDO] being signed[,]” and any new, “secret rationale” should

 be rejected as a “post hoc rationalization[.]” Twitter Reply at 13. Twitter’s argument is both

 factually and legally flawed. The government’s argument is not a post hoc rationalization because

 the Warrant Affidavit, which was considered simultaneously with the NDO Application, provides

 ample reason justifying the NDO. Furthermore, Twitter cites no decision in which an NDO has

 been vacated because the government offered additional evidence to support that order when

 challenged. See, e.g., John Doe, 549 F.3d at 881 n. 15 (noting that the court permitted the

 government “to amplify its grounds for nondisclosure in a classified declaration submitted ex parte

 . . . and made available for [the court’s] in camera review”).

        The case Twitter relies on to assert that the government cannot provide new support for the

 NDO “that [was] not offered at the time the government first sought the” order, Twitter Reply at

 13 (citing City of Lakewood v. Plain Dealer Publ’g Co., 486 U.S. 750, 758 (1988) (“Lakewood”)),

 is entirely inapposite. Lakewood addressed a facial challenge to a city ordinance that gave

 unbridled discretion to the mayor to issue permits for placement of news racks on public property.

 Id. at 753–54. The Court struck down the ordinance, because, without objective standards for

 determining whether a permit should issue, impermissible, content-based rejections could be



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  disguised by “post hoc rationalizations, . . . making it difficult for courts to determine in any

  particular case whether the licensor is permitting favorable, and suppressing unfavorable,

  expression.” Id. at 758. Unlike in Lakewood, the government here does not possess unbridled

  discretion to silence ECS/RCS providers when applying for an NDO. Rather, an NDO may issue

  when, as here, the government has adduced evidence to demonstrate to the Court that notifying

  the customer or subscriber of the court order or subpoena may lead to one of the deleterious

  outcomes listed under § 2705(b).

                 2. The NDO is narrowly tailored

         In the strict-scrutiny context, which is assumed to apply here, the narrow-tailoring

  requirement is a least restrictive–means test.     This test requires that “[i]f a less restrictive

  alternative for achieving that interest exists, the government ‘must use that alternative.’” Pursuing

  Am.’s Greatness v. Fed. Election Comm’n, 831 F.3d 500, 510 (D.C. Cir. 2016) (quoting Playboy

  Entm’t Grp., 529 U.S. at 804). The less restrictive alternative must “be at least as effective in

  achieving the legitimate purpose that the [government action] was [taken] to serve.” Reno v. Am.

  Civil Liberties Union, 521 U.S. 844, 874 (1997); see also McCullen v. Coakley, 573 U.S. 464, 495

  (2014) (same). The government explains, correctly, that the NDO is narrowly tailored because:

  (1) “The scope of speech regulated by the NDO is extremely narrow” since the NDO only

  “prohibits Twitter from disclosing the existence or contents of the Warrant” and “is limited to 180

  days[,]” Gov’t’s Opp’n at 17–18; and (2) notifying the user or his representatives is untenable

  because it would be ineffective in maintaining the confidentiality of its investigation, leading to

  the harms described above, see id. at 18–19.

         Courts have routinely found that non-disclosure orders satisfy the narrow-tailoring

  requirement under strict scrutiny so long as the orders are limited in scope and time, and notifying

  the subject of the investigation, or any other authorized person, would not satisfy the government’s
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  compelling interest in maintaining the confidentiality of its investigation. For example, in Google

  v. United States, the court held the nondisclosure order in that case was narrowly tailored because

  “it prohibit[ed] only the disclosure of the existence of the Warrant and of the investigation[,] . . .

  [and it was] also limited to a one-year time period.” 443 F. Supp. 3d at 453. The government

  satisfied the least-restrictive-means requirement by demonstrating that notifying “the person or

  entity to whom the warrant is directed . . . would result in at least one of [§ 2705(b)’s] five

  enumerated harms” based on the government’s lengthy ex parte “affidavit setting out . . .why

  premature disclosure of the warrant and the existence of the investigation could reasonably lead to

  the destruction of or tampering with evidence and intimidation of potential witnesses, thus making

  information inaccessible to investigators, and how the disclosure could seriously jeopardize the

  ongoing investigation.” Id.; see also in re E-Mail Accounts, 468 F. Supp. 3d at 561–62 (rejecting

  a similar First Amendment challenge to a one-year NDO as to a warrant and existence of the

  investigation because the government’s ex parte affidavit showed “there was a risk that other

  employees, including higher-ups, were involved in the conspiracy[,]” such that notifying the

  company of the existence of the warrant could lead to one of the numerated harms under Section

  2705(b) and “jeopardize [the government’s] investigation”).

          The NDO is narrowly tailored for the same reasons articulated in Google and In re E-mail

  Accounts. First, the NDO here is even more narrow in scope and time duration than those at issue

  in Google and In re E-mail Accounts: the subject matter Twitter is barred from speaking about is

  limited to the Warrant’s contents and existence, and does not impinge at all on the company

  speaking to the public about the general subject of the January 6th Investigation. Plus, the NDO

  applies for 180 days, which is half the duration of the year-long NDOs at issue in Google and In

  re E-Mail Accounts. Second, the NDO presents the least-restrictive means for the government to



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  satisfy its compelling interests here because notifying the User or his representatives of the

  Warrant’s existence would, for the reasons explained above, likely result in the enumerated harms

  outlined in 2705(b). See supra at nn. 4, 6, and associated text; see also Google, 443 F. Supp. 3d

  at 453; in re E-Mail Accounts, 468 F. Supp. 3d at 561–62.

           Twitter does not dispute that the NDO is narrow in scope and in time. Instead, Twitter

  posits that purportedly narrower alternatives could be adopted to preserve the company’s

  “[e]ssential First Amendment [r]ights.” Twitter Mem. at 14. Twitter’s suggestions are untenable,

  however, and do not come close to satisfying the government’s interests in maintaining

  confidentiality about this covert investigative Warrant. First, Twitter’s suggestion that notifying

  “just its user” plainly fails because this would likely result in the statutory harms outlined in

  § 2705(b) for the reasons outlined above. See supra at nn. 4, 6, and associated text. Second,

  Twitter suggests notifying certain of the User’s representatives, Twitter Mem. at 14–15; Twitter

  Reply at 16, but that proposal is preposterous since such the suggested representatives not only

  may themselves be witnesses, subjects, or targets of either the January 6th or Classified Documents

  Investigation, but also would be under no bar from immediately alerting the User. 8

           The Third Circuit’s decision in Matter of Subpoena is instructive here. In challenging an

  order preventing disclosure of a grand jury subpoena for the data of a customer’s employees, the

  SCA provider that received the grand jury proposed two alternatives, both of which involved

  notifying the customer’s bankruptcy trustee. Matter of Subpoena, 947 F.3d at 158. The Third

  Circuit categorically rejected the proposals as “untenable” and “impractical” because notifying the

  trustee “would be ineffective in maintaining grand jury secrecy” and would “undermine[] the


  8
            Twitter’s suggestion that the government obtain the responsive data from NARA, Twitter Mem. at 15, is a
  nonstarter, both because the Warrant demands more information from Twitter than Twitter provided to NARA about
  the Target Account, Feb. 7 Hrg. Tr. at 11:7-13, and because this proposal is moot in light of Twitter’s representation
  that it has now fully complied with the Warrant.

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  government’s interest in maintaining the confidentiality of an ongoing investigation.” Id. at 158–

  59. Similar to Twitter’s naïve suggestion here that, if not the User, the User’s associates should

  be trusted with the existence of the Warrant, the Third Circuit was invited to “assess the

  trustworthiness of a would-be confidante chosen by a service provider” for disclosure, but

  expressly rejected that invitation since neither “courts nor the government can be expected to vet

  individuals selected by service providers and determine their risk of subverting an ongoing

  investigation.” Id. at 159.

         For the same reasons articulated in Matter of Subpoena, evaluating the viability of

  Twitter’s proposed alternative disclosure tactics is unnecessary since revealing the Warrant to

  either the User or one of his representatives fall far short of meeting the government’s compelling

  interests in maintaining the confidentiality of its investigation for all of the ample reasons

  presented in support of the NDO. See supra at nn. 4, 6, and associated text. In short, “[s]trict

  scrutiny does not demand that sort of prognostication,” Matter of Subpoena, 947 F.3d at 159, so

  Twitter’s proposed alternatives lack merit.

         For the above reasons, the government has satisfied that the NDO meets the exacting

  requirements of strict scrutiny review under the First Amendment.

          B.     Sanctions

         The last dispute between the parties is whether Twitter should be sanctioned for failing to

  comply on a timely basis, first with the Warrant and then with the Show Cause Order, the latter of

  which required full compliance by February 7 at 5:00 PM. Twitter does not contest—nor could

  it—that the company was in violation of the Warrant and the Show Cause Order as of February 7

  at 5:01 PM. Instead, the company claims a full defense to any sanctions, contending that Twitter

  substantially, if not fully, complied by the Show Cause Order deadline and acted diligently to

  finish production in response to the government’s nonstandard requests, while accusing the
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 government of being dilatory in responding to Twitter’s requests for clarification. See generally

 Twitter Notice.

        The D.C. Circuit has described three stages in a civil contempt proceeding: “(1) issuance

 of an order; (2) following disobedience of that order, issuance of a conditional order finding the

 recalcitrant party in contempt and threatening to impose a specified penalty unless the recalcitrant

 party purges itself of contempt by complying with prescribed purgation conditions; and (3)

 exaction of the threatened penalty if the purgation conditions are not fulfilled.” N.L.R.B. v. Blevins

 Popcorn Co., 659 F.2d 1173, 1184 (D.C. Cir. 1981). “At the second stage[,] the recalcitrant party

 is put on notice that unless it obeys the court’s decree and purges itself of contempt it will be fined

 or face other sanctions.” Id. at 1185. “At the third stage the court determines whether the party

 has fulfilled the purgation conditions. If it has, it escapes the threatened penalty; if it has not, the

 penalty is imposed.” Id.

        Given that both parties agree that Twitter failed timely and fully to comply with the

 Warrant and Show Cause Order, which imposed monetary sanctions for failure to do so, stage

 three of the proceedings must be considered: whether monetary sanctions should be imposed.

 “Once the [movant has] establish[ed] that the [contemnor] has not complied with the order, the

 burden shifts to the [contemnor] to justify its noncompliance.” Int’l Painters & Allied Trades

 Indus. Pension Fund v. ZAK Architectural Metal & Glass LLC, 736 F. Supp. 2d 35, 39 (D.D.C.

 2010). “The contemnor is required to show that it has ‘done all within its power’ to comply with

 the court’s order.” Id. at 40. (quoting Pigford v. Veneman, 307 F. Supp. 2d 51, 57 (D.D.C. 2004)).

        Twitter asserts a good faith and substantial compliance defense to being assessed civil

 sanctions. The D.C. Circuit has left open the ability of a contemnor to assert a defense of good

 faith and substantial compliance to avoid a civil sanction. See Food Lion, Inc. v. United Food and



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  Commercial Workers, 103 F.3d 1007, 1017 (D.C. Cir. 1997); see also id. at n.16 (collecting three

  district court decisions leaving open the availability of a good faith and substantial compliance

  defense to avoid civil contempt sanctions); United States v. Latney’s Funeral Home, Inc., 41 F.

  Supp. 3d 24, 30 (D.D.C. 2014) (quotation marks omitted) (“Once the court determines that the

  movant has made the above three-part showing, the burden shifts to the defendant to justify the

  noncompliance by, for example, demonstrating its financial inability to pay the judgment or its

  good faith attempts to comply.”). “Assuming that the defense survives in this circuit, however,

  the burden of proving good faith and substantial compliance is on the party asserting the

  defense[.]” Food Lion, 103 F.3d at 1017 (footnote omitted). “In order to prove good faith

  substantial compliance, a party must demonstrate that it took all reasonable steps within its power

  to comply with the court’s order.” Id. (quotation marks omitted); see also Latney’s Funeral Home,

  41 F. Supp at 30 (quoting Int’l Painters, 736 F.Supp.2d at 40) (“At this stage, conclusory

  statements about the financial inability to comply or good faith substantial compliance are

  insufficient; instead, [the contemnor] must demonstrate any offered justification ‘categorically and

  in detail.’”).

          Ultimately, the decision to hold a party in contempt and assess civil sanctions against a

  party is left up to the discretion of the district court, based on the record evidence concerning that

  party’s efforts to comply with the court order. See In re Fannie Mae Sec. Litig., 552 F.3d 814,

  822–23 (D.C. Cir. 2009) (“District judges must have authority to manage their dockets . . . and we

  owe deference to their decisions whether and how to enforce the deadlines they impose. Though

  we recognize [the contemnor’s] strenuous efforts to comply, the district court found them to be

  ‘too little too late[.]’ . . . Were we on this record to overturn the district court’s fact-bound




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  conclusion that [the contemnor] dragged its feet until the eleventh hour, we would risk

  undermining the authority of district courts to enforce the deadlines they impose.”)

         Based on the record above, Twitter’s good faith and substantial compliance defense is

  insufficient to avoid the sanction imposed because the company’s substantial compliance with the

  Show Cause Order deadline (February 7 at 5:00 PM) occurred only after it had already delayed

  production since January 27, the original deadline for compliance with the Warrant in an important

  ongoing criminal investigation. Twitter repeatedly represented that the company stood ready to

  comply promptly with the Warrant soon after in-house counsel was made aware of the Warrant’s

  existence on January 25, 2023. See              Decl. ¶ 4 (noting that           directed Twitter’s

  personnel to preserve data available in its production environment associated with the Target

  Account on January 25, and “have confirmed that the available data was preserved”); Twitter

  Opp’n at 14 (promising “[a]s a continued demonstration of its good faith efforts to comply with

  this Court’s orders while its First Amendment interests are resolved, . . . to be willing to produce

  the requested data and communications from the Target Account to the Court or the government,

  to be held without review until [its Motion] is resolved”); Feb. 7, 2023 Hrg. Tr. at 63:16-19

  (Twitter counsel responding to Court’s query whether Twitter could comply with the Warrant by

  February 7 at 5:00 PM, that Twitter is “prepared to do that.”). Yet, Twitter waited until after the

  Show Cause Order deadline passed on February 7 to raise, for the first time, multiple questions

  about the Warrant’s document demands, see Feb. 9, 2023 Hrg. Tr. at 6:1–48:20, including the

  company’s inability to produce records responsive to data concerning “associated accounts,” id. at

  7:20-8:7 (discussing Warrant, Att. B, ¶ I.B), and cabining date and scope limitations in another

  request, id. at 20:12-20 (discussing Warrant, Att. B, ¶ I.H).




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         If Twitter had been diligent and serious in its good faith intention to comply with the

  Warrant, those questions should have been identified, raised, and resolved with the government

  upon receipt of the Warrant on January 19, 2023, or subsequently upon review by in-house counsel

  on January 25 and 26, 2023, or even during ongoing conversations with the government through

  February 1, 2023. That did not happen. To be sure, Twitter advised the government on February

  1, 2023, about “want[ing] to further discuss . . . Attachment B and technical issues [it would] need

  to work through in responding once the issue is resolved.”           Decl. ¶ 14. Yet, those issues

  were not pursued by Twitter and appeared to be dropped in favor of litigating, until raised at the

  February 9, 2023, hearing under the Court’s supervision, with sanctions mounting. That context

  for raising these issues for the first time does not demonstrate “adequate detailed proof” of good

  faith and substantial compliance. See Int’l Painters, 736 F. Supp. 2d at 38; cf. Latney’s Funeral

  Home, Inc., 41 F. Supp. 3d at 34-35 (citation omitted) (alteration in original) (“Although

  Defendants maintain that they are ‘aggressively working to find monies to pay [their] past due

  taxes,’ their good faith alone does not absolve them of the fact that they remain in substantial

  violation of the Injunction.”).

         Moreover, Twitter represented in its opposition to the government’s Motion, and at the

  February 7, 2023 Hearing, that it stood ready promptly to produce responsive records in full, when

  required, but plainly this was not so. Twitter’s good faith and substantial defense fails because it

  did not attempt to resolve specific questions concerning the Warrant’s document demands with the

  government prior to either the February 7 or February 9, 2023, hearings. Cf. Food Lion, 103 F.3d

  at 1018 (holding that the contemnor “failed to prove that it complied substantially and in good

  faith with the order” because the order “clearly directed [the contemnor] to search all of its




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 records[,]” and the contemnor “did not seek a clarification of this order”). In short, Twitter was

 “too little too late.” In re Fannie Mae Sec. Litig., 552 F.3d at 822 (quotation marks omitted).

        As a fallback position, Twitter seeks to excuse the incremental $200,000 penalty assessed

 on February 9, citing the fact that the government did not clarify its position regarding the scope

 of the Warrant on February 9 until 3:52 PM that day—giving Twitter just 68 minutes to comply

 before the final $200,000 penalty was purportedly triggered. Twitter Notice at 4. Twitter’s

 argument is rejected for two reasons. For one thing, Twitter incorrectly assumes that the $200,000

 fine was triggered at 5:00 PM on February 9. The Show Cause Order did not specify that the

 subsequent fine would trigger at 5:00 PM the next day, but merely provided that Twitter “shall be

 fined $50,000, a fine amount that shall double every day, for failing to comply with this Order[.]”

 Minute Order (Feb. 7, 2023) (emphasis added). That means that Twitter’s additional fine of

 $200,000 accrued as soon as 12:00 AM on February 9, not at 5:00 PM. Even if Twitter’s last fine

 were to have accrued at 5:00 PM on February 9, however, the government cannot be blamed for

 the timeliness of its response on February 9, when Twitter could have resolved all these issues

 with the government prior to the original return date for the Warrant on January 27, 2023, or even

 during conversations with Twitter’s in-house counsel through February 1, 2023, but Twitter

 skipped those opportunities. See Pigford, 307 F. Supp. 2d at 58 (quoting Twelve John Does v.

 District of Columbia, 855 F.2d 874, 877 (D.C. Cir. 1988)) (“When a district court determines . . .

 that a contemnor has ‘not done all within its power’ to comply with the court’s orders, contempt

 may be appropriate even where compliance is difficult.”).

        Accordingly, Twitter’s civil sanction for failing to comply with the Warrant and the Show

 Cause Order stands at $350,000.




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 III.   CONCLUSION

        For the foregoing reasons, Twitter’s Motion is denied, and the NDO shall remain in effect

 for 180 days from issuance, until, at least, July 16, 2023. Additionally, Twitter is assessed a

 $350,000 sanction for failing timely and fully to comply with the Show Cause Order, which

 sanction is promptly payable to the Clerk of this Court within ten days. Twitter shall file a notice

 for filing in the docket of this matter upon payment in full of the sanction.

        An order consistent with this Memorandum Opinion will be entered contemporaneously.

        Date: March 3, 2023
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                                                       __________________________
                                                       BERYL A. HOWELL
                                                       Chief Judge




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

   IN THE MATTER OF THE SEARCH OF:                        Case No. 23-SC-31
   INFORMATION THAT IS STORED AT
   PREMISES CONTROLLED BY TWITTER                         Under Seal
   INC. IDENTIFIED IN ATTACHMENT A
                                                          Chief Judge Beryl A. Howell

                                 MEMORANDUM AND ORDER

         Twitter seeks a stay pending its appeal (“Motion” or “Mot.”), ECF No. 34, of the Court’s

  March 3, 2023 Order Denying Twitter’s Motion to Vacate or Modify Non-Disclosure Order

  [“NDO”] and Directing Twitter to Pay Contempt Sanctions (“Order”), ECF No. 29, in some form,

  including “an administrative stay of that order[,]” Twitter Reply In Supp. of Its Mot. For Stay

  Pending Appeal (“Twitter Reply”) at 10, ECF No. 38. Twitter believes that the Order should be

  stayed pending appeal, see Twitter’s Not. of Appeal, ECF No. 34, based on its belief that “once

  Twitter pays the $350,000 in contempt fines on March 13 and thereby purges its contempt,” any

  appeal will be moot. Mot. at 1–2. This may be so, at least as to the contempt sanction, and may

  already be so as to Twitter’s underlying challenge to the execution of the Warrant and NDO at

  issue. Mootness will be a matter for the D.C. Circuit to resolve as to all these issues on appeal.

  Nonetheless, saving an appeal from mootness is simply not sufficient to satisfy the extraordinary

  remedy requested. See Bhd. of Ry. & S.S. Clerks, Freight Handlers, Express & Station Emps. v.

  Nat’l Mediation Bd., 374 F.2d 269, 275 (D.C. Cir. 1966) (“A stay pending appeal is always an

  extraordinary remedy[.]”); Citizens for Responsibility & Ethics in Washington v. Fed. Election

  Comm’n, 904 F.3d 1014, 1017 (D.C. Cir. 2018) (per curiam) (“CREW”) (describing a stay pending

  appeal as “extraordinary relief”). Avoiding mootness is Twitter’s main argument for a stay,

  however.



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         A stay request requires a court to “‘weigh competing interests,’” Belize Soc. Dev. Ltd. v.

  Gov’t of Belize, 668 F.3d 724, 732 (D.C. Cir. 2012) (quoting Landis v. N. Am. Co., 299 U.S. 248,

  244–45 (1936)), and balance the following factors as applied to the specific facts of the case: “(1)

  whether the stay applicant has made a strong showing that he is likely to succeed on the merits;

  (2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay

  will substantially injure the other parties interested in the proceeding; and (4) where the public

  interest lies,” Nken v. Holder, 556 U.S. 418, 434 (2009) (quotation marks omitted). The first two

  factors are the “most critical” to determining whether a stay is warranted, CREW, 904 F.3d at 1017

  (quoting Nken, 556 U.S. at 434), while the third and fourth factors “merge” when the stay applicant

  so moves against the government, Nken, 556 U.S. at 435. The party seeking the stay bears the

  burden of “mak[ing] out a clear case of hardship or inequity in being required to go forward, if

  there is even a fair possibility that the stay for which he prays will work damage to [someone]

  else.” Landis, 299 U.S. at 255. The first two factors here weigh heavily against Twitter, with the

  irreparable injury boiling down to potential mootness of the contempt sanctions. In this balancing,

  Twitter’s Motion must be denied.

         First, Twitter is unlikely to succeed on the merits of its appeal. Twitter contends that the

  Court likely committed reversible error by (1) requiring Twitter’s compliance with the Warrant

  prior to resolving its NDO challenge, and (2) rejecting Twitter’s good-faith and substantial-

  compliance defense by ordering Twitter to pay contempt fines for failing to comply with the Show

  Cause Order, see Mot. at 6–11, but Twitter is wrong. Even were Twitter’s appeal of the Court’s

  contempt order not mooted by compliance with the Warrant, the company’s arguments on the

  merits are rejected for the same reasons outlined in the Court’s March 3, 2023 Memorandum

  Opinion. See Mem. Op. Re. Ord., ECF No. 30. To summarize, Twitter (1) willfully violated an



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 unambiguous Warrant by conditioning compliance on obtaining a modification of a separate NDO

 that would allow disclosure of the Warrant to its account holder—one of the company’s most

 prolific and high-profile political users—and thereby provide that account holder the opportunity

 to litigate pre-indictment motions; and (2) knowingly failed to take the requisite steps timely to

 comply with the Warrant, misrepresented to the Court its ability timely to comply with the Minute

 Order (Feb. 7, 2023) (“Show Cause Order”), and, ultimately, delayed the government’s

 investigation into the user of the Twitter account at issue. Twitter essentially exploited its position

 as a large social media platform to usurp the Court’s role to determine both the validity of the

 Warrant’s execution methodology and the need for the NDO—despite the company’s concededly

 incomplete information—due to the unique position of the Twitter account user. For these reasons,

 Twitter’s counterarguments do not present a “‘fair ground of litigation,’” as it posits in its reply.

 Twitter Reply at 2 (quoting Population Inst. v. McPherson, 797 F.2d 1062, 1078 (D.C. Cir. 1986)).

        Second, Twitter unpersuasively complains about irreparable injury by paying the $350,000

 contempt sanction because the Court’s “contempt order [will be] purged and the dispute over it

 mooted.” Mot. at 4. To be sure, Twitter has yet to pay the civil sanction required by the Order,

 but those funds will not disappear. Should Twitter prevail on its argument that the $350,000

 contempt fine was unduly punitive, the Clerk of the Court can always return some or all of those

 funds to Twitter. See, e.g., Corley v. Rosewood Care Ctr., Inc., 142 F.3d 1041, 1057 (7th Cir.

 1998) (“Payment of the sanction does not moot the appeal because the appellate court can fashion

 effective relief to the appellant by ordering that the sum paid in satisfaction of the sanction be

 returned.”); 13B FED. PRAC. & PROC. JURIS. § 3533.2.2 (“An effective remedy is most clearly

 possible if the fine remains in the district court, not yet covered into the Treasury.”). Indeed,

 Twitter provides no reason why holding payment of any fines in escrow will moot its challenge to



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  the Order regarding sanctions. See Reply at 6 n.1 (“Twitter likewise agrees that holding the money

  Twitter pays in escrow will help reduce the risk of mootness.”). Moreover, the cases upon which

  Twitter relies to suggest that stays are appropriate to prevent mootness, Mot. at 1–3, are inapposite

  because, as the government points out, they concern “1) stays designed to prevent sanctions from

  accruing during an appeal by a contemnor who has not complied with the underlying order, and

  (2) mootness findings resulting from compliance with the underlying order itself, rather than

  mootness resulting from the payment of fully accrued contempt sanctions.” Gov’t’s Opp’n at 12–

  13 (emphasis in original ) (citing In re Grand Jury Investigation of Possible Violations of 18 U.S.C.

  § 1956 and 50 U.S.C. § 1705, 2019 WL 2182436, at *5–6 (D.D.C. Apr. 10, 2019) (staying “accrual

  of the contempt sanctions” during the pendency of an “expedited appeal”); In re Grand Jury

  Subpoena No. 7409, 2018 WL 8334866, at *3–4 (D.D.C. Oct. 5, 2018) (similar); United States v.

  Griffin, 816 F.2d 1, 7 n.4 (D.C. Cir. 1987) (appeal of contempt order was mooted after defendant

  fully complied with the underlying restitution order); In re Hunt, 754 F.2d 1290, 1293–94 (5th Cir.

  1985) (similar)). Even were Twitter correct that payment of the sanctions may moot the pending

  appeal of the sanctions order, the company cites no case holding that avoiding mootness is a reason

  to grant a stay.

          Twitter also raises the specter of an approach to preserve appellate rights of “refus[ing] to

  produce anything to the government even after being held in contempt—prolonging any harm to

  the government’s investigations and quickly threatening financial ruin for the company as fines

  doubled daily.” Twitter Reply at 4 (emphasis in original). This is an argument that may be

  persuasive on appeal to avoid a finding of mootness but still does not meet the prerequisites for a

  stay.




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          Given that Twitter is unlikely to succeed on the merits and will face no irreparable injury

  if it promptly pays the contempt sanctions, it is hereby:

          ORDERED that Twitter’s Motion for a Stay Pending Appeal, ECF No. 34, is DENIED;

  it is further

          ORDERED that, upon payment by Twitter of the $350,000 sanction to the Clerk of the

  Court for failing to comply with the Show Cause Order, the Clerk of the Court shall not transmit

  the fine to the U.S. Department of the Treasury but hold those funds in escrow until further order

  from this Court.

          SO ORDERED.

          Date: March 10, 2023
                                                        __________________________
                                                        BERYL A. HOWELL
                                                        Chief Judge




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                          CERTIFICATE OF SERVICE

       I hereby certify that on this 31st day of March, 2023, I caused the foregoing

 to be served by email upon:

 James I. Pearce
 Assistant Special Counsel
 950 Pennsylvania Avenue, N.W.
 Washington, D.C. 20530
 (202) 840-7000

                                              s/ Ari Holtzblatt
                                              Ari Holtzblatt
